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                      EXHIBIT 1A
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           Report of the DHS Advisory Committee
               on Family Residential Centers
                                                           September 30, 2016
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 INTRODUCTION

 Prompted by controversy over DHS’s policies and practices relating to family detention, Secretary
 Jeh Johnson announced the establishment of the DHS Advisory Committee on Family Residential
 Centers (ACFRC or the Committee) on June 24, 2015. 1 Secretary Johnson explained that:
         ICE Director Saldaña and I understand the sensitive and unique nature of detaining
         families, and we are committed to continually evaluating it. We have concluded that
         we must make substantial changes to our detention practices when it comes to
         families.
 Among the responses he announced was the formation of this Committee, “to advise Director
 Saldaña and me concerning family residential centers.” The Committee’s charter confirms a broad
 scope for our advice-giving:
         The Committee provides advice and recommendations to the Secretary of the
         Department of Homeland Security (DHS) through the Assistant Secretary for U.S.
         Immigration and Customs Enforcement (ICE) on matters concerning ICE’s family
         residential centers as it relates to primary education, immigration law, physical and
         mental health, trauma-informed services, family and youth services, detention
         management, and detention reform. 2
 And similarly, our March 2016 tasking directed the ACFRC to:
         Develop recommendations for best practices at family residential centers that will
         build on ICE’s existing efforts in the areas of educational services, language
         services, intake and out-processing procedures, medical staffing, expansion of
         available resources and specialized care, and access to Legal Counsel . . . Detail
         mechanisms to achieve recommended efficiencies in the following focus areas:
         1) educational services . . . 2) language services . . . 3) detention management . . .
         4) medical treatment . . . 5) access to counsel.
 The Committee’s members are listed at this Report’s Appendix A; the Committee’s tasking is
 attached to this Report as Appendix B. 3
 Prior to presenting this report to ICE and DHS, the Committee met twice, once in Washington,
 D.C. in December 2015, and once in Texas in March 2016, in order to participate in guided site
 visits of two of the Family Residential Centers (FRCs), the South Texas Family Residential Center
 (Dilley) and the Karnes County Residential Center (Karnes). A much smaller group visited the
 third FRC, the Berks Family Residential Center (Berks), in June 2016. In order to fulfill our
 tasking, the Committee submitted numerous information requests to ICE, which supplied some of
 the requested documents and other information. Unfortunately, ICE deemed a number of our
 requests beyond the Committee’s scope, which it considered more limited than our charter or our

 1
   Jeh C. Johnson, Secretary of Homeland Security, Statement by Secretary Jeh C. Johnson On Family Residential
 Centers (June 24, 2015), https://www.dhs.gov/news/2015/06/24/statement-secretary-jeh-c-johnson-family-residential-
 centers.
 2
   U.S. Immigration and Customs Enforcement Advisory Committee on Family Residential Centers (July 24, 2015),
 https://www.ice.gov/sites/default/files/documents/Document/2015/acfrcCharter.pdf.
 3
   See Advisory Committee on Family Residential Centers (ACFRC), Committee Tasking, https://www.ice.gov/acfrc.

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 tasking. We have therefore supplemented the information ICE provided with information from
 credible non-governmental organizations, federal court filings, and the ACFRC’s own individual
 members’ expertise. This report covers all the areas in our tasking, and notes the basis of our
 information and recommendations.
 The detention of migrant children and families by the U.S. government has been controversial
 since its inception. Child and family detention has been the subject of a number of federal lawsuits
 – most notably, the Flores litigation (currently captioned Flores v. Lynch), filed in 1985 and still in
 active litigation. 4 Since its inception, many reports by government agencies (including the
 Government Accountability Office (GAO) and various subunits of DHS), the United Nations High
 Commissioner for Refugees (UNHCR), the American Bar Association (ABA), and advocacy
 organizations have made similar and negative findings. In this report, the ACFRC adds our voice
 to those prior critiques. We offer numerous recommendations to improve detention management
 and conditions. But these should be understood in light of our basic conclusion and first
 recommendation, which is repeated and discussed in depth in Part I, below:
 Recommendation 1-1: DHS’s immigration enforcement practices should operationalize the
 presumption that detention is generally neither appropriate nor necessary for families – and
 that detention or the separation of families for purposes of immigration enforcement or
 management, or detention is never in the best interest of children. DHS should discontinue
 the general use of family detention, reserving it for rare cases when necessary following an
 individualized assessment of the need to detain because of danger or flight risk that cannot
 be mitigated by conditions of release. If such an assessment determines that continued
 custody is absolutely necessary, families should be detained for the shortest amount of time
 and in the least restrictive setting possible; all detention facilities should be licensed, non-
 secure and family-friendly. If necessary to mitigate individualized flight risk or danger, every
 effort should be made to place families in community-based case-management programs that
 offer medical, mental health, legal, social, and other services and supports, so that families
 may live together within a community.
 Our report proceeds as follows: We complete this Introduction with some background on family
 detention. We then proceed in seven parts, addressing:
     1.   Decision to Detain and Release
     2.   Reform of Detention and Alternatives-to-Detention (ATD)
     3.   Access to Counsel
     4.   Education Services and Programs
     5.   Language Access
     6.   Medical, Mental Health, and Trauma-Informed Care
     7.   Inspections, Complaints, and Oversight




 4
  For a summary of the litigation, see CIVIL RIGHTS LITIGATION CLEARINGHOUSE, Case Profile Flores v. Reno,
 http://www.clearinghouse.net/detail.php?id=9493. See especially Stipulated Settlement Agreement, Flores v. Reno,
 No. 85-cv-4544-RJK(Px) (C.D. Cal. Jan.17, 1997), http://www.clearinghouse.net/chDocs/public/IM-CA-0002-
 0005.pdf.

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 Background:
 In 2009, at the beginning of the Obama Administration, ICE funded two FRCs – the Berks County
 Family Residential Center, in Leesport, PA, and the T. Don Hutto Residential Center in Taylor,
 TX (Hutto). Total capacity was an estimated 384 beds. Within nine months, ICE had stopped
 detaining families at Hutto, reducing its family detention capacity by about 500 beds. Since then,
 ICE has opened and closed one temporary FRC and then opened two new FRCs, over time
 increasing its total capacity to detain families by over 3,200 beds. (See Appendix B: A Brief
 History of INS/ICE Family Residential Facilities.)
 Today, midway through the Administration’s eighth and final year, ICE maintains three FRCs,
 each operated by a different contractor, although of course ICE is responsible for all three. 5 As is
 ordinary practice, we refer to the facilities, which are described below, 6 by their location rather
 than their formal name/abbreviation. The contracting organizations have hundreds of staff, and
 ICE also has employees who work at the facilities, both to monitor conditions and to carry out
 immigration processing. Their total operating capacity is 3,326 beds:
     •   Karnes County Residential Center. This facility, in Karnes City, Texas, is operated by the
         GEO Group – a private prison company. It has been a family detention center since August
         2014. As of August 2016, it held 595 women and children, which is approximately its
         operating capacity. As of June 2016, ICE reported 49 ICE staff at Karnes.
     •   South Texas Family Residential Center. This facility, in Dilley, Texas, is operated by
         Corrections Corporation of America; it opened in December 2014. It has a 2,400 bed
         capacity, but as of August 2016 held 1,374 women and children; in June 2015, ICE
         reported 41 ICE staff at Dilley.
     •   Berks Family Residential Center. This facility, in Berks County, Pennsylvania, is owned
         and operated by Berks County. It originally opened in March 2001. In February 2013 the
         facility was moved to a new building, also operated by the county, reconfigured with
         original capacity for 96 but potential capacity for up to 200, and designed as a non-secure
         residential facility for children and their parents. It currently has a maximum capacity of
         96, but as of August 2016, held 75 people. Fathers have in the past been detained at Berks,
         but it is our understanding that ICE currently is using the facility to detain only mothers
         and their children. We do not know how many ICE staff work at Berks.

     ICE was unwilling to share with us information on the length of detainees’ stays, but according
     to the federal government’s public filings in the Flores litigation, looking at families initially
     booked into ICE’s FRCs starting October 23, 2015 (that is, excluding any families taken into
     custody prior to that date), the statistics as of May 16, 2016 were:
     •   Total detainees over the 7-month period: 18,706.
     •   Average length of stay: 17.7 days for those still detained as of that date; 11.8 days for those
         no longer in detention.
     •   Over the entire population (both detained as of May 2016 and previously released):

 5
 6
  Descriptions are largely based on Decl. of Jon Gurule at ¶ 5, Flores v. Holder, No. 2:85-cv-04544 (C.D. Cal. June 3,
 2016), www.clearinghouse.net/chDocs/public/IM-CA-0002-0030.pdf.


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              a. 58% were released in 10 days or less.
              b. 96% were released in 20 days or less.
              c. 99% were released in 30 days or less. 7

 The same filing also included snapshot-type information. Looking at the population detained on
 May 16, 2016:
     •    There were a total of 1,734 detainees.
     •    44% at that point in time had so far been detained for 10 days or less.
     •    88% at that point in time had been detained for 20 days or less.
     •    94% at that point in time had been detained for 30 days or less. 8

 We have been told that after U.S. District Judge Dolly Gee entered an order in Flores in July
 2015 9 requiring speedier release of most children from family detention, the Texas facilities have
 mostly had families pass through in less than three weeks; families housed at Berks have faced
 very substantially longer detention periods with some families remaining in detention for over a
 year.
 Each FRC is covered by ICE’s Family Residential Standards, which are publically available at
 https://www.ice.gov/detention-standards/family-residential. In addition, materials provided by ICE
 to the ACFRC Subcommittees confirm that when the 2011 Performance Based National Detention
 Standards (PBNDS 2011) provide a higher level of care for detainees, FRCs are required to adhere
 to that higher standard. With respect to medical and mental health care, FRCs are also required to
 comply with ICE Health Care Service Corps (IHSC) policies and procedures, but these were not
 made available to the ACFRC.
 Each facility has adopted its own facility-specific policies, which are supposed to implement and
 expand upon the Standards. These are not publically available but we have obtained a few of them
 from ICE. In addition, each FRC provides its detainees with a resident handbook, which
 summarizes the rules, policies, and procedures that affect them; we were provided the handbooks
 in English, but they are also available in Spanish. 10




 7
   Id. at 12–13.
 8
   Id. at 13.
 9
   Flores v. Johnson, 2:85-cv-04544 (C.D. Cal. July 24, 2015), http://www.clearinghouse.net/chDocs/public/IM-CA-
 0002-0017.pdf. In her July 2015 Flores decision, Judge Gee found that the DHS’s family detention policies were out
 of compliance with the stipulated settlement in the case, which regulated the treatment and conditions of children in
 INS custody. The settlement is available at http://www.clearinghouse.net/chDocs/public/IM-CA-0002-0005.pdf.
 10
    Each of the existing FRC resident handbooks is publically available, because they were filed in the Flores litigation.
 The Karnes handbook, in English and Spanish, is available as exhibits 1 and 2 to the Decl. of Juanita Hester, Flores v.
 Holder, No. 2:85-cv-04544 (C.D. Cal. June 3, 2016), www.clearinghouse.net/chDocs/public/IM-CA-0002-0029.pdf.
 The Dilley handbook, in English and Spanish, is available as exhibits 1 and 2 to the Decl. of Valentin de la Garza,
 Flores v. Holder, No. 2:85-cv-04544 (C.D. Cal. June 3, 2016), www.clearinghouse.net/chDocs/public/IM-CA-0002-
 0029.pdf. The Berks handbook is available, in English only, as exhibit 2 to the Decl. of Joshua G. Reid, Flores v.
 Holder, No. 2:85-cv-04544 (C.D. Cal. June 3, 2016), http://www.clearinghouse.net/chDocs/public/IM-CA-0002-
 0030.pdf.

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 1.   DECISIONS TO DETAIN AND RELEASE

 In the view of the ACFRC, it is well within our broad mandate and tasking, quoted above, to
 evaluate DHS’s policies relating to decisions to detain, the length of detention, decisions to release,
 and conditions of release. Operating on this premise, and beginning in December 2015 and
 continuing to the present, members of the ACFRC and its Subcommittees requested relevant
 information regarding detention and release policies. DHS was unresponsive to these requests; ICE
 ultimately stated in a July 2016 exchange with the ACFRC that issues concerning decisions to
 detain, length of detention, conditions of release, and related questions are “outside the scope” of
 our mandate to develop best practices applicable to FRCs. This conclusion contradicts the
 Committee’s charter and appointment documents.
 In the absence of requested information from DHS, the Committee has consulted a wide range of
 other credible sources, including, for example, the United States Commission on International
 Religious Freedom, the American Bar Association, reports by well-respected non-governmental
 organizations, and public statements made by Secretary Johnson.
 Each recommendation in this Part is preceded by a brief overview of the controlling law and
 policies relevant to detention and release, and a summary of current practice. The
 recommendations are intended to improve current practice consistent with extant U.S. law and
 policy.
 First and most importantly, our overarching recommendation is for DHS simply avoid detaining
 families. We recommend that DHS not place asylum seeker families in expedited removal or
 reinstatement of removal, and instead to return to its prior practice of placing these families in
 regular removal proceedings via a Notice to Appear (NTA) and releasing them. with the use of
 appropriate follow up support or compliance requirements as alternatives to detention where
 needed to address public safety or flight risk concerns.
 Recommendation 1-1: DHS’s immigration enforcement practices should operationalize the
 presumption that detention is generally neither appropriate nor necessary for families – and
 that detention or the separation of families for purposes of immigration enforcement or
 management, or detention is never in the best interest of children. DHS should discontinue
 the general use of family detention, reserving it for rare cases when necessary following an
 individualized assessment of the need to detain because of danger or flight risk that cannot
 be mitigated by conditions of release. If such an assessment determines that continued
 custody is absolutely necessary, families should be detained for the shortest amount of time
 and in the least restrictive setting possible; all detention facilities should be licensed, non-
 secure and family-friendly. If necessary to mitigate individualized flight risk or danger, every
 effort should be made to place families in community-based case-management programs that
 offer medical, mental health, legal, social, and other services and supports, so that families
 may live together within a community.
 In the event that DHS declines to accept this recommendation in full, we make additional
 recommendations on, inter alia, the proper release of families in expedited removal processes and
 against the use of prolonged detention of families in almost any circumstance. This Part concludes
 with recommendations relating to conditional release, bond, and case management for released
 families.

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           A. Limit or Eliminate the Use of Expedited Removal and Reinstatement of Removal
              for Families
  In 1996, the Illegal Immigration Reform and Immigrant Responsibility Act (IIRIRA) created a
  new “expedited removal process,” giving immigration officers the authority to order certain
  categories of immigrants removed without a hearing or review by an immigration judge. 11 The
  expedited removal statute, INA Section 235, states that “any alien subject to the procedures under
  this clause shall be detained pending a final determination of credible fear of persecution and, if
  found not to have such a fear, until removed.” 12 The government interprets this language to require
  detention in the specified circumstances. Similarly IIRIRA also established Reinstatement of
  Removal for individuals returning with prior orders of removal. 13
  Since the initial implementation of expedited removal, the categories of people to which it applies
  have been successively expanded 14 by DHS and the number of immigrants placed in expedited
  removal proceedings has increased dramatically. 15 Nationals from Mexico, Guatemala, Honduras,



  11
     Immigration and Nationality Act (INA) § 235.
  12
     Id. § 235(b)(1)(B)(iii)(IV).
  13
     Like those in expedited removal, immigrants whose prior removal orders are reinstated are also subject to curtailed
  administrative procedures. INA § 241(a)(5); 8 C.F.R. § 1241.8. However, individuals in reinstatement of removal who
  are found to have a reasonable fear of persecution or torture are eligible for withholding of removal or protection under
  the Convention Against Torture. Although DHS takes the position that these individuals are not eligible for asylum,
  litigants have raised contrary views, which have been accepted by at least some immigration judges. As the
  Committee’s recommendations in this section focus primarily on expedited removal, we do not here engage in a
  detailed discussion of reinstatement of removal procedures. The curtailed reinstatement procedures, however, raise
  many of the same concerns regarding lack of due process and the possibility of refoulement of refugees in violation of
  international and domestic legal obligations. In addition, some of the detainees at FRCs will be immigrant crime
  victims with pending VAWA, T or U visa cases. In the Violence Against Women Act of 2005, Congress urged the
  Department of Homeland Security to exercise its discretion not to subject immigrant victims with pending or approved
  VAWA self-petitions, U visas or T visas to reinstatement of removal, which prevent securing such relief. See
  Extension of Remarks by John Conyers Regarding VAWA, 151 CONG. REC. E2605-07 (Dec. 18, 2005).
  14
     Expedited removal was first implemented in 1997 when IIRIRA entered into force and at that time only applied to
  arriving non-citizens at ports of entry, per INA § 235(b)(1)(A)(i). INA §235(b)(1)(A)(iii) also gives the Attorney
  General authority to apply expedited removal to other categories of immigrants. In November 2002, expedited removal
  was expanded to apply to undocumented non-Cubans entering the U.S. by sea and by September 2005 had been
  expanded to apply to undocumented non-Cubans apprehended within 14 days after entry within 100 miles of the U.S.
  Southwest border. ELIZABETH CASSIDY & TIFFANY LYNCH, U.S. COMM’N ON INT’L RELIGIOUS FREEDOM (USCIRF),
  BARRIERS TO PROTECTION: THE TREATMENT OF ASYLUM SEEKERS IN EXPEDITED REMOVAL 13 (2016),
  http://www.uscirf.gov/sites/default/files/Barriers%20To%20Protection.pdf [hereinafter “USCIRF REPORT”]. In 2006,
  this provision was extended to all U.S. borders. American Immigration Council, Removal Without Recourse: The
  Growth of Summary Deportations from the United States (Apr. 28, 2014),
  https://www.americanimmigrationcouncil.org/research/removal-without-recourse-growth-summary-deportations-
  united-states. Data from USCIS Asylum Division Quarterly Stakeholder Meetings shows that in FY2014, 80% of
  people put into expedited removal were non-citizens crossing the border versus 20% non-citizens entering at ports of
  entry. In contrast, in FY2005, non-citizens crossing the border comprised 10% of expedited removal cases and ports of
  entry 90%. USCIRF REPORT at 14.
  15
     In FY 1998, there were 23,487 expedited removals (representing 20% of all removals). In FY 2013, there were
  193,032 expedited removals (representing 44% of all removals). USCIRF REPORT, supra note 14, at 12 (citing data
  from the DHS Office of Immigration Statistics, Annual Reports on Immigration Enforcement Actions and Statistical
  Yearbook).


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  and El Salvador accounted for 98% of all expedited removals in FY 2013. 16 However the use of
  expedited removal and reinstatement of removal is discretionary and not mandatory. DHS has the
  option of using or not using expedited removal or reinstatement of removal in individual cases. In
  fact, prior to 2014, families were typically not put into expedited removal and rarely reinstated but
  instead generally issued Notices to Appear and released. 17 In fact, ICE officials stated in 2011 that
  it was ICE policy to place families apprehended at or near the border in regular removal
  proceedings under Section 240 of the INA, rather than expedited removal. 18
  Following the increase in arrivals of unaccompanied children as well as families (often referred to
  as the “surge”) in the summer of 2014, this policy changed. DHS Secretary Jeh Johnson began
  stating publicly that families would be detained in order to deter others from coming to the U.S. 19
  To effect this policy, DHS began putting families – primarily mothers and their children – in
  expedited removal proceedings 20 and reinstatement proceedings, and detaining them. In 2014,
  there was only one family detention center in operation, the Berks County Family Residential
  Center, with a 96-bed capacity. 21 As it began scaling-up the use of expedited removal for families




  16
     USCIRF REPORT, supra note 14, at 13. See also HUMAN RIGHTS FIRST, FREQUENTLY ASKED QUESTIONS: ASYLUM
  SEEKERS AND THE EXPEDITED REMOVAL PROCESS (Nov. 2015),
  http://www.humanrightsfirst.org/sites/default/files/FAQ-asylum-seekers-and-the-expedited-removal-process.pdf (“The
  overwhelming majority of individuals placed in expedited removal are from El Salvador, Guatemala, Honduras, and
  Mexico.”).
  17
     See, e.g., COMM’N ON IMMIGRATION, AMERICAN BAR ASS’N, FAMILY IMMIGRATION DETENTION: WHY THE PAST
  CANNOT BE PROLOGUE 22 (July 31, 2015),
  https://www.americanbar.org/content/dam/aba/publications/commission_on_immigration/FINAL%20ABA%20Family
  %20Detention%20Report%208-19-15.authcheckdam.pdf (“In the years immediately prior to the summer of 2014,
  almost all families arriving at the U.S. border seeking asylum were released to live in the community while their
  immigration hearings moved forward”) [Hereinafter ABA FAMILY DETENTION REPORT].
  18
     INTER-AM. COMM’N ON HUMAN RIGHTS, REPORT ON IMMIGRATION IN THE UNITED STATES: DETENTION AND DUE
  PROCESS note 568 (Dec. 30, 2011), https://www.oas.org/en/iachr/migrants/docs/pdf/Migrants2011.pdf.
  19
     See, e.g., Statement by Secretary of Homeland Security Jeh Johnson Before the Senate Committee on
  Appropriations (July 10, 2014), https://www.dhs.gov/news/2014/07/10/statement-secretary-homeland-security-jeh-
  johnson-senate-committee-appropriations; Jeh C. Johnson, Secretary of Homeland Security, Readout of Secretary
  Johnson’s Visit to Texas (June 20, 2014), https://www.dhs.gov/news/2014/06/20/readout-secretary-johnsons-visit-
  texas; ABA FAMILY DETENTION REPORT, supra note 16, at 23 (describing the Administration’s “no-release” policy
  intended to deter other families from seeking asylum in the U.S.).
  20
     CATHOLIC LEGAL IMMIGRATION NETWORK, EXPEDITED REMOVAL AND FAMILY DETENTION: DENYING DUE PROCESS
  1 (2015), https://cliniclegal.org/sites/default/files/cara/Expedited-Removal-Backgrounder.pdf (“[T]he number of
  families the government has placed into the expedited removal process and subsequently detained has increased.”).
  21
     See ABA FAMILY DETENTION REPORT, supra note 16, at 8–12 for a history of family detention in the United States,
  including a summary of the opening in 2006 and subsequent decommissioning in 2009 of the T. Don Hutto Family
  Residential Center as a place to detain families. The Berks County Family Residential Center was opened in 2001,
  converted from a former nursing home, with 84 beds. It has since been expanded to its current 96-bed capacity.


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  in response to the “surge,” ICE opened additional family detention facilities 22 to hold the
  dramatically larger number of detained families. 23
  In February 2015, the U.S. District Court for the District of Columbia issued a preliminary
  injunction enjoining DHS from using deterrence as a factor in initial custody determinations and in
  arguments against release of families on bond. 24 In June 2015, Secretary Johnson announced that
  DHS had “discontinued invoking general deterrence as a factor in custody determinations in all
  cases involving families.” 25
  Nevertheless, at the individual immigration officer level, it remains unclear what factors are used
  for custody determinations, and how they are applied. It is also unclear whether these decisions are
  made by ICE or Customs and Border Protection (CBP). The ACFRC repeatedly requested
  information on this point, but ICE did not provide the requested information. In the absence of
  information from ICE, we have looked to data and analysis provided by other credible sources, a
  number of which have found that the decision to put women and children in expedited removal has
  not seemed to follow any clear applicable standard, but appears largely dependent on whether there
  is available bed space in FRCs. We do not know if this remains true in recent months, when the
  Flores court’s insistence on speedier processing of families has reduced the population in the
  FRCs to well below capacity. But prior to that change in circumstances, the United States
  Commission on International Religious Freedom (USCIRF) report found, for example, that the
  McAllen Border Patrol station tracks family detention bed space and, if there are no beds available,
  releases families with bus tickets and Notices to Appear. 26 The Inter-American Commission on
  Human Rights (IACHR) also concluded, “but for capacity limitations, all families would be
  detained under current policy . . . No substantive criteria are used, nor is an individualized


  22
     DHS Press Office, South Texas ICE Detention Facility to House Adults With Children (July 31, 2014),
  https://www.dhs.gov/news/2014/07/31/south-texas-ice-detention-facility-house-adults-children (Karnes, formerly an
  adult-male facility, was repurposed and opened as a family detention center on August 1, 2014); ICE Newsroom,
  ICE's New Family Detention Center in Dilley, Texas to Open in December (Nov. 17, 2014),
  https://www.ice.gov/news/releases/ices-new-family-detention-center-dilley-texas-open-december (South Texas Family
  Residential Center – that is, Dilley – slated to open December 2014).
  23
     HUMAN RIGHTS FIRST, FAMILY DETENTION: STILL HAPPENING, STILL DAMAGING 2–3 (Oct. 2015),
  http://www.humanrightsfirst.org/sites/default/files/HRF-family-detention-still-happening.pdf (“If the pace of detention
  continues as it has over the past month, DHS may hold 45,000 children and parents in family detention this year, as
  compared to approximately 6,000 individuals who were detained last year.”). U.S. IMMIGRATION AND CUSTOMS
  ENFORCEMENT, ICE ENFORCEMENT AND REMOVAL OPERATIONS REPORT: FISCAL YEAR 2014, at 3 (Dec. 19, 2014),
  https://www.ice.gov/doclib/about/offices/ero/pdf/2014-ice-immigration-removals.pdf (“[F]amily units apprehended at
  the border may be placed into expedited removal proceedings and detained. However, this process requires ICE to
  maintain an increased level of family detention space, which historically has been limited to fewer than 100 beds
  nationwide…As a result, in the summer ICE sought substantial resources and authority to build additional detention
  capacity to detain and remove family units, and since then ICE has opened three additional facilities for this
  purpose.”).
  24
     Court Order, RILR v. Johnson, 1:15-cv-0011-JEB (D.D.C. Feb. 20, 2015), https://www.aclu.org/legal-
  document/rilr-v-johnson-order?redirect=immigrants-rights/rilr-v-johnson-order. Note that this preliminary injunction
  was dissolved by agreement of the parties after DHS announced a new policy whereby it would abide by injunction
  terms.
  25
     Jeh C. Johnson, Secretary of Homeland Security, Statement On Family Residential Centers (June 24, 2015),
  https://www.dhs.gov/news/2015/06/24/statement-secretary-jeh-c-johnson-family-residential-centers.
  26
     USCIRF REPORT, supra note 14, at 62.


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  assessment conducted.” 27 Several NGOs have asserted that although the Administration has
  disavowed the deterrence rationale for detention publicly, its continued over-detention of asylum
  seekers – including women and children – may indicate otherwise. 28
  DHS is not required to place families in expedited or reinstatement of removal, with their attendant
  policy of detention. There is clear authority holding that immigration officials have the discretion
  to refer any individual who could be subject to expedited removal or reinstatement of removal to
  regular Section 240 removal proceedings before an immigration judge instead. 29 In February 2016,
  a coalition of organizations, including faith-based organizations, sent a letter to Secretary Johnson
  and Deputy Secretary Alejandro Mayorkas calling on DHS to exercise this discretion and to “stop
  using fast-track removal procedures, such as expedited removal, against Central Americans.” 30
  The letter argued that “these fast-track processes deprive asylum seekers of their right to due
  process and results in vulnerable children and their mothers being deported to the very dangers
  they fled.” 31


  27
     INTER-AM. COMM’N ON HUMAN RIGHTS, HUMAN RIGHTS SITUATION OF REFUGEE AND MIGRANT FAMILIES AND
  UNACCOMPANIED CHILDREN IN THE UNITED STATES ¶ 135 (Oct. 2015),
  http://www.oas.org/en/iachr/reports/pdfs/Refugees-Migrants-US.pdf [Hereinafter IACHR OCTOBER 2015 REPORT];
  see also LUTHERAN IMMIGRANT REFUGEE SERVICES (LIRS) AND THE WOMEN’S REFUGEE COMMISSION (WRC),
  LOCKING UP FAMILY VALUES, AGAIN 3 (Oct. 2014), http://lirs.org/wp-
  content/uploads/2014/11/LIRSWRC_LockingUpFamilyValuesAgain_Report_141114.pdf (“DHS officials have stated
  that there is no set standard or policy to determine which families are detained and which families are released except
  for the availability of bed space.”).
  28
     HUMAN RIGHTS FIRST, LIFELINE ON LOCKDOWN: INCREASED U.S. DETENTION OF ASYLUM SEEKERS LIFELINE ON
  LOCKDOWN 3(July 2016), http://www.humanrightsfirst.org/sites/default/files/Lifeline-on-Lockdown_0.pdf (“Some
  detention and release decisions appear to be based on a desire to deter asylum seekers from seeking U.S. protection.
  Some of ICE’s decisions to continue detention and/or deny parole appear to be motivated by a legally impermissible
  objective of deterrence.”); Guillermo Cantor, Deterrence Strategy Targeting Central American Asylum Seekers Comes
  at a High Human Cost, IMMIGRATIONIMPACT.COM (May 18, 2016), http://immigrationimpact.com/2016/05/18/central-
  americans-deported/.
  29
     Matter of E-R-M & L-R-M, 25 I. & N. Dec. 520 (BIA 2011) (DHS argued before the BIA that it had discretion to
  place an arriving alien in Section 240 removal proceedings rather than invoking expedited removal. The BIA agreed,
  finding that “Congress’ use of the term ‘shall’ in Section 235(b)(1)(A)(i) of the Act does not carry its ordinary
  meaning, namely, that an act is mandatory. It is common for the term ‘shall’ to mean ‘may’ when it relates to decisions
  made by the Executive Branch of Government on whether to charge an individual and on what charges to bring.”) See
  also HUMAN RIGHTS FIRST, FREQUENTLY ASKED QUESTIONS, supra note 16, at 2 (explaining that expedited removal is
  discretionary).
  30
     Letter from Advancement Project et al., to Jeh Johnson, Secretary of Homeland Security, and Alejandro Mayorkas,
  Deputy Secretary of Homeland Security (Feb. 18, 2016),
  http://www.lawg.org/storage/documents/JohnsonMayorkas_letter_final_signed_2232016.pdf.
  31
     Id. Other NGOs have raised similar concerns about whether the widespread use of expedited removal violates due
  process and results in the removal of persons with legitimate grounds for relief. See, e.g., American Immigration
  Council, Removal Without Recourse, supra note 14, at 2 (“[E]xpedited removal can lead to erroneous deportations of
  individuals who are not deportable or who would be eligible to apply for lawful status in the United States or to seek
  prosecutorial discretion if processed through normal immigration court procedures. In addition, individuals who may
  have resided in the United States for decades, and left only for a brief period of time, may be deported pursuant to
  expedited removal despite having significant ties to the United States.”); CATHOLIC LEGAL IMMIGRATION NETWORK,
  EXPEDITED REMOVAL AND FAMILY DETENTION, supra note 20, at 2; AMERICAN CIVIL LIBERTIES UNION, AMERICAN
  EXILE: RAPID DEPORTATIONS THAT BYPASS THE COURTROOM 4 (Dec. 2014), https://www.aclu.org/files/assets/120214-
  expeditedremoval_0.pdf (”DHS officials use these procedures not only to rapidly deport genuine asylum seekers
  arriving at our borders, but also to remove longtime residents with U.S. citizen family; children; individuals with valid


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  ICE’s stated policy is to “prioritize[] detention bed space for: (1) aliens it is required to detain
  under the INA; (2) those who pose a risk to public safety if released; and (3) those at risk of
  absconding.” 32 Prior to 2014, ICE was seemingly adhering to this practice by not putting families
  in expedited removal and detention. Expedited and reinstatement of removal is discretionary and,
  at present, appears to be applied to families arbitrarily, dependent on available bed space in family
  detention centers.
  Of critical importance here, the vast majority of families placed into expedited removal or
  reinstatement of removal and subjected to family detention are fleeing the Northern Triangle
  countries of Guatemala, Honduras, and El Salvador. The region is undergoing a well-documented
  human rights crisis 33 and nearly 90% of individuals in family facilities from these countries pass
  their credible or reasonable fear interviews. 34 The use of expedited removal, reinstatement, and
  detention, against a population that has so overwhelmingly demonstrated credible claims is
  unnecessary and wasteful. Moreover, while the Committee believes strongly that bona fide asylum
  seekers in general should not be needlessly detained, this is particularly true for children, whose
  best interests must be paramount in all enforcement decisions pertaining to them. The harmful
  effects of detention on children are well established.
  Given that Secretary Johnson has acknowledged that deterrence should not be a factor in custody
  determinations and recognizing the myriad concerns about expedited removal and reinstatement of
  removal 35 raised by NGOs and others, DHS should discontinue the widespread application of
  expedited removal and reinstatement of removal to families. Instead, DHS should release asylum
  seeker families with a Notice to Appear unless DHS makes a determination, based on
  individualized factors, that a family presents a danger to the community or a risk of flight that
  cannot be mitigated. 36 Moreover, any decision to detain a family should be reviewed by ICE
  Headquarters and reassessed at the Headquarters level at least once a month.




  work and tourist visas; and others with significant ties or legal claims to be in the United States. Some individuals
  quickly deported through these processes are eligible for relief from deportation and would win the right to remain in
  the United States if brought before an immigration judge.”).
  32
     OFFICE OF INSPECTOR GENERAL, DEP’T OF HOMELAND SECURITY, OIG-15-22, U.S. IMMIGRATION AND CUSTOMS
  ENFORCEMENT’S ALTERNATIVES TO DETENTION (REVISED) 3 (Feb. 4, 2011),
  https://www.oig.dhs.gov/assets/Mgmt/2015/OIG_15-22_Feb15.pdf [Hereinafter OIG ISAP REPORT].
  33
     See, e.g., Diego Zavala, Fleeing for Our Lives: Central American Migrant Crisis, AMNESTY USA (Apr. 1, 2016,
  12:12 PM), http://blog.amnestyusa.org/americas/fleeing-for-our-lives-central-american-migrant-crisis/; Lily Folkerts,
  A Look at the Northern Triangle of Central America in 2016: Sustained Violence and Displacement, LATIN AMERICA
  WORKING GROUP (Aug. 15, 2016) http://www.lawg.org/action-center/lawg-blog/69-general/1709-a-look-at-the-
  northern-triangle-of-central-america-in-2016-sustained-violence-and-displacement.
  34
     AMERICAN IMMIGRATION LAWYERS ASS’N, DUE PROCESS, DENIED: CENTRAL AMERICANS SEEKING ASYLUM AND
  LEGAL PROTECTION IN THE UNITED STATES 3 (June 15, 2016), http://www.aila.org/infonet/report-due-process-denied
  (citing USCIS data at note 2).
  35
     INA § 241(a)(5), 8 U.S.C. § 1231(a)(5), 8 C.F.R. § 241.8. For a summary of reinstatement procedure and practice,
  see Trina Realmuto, American Immigration Council, Practice Advisory: Reinstatement of Removal (April 29, 2013),
  https://www.americanimmigrationcouncil.org/sites/default/files/practice_advisory/reinstatement_of_removal_4-29-
  13_fin.pdf.
  36
     See 8 C.F.R. § 236.1(c)(8); cf. Zadvydas v. Davis, 533 U.S. 678 (2001) (discussing permissible uses of civil
  immigration detention under INA § 241).


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  Recommendation 1-2: DHS should not use detention for the purpose of deterring future
  family migration or punishing families seeking asylum in the U.S. Any contrary policy is
  unlawful, and ineffective.
  Recommendation 1-3: DHS should return to its prior practice of not putting families into
  expedited removal and reinstatement of removal. Instead, DHS should place families in
  regular proceedings via issuance of a Notice to Appear and in all but the most unusual
  situations release them promptly as a family.
           B. Avoiding Detention During Credible and Reasonable Fear Processes
  Current practice indicates that DHS typically detains individuals under INA Section 235(b) and
  INA Section 241(a)(5) during the course of credible fear and reasonable fear interviews and
  following a negative credible or reasonable fear determination until removal. Although it has
  characterized such detention as mandatory, DHS has recognized and exercised humanitarian parole
  authority pursuant to INA Section 212(d)(5) to release individuals detained under INA Section
  235(b) for humanitarian reasons or a significant public benefit. 37 Regulations explicitly list as a
  category of immigrants meriting parole those “who have serious medical conditions in which
  continued detention would not be appropriate” or present medical emergencies, in addition to those
  whose release would favor law enforcement objectives. 38 Serious medical conditions include
  mental health conditions that may be exacerbated by prolonged detention and isolation.
  Many asylum seekers suffer from post-traumatic stress disorder, depression, anxiety disorders, and
  other psychological disorders 39 that qualify as serious medical conditions. For many of the women
  and children detained in FRCs, these medical conditions resulted from domestic violence, sexual
  assault, attempted sexual assault, and/or other traumatic events in their home country, during their
  travel, and after arriving in the U.S. UNHCR, in particular, has documented that many of the
  detained women and children have particularly high rates of trauma sustained both in the home
  country and en route to the U.S. 40 For mothers and children with these conditions, “continued


  37
     See INA § 212(d)(5)(A); 8 C.F.R. § 212.5(b). See, also, e.g., Decl. of Denise Gilman at ¶¶ 3-4, Flores v. Lynch, No.
  2:85-cv-04544 (C.D. Cal. Aug. 14, 2015), ECF 187-7, Exh. 96 (attesting to knowledge of instances in which asylum
  seekers placed in expedited removal were paroled pending their credible fear interviews); Arlington Asylum Office,
  Stakeholder Engagement Meeting Minutes (Feb. 25, 2015) at 6, http://www.ga-al.com/wp-
  content/uploads/2015/08/2015-02-25-Stakeholder-Meeting-Minutes.pdf (reporting that the number of pending non-
  detained credible fear cases was 308).
  38
     8 C.F.R. §§ 212.5(b)(1), 235(b)(4)(ii).
  39
     UNITED NATIONS HIGH COMM’R FOR REFUGEES, REFUGEE RESETTLEMENT: AN INTERNATIONAL HANDBOOK TO
  GUIDE RECEPTION AND INTEGRATION 233 (Oct. 1, 2002), http://www.unhcr.org/en-
  us/protection/resettlement/4a2cfe336/refugee-resettlement-international-handbook-guide-reception-integration.html
  (citing clinical studies that found rates of PTSD in refugees ranged from 39-100%, compared to 1% in the general
  population, and rates of depression in refugees ranged from 47-72%). See also CARA Family Detention Pro Bono
  Project, Office for Civil Rights and Civil Liberties Complaint, Ongoing Concerns Regarding the Detention and Fast-
  Track Removal of Children and Mothers Experiencing Symptoms of Trauma 2 (Mar. 28, 2016),
  http://www.aila.org/advo-media/press-releases/2016/cara-crcl-complaint-concerns-regarding-detention (“[M]any
  detained families suffer from Post-traumatic Stress Disorder (PTSD), anxiety, depression or other emotional or
  cognitive disorders”).
  40
     UNITED NATIONS HIGH COMMISSIONER FOR REFUGEES (UNHCR), WOMEN ON THE RUN (Oct. 2015),
  http://www.unhcr.org/en-us/publications/operations/5630f24c6/women-run.html; UNITED NATIONS HIGH COMMISSION


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  detention would not be appropriate.” 41 Numerous studies have documented how detention
  exacerbates existing mental trauma and is likely to have additional deleterious physical and mental
  health effects on immigrants – particularly traumatized persons like asylum seekers. 42 NGOs
  maintain that it is especially inappropriate to detain women and children given allegations of
  sexual abuse in FRCs 43 that threaten to further traumatize detainees, many of whom fled their
  countries due to sexual violence. 44
  Many mothers and children in family detention may also have suffered crime victimization or
  domestic violence while in the U.S. or were trafficked to the U.S., and could qualify for a U-visa,
  VAWA self-petition, or T visa as a result. Children who have been abused, abandoned, or
  neglected by one of their parents may qualify for Special Immigrant Juvenile Status (SIJS).
  Detention, however, prevents women and children from learning about and pursuing these other
  forms of relief, especially as ICE fails to screen for or even inform them of such relief. Detention
  may also impede law enforcement objectives by hindering cooperation with authorities regarding
  crimes – necessary in particular for U-visa applicants. 45 Potential eligibility for any of these forms
  of relief should counsel in favor of release.



  FOR REFUGEES (UNHCR), CHILDREN ON THE RUN (Mar. 2016), http://www.unhcr.org/en-us/about-
  us/background/56fc266f4/children-on-the-run-full-report.html?query=children%20on%20the%20run.
  41
     8 C.F.R. § 212.5(b)(1).
  42
     Katy Robjant, Rita Hassan, & Cornelius Katona, Mental Health Implications of Detaining Asylum Seekers:
  Systematic Review, THE BRITISH J. OF PSYCHIATRY, 306-312 (Apr. 2009),
  http://bjp.rcpsych.org/content/bjprcpsych/194/4/306.full.pdf; IACHR OCTOBER 2015 REPORT, supra note 27, ¶ 145;
  LUTHERAN IMMIGRANT REFUGEE SERVICES (LIRS) AND THE WOMEN’S REFUGEE COMMISSION (WRC), LOCKING UP
  FAMILY VALUES, AGAIN, supra note 27; American Immigration Lawyers Ass’n,et al., Office for Civil Rights and Civil
  Liberties Complaint, The Psychological Impact of Family Detention on Mothers and Children Seeking Asylum (June
  30, 2015) http://www.aila.org/advo-media/press-releases/2015/impact-family-detention-mental-health/complaint-crcl;
  Unitarian Universalist Service Center, No Safe Haven Here: Mental Health Assessment of Women and Children Held
  in U.S. Immigration Detention (Oct. 2015),
  ,https://www.researchgate.net/publication/283014905_No_Safe_Haven_Here_Mental_Health_Assessment_of_Wome
  n_and_Children_Held_in_US_Immigration_Detention; CARA Family Detention Pro Bono Project, Office for Civil
  Rights and Civil Liberties Complaint, Ongoing Concerns Regarding the Detention and Fast-Track Removal of
  Children and Mothers Experiencing Symptoms of Trauma, supra note 39.
  43
     Mexican American Legal Defense and Educational Fund, et al., [CRCL] Complaints Regarding Sexual Abuse of
  Women in DHS Custody at Karnes County Residential Center (Sept. 30, 2014),
  http://www.maldef.org/assets/pdf/2014-09-30_Karnes_PREA_Letter_Complaint.pdf; Renée Feltz, Immigration
  Facility Guard Given Jail Time for Sexual Assault of Detainee, THE GUARDIAN (Apr. 23, 2016, 7:00 PM)
  https://www.theguardian.com/us-news/2016/apr/23/immigration-detention-center-guard-sexual-assault-prison
  (describing sexual assault at Berks County Residential Center);
  44
     U.S.: Trauma in Family Immigration Detention, HRW.ORG (May 15, 2015, 12:22 PM)
  https://www.hrw.org/news/2015/05/15/us-trauma-family-immigration-detention-0; AMERICAN CIVIL LIBERTIES
  UNION, IMMIGRANT FAMILY DETENTION IN THE UNITED STATES 1 (Apr. 17, 2015),
  https://www.aclu.org/files/field_document/ACLU%20-%20Family%20Detention.pdf (“According to Physicians for
  Human Rights and the Bellevue/NYU Program for Survivors of Torture, detention can also exacerbate the trauma
  experienced by both children and adults who have fled violence in their home countries…In addition, there have been
  allegations of abusive conditions at the different family detention facilities, including sexual abuse, threats by guards
  to separate mothers from their children, retaliation against mothers for engaging in actions to protest their detention,
  and inadequate mental health and medical care.”).
  45
     Research has found both U visa victims and VAWA self-petitioners who have begun the process of filing for
  immigration relief under these programs call the police to report crimes at significant rates. This is true although


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  In addition to these humanitarian concerns, release of mothers and children from detention would
  have significant public benefit, a factor favoring release under the statute. The argument for public
  benefit has been made by NGOs that cite to the high cost of immigration detention and point to
  “the cost created for U.S. taxpayers of needless, long-term detention of individuals seeking
  protection.” 46 These NGOs and others additionally assert that due process violations impede the
  ability of detained families to effectively apply for asylum while detained, creating situations
  contrary to the public interest in which bona fide refugees are returned to face continued
  persecution, including death, in their countries of origin. 47
  DHS policy guidance on discretionary factors to consider in enforcement decisions so as to free up
  limited law enforcement resources for more pressing cases supports the release of families during
  credible fear processes. Secretary Johnson’s November 2014 Policies for the Apprehension,
  Detention and Removal of Undocumented Immigrants memorandum addresses issues pertinent to
  the release of families; it specifically states:
           Absent extraordinary circumstances or the requirement of mandatory detention, field
           office directors should not expend detention resources on aliens who are known to
           be suffering from serious physical or mental illness, who are disabled, elderly,
           pregnant, or nursing, who demonstrate that they are primary caretakers of children
           or an infirm person, or whose detention is otherwise not in the public interest . . . If
           an alien falls within the above categories and is subject to mandatory detention, field


  VAWA self-petitioners have no cooperation requirement related to the VAWA self-petitioning program. KRISZTINA E.
  SZABO, DAVID STAUFFER, BENISH ANVER & LESLYE E. ORLOFF, EARLY ACCESS TO WORK AUTHORIZATION FOR
  VAWA SELF-PETITIONERS AND U VISA APPLICANTS, NATIONAL IMMIGRANT WOMEN’S ADVOCACY PROJECT 31–32
  (Feb. 12, 2014), http://niwap.org/reports/Early-Access-to-Work-Authorization.pdf (36.2% of VAWA self-petitioners
  and 25% of U visa victims file police reports for future abuse after filing their immigration cases and 73.1% of U visa
  victims actively cooperate in criminal investigations and prosecutions); LESLYE ORLOFF, LEVI WOLBERG, & BENISH
  ANVER, U-VISA VICTIMS AND LAWFUL PERMANENT RESIDENCY, NATIONAL IMMIGRANT WOMEN’S ADVOCACY
  PROJECT (Sept. 6, 2012), http://library.niwap.org/wp-content/uploads/2015/pdf/PB-Tkit-
  UVisaLawfulPermanentResidency-9.6.12.pdf (70% of U visa victims continue actively to cooperate in criminal
  investigations and prosecutions and another 29% want to offer cooperation but the criminal investigation or
  prosecution in their case is not moving forward).
  46
     LIFELINE ON LOCKDOWN, supra note 28, at 30 (indicating that DHS requested an allocation of $2.2 billion for
  immigration detention in FY 2017); AMERICAN CIVIL LIBERTIES UNION, ALTERNATIVES TO IMMIGRATION DETENTION:
  LESS COSTLY AND MORE HUMANE THAN FEDERAL LOCK-UP (2015),
  ,https://www.aclu.org/sites/default/files/assets/aclu_atd_fact_sheet_final_v.2.pdf (citing Senate estimates that family
  detention costs $266 per person per day in 2014).
  47
     GUILLERMO CANTOR & TORY JOHNSON, AMERICAN IMMIGRATION COUNCIL, DETAINED, DECEIVED, AND DEPORTED
  (May 2016),
  https://www.americanimmigrationcouncil.org/sites/default/files/research/detained_deceived_deported_experiences_of
  _recently_deported_central_american_families.pdf; Sibylla Brodzinsky & Ed Pilkington, U.S. Government Deporting
  Central American Migrants to their Deaths, THE GUARDIAN (Oct. 12, 2015, 8:57 AM),
  https://www.theguardian.com/us-news/2015/oct/12/obama-immigration-deportations-central-america (discussing a
  study finding that as many as 83 Central American migrants were murdered soon after being deported from the U.S. in
  2015); Letter from Benjamin Johnson, American Immigration Council, et al., to Léon Rodríguez, Director, U.S.
  Citizenship and Immigration Services, and Sarah Saldaña, Director, Immigration and Customs Enforcement (Dec. 24,
  2015), http://www.aila.org/advo-media/aila-correspondence/2015/letter-uscis-ice-due-process (enumerating a number
  of due process concerns implicated in family detention and warning against “the danger of wrongfully returning
  someone – especially a child – to the very danger that prompted his or her family’s flight”).


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          office directors are encouraged to contact their local Office of Chief Counsel for
          guidance. 48 (emphasis added)
  Families seeking asylum fall into a number of the categories articulated by Secretary Johnson. We
  have stated above that expedited removal, reinstatement of removal, and detention is not
  mandatory for these families and even if it were, the memorandum indicates that release may
  nonetheless be appropriate. In the past, the government has released individuals in expedited
  removal before they underwent their credible fear interviews. The Committee requested
  information related to this issue but it was not produced. So it is unclear to us whether there are
  clear guidelines on when immigrants in expedited removal or reinstatement of removal can be
  paroled prior to a positive credible fear or reasonable fear determination. Per statute and
  regulations, and given the humanitarian, public benefit, and other considerations described in this
  section, if DHS chooses to place families in expedited or reinstatement of removal
  (notwithstanding the earlier recommendation to cease doing so), it should broadly grant parole or
  release rather than detention for families.
  Disconcertingly, recent evidence suggests that some families are separated and adults detained and
  placed in expedited removal or reinstatement proceedings while children are sent to the Office of
  Refugee Resettlement. 49 Family separation in these circumstances raises serious concerns and
  violates the best interests of the child – which requires prioritizing family integrity and the
  maintenance of emotional ties and relationships among family members. The same family integrity
  and unity considerations favor joint release of families with other family members in the U.S. (and
  who often may be mixed-status families). The best interests of the child should be paramount in all
  custody decisions regarding family members apprehended by DHS, including in the custody
  decisions about adults arriving with their children, and should favor release of the whole family
  together as soon as possible – even if some family members are undergoing expedited removal or
  reinstatement procedures.
  If DHS does detain a family, ICE should immediately work to facilitate release as soon as possible,
  verifying community ties, and putting in place release provisions that mitigate flight risks.
  Situations may change, as well, as a family’s immigration case proceeds.
  Recommendation 1-4: Even if (notwithstanding Recommendation 1-2) DHS chooses to place
  a family or any family members in expedited removal or reinstatement of removal
  proceedings, DHS should generally exercise its authority to release family members, together
  as a family, as soon as possible. Detention should be only long enough to process a family for
  release into alternatives to detention, and any decision to detain rather than release should be
  reviewed at least monthly at the ICE Headquarters level. When DHS concludes that it
  should, or must, release a child from family detention it should release the child with her
  parent and siblings absent extraordinary circumstances, given the traumatic and detrimental


  48
     Memorandum from Jeh Charles Johnson, Secretary of Homeland Security, Policies for the Apprehension, Detention
  and Removal of Undocumented Immigrants 5 (Nov. 20, 2014),
  https://www.dhs.gov/sites/default/files/publications/14_1120_memo_prosecutorial_discretion.pdf.
  49
     Leigh Barrick, Divided By Detention: Asylum Seeking Families’ Experience of Separation, AMERICAN
  IMMIGRATION COUNCIL (Aug. 31, 2016), https://www.americanimmigrationcouncil.org/research/divided-by-detention-
  asylum-seeking-families-experience-of-separation.


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  impact of that separation, and because in most cases, there are less restrictive means to
  ensure the parent’s continued participation in the legal process.
           C. Inconsistency in Criteria for Release of Families
  With the expansion of family detention following the “surge” in the summer of 2014, families
  were kept in detention for months or up to a year, even with a positive credible fear or reasonable
  fear determination. 50 This occurred notwithstanding DHS guidance that set the presumption that
  immigrants with a positive credible fear or reasonable fear determination should be released from
  detention. A 2009 memorandum from ICE provides guidance on Parole of Arriving Aliens Found
  to Have a Credible Fear of Persecution or Torture and requires that persons found to have a
  credible fear be automatically reviewed by ICE for parole eligibility with a decision no more than
  7 days after the parole interview. 51 The stated purpose of the memorandum was to “explain[] how
  the term [“public interest”] is to be interpreted by DRO when it decides whether to parole.” 52 The
  memorandum instructs that parole should be granted following a positive credible fear
  determination if the person establishes identity, poses no danger to the community and is not a
  flight risk because “continued detention is not in the public interest.” 53 Although the 2009 parole
  memorandum applies explicitly only to “arriving aliens” – immigrants who arrive at an official
  port of entry or via interdiction at sea – the recognition that the public interest favors release of
  bona fide asylum seekers applies broadly to any asylum seeker who has established credible fear or
  reasonable fear, whether an “arriving alien” or not. Moreover, for those pursuing asylum in regular
  immigration proceedings, the Immigration and Nationality Act generally does not require


  50
     ELEANOR ACER & OLGA BYRNE, HUMAN RIGHTS FIRST, U.S. DETENTION OF FAMILIES SEEKING ASYLUM: A ONE-
  YEAR UPDATE 1 (June 2015), http://www.humanrightsfirst.org/sites/default/files/hrf-one-yr-family-detention-
  report.pdf (“About five thousand children and mothers have been held in U.S. immigration detention since June 2014.
  Some have been held for nearly a year, and as of April 25, 2015, nearly one-third has spent more than two months in
  U.S. detention facilities.”); IACHR OCTOBER 2015 REPORT, supra note 27, at ¶5 (“According to the information
  received, families for whom there is capacity at an immigration detention center are automatically and arbitrarily being
  detained for the duration of the immigration proceedings initiated against them, even in cases where the mother has
  passed an initial asylum screening.”); Id. at ¶138 (“[F]or those families who were eligible for bond and a custody
  review, the Commission observed with concern that those families are usually being kept in detention for the duration
  of their immigration proceedings…ICE attorneys have been arguing since the peak of arrivals in 2014 that every
  family at Karnes must remain detained because they ‘pose a danger to national security,’ as well as for ‘deterrence of
  mass illegal migration.’”); Complaint at ¶¶4–5, RILR v. Johnson (D.D.C. 2014), https://www.aclu.org/legal-
  document/rilr-v-johnson-complaint (“[B]eginning in June 2014, faced with increased numbers of Central American
  migrants entering or seeking to enter the United States through the southwest border, DHS decided to start detaining
  families in large numbers. At the same time, DHS adopted a blanket No-Release Policy for Central American families
  in order to deter additional migrants from coming to the United States. Under this policy, even though Plaintiffs have
  all demonstrated a credible fear of persecution – entitling them to pursue their asylum claims before the immigration
  court – and even though they are eligible under the immigration laws to be considered for release on bond,
  recognizance, or other conditions, Defendants [DHS] are refusing to consider them for release and instead ordering
  their continued detention.”); ABA FAMILY DETENTION REPORT, supra note 17, at 24 (“Between June 2014 and
  February 2015, ICE denied release to nearly all detained families in its initial custody determination, even those who
  had passed their screening interviews.”).
  51
     U.S. Immigration and Customs Enforcement, Directive No. 11002.1, Parole of Arriving Aliens Found to Have a
  Credible Fear of Persecution or Torture ¶ 8.2 (Dec. 8, 2009), https://www.ice.gov/doclib/dro/pdf/11002.1-hd-
  parole_of_arriving_aliens_found_credible_fear.pdf.
  52
     Id. at ¶4.4.
  53
     Id. ¶ 6.2.


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  detention but instead broadly favors release unless ICE demonstrates individualized danger or
  flight risk. 54 Absent such showing, the presumption should be to release or parole any families
  who establish a credible or reasonable fear.
  The November 2014 memorandum from Secretary Johnson, referred to above, supports this
  position. The memorandum lists as a Priority 1 category for enforcement “aliens apprehended at
  the border or ports of entry while attempting to unlawfully enter the United States…unless they
  qualify for asylum or another form of relief under our laws, or unless…there are compelling and
  exceptional factors that clearly indicate the alien is not a threat to national security, border security,
  or public safety and should not therefore be an enforcement priority.” 55 As mentioned previously,
  DHS has found credible fear or reasonable fear for 90% of mothers and children held in family
  detention. Parents and children seeking protection and especially those who have been found to
  have a credible or reasonable fear of persecution or torture should not be viewed as an enforcement
  priority, and costly detention resources should not be expended on them. 56
  A similar presumption should apply for those parents and children in detention who might qualify
  for Violence Against Women Act (VAWA), T or U visa immigration relief based on having
  suffered crime victimization in the U.S., even if they do not establish credible fear. Credible and
  reasonable fear processes are not designed to uncover such eligibility and DHS does not currently
  screen separately for it.
  Moreover, ICE should ensure that presumptions against the use of detention for families apply
  equally to men and women. Currently, the criteria and conditions for admissions and releases of
  mothers with minor children and fathers with minor children appear to be different and arbitrary,
  with insufficient justification. Historically, fathers and their children have been assigned to Berks
  only. During the ACFRC’s summer 2016 site visit of Berks there were no fathers present. This is
  consistent with reports by advocates that fathers with children had either been released to the
  community or separated from their families, with the fathers assigned to detention facilities
  designated for housing adult males and their children transferred to the custody of Office of
  Refugee Resettlement (ORR). ICE has declined to answer the Committee’s questions on this topic,
  either as to current or future practice.
  Following the February 2015 RILR v. Johnson decision 57 and July 2015 Flores v. Johnson
  decision, 58 it appears that DHS changed some of its policies and the amount of time that

  54
     See INA § 236; 8 C.F.R. § 236.3. Mandatory detention during the course of removal proceedings is required only for
  certain classes of individuals based on criminal history, national security risk, or ties to terrorism – generally not
  applicable to any of the mothers and children in family detention. INA § 236(c).
  55
     Memorandum from Jeh Charles Johnson, supra note 48, at 3 (emphasis added).
  56
     Id. at 5.
  57
     RILR v. Johnson was a class action by mothers and children in family detention with a positive credible fear
  determination who alleged that the government had effectively adopted a “no-release policy,” which interfered with
  their ability to pursue asylum and violated U.S. immigration law as well as constitutional right to due process. On
  February 20, 2015, the U.S. District Court for the District issued a preliminary injunction prohibiting the government
  from using deterrence as a factor in family custody decisions. Court Order, RILR v. Johnson, supra note 24. The
  preliminary injunction was dissolved – with agreement of parties– after DHS announced a new policy whereby it
  would abide by the injunction terms.
  58
     Flores v. Johnson, 2:85-cv-04544 (C.D. Cal. July 24, 2015), http://www.clearinghouse.net/chDocs/public/IM-CA-
  0002-0017.pdf.


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  immigrants are held in family detention has shrunk substantially. ICE announced in July 2015 that
  it would generally not detain a family (a mother and her child(ren)) if they had a positive credible
  or reasonable fear determination. 59 ICE recently reported that 94% of people are released from
  family detention within 30 days, and the majority sooner, within 10-20 days. 60 However, it is
  critical to note that while it appears most people in family detention are being released more
  quickly, there are others that continue to be held for long periods. A group of 22 women detained
  with their children at Berks in August 2016 engaged in a hunger strike to protest their detention
  “from 270 days to 365 days . . . with children ages 2 to 16 years old,” according to their open letter
  to Secretary Johnson. 61 Although some of these women and children may have been contesting
  negative credible or reasonable fear determinations or possibly subject to reinstatement of removal
  (a process separate from expedited removal), the length of time is nevertheless concerning.
  Asylum seekers should not be subject to prolonged detention absent individualized danger or flight
  risk that cannot be mitigated. Moreover, as mothers and children are not being informed about or




  59
     Email from Richard Rocha, U.S. Immigration and Customs Enforcement Spokesperson, ICE July 2015 Family
  Detention Announcement (July 13, 2015), http://immigrantjustice.org/ice-july-2015-family-detention-announcement.
  60
     Decl. of Jon Gurule, supra note 6, at, ¶13 Decl. of Jon Gurule at ¶ 13, Flores v. Holder, No. 2:85-cv-04544 (C.D.
  Cal. , ¶13 (June 3, 2016), www.clearinghouse.net/chDocs/public/IM-CA-0002-0030.pdf (stating that 94% of people in
  family detention from 10/23/2015-5/16/2016 were detained for 30 days or less). Decl. of Joshua Reid, Assistant Field
  Office Director for ICE at the Berks Family Residential Center, Flores v. Holder, No. 2:85-cv-04544 (C.D. Cal. June
  3, 2016) at ¶7, http://www.clearinghouse.net/chDocs/public/IM-CA-0002-0030.pdf (“Soon after arrival at the BFRC,
  ERO will review the family’s alien files, briefly interview the Head of Household (HOH) in order to verify previously
  provided information, to include potential sponsors…”); Decl. of Juanita Hester, Flores v. Holder, No. 2:85-cv-04544
  (C.D. Cal. June 3, 2016) ¶ 4, http://www.clearinghouse.net/chDocs/public/IM-CA-0002-0029.pdf (“Staff will begin
  efforts to identify sponsors and future release options as soon as practicable after a family is booked into KCRC. ERO
  FRC staff will interview the head of household (i.e. the adult parent or legal guardian accompanying the child or
  children) to determine if the child or children has/have another parent or legal guardian in the United States to whom
  the child or children may be released.”); Decl. of Valentin de la Garza, Flores v. Holder, No. 2:85-cv-04544 (C.D. Cal.
  June 3, 2016) ¶ 7, http://www.clearinghouse.net/chDocs/public/IM-CA-0002-0029.pdf (“Since October 2015,
  ICE/ERO has updated its procedures to ensure families are processed as expeditiously as possible…ERO FRC staff
  will being efforts to identify sponsors and future release options as soon as practicable after a family is booked into
  STFRC. ERO FRC staff will interview the head of household to determine if the child or children has another parent
  or legal guardian in the United States to whom that child or children may be released.”). See also ABA FAMILY
  DETENTION REPORT, supra note 17, at 27 (chart showing changes in family detention pre-2014, post-surge, and post-
  RILR/Flores); USCIRF REPORT, supra note 14, at 12 (indicating that USCIRF observed a similar timeline as that
  described by ICE with CFI usually within 14 days after USCIS receives referral and immigration judge review of
  negative determinations usually happens within a week); Josh Gerstein, Johnson: Feds Looking at Family Immigration
  Detention Changes, POLITICO (Aug. 4, 2016, 7:39 PM), http://www.politico.com/blogs/under-the-
  radar/2016/08/johnson-dhs-looking-at-family-detention-changes-in-wake-of-court-ruling-226694 (quoting Peter
  Schey, President and Executive Director of the Center for Human Rights and Constitutional Law, who is leading the
  effort to enforce the Flores settlement: “Detention [of families] has gone from an average of 60-plus days to an
  average of about 10 days.”).
  61
     Berks County Residential Center Detainees, Open Letter to Jeh Johnson (Aug. 10, 2016),
  http://www.humanrightsfirst.org/sites/default/files/BerksWomenLettertoJohnson.pdf. It should also be noted that
  although Flores and RILR have had an ameliorative effect on family detention, it does not apply across the board to
  immigration detention more generally. See, e.g., LIFELINE ON LOCKDOWN, supra note 28, at 3 (91% of nonprofit
  attorneys consulted for the report stated that “ICE denies parole in cases where asylum seekers appear to meet all the
  criteria for release” and data from a FOIA request by the ACLU/CGRS showed that only 47% of parole requests were
  granted in the first nine months of 2015.).


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  screened for other forms of immigration relief, individuals eligible for U visas, T visas, VAWA, or
  Special Immigrant Juvenile Status may be among those detained longer periods of time.
  We note that a year in detention, particularly in the life of a child, is an extraordinarily long time
  that has serious repercussions for legal access, education, medical and mental health, and civil
  liberties more generally. Such detention should not be prolonged regardless of the status of a legal
  claim to protection. Prolonged detention of families should be an absolute last resort, used only
  when no conditions can mitigate serious danger to the community or serious risk of flight.
  In July 2016, the 9th Circuit upheld the District Court’s Flores ruling as to the minors in custody
  but held that the District Court had erred in interpreting the settlement to require the release of
  accompanying adults. 62 However, this decision does not authorize family detention, does not affect
  ICE’s ability to release parents with their children, and in no way requires separation or continued
  detention.
  For the humanitarian, public interest, and other reasons discussed above, ICE should not resort to
  detaining parents separately from their children and should not seek continued justification for the
  detention of families.
  Recommendation 1-5: Children should not be separated from their parents in order to
  continue to detain the adults, or to continue to hold the children by placing them in ORR
  care.
  Recommendation 1-6: To avoid inappropriate gender-based disparate treatment, and in
  keeping with the recommended criteria and conditions, the presumption of release together
  as a family should apply equally to mothers and fathers arriving with minor children, and
  neither fathers nor mothers should face separation from their minor children.
  Recommendation 1-7:
         a) As soon as practicable, DHS should check its systems for pending VAWA, T, or U
            applications for any families in detention. If present, families should be released and
            any expedited removal or reinstatement processes against them halted pursuant to
            DHS’s prosecutorial discretion or other authority to ensure eligibility for crime-based
            relief. DHS should also expeditiously process families’ pending applications for other
            relief.
         b) Going forward, DHS should ensure timely screening, prompt release, and
            preservation of eligibility for individuals in family detention who may have claims for
            crime-based immigration relief. DHS should not detain immigrant crime victims with
            pending and approved VAWA confidentiality-protected cases. Children of VAWA
            confidentiality-protected victims should be released along with their parents without
            regard to whether the children are included in the victims’ application.




  62
       Flores v. Lynch, 828 F.3d 898 (9th Cir. 2016).

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           D. Unduly Onerous Conditions of Release
  When DHS releases individuals from detention, it may generally do so on recognizance, parole,
  bond, or conditions of supervision. At present, a condition commonly imposed includes enrollment
  in a program known as the Intensive Supervision Appearance Program (ISAP). ICE is also piloting
  a case management-based alternatives-to-detention program for families, which remains limited in
  scope.
  For many families, release on recognizance with information about rights and responsibilities and
  referrals to legal services and psycho-social supports is sufficient to ensure compliance with
  immigration proceedings. Other families may benefit from community-based case management
  alternatives to detention or case management programs that provide more robust support. Only
  where an individualized assessment has demonstrated need does it make sense to enroll a family in
  a more intensive form of supervision such as the Intensive Supervision Appearance Program. The
  Committee requested information from ICE regarding release on bond and bond amounts, and ICE
  declined to provide such information. Therefore, the Committee has looked to other credible
  sources of information on bond practice. It has been reported that when DHS releases individuals
  on bond, it often imposes amounts that are too high for families to afford, and then defends those
  high amounts when individuals who are eligible for a bond hearing ask an immigration judge to
  lower bond. 63 According to the August 2016 report from the United States Commission on
  International Religious Freedom (USCIRF):
           [D]uring USCIRF monitoring visits at ICE detention centers and in meetings with
           ICE officials and legal service providers…USCIRF heard of bond amounts ranging
           from $1,500 minimum to $7,000. When ICE officials were asked how a bond rate
           was determined, one detention supervisor said they give a blanket $2,000 bond rate
           because ‘that is a number we are comfortable with from the INS days.’ An ICE
           official at headquarters said bond rates are determined in different areas based on
           bed space – rates are lower when there are fewer beds available since there is
           nowhere to detain the individual and vice versa.” 64
  In July 2016, Human Rights First released a report in which they surveyed attorneys around the
  country, nearly 70% of whom reported that ICE sets bond too high for asylum seekers and
  immigrants to pay. 65



  63
     Human Rights First, A One-Week Snapshot: Human Rights First at Dilley Family Detention Facility Post-Flores
  Ruling (Aug. 2015), http://www.humanrightsfirst.org/sites/default/files/A%20One-Week%20Snapshot-
  %20Human%20Rights%20First%20at%20Dilley%20Family%20Detention%20Facility%20Post-
  Flores%20Ruling%20ob.pdf (describing 40 cases where initial bond was set between $7,000-$9,500, including one
  case in which “an ICE trial attorney stated that he had received instructions to ‘vigorously contest’ release of mothers
  and children on conditional parole and to ‘request high bond amounts’ instead. Even when mothers had close family
  ties in the United States and presented no safety risks, ICE argued that the family was a flight risk as justification for
  denying release, or demanding high bonds.”).
  64
     USCIRF REPORT, supra note 14, at 47-48.
  65
     LIFELINE ON LOCKDOWN, supra note 28, at 25. See also IACHR OCTOBER 2015 REPORT, supra note 27, ¶ 138 (“[A]t
  the culmination of bond hearings, immigration judges have been setting extremely high bond amounts, up to $15,000
  or more, such that those who may qualify to be released are unable to meet the required amount.”); USCIRF REPORT,


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  In June 2015, Secretary Johnson announced that he had worked with ICE Director ICE Sarah
  Saldaña to ensure that the bond would be set at an amount that is “reasonable” and based on an
  assessment of the family’s ability to pay. 66 However, sources have reported that this policy has not
  been implemented and it does not appear that ICE has issued any formal guidance to field offices
  instructing ICE officers how to assess a family’s ability to pay. 67 This is concerning particularly as
  asylum seeker families, many of whom were impoverished in their home countries and/or forced to
  flee with nothing, are especially likely to have limited ability to pay even a low bond.
  Whether or not immigrants are required and able to pay bond, they have been frequently enrolled
  in the ISAP upon release from detention. 68 ISAP widely imposes electronic surveillance –
  including for most mothers released from family detention – in the form of ankle monitors, which
  participants have described as physically painful, traumatizing, and humiliating. 69 ISAP is run by a
  for-profit firm, Behavioral Interventions Incorporated, which was acquired by the GEO Group in
  2010. 70 The Request for Expressions of Interest published by ICE when looking to award the ISAP
  III contract describes the program as relying on telephonic reporting, unannounced home visits,
  and in-person interviews at an assigned ISAP office, in addition to the electronic monitoring
  devices. 71



  supra note 14, at 59 (reporting “USCIRF heard from several NGOs and legal service providers of bond rates as high at
  $7,500, much higher than the statutory minimum of $1,500”).
  66
     Statement by Secretary Jeh Johnson, supra note 1.
  67
     LIFELINE ON LOCKDOWN, supra note 28, at 25 (“[I]t is not clear whether ICE has issued any formal guidance to field
  offices instructing ICE officers how to assess an individual’s ability to pay – with respect to families in detention or
  individuals generally. Reports from attorneys serving asylum seekers and other immigrants do not indicate that any
  such policy has been implemented.”) The Committee requested information about bonds and bond amounts but ICE
  declined to provide any information.
  68
     ISAP I was originally piloted in ten cities from 2004-2009. In June 2008, Congress funded the first year of the
  nationwide ISAP II program. And in November 2014 Congress appropriated $90 million for the existing ISAP III
  program. OIG ISAP REPORT, supra note 32, at 3.
  69
     See, e.g., Oakland Centro Legal de la Raza, et al., Office for Civil Rights and Civil Liberties Complaint, Violations
  of Due Process and Liberty Rights of Asylum Seekers by U.S. Immigration and Customs Enforcement through the Use
  of the Intensive Supervision and Appearance Program (ISAP) (Apr. 20, 2016) at 6–14, http://centrolegal.org/wp-
  content/uploads/2016/05/Complaint-to-OCRCL-Cover-Letter.pdf [Hereinafter Oakland Centro Legal de la Raza, et al.
  Complaint]; E.C. Gogolak, Ankle Monitors Weigh on Immigrant Mothers Released From Detention, N.Y. TIMES (Nov.
  15, 2015), http://www.nytimes.com/2015/11/16/nyregion/ankle-monitors-weigh-on-immigrant-mothers-released-from-
  detention.html?_r=1.
  70
     Lutheran Immigration and Refugee Service, Backgrounder: Alternatives to Detention (ATD): History and
  Recommendations (July 6, 2015), http://lirs.org/wp-content/uploads/2015/07/LIRS-Backgrounder-on-Alternatives-to-
  Detention-7.6.15.pdf.
  71
     Intensive Supervision Appearance Program (ISAP III): Request for Expressions of Interest (July 26, 2014),
  http://www.dgmarket.com/tenders/np-notice.do?noticeId=10972659. (“ISAP III is a core community-based
  supervision and in-person reporting program designed to provide cost-effective electronic monitoring supervision and
  case management for individuals who are not subject to mandatory detention but have been determined to require a
  higher level of monitoring than being released on recognizance or with bond conditions alone. These individuals may
  be at any stage in the Immigration Court system. Activities of aliens released from ICE custody and placed in the
  program (i.e. participants) may be monitored by case specialists (i.e. contractors) or directly by the ICE officers
  themselves. Aliens participating in this alternative program must comply with a variety of activities and reporting
  requirements designed to successfully reintegrate the alien into his or her community while navigating the immigration
  process from initial of proceedings through departure. Program requirements for compliance include, but are not
  limited to: unannounced home visits, scheduled office visits, electronic monitoring, and submission of a valid travel


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  When ISAP expanded to a nationwide program in 2009, ERO identified three high priority
  categories: “(1) aliens with final removal orders who are not removable from the United States and
  cannot be legally held in custody more than 6 months, but who are a danger to the community; (2)
  aliens in removal proceedings, not issued final removal orders, who are at high risk of absconding;
  and (3) aliens with final removal orders, previously released under supervision, who violate the
  terms of supervision by committing crimes or otherwise fail to comply with release conditions.” 72
  None of these categories applies as a blanket matter to individuals held in family detention.
  However, it appears that ICE is routinely requiring ISAP, including ankle monitors, as a general
  condition of release from family detention. 73
  In 2011, ERO headquarters changed the criteria for participation in ISAP and instructed field
  offices to “limit GPS monitoring for aliens who did not yet have a removal order, but were waiting
  to appear in immigration court . . . ERO headquarters recommended using another monitoring
  method during this period, such as having participants report telephonically.” 74 However, USCIRF
  concluded in its August 2016 report that “it appears that electronic monitoring is being used
  extensively without full individualized assessments of whether an asylum seeker is a non-
  appearance risk.” 75 In fact, Secretary Johnson told the House Judiciary Committee that ICE was
  “ramping up” its use of ankle monitors and intended to double the number of monitors from
  23,000 in 2015 to 53,000 in 2016. 76
  Many civil society organizations have raised concerns about ISAP and the use of electronic
  monitors, including a group of 17 NGOs who filed a DHS Office for Civil Rights and Civil
  Liberties (CRCL) complaint about ISAP in April 2016; 77 the American Bar Association in a letter
  to Secretary Johnson in March 2016; 78 73 organizations in a letter to Secretary Johnson and


  document. To ensure successful outcomes, the program relies on Electronic Monitoring (EM) devices, telephonic
  reporting and unannounced home visits. Participants must also report to their assigned ISAP office regularly for face-
  to-face interviews.”).
  72
     OIG ISAP REPORT, supra note 32, at 4.
  73
     E.g., A group of CA-based NGOs have an internal ICE email dated May 15, 2015 stating that “Absent extraordinary
  circumstances, all persons released from a family residential center or adult detention facility by ERO will be enrolled
  in some form of ATD under the provisions of the ISAP II contract.” Oakland Centro Legal de la Raza, et al,
  Complaint, supra note 69, at n.17 (“The reliance on ankle shackles, along with burdensome reporting requirements
  and arbitrary practices, interferes with the due process and liberty rights of the complainants – primarily mothers –
  fleeing severe harm in their countries of origin and seeking protection in the United States.”). The complaint was
  submitted by the following organizations: Centro legal de la Raza, Community Legal Services of East Palo Alto, the
  East Bay Community Law Center, and members of the San Francisco Immigrant Legal Defense Collaborative – Asian
  Pacific Islander Legal Outreach, Central American Community Resource Center, Center for Gender & Refugee
  Studies, Dolores Street Community Services, Immigration Center for Women and Children, Immigrant Legal
  Resource Center, La Raza Centro Legal, La Raza Community Resource Center, Lawyers’ Committee for Civil Rights
  of the San Francisco Bay Area, Legal Services for Children, Pangea Legal Services, the Bar Association of San
  Francisco, and University of San Francisco Immigration and Deportation Defense Clinic.
  74
     OIG ISAP REPORT, supra note 32, at 7.
  75
     USCIRF REPORT, supra note 14, at 48.
  76
     Molly Hennesy-Fiske, Immigrants Object to GrowingUse of Ankle Monitors After Detention, L.A. TIMES (Aug. 2,
  2015, 3:30 AM), available at http://www.latimes.com/nation/immigration/la-na-immigrant-ankle-monitors-20150802-
  story.html.
  77
     Oakland Centro Legal de la Raza, et al. Complaint, supra note 69, at 1.
  78
     Letter from Paulette Brown, President, American Bar Association, to Jeh Johnson, Secretary, Department of
  Homeland Security (Mar. 18, 2016),


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  Deputy Secretary Mayorkas in Feb 2016; 79 and the CARA Family Detention Pro Bono Project
  (consisting of the American Immigration Lawyers Association, the American Immigration
  Council, the Catholic Legal Immigration Network, and the Refugee and Immigrant Center for
  Education and Legal Services) in a letter to ICE Director Saldaña in July 2015. 80 Many of the
  concerned organizations have indicated that there is no clarity around either the criteria for putting
  individuals on ISAP or for de-escalation (such as having monitors removed). 81 They raise serious
  concerns about ISAP and the use of electronic monitors including physical and mental
  harms, 82 economic harms, 83 and de facto criminalization of asylum seekers. 84
  ICE has also begun to pilot the use of a case-management-based alternative to ISAP for certain
  families. The ICE Family Case Management Program (FCMP) is contracted through GEO Care,
  another affiliate of the GEO Group, and began in January 2016. The program provides a case
  management-based alternative to detention in five metropolitan regions, including
  Baltimore/Washington D.C., New York City/Newark, Chicago, Miami, and Los Angeles. Families
  receive case management from GEO Care to ensure that they comply with their immigration
  obligations, including ensuring family members understand those obligations, have transportation
  arrangements for court proceedings, and are proactively connected to needed community-based
  services.
  The program, however, remains very limited. While the program’s initial pilot states a capacity for
  800 participants, at the time that ICE shared data with this Committee, only 48 families had been

  http://www.americanbar.org/content/dam/aba/administrative/immigration/ABALetter_anklemonitors2016.authcheckda
  m.pdf (“The ABA believes that any restrictions or conditions placed on noncitizens to ensure their appearance in
  immigration court or for their removal should be the least restrictive, nonpunitive means necessary to further these
  goals. The use of electronic monitors is an extreme measure that is often overly restrictive and intrusive in nature.”).
  79
     Letter from Advancement Project et al., supra note 30 (asserting that persons released from family detention are
  “frequently forced to wear ankle monitors despite demonstrating no significant risk of flight.”).
  80
     Letter from CARA Family Detention Pro Bono Project, to Sarah Saldaña, Director, Immigration and Customs
  Enforcement (July 27, 2015), http://www.aila.org/File/DownloadEmbeddedFile/65278 (stating that ICE was using
  coercive tactics and intimidation to require that women at Dilley wear ankle monitors as a condition of release).
  81
     Oakland Centro Legal de la Raza, et al. Complaint, supra note 69, at 14; RUTGERS SCHOOL OF LAW-NEWARK
  IMMIGRANT RIGHTS CLINIC & AMERICAN FRIENDS SERVICE COMMITTEE, FREED BUT NOT FREE: A REPORT
  EXAMINING THE CURRENT USE OF ALTERNATIVES TO IMMIGRATION DETENTION 13-14 (July 2012),
  http://afsc.org/sites/afsc.civicactions.net/files/documents/Freed-but-not-Free.pdf, [hereinafter FREED BUT NOT FREE];
  Letter from CARA Family Detention Pro Bono Project, supra note 80, at 4 (“There is no transparency or consistency
  regarding how ICE sets bond amounts, why certain individuals are required to pay a bond in addition to an ankle
  monitor, and why restrictive forms of supervision like ankle monitors are necessary to mitigate a particular flight
  risk.”).
  82
     Kyle Barron & Cinthya Santons Briones, No Alternative: Ankle Monitors Expand the Reach of Immigration
  Detention, NACLA (Jan. 6, 2015), http://nacla.org/news/2015/01/06/no-alternative-ankle-monitors-expand-reach-
  immigration-detention (“The use of the ankle monitors requires a period of physical adjustment, causing swelling of
  the foot and leg, as well as severe cramps. The person must be tethered to an outlet as the device is charged for hours,
  twice every day…The greatest challenge that people under ISAP face with the use of the monitor is the psychological
  effects. The international coordinator of the Honduran solidarity group OFRANEH, Carla Garcia, explains that for her,
  the shackle conjures up the brutal history of her people in the Americas.); Freed But Not Free, supra note 81, at 17-18;
  Letter from Paulette Brown, American Bar Association, to Jeh Johnson, supra note 78.
  83
     To cite two of many possible examples, frequency and duration of check-ins impede ISAP participants’ ability to
  work; and there are expenses associated with traveling to ISAP office for check-ins. FREED BUT NOT FREE, supra note
  81, at 16-17.
  84
     Molly Hennesy-Fiske, Immigrants Object, supra note 76.


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  enrolled. Moreover, there is so far little data on the program’s efficacy. Based on preliminary
  reports from advocates and the materials ICE shared with the Committee, FCMP appears to be a
  less punitive option than ISAP for providing safe release. The Committee is, however, concerned
  over the award of the contract to a for-profit company. In the Committee’s view, neither the
  operation of facilities, community supervision program, nor case management services for families
  should be driven by profit motives, and conflicts of interest with respect to use or expansion of
  detention should be avoided. Instead, families should be served by culturally-sensitive,
  community-based organizations with expertise in social service provision.
  In light of recent findings questioning the efficacy and standards of private prison contracts, the
  decision by the Department of Justice to discontinue private prison contracts, and Secretary
  Johnson’s announcement that DHS will conduct a review to assess the policy for DHS facilities,
  we recommend that alternatives-to-detention programs be included in the review. 85
  Recommendation 1-8: In the absence of individualized assessment of clear flight risk or
  danger, detained families should be released on their own recognizance. Where bonds are
  set, the amounts should be reasonable based on the family’s ability to pay.
  Recommendation 1-9:
     a) Any conditions for release, including community supervision, should be the least
        restrictive means consistent with the needs and risk that the family presents in a
        community setting, and only for as long as necessary. Factors that should be
        considered in determining the most appropriate and least restrictive placement
        include the best interest if the child, the strength or durability of each family’s
        community ties, and whether removal is likely.
     b) ICE should retain personnel with clinical degrees and expertise in assessment to
        ascertain what needs and risks, if any; each family being considered for release
        presents, and then to identify the conditions or precautions to adopt in order to
        mitigate any concerns and achieve compliance in the community. Conditions of
        release to the community should be specifically tailored to reflect individuals’ assessed
        needs and risks, yielding both the least restrictive and most effective means of
        achieving excellent outcomes.
     c) Supervision, including community programs, electronic monitoring, and other
        restrictive alternatives to detention, should be imposed only after an individualized
        determination of danger or flight risk, and with clear standards and timeframes for
        eliminating these controls, especially removal of ankle monitors.
     d) Detention should not be used due to a lack of available space in such programs;
        instead community support and case management alternatives should be expanded
        with a thorough review of contracting processes, examining efficacy, quality of
        services, and the appropriateness of using a for-profit prison company for case
        management.




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    See Deputy Attorney General Sally Q. Yates, Phasing Out Our Use of Private Prisons, JUSTICE.GOV (Aug. 18,
  2016), https://www.justice.gov/opa/blog/phasing-out-our-use-private-prisons; Jeh C. Johnson, Secretary of Homeland
  Security, Statement on Establishing Review of Private Immigration Detention (Aug. 29, 2016),
  https://www.dhs.gov/news/2016/08/29/statement-secretary-jeh-c-johnson-establishing-review-privatized-immigration.

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     e) Families that have similar community ties, risks and needs should receive the same
        access to ATDs and should not be over-supervised or under-supervised due to lack of
        appropriate options in the area to which the family is released.
     f) ICE should regularly review placements that limit freedom of movement or carry
        other restrictions to determine whether a family could be “stepped down” to a less
        restrictive option.

  Recommendation 1-10: Any ankle monitors used for electronic monitoring should be no
  more restrictive than necessary, and should minimize inconvenience, discomfort, and
  stigmatization. For example, the ankle monitors used should minimize weight, heat, and the
  time the wearer must spend physically next to an outlet charging the device.




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  2.   REFORM OF DETENTION AND ALTERNATIVES-TO-DETENTION (ATD)

  Much criticism has been leveled against criminal incarceration and yet, amongst its many
  questionable practices, the criminal justice system has not detained families with children for
  several hundred years. As already stated, the ACFRC believes that ICE should generally
  discontinue its use of FRCs, and should place a family in detention only when it is absolutely
  necessary. Even when custody is necessary, alternatives to the FRCs should be used where
  possible; custodial arrangements that fall short of physical detention may suffice. When detention
  is necessary, families should be detained only for the briefest possible period of time and in the
  least restrictive setting possible. Parts 3 to 7 address particular areas of concern; in this Part, the
  Committee recommends more general significant substantive improvements, grouped in three
  interdependent and complementary areas of policy and practice: population management, detention
  management, and accountability.
           A. Population Management
  Population management encompasses the continuum and the conditions of control that ICE
  exercises over those in its custody and under its supervision in the community from least to most
  restrictive, and includes the core assumptions and overarching strategies by which it manages
  families. It consists of the policies and processes that constitute ICE’s system for detaining and
  supervising families, including the specific strategies by which families are monitored and may be
  admitted to, released, and returned to family detention. The Committee identified three key
  problems in ICE’s approach to population management.
                  Incorrect Assumptions about Civil Detainees
  The current management of the FRCs is, improperly, premised upon criminal justice models rather
  than civil justice requirements or needs. Immigration detention is intended to hold individuals only
  as long as necessary, when absolutely necessary, pending removal or relief. Criminal incarceration,
  on the other hand, is fundamentally punitive in its purposes and goals. Consistent with its statutory
  mandate and case law, DHS’s use of civil detention, including alternative forms of detention and
  alternatives to detention (ATD), should be premised upon civil, rather than criminal, principles.
  This premise is imbedded in case law that migrants must not be detained to deter, 86 detained to
  punish, 87 or detained indefinitely, 88 and that children in immigration custody be placed in the
  “least restrictive setting,” 89 in the community. Moreover, when used, detention should always be

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     Deterrence is not a valid governmental purpose that could overcome the presumption of liberty to justify
  immigration or other civil detention. See, e.g., R.I.L.R., 2015 U.S. Dist. LEXIS 20441.
  87
     Zadvydas v. Davis, 533 U.S. 678 (2001) (noting that civil detention does not result from a criminal conviction and
  holding it is legitimate only where shown to be necessary in an individual case).
  88
     Id. at 690. (liberty is the rule and that government detention of immigrants violates the Due Process Clause of the
  U.S. Constitution unless a specific justification, usually prevention of flight risk or danger, outweighs the “individual’s
  constitutionally protected interest in avoiding physical restraint”). See also Demore v. Kim, 538 U.S. 510 (2003)
  (detention is permissible only ‘to facilitate deportation, or to protect against risk of flight or dangerousness); Doan v.
  INS, 311 F.3d. 1160, 1162 (9th Cir. 2002) (“serious questions arise about the reasonableness of the amount of bond if
  it has the effect of preventing one’s release”).
  89
     Stipulated Settlement Agreement, Flores v. Reno, No. 2:85-cv-04544 (C.D. Cal. Jan. 17, 1997),
  http://www.clearinghouse.net/chDocs/public/IM-CA-0002-0005.pdf. For a summary of the litigation, see CIVIL
  RIGHTS LITIGATION CLEARINGHOUSE, Case Profile Flores v. Reno, http://www.clearinghouse.net/detail.php?id=9493.


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  for the briefest amount of time possible. 90 This report concludes, as have many reports preceding
  it, that inappropriately punitive conditions continue to exist, and that, in fact, it is not practical to
  detain families in a manner that is in keeping with the civil objective of immigration detention.
  Top among the many factors that contribute to inappropriate conditions is that the current
  management of the FRCs is premised upon the incorrect assumption that migrant families present
  significant risks to others. In fact, the FRC population consists of families with minor children,
  many of them seeking asylum – not of criminal defendants and convicted inmates. For the most
  part, families with children are high functioning, self-sufficient, independent, autonomous and
  responsible individuals who are pursuing long-term gains. They have made a dangerous journey in
  search of safety for themselves and their children. They have job skills, were gainfully employed
  and provided for their children, hold religious beliefs, paid taxes, owned homes, and voted where it
  was permitted in their home countries. And despite ICE’s assertions that it is necessary to detain so
  many families, to our knowledge none of those held in FRCs have criminal records. In fact, most
  families are fleeing pervasive violence, and are using appropriate channels to seek asylum. But
  once in ICE custody, they are managed by ICE and its contractors in the same manner that the
  criminal justice system manages criminal defendants and convicted inmates.
  Further, ICE’s commitments to mitigating psychological trauma and creating a safe residential
  environment by providing trauma-informed care (and presumably custody and control as well) are
  undermined by its evident key operative assumptions about civil detainees and the risk they
  present. The very experience of detention, as well as some of its alternatives (most notably
  electronic monitoring), is a continuing source of trauma for families who fled to the U.S. seeking
  safety. In sum, the very principles the guide and shape family detention and alternatives to
  detention are wrong. There are two fundamental errors that must be corrected: criminalization and
  prisonization. The remedy is normalization.
  Criminalization of the population – managing migrants and their children as if they are pretrial
  defendants or convicted inmates – no matter whether intentional or accidental, diminishes their
  self-esteem; impedes their access to the asylum system; negates their status as parent, protector,
  and provider; undermines family relationships; and contributes to the erosion of their physical,
  psychological, and social well-being, all of which are contrary to ICE’s express commitment to
  creating a safe place.
  Prisonization of detention – operating FRCs like jails – is contrary to both ICE’s statutory mandate
  and case law. Prisonized policies, practices, physical plant, and personnel all contribute to
  families’ sense of anomie and anxiety. They are harmful, unnecessary and unnecessarily costly.
  Yet ICE’s Family Residential Standards are based upon, and extremely similar to, standards
  developed by the American Correctional Association for adult criminal defendants incarcerated


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    Committee members’ conversations with mothers at Berks and with pro bono legal staff, as well as recent news
  accounts of families engaged in hunger strikes all substantiate long stays, often in excess of a year. See Renée Feltz,
  Mothers at US Immigration Center on Hunger Strike to Protest Year in Custody, GUARDIAN (Aug. 15, 2016),
  https://www.theguardian.com/us-news/2016/aug/15/immigration-women-hunger-strike-pennsylvania-berks-county,
  Mothers at Berks County Residential Center Suspend Hunger Strike, Reading Eagle (Aug. 26, 2016),
  http://www.readingeagle.com/news/article/mothers-at-berks-county-residential-center-suspend-hunger-strike, Liz
  Robbins, 22 Migrant Women Held in Pennsylvania Start a Hunger Strike to Protest Detention, N.Y. TIMES (Sept. 2,
  2016), http://www.nytimes.com/2016/09/03/nyregion/22-migrant-women-held-in-pennsylvania-start-a-hunger-strike-
  to-protest-detention.html.

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  pretrial. Both Karnes and Hutto were correctional facilities when they opened. Additionally, the
  FRCs are largely staffed and monitored by correctional employees.
  Normalization – permitting persons to live their lives as normally as possible – on the other hand,
  is consistent with both case law and ICE’s avowed policy posture. Normalization should be the
  goal of policies and procedures, personnel, physical plant, programs, and services. Normalization
  would empower families to remain intact, maintaining their equilibrium; it would maximize
  families’ opportunity to function as pro-social and productive members of the community.
  Obviously, normalization can best be achieved by releasing families seeking asylum or other
  protection, with case management programs if needed. Community-based placements should be as
  normalized as possible. In addition, the FRCs too, if they remain in use, should be thoroughly
  normalized; this is appropriate whether families are released to the community or removed.
  The number of families detained, the conditions and circumstances under which they are detained,
  and the lengths of time they spend in detention are not supported by either the needs and risks they
  present or the available case law and the field’s preferred practices. Similarly, the number of
  families assigned to Alternatives to Detention, the conditions and circumstances under which they
  are supervised, and the lengths of time they spend supervised in the community are not supported
  by the needs and risk they present.
  In 2009, ICE began to develop a risk assessment instrument to objectively identify detainees likely
  to succeed with community supervision and the circumstances under which success could be
  maximized through conditions of supervision ranging from least (none) to most restrictive
  (continuous monitoring, electronic and otherwise). The instrument was completed in 2010 and
  adopted in 2011. Assessments of its implementation found that the instrument was ineffective
  overall due in large part to a blanket pre-emption of the tool by mandatory detention
  determinations and its reliance on factors from the criminal context that are not necessarily
  appropriate in the immigration context. 91 In 2015, ICE introduced a revised instrument primarily to
  address the number of adult males who had failed to report or had absconded. 92 Families in
  custody most often consist of female heads of household and their children; their detention and
  release decisions cannot reasonably be based on assumptions or findings relating to adult males.
  An instrument specifically normed for families and not pre-empted mandatory detention
  determinations, is necessary and will improve outcomes. This instrument and its corresponding
  interview protocols should also be sensitive to gender roles and other cultural as well as language
  differences.
  Recommendation 2-1: To allow objective and accurate determination of which families must
  be detained due to individualized determinations of flight risk or danger, and also the use of
  ATD, ICE should retain one or more subject matter experts to create needs and risk
  assessment instruments specifically for families, to be used regardless of assumptions about
  mandatory detention. This instrument and its corresponding interview protocols should be
  specifically normed to families’ demographics; sensitive to gender and to cultural and
  language differences; mindful of community ties and other factors that inform consideration


  91
    Mark Noferi & Robert Koulish, The Immigration Detention Risk Assessment, 29 GEORGETOWN IMM. L.J. 45 (2014).
  92
    See OFFICE OF INSPECTOR GENERAL, DEP’T OF HOMELAND SECURITY, OIG-15-22, U.S. IMMIGRATION AND
  CUSTOMS ENFORCEMENT’S ALTERNATIVES TO DETENTION (REVISED) 3 (Feb. 4, 2011),
  https://www.oig.dhs.gov/assets/Mgmt/2015/OIG_15-22_Feb15.pdf. [Hereinafter OIG ISAP REPORT].

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  for release; and validated to accurately ascertain any risk family members may present or
  face. ICE’s recently revised ATD Risk Assessment Instrument may not currently be
  appropriately normed for families and female heads of household.
  Recommendation 2-2: ICE’s bed capacity and community supervision slots should be
  consistent with the actual numbers of families objectively appropriate for detention or
  supervision in the community. Under no circumstances should families be assigned to
  inappropriate or unlicensed facilities due to a lack of appropriate beds; similarly, families
  should be neither over- nor under-supervised in the community due to lack of appropriate
  placement options in the areas to which families are released.
  Recommendation 2-3: DHS contract terms should not incentivize the otherwise unwarranted
  use of detention or supervision capacity; for example, contracts should not reduce the per
  bed price when the population exceeds a certain percent of occupancy, or pay for all beds,
  whether or not occupied. ICE should renegotiate any contracts with such terms. Contract
  terms should clearly state all costs. Contracts should include penalties for failure to
  satisfactorily perform all terms as stipulated.
  Recommendation 2-4: Both the FRCs and community-based placements should eliminate as
  many characteristics of criminalization and prisonization as practicable, and become as
  normalized as possible in their design and operation. Families should be afforded every
  opportunity to continue to function as families, to exercise autonomy regarding parenting
  and their daily lives, including activities of daily living (e.g., when to wake and go to bed,
  menu and food preparation, wardrobe, hygiene, sanitation, discipline, and worship). Families
  in custody should be allowed easy access to immediate family members, whether themselves
  in custody or the community, by contact visitation and no-cost phone, email, and skype.
  Families should be permitted to live as intact groups and all members of a family group
  should be assigned to the same sleeping and living quarters.
  Recommendation 2-5: Consistent with the commitment to normalization, when detention is
  necessary, ICE should only use small, non-institutional and non-secure facilities and assign
  staff specifically selected to work with families, especially families exposed to the documented
  trauma this population has experienced. Correctional facilities and personnel should not be
  used under any circumstances. All facilities should be licensed to provide child welfare
  consistent conditions and services in accordance with the Flores Settlement Agreement.
  Recommendation 2-6: The current monitoring instruments developed by ICE and used by
  ICE and its contractors to ascertain whether FRCs meet minimum operating expectations
  should be replaced with instruments and methods that will accurately assess compliance with
  its contracts and MOUs as well as the Family Residential Standards, both those in effect
  today and upon its their revision. The FRCs should be held to the highest applicable
  standard of care – whether that is in the Family Residential Standards or the PBNDS.




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  Monitoring of ICE’s compliance with applicable standards should be done by an entity with
  child welfare expertise and experience. 93
                 Insufficient Information and Analysis, Planning, and Preparedness
  DHS’s core mission is national emergency planning and preparedness. Emergency planning and
  preparedness requires viable plans and ample practice. DHS must prepare and plan for periodic
  increases in the migration of families seeking relief in the U.S. – and DHS plans should rely on
  routine secure detention or excessive close supervision.
  In 2009, at the beginning of the current Administration, ICE operated the largest system of
  detention and community release programs in the country with 378,582 migrants from 221
  countries in its custody or under its supervision. 94 Today, in the eighth and final year of the
  Administration, ICE continues to operate the largest system of detention and community release
  programs in the country with 783,454 migrants from 178 countries in its custody or under its
  supervision. It also continues to be one of the largest national systems of detention and community
  release programs with the most highly transient and diverse populations of any detention system in
  the world. The measures that the current, and the next, Administration take with regard to its
  response to families and other migrants seeking safety in the U.S. are watched closely by other
  governments and are frequently emulated.
  In order to effectively manage a national system, both day-to-day and over a foreseeable period of
  time, with reliable information at the ready for mid-range and long-term planning and evaluation,
  ICE should identify, define, collect, scrub, and publish key indicators on a continuous basis.
  Recommendation 2-7:
       a) ICE should convene its stakeholders to introduce detention management key
          indicators, describe data collection methods and finalize definitions with the group.
          ICE should consider additional data proposed by stakeholders. Data collection should
          begin with the next quarter.
       b) Key indicators should be collected and published, online. They should include, at
          least:
             i. actual capacity (both beds and ATD slots by type of ATD),
            ii.  operating capacity,
           iii. capacity utilization (i.e., the average daily population (ADP) detained and on
                 ATD),
           iv. actual and average lengths of stay (ALOS) in ICE custody and at each facility
                 while in ICE custody.
            v.   frequency distributions for detainee age and gender,
           vi. frequency distributions of family members’ risk assessment and mental health
                 risk assessment scores,


  93
     Dayna International, a marketing consultant (and effective 2016 a wholly owned subsidiary of DLH Holdings Corp.
  Co.) “offering technology-enabled services to achieve social impact for the government,” does not appear to have the
  requisite experience to adequately assess ICE’s compliance with either the current or ideal Family Residential
  Standards; its performance should be assessed and addressed as warranted.
  94
     Dora Schriro, U.S. Immigration and Customs Enforcement, Immigration Detention: Overview and
  Recommendations (Oct. 6, 2009), https://www.ice.gov/doclib/about/offices/odpp/pdf/ice-detention-rpt.pdf.

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          vii.  frequency distributions of family members’ medical and psychiatric diagnoses,
         viii.  the number of mental health visits (primary care mental health visits, mental
                health professional evaluations, individual psychotherapy, group therapy,
                psychiatric evaluations, psychiatric follow-up visits),
          ix. the number of scheduled and emergency hospitalizations,
           x.   the number and duration of seclusion and restraint episodes, including all uses
                of isolation housing, and their justifications,
          xi. releases due to deteriorating health or mental health condition, and their
                justifications,
         xii.   deaths in detention (or in a hospital while still in ICE custody, after detention),
        xiii. frequency distributions of family members’ primary and secondary languages,
                including literacy rates,
        xiv. the number and location of failures to appear and absconders previously in
                detention, or in ATD, and
         xv.    per diem cost and total operating cost (bed by facility, slot by ATD type, and
                total).
     c) In general, data should be published at least monthly; some data should be published
        more frequently. For example, actual capacity, operating capacity, capacity utilization
        should be updated weekly online; and deaths in detention should be updated daily
        online.

  Recommendation 2-8: ICE should engage in strategic planning on an on-going basis, actively
  involving both field staff and stakeholders, and should develop a five-year strategic plan that
  is updated annually consistent with data trends, case law, and other key factors.
  Recommendation 2-9: ICE should prepare a Continuity of Operations (COOP) plan and
  update it annually. A COOP is a federal government initiative, required by Presidential
  directive, to ensure that agencies are able to continue performance of essential functions
  under a broad range of circumstances including localized acts of nature, accidents and
  technological or attack-related emergencies. Periodic increases, or surges, in the migration of
  families, seeking relief in the U.S. are situations well-suited for this measure.
  Recommendation 2-10: ICE should create the infrastructure – including data collection,
  planning processes, personnel with specialized skill sets suited to the work at hand, and a
  continuum of viable placement and program options – to receive and assess and then release
  or refer families in less than 24 hours and without detaining them. ICE should consider
  models used by social service and not-for-profit organizations with child welfare expertise
  that specialize in emergency response and relief.
  Recommendation 2-11: Even in the event of ebbs and flows in population, ICE should create
  capacity to keep families in the community in lieu of temporary detention whenever possible
  and to detain families only when necessary and for the briefest period of time, in temporary,
  family-friendly, non-secure and licensed settings.
                 Outsourcing vs. Acquiring Internal Expertise
  Since its inception, ICE has relied primarily upon an outsourced correctional workforce and model
  to perform most work associated with detention and its alternatives. Contracting with public and

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  private sector correction providers on a large-scale basis in the immediate aftermath of its
  inception – and at a time that government’s policy changed from one of more frequent release of
  apprehended migrants to one of greater use of detention – may have been necessary and certainly it
  was expedient, but it is no longer sufficient or appropriate. Reliance on public and private sector
  corrections providers has resulted in many unfortunate compromises including use of unduly
  punitive facilities designed and constructed for penal purposes and of personnel who are unfamiliar
  with non-criminal, foreign-born populations. Like ICE, its private and public sector partners lack
  the requisite knowledge, skills, and abilities to envision how this civil system should be organized
  and operated to achieve its lawful goals, without criminalization or prisonization. And outsourcing
  has meant that ICE has not itself acquired the critical skills to make informed, independent
  decisions about detention and its alternatives.
  On August 18, 2016, the U.S. Department of Justice (DOJ) announced that the Federal Bureau of
  Prisons (BOP) would reduce and ultimately end its use of private prisons. The DOJ determined
  that its private prisons were neither as efficient nor as effective as its own, federally-operated
  correctional facilities. On August 29, 2016, Secretary Johnson directed the Homeland Security
  Advisory Council to evaluate whether ICE should move in the same direction regarding its
  operation of immigration detention facilities. Outsourcing to public corrections entities is not the
  antidote to privatization, however. County governments and their agencies – including, especially,
  sheriffs’ departments – lack the expertise and to serve migrant families. In addition, they may be
  motivated by their desire to augment their operating budgets, avoid layoffs, and fill empty
  buildings. These are circumstances that can incentivize prolonged and unnecessary custody, and
  result in failures to meet the needs of migrant individuals or families in DHS custody.
  ICE is composed primarily of law enforcement personnel with extensive expertise performing
  removal functions, but not in the design and delivery of residential detention and community-based
  alternatives. Yet the agency has been charged with both prosecuting families for unlawful entry
  and caring for them while they are in federal custody. Assigning two highly distinctive and
  conflicting functions to the same agency is the equivalent of combining corrections and the
  criminal courts. Outsourcing of detention operations to public and private correction providers has
  not been effective in alleviating this tension due to the profit motivations discussed above and a
  lack of non-criminal expertise.
  The solution does not lie in retaining the services of and leasing facilities from either private or
  public sector criminal justice entities. Rather, to effectively and humanely detain families for any
  period of time, ICE must itself acquire requisite knowledge, skills and abilities to envision how
  this system should be organized and operated to achieve its lawful goals. Moreover, it should
  separate enforcement and custodial functions.
  Recommendation 2-12: ICE should develop sufficient internal expertise to perform and
  monitor key functions that are currently out-sourced, by providing extensive in-service
  training of qualified enforcement personnel and by hiring, as ICE staff, subject matter
  experts to design and implement reform, including this Committee’s recommendations.
  Subject matter experts should have a work history and professional orientation related to
  child and family welfare, not criminal justice.
  Recommendation 2-13:



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     a) ICE should immediately cease the expansion of the current FRCs’ capacities. ICE
        should provide timely notice to those vendors that their contracts for family
        residential housing and services will not be renewed.
     b) In place of the FRCs, when detention or ATDs are necessary, ICE should pursue
        placements in small, licensed group homes and evidence-based community
        supervision programs.
     c) If larger facilities must be used, they should nonetheless be small, in order to facilitate
        a sense of safety and well-being, and should have ample space to separate one function
        from another (e.g., sleeping areas from recreational areas). Facility design and
        construction should provide ample natural light and fresh air, ready access to the
        outdoors, and building materials similar to those used in residential settings (not
        cinder block or industrial-sized porcelain tiles on the walls). Furnishings should be
        family-friendly as well; for example, using fabric and wood rather than plastic or
        metal and including privacy-protective window treatments.
     d) Available placements should be sufficient in number, operated by non-criminal-
        justice subject matter experts, and located nearby population centers with ample
        access to legal counsel, public transportation, access to emergency health care, and a
        diverse and qualified workforce.

  Recommendation 2-14: Ideally, DHS should separate enforcement and custodial/supervision
  functions from one another within ICE, with ERO focusing exclusively on enforcement and a
  new division focusing exclusively on envisioning and executing a system of temporary non-
  secure housing and supervision strategies specifically tailored to the objectively assessed
  needs and risks presented by migrant individuals and families. ICE should acquire the
  expertise to perform custodial/supervision functions itself, or those functions should be
  assigned to another governmental entity that is appropriately expert in non-criminal
  population welfare and services.
         B. Detention Management
  Detention management focuses on the core operating assumptions, rules, regulations and
  expectations as enumerated in case law and implemented via the Family Residential Standards,
  contracts and Memoranda of Understanding (MOUs), and FRC policies and procedures. The
  Committee identified three key issues specific to detention management: normalization, creation of
  a culture of safety, and commitment to regulatory requirements.
               Normalization
  Instead of institutionalized/prisonized conditions of detention and alternatives to detention, both
  should be normalized. The policies and procedures that have guided ICE’s operation of the FRCs
  and community supervision programs have not been either efficient or effective. For the most part,
  migrant families with children seeking status in the U.S. are intact families, with parents capable of
  caring for their children, providing for themselves, and contributing to their communities. Over-
  supervising families who require little or no supervision, regardless of its form, is costly and
  counterproductive. Limiting or impeding parents’ ability to make decisions about the care of their
  children and threatening families with separation as means of control or retaliation breaks down
  the families and erodes the appropriate parent/child relationship. Families cannot thrive in settings


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  such as these. The resulting negative effects of detention and unduly harsh community supervision
  on children and families have been well documented.
  ICE has made efforts to improve the FRCs and expand its electronic monitoring, including, for
  example, adopting a language access policy and trauma-informed practices and care coordinators,
  but these changes are insufficient. They are not yet fully or successfully implemented; they suffer
  from insufficient oversight; and most fundamentally, they do not address the root cause of the
  reoccurring problem – superimposition of a criminal justice system on a non-criminal population.
  At times – whether due to medical or other considerations – it is necessary for ICE to temporarily
  remove a parent from an FRC or otherwise separate him or her from the general population. This
  may occur, for example, if a parent is too ill to care for his or her child or must be hospitalized.
  Separation can be acutely frightening for children, and can leave children in ad hoc care situations
  that compromise their safety and well-being. It can also be traumatizing and extremely stressful for
  the parent who is dealing with the underlying situation but also possible feelings of guilt and worry
  for their child. This situation poses challenges for normalization, and is addressed in its own
  recommendation.
  Recommendation 2-15: ICE should realign its core operating assumptions and expectations –
  as expressed in its rules and regulations, existing and future contracts and memoranda of
  understanding, and current Family Residential Standards – with the individuals actually in
  its custody and under its supervision, who are neither criminal defendants nor sentenced
  inmates within a criminal justice system.
  Recommendation 2-16: ICE should work with NGOs and other entities and experts with
  experience in child welfare to significantly modify the Family Residential Standards,
  eliminating all of the components of the FRCs that are characteristic of prisons and jails,
  normalizing to the greatest extent possible families’ time both in detention and under ICE
  supervision in the community. The approach taken should be trauma-informed, and follow
  principles outlined by SAMHSA. The many facets of ICE’s care, custody and control
  warranting substantive modification include: counts and bed checks, the daily schedule,
  rules governing grooming and personal appearance and other activities of daily living,
  housing/bed assignments, access to immediate family members and to others, and the
  addition of a Family Bill of Rights. Additional attention must be given to other key areas
  discussed at length in this Report, notably access to legal counsel; language access; health,
  mental health and trauma informed care; and free and appropriate education services.
  Recommendation 2-17: For situations in which families must be detained, detention rules
  and practices should be normalized in at least the following ways:
     a) Counts and Bed Checks: Both parents and children need their sleep. All bed checks
        should stop immediately. If there is a bed check to be made, it should be by children’s
        parents, if they feel one is necessary. ICE should develop means to account for and
        ensure the safety of everyone in its care that do not involve entering rooms at night
        when parents and/or children are sleeping.
     b) Daily Schedule: The prototypical institution schedule should be eliminated. In its
        place, “wake-up” and “lights-out” as well as the meal service schedule should be
        determined by parents. A flexible sleep schedule would help to demarcate weekends
        and holidays from weekdays and school days, and reduce idleness. Getting up early
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        with no place to go makes little sense, and adds to the feeling of helplessness that so
        many in the population expressed.
     c) Food Service: The menu has been a significant source of concern for parents detained
        in the FRCs; many of them have worried about their children’s weight loss. ICE
        should adopt alternative means of planning and preparing meals with the active
        participation of parents, affording them opportunity to prepare breakfast and lunch
        with staples kept at the ready and to modify dinner with seasonings, sauces, and fresh
        fruits and vegetables that are familiar to them. Healthy snacks, water, and juice
        should be made available to parents and their children 24 hours per day.
     d) Grooming and Personal Appearance: As much as possible, ICE should afford families
        in detention unencumbered access to personal property, toiletries and shaving
        supplies, their own clothes (or new garments but not used clothes, used
        undergarments and used shoes) and their children’s toys and books, laundry soap,
        mending kits, ironing boards and irons, and haircuts as often as needed. Children
        should be allowed to keep toys, stuffed animals and other property in their living
        space and to hang artwork and other decorations on the walls.
     e) Other Activities of Daily Living: ICE should provide parents opportunities to
        launder/tailor the family’s clothes, tend a garden that they control, and assign their
        children household responsibilities as appropriate. Both parents and older children
        should be offered opportunities to perform meaningful work for wages and hours set
        by the U.S. Department of Labor. Subminimum wages should be prohibited.
     f) Housing/Bed Assignments: ICE should modify and deinstitutionalize FRC sleeping
        quarters by housing family members together in private rooms with attached
        bathrooms; and using privacy panels, or hanging curtains or doors, in the restrooms,
        bedrooms and changing areas.
     g) Family Bill of Rights: Intact families’ parental decisions and authority should not be
        subordinated by ICE rules and contractor practices. ICE should develop a Family Bill
        of Rights that ensures the protection of a detained or supervised parent’s
        fundamental right to make decisions about the care of his or her child, while
        protecting children from abuse and neglect.
     h) Access to Immediate Family Members: ICE should ensure families in detention have
        reliable, routine, and affordable access in person and by phone, email, and mail, to
        their family members, whether those family members reside in the U.S. and
        elsewhere, and whether the family members are detained in another ICE facility,
        supervised by ICE in the community, or in the custody of ORR or the child welfare
        system. ICE should afford any indigent detainees ready access to phone calls and
        email to facilitate meaningful contact with family members.
     i) Access to Others: Families in detention require contact with many individuals who
        are not their relatives and with government agencies – for example, former and
        prospective employers, consulates, victim-advocacy programs, and child welfare
        agencies – to manage their affairs prior to their release or removal and in anticipation
        of the release or removal. ICE should ensure families in detention have reliable,
        routine, and affordable access to community resources, by phone, email, and mail, as
        well as by contact visits.




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  Recommendation 2-18:
     a) ICE should develop and implement a consistent policy for caring for children who are
        temporarily out of the care of their parents. All details of this policy should be
        developed by child and family welfare experts and with the input of counsel who have
        expertise in FRC detainee representation. Each FRC should employ a qualified child
        welfare coordinator with designated responsibility for overseeing implementation of
        this policy.
     b) Any child who is out of the care of his or her parent should be supervised and cared
        for by a staff member with child welfare expertise. At no time should ICE or
        contractor personnel use the threat of family separation or actual family separation to
        discipline or retaliate against a parent or child. In every case where they have the
        mental and physical capacity to communicate a choice, parents should have a choice
        as to what happens with their child in their absence. In any case where circumstances
        indicate that the parent will be unavailable to care for their child for more than 72
        hours the parent should be consulted regarding options including reunifying the child
        with family members or sponsors in the community, or ORR custody as an
        unaccompanied child.
     c) Decisions regarding separation because of abuse or neglect should be made by a
        child/family welfare professional only. ICE personnel and contractors should
        immediately report any suspected maltreatment of a child – whether by a parent, ICE
        personnel or contractor staff – to the relevant jurisdiction’s child welfare agency,
        consistent with obligations under state and federal law. In any case in which a child is
        separated from a parent due to accusations of abuse or neglect, the child should be
        provided with an advocate or legal counsel, and the parent should have the right to an
        attorney or advocate to assist him or her.

               Building a Culture of Safety
  ICE should build a culture of safety. When the government places someone in its custody or under
  its supervision, the government assumes the responsibility for their safety and well-being. ICE’s
  commitment to trauma-informed care appears to be earnest. However, both the agency and its
  agents’ understanding of what it means for care to be trauma-informed appear quite limited, as is
  its awareness of the nexus between ICE’s policies and practices and harm to families. The
  criminalization/prisonization already discussed inadvertently re-traumatizes those in its care, most
  of whom have already experienced considerable trauma in their past.
  Small differences can and do contribute to considerable distress. The inability to communicate in
  one’s own language, to eat familiar food, to wear one’s own clothes, to care for one’s own family,
  to seek and receive crime victim services and trauma-informed care, to name but a few of the
  many topics discussed in this Report, quickly add up even during a short stay. The cumulative
  effect over the course of longer stays can be and has been devastating for many families. We
  discuss trauma-informed care in depth in Part 6.C. Here, we discuss other aspects of promoting
  safety for detainees.
  Orientation: Most detainee families have had no prior exposure to incarceration. Therefore, their
  familiarity with and their ability to anticipate ICE’s expectations are significantly limited. Their
  introduction to detention is a process, not an event. Access to information and explanations need to

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  be ongoing; detainees need to feel welcome and invited to have conversations and ask questions of
  staff.
  Recommendation 2-19: ICE should provide both an orientation and a handbook that is easy
  to understand, communicated in a manner that it is accessible to detainees, highly likely to
  meet the informational needs of detained families, and encourages questions and
  conversations between detainees and FRC and ICE staff.
  Staff cultural competence: The Committee experienced considerable difficulty obtaining
  information about ICE and FRC staff, including their selection, training, and supervision. With
  regard to the medical and mental health personnel working at the FRCs, no information was
  provided regarding credentials or qualifications. The resulting deficit of information includes: not
  knowing the numbers of positions funded and positions filled by job title, job descriptions,
  minimum job qualifications, credentials, persons working in limited capacities or with restricted
  licenses, and staff’s demographics, as well as employers’ minimum pre-service and in-service
  training requirements and staffs’ satisfaction of those requirements. Based largely upon Committee
  members’ observations during the tours, firsthand knowledge drawn from their primary work
  duties, and credible reports published by reputable organizations, it is believed that most of the
  ICE and contractor staff that interfaces with detained families were hired to perform enforcement
  functions and for the most part, previously worked with pretrial inmates and sentenced prisoners.
  And, although there are a significant number of multi-lingual and culturally competent potential
  employees and contractors in the immediate areas of the three FRCs, it seems that many staff are
  not bilingual and have no particular background or training to ensure cultural competence, or
  professional competence to work with trauma and crime victims. Cultural competence is “a set of
  congruent behaviors, attitudes, and policies that come together in a system, agency, or among
  professionals that enables effective work in cross-cultural situations.” It is vitally important if a
  system is going to function effectively “within the context of the cultural beliefs, behaviors, and
  needs presented by consumers and their communities.” 95
  Recommendation 2-20: ICE and the FRCS should employ and assign both line staff and
  supervisors whose skills, languages, education and training, and prior employment and work
  histories are compatible with the needs of detainee families, and should ensure that staff
  receive pre-service and ongoing in-service instruction in meeting the needs of protection-
  seeker children and families that is sufficiently in-depth and of adequate duration for
  personnel to perform their duties with proficiency. ICE should designate a child welfare
  coordinator with expertise in working with traumatized children and families at each FRC to
  oversee implementation of a child-friendly service model and provide ongoing training of
  staff.
  Regulatory Requirements, Licensing, and States’ Certifications of FRCs to Operate. ICE’s use of
  the FRCs and the conditions at the FRCs themselves do not appear to satisfy, in letter or in spirit,
  the Flores court’s requirements that ICE assign families to facilities only when such assignments
  are necessary, and that facilities be non-secure (that is, have an open campus in both design and


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     U.S. DEP’T OF HEALTH AND HUMAN SERVICES, OFFICE OF MINORITY HEALTH, WHAT IS CULTURAL COMPETENCY,
  http://www.cdc.gov/nchhstp/socialdeterminants/docs/what_is_cultural_competency.pdf.


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  operation) and duly licensed to care for children. 96 The FRCs are far from non-secure. Whether or
  not there is a lock on the door or a fence around the property perimeter, they exhibit key
  characteristics of secure facilities. For example, they conduct numerous invasive counts daily and
  dictate when families rise and go to bed; when they eat and what they eat; what they wear; and
  when they can go outdoors, confer with counsel and receive visitors. ICE has resisted the idea of
  civil licensure by urging host state and county governments to license facilities that do not meet
  existing core requirements or to create licenses solely for its use.
  Likewise, ICE has not yet fully complied with the DHS Prison Rape Elimination Act (PREA)
  regulation. 97 None of the FRCs is PREA-compliant and cross-gender supervision strategies are still
  inappropriate. Families also report problems with bullying and intimidation, often about sexual
  identity and orientation. Vendors employ persons to work as guards who have criminal histories,
  older children are routinely reassigned to sleep in rooms with adults to whom they are not related,
  children of both sexes and their parents are assigned to sleeping quarters that lack privacy screens
  for changing and toileting, and bed checks are routinely performed by guards of the opposite sex.
  As a result, family members’ sexual and physical safety and families’ overall well-being are not
  yet assured.
  Recommendation 2-21: ICE should comply in both letter and spirit with the concept of
  operating only non-secure and fully credentialed facilities for families; FRCs should be
  licensed as child care facilities by the appropriate state regulatory agencies.
  Recommendation 2-22: DHS and ICE should comply in full with federal laws and
  regulations that impact the conditions of families’ detention. They should not expend efforts
  to secure exemptions; instead, DHS and its agencies should lead by example. In all residential
  custodial settings – including those that are community-based – ICE should ensure
  compliance in full with PREA and the DHS PREA regulation. ICE should ensure that
  individuals who are victims of sexual abuse or assault are not transferred away from legal
  counsel without their explicit consent and that victims are advised of and assessed for
  potential U visa eligibility.




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     Stipulated Settlement Agreement, Flores v. Reno, No. 2:85-cv-04544 (C.D. Cal. Jan. 17, 1997).
  http://www.clearinghouse.net/chDocs/public/IM-CA-0002-0005.pdf. Both Dilley and Karnes sought to obtain child
  care licenses following Judge Gee’s July 2015 decision, discussed supra note 9 and accompanying text. In April 2016,
  the Texas Department of Family and Protective Services (DFPS) approved a child care license for Karnes. Judge Halts
  Child Care License for Dilley Detention Center, TEXAS OBSERVER (June 2, 2016),
  https://www.texasobserver.org/immigrant-family-detention-license-hold/. Dilley also applied for a child care license
  but a state district judge temporarily enjoined the grant of that license in June 2016, pending additional litigation. See
  Case Profile: Grassroots Leadership v. Texas Department of Family and Protective Services, CIVIL RIGHTS
  LITIGATION CLEARINGHOUSE (Aug. 4, 2016). The child care license at Berks expired in February 2016 and was not
  renewed by the Pennsylvania Department of Family Services. American Immigration Council, A Visit to Berks Family
  Detention Center Makes Clear Why They Lost their License (Feb. 22, 2016),
  http://immigrationimpact.com/2016/02/22/berks-family-detention-center/. The County has appealed the decision and
  the case will be heard in November. Liz Robbins, 22 Migrant Women Held in Pennsylvania Start a Hunger Strike to
  Protest Detention, N.Y. TIMES (Sept. 2, 2016), http://www.nytimes.com/2016/09/03/nyregion/22-migrant-women-
  held-in-pennsylvania-start-a-hunger-strike-to-protest-detention.html.
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     28 C.F.R. § 115.

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         C. Accountability
  Accountability encompasses the operating framework by which ICE provides oversight, ensures
  compliance with its standards of care and other benchmarks, commits to and pursues continuous
  improvement, and achieves transparency in the fulfillment of its executive duties. It is the keystone
  to the development and implementation of an appropriate response to families seeking to remain in
  the U.S.
               Roles and Responsibilities of Government Actors
  DHS and ICE are charged with the responsibility of immigration enforcement, which includes both
  the detention and community supervision of foreign-born migrants, including families. ICE may
  delegate many of its duties to other public or to private actors but it is always responsible for their
  acts and outcomes.
  Like many others, the Committee has concerns about the processes by which ICE selects public
  and private sector actors, ascertains actor compliance, decides whether to retain and sanction or
  remove actors, and determines the costs for goods and services received. Typically, ICE foregoes
  the competitive bid process instead; it enters into contracts and executes MOUs under exigent
  circumstances or by emergency provisions. The terms and conditions to which ICE agrees are
  often unfavorable to both ICE and the families in its custody. For example, ICE has sometimes
  agreed to pay for beds whether or not they are occupied. ICE has sometimes accepted contractor
  personnel without conducting independent background investigations or reviewing credentials.
  Recommendation 2-23: To realize better outcomes at less cost, ICE should become more
  proactive and less reactive. ICE should engage in ongoing strategic planning, eliciting
  feedback from within the agency and input by its stakeholders, publishing a five-year
  strategic plan and updating it annually. The focus of this process should be on expanding the
  use of release and alternatives to detention, housing those families who are detained in group
  home settings near urban areas, and ensuring that contractors and their personnel are
  appropriately suited to the families in its custody.
               Roles and Responsibilities of Public and Private Sector Contractors
  The FRCs’ problems are longstanding and much-noted. There is a tendency to blame privatization
  as the source of longstanding FRC performance issues. This is not necessarily the case. Both
  public and private sector providers have performed poorly; and both the profit and not-for-profit
  sectors should do better. Nonetheless, ICE has delegated undue authority to its contractors, leading
  to unjustifiable variation and a lack of accountability across the FRCs, and an imbalance of power
  that sometimes allows contractors to dictate or unduly influence conditions of care, population
  management, and other practices. For example, the contractors that run the FRCs have made major
  modifications to the rules governing detainee conduct. There are 28 common rules in effect at all
  three FRCs, but Berks has added 64 additional rules; violation of any one of 34 of these rules can
  result in punishment of detainees. Similarly, the FRCs vary in their decision whether detainees
  may wear their own clothes and if not, whether they will be provided new or donated clothing,
  shoes, and undergarments, and how many of each article of clothes may kept in their possession.
  Recommendation 2-24: ICE should not delegate substantive decision-making to its
  contractors, since it is ICE that is ultimately responsible for the safety and well-being of
  those in its custody. Instead, ICE should raise FRC standards and then hold FRCs

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  accountable to them. The strategic planning process is a credible process by which to begin
  to accomplish this work but meaningful monitoring, oversight and accountability measures
  are also critical.
  Recommendation 2-25: Reforms adopted by ICE at the beginning of the Obama
  Administration – in particular, adding on-site oversight and deploying Office of Detention
  Oversight teams to its largest facilities -- have not yielded optimal outcomes; they should be
  revisited and revised. Other proposals were not implemented, including creation of in-house
  expertise relating to the care and custody of families, to oversee reform. This should be
  pursued immediately and in earnest.
               Transparency: Government’s Core Commitment to Good Governance
  As mentioned in other parts of this Report, a significant lack of information hindered the
  Committee’s efforts to fulfill our tasking. It is unclear whether some of the information that was
  requested was not routinely collected and or retained by ICE or whether decisions were made to
  not provide it to the Committee. But either way, the type of administrative information sought
  from ICE is routinely provided to public bodies by state and local governments. Even basic
  information about the number and characteristics of the detained population was unavailable to the
  Committee. Examples of basic demographic information that the Committee requested but did not
  receive are (1) the number of mothers and fathers and children, by gender and age, in custody; (2)
  primary and secondary languages spoken; (3) the number of families released to the community;
  (4) the number of families separated from one another; and (5) families’ actual total length of stay
  in ICE custody.
  Similarly, the Committee was unable to obtain from ICE basic information about FRC operations
  and outcomes, including (1) each FRC’s health care staffing and formulary; (2) the number of
  avoidable illnesses, injuries and/or deaths in detention year to date; (3) the number of children
  enrolled in school; (4) students’ grade gains; and (5) the number of incidents of sexual misconduct
  reported. Likewise, the Committee could not obtain information about special populations and
  requests: (1) special diet requests, (2) accommodations for holy day observances, (3) scheduling
  off-site medical care, providing emergency off-site medical treatment, and arranging for
  corresponding child care; and (4) death and serious illness notifications.
  A third category of basic information ICE declined to provide related to contract monitoring and
  oversight of contractors, including information about contract compliance, audits and evaluations,
  and possible corrective actions. Examples of information that the Committee requested but did not
  receive are (1) copies of the audit and evaluation instruments currently in use; (2) evidence of
  vendors’ compliance with FRC minimum standards, (3) evidence of vendor’s compliance with
  contractual or MOU commitments to ICE; and (4) corrective actions taken and consequences
  imposed by ICE for negative findings, failures to remediate negative findings, frequently
  reoccurring negative findings, including sanctions imposed including contracts and MOUs
  modified or cancelled. Also difficult to obtain was a clear, consistent description or mapping of the
  process of submitting, investigating or responding to a grievance or allegation of a rule violation or
  child or sexual abuse including how detainee and staff interviews are conducted. And finally, the
  Committee received no requested information about the ICE’s expenditures. Examples of
  information that the Committee requested but did not receive are (1) copies of current contracts
  and MOUs for beds, community supervision program services, health care, education services, and

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  contract monitoring; (2) cost per bed day per facility and vendor; and (3) per diem cost per
  community supervision slot.
  Recommendation 2-26: ICE should manifest its commitment to detention reform by making
  the most of every opportunity to improve transparency and accountability. ICE should
  publish on the internet FRC policies and performance measures, and quarterly
  accountability reporting results. ICE should consider improving transparency and
  accountability by publishing its contracts and MOUs (suitably redacted if need be) and
  corresponding audits and evaluations.




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  3.   ACCESS TO COUNSEL

  Parents and children detained in FRCs face the highest of stakes: the loss of liberty; the right to
  freely exercise the rights and responsibilities of parenting and being a member of a family;
  separation from parents, children, siblings and spouses; and the risk of removal (deportation) to a
  country where they may face violence or death. These stakes necessitate a fair and just decision-
  making process: not just in regard to those decisions made by officials with the authority to order
  removal, but any decision that may impact liberty, family integrity, and life.
  The specific families the government has targeted for family detention since 2014 – their
  communities of origin, the circumstances from which they are fleeing, and the composition of their
  families – heightens the government’s need and obligation to take special care to ensure due
  process. The government has targeted families who do not speak English and who often speak a
  language other than Spanish for which interpreters are limited (for example, languages indigenous
  to Central America). Family members – both adults and children – are unfamiliar with our legal
  system and may hold deep fear or suspicion of authority figures as a result of experiences in their
  countries of origin, or countries of transit. Many of the families may have experienced traumatic
  events – including violence and threats of violence – from which they have not had an opportunity
  to recover. Children arriving with parents range in age from infants to teenagers, and have varying
  abilities to communicate and express their wishes. Thus the government must work even harder to
  ensure these families receive due process as they navigate an entirely new system in which their
  liberty and family integrity are curtailed.
  For these reasons, this Committee believes that full and unhindered access to an attorney is a
  necessary, but insufficient, prerequisite to fair and just decision-making for every family held in
  immigration detention. There is overwhelming evidence that individuals seeking the protection of
  asylum and other forms of violence – protection from persecution as provided for in the
  Immigration and Nationality Act (INA) – are significantly more successful when the individuals
  are represented by counsel. Not surprisingly, attorneys representing mothers at DHS’s Family
  Residential Centers (FRCs) report high success rates when they represent women during their
  initial interviews (whether they are credible fear or reasonable fear interviews) but also when they
  represent women as they seek to overturn adverse, initial findings made when the women lacked
  an attorney and appeared pro se. Yet access to counsel is much more difficult for people who are
  detained. 98
  We therefore recommend, without reservation, that the federal government should provide an
  attorney to every individual held in family detention. While this responsibility may be shared by
  the Department of Justice (DOJ), rather than the Department of Homeland Security (DHS) which
  tasked us with making recommendations regarding detainees’ access to counsel, no agency can
  ignore the consequences of the failure to ensure due process; if necessary, government agencies
  should coordinate to meet this obligation. At the very least, the lack of counsel should never be a
  basis for expediting a proceeding involving a claim for protection from harm. The Committee
  further recommends that the most effective way in which to facilitate access to counsel for families
  facing deportation is to release families to communities with clear information about their right to

  98
    See Ingrid V. Eagly & Steven Shafer, A National Study of Access to Counsel in Immigration Court, 164 U. PENN. L.
  REV. 1 (2015) (finding that only 14% of detained immigrants have representation, as compared to 37% of all
  immigrants in proceedings).

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  counsel and how to find counsel, and their obligation to appear in court and information about the
  court in the jurisdiction where they will reside.
  The recommendations that follow attempt to address the current situation of families in detention
  and the current system of decision-making about custody, immigration relief, and ultimately,
  deportation for families apprehended and detained by DHS. These recommendations are not
  intended as a justification of that system, nor do we believe they will effectuate an amelioration of
  the problems inherent in this system. But we do believe they fulfill the specific tasking given to us
  by the Secretary of Homeland Security.
           A. Overarching Recommendations
  There is no dispute regarding the critical role of counsel in advocating for and protecting the rights
  of detained families. Detention standards promulgated by ICE affirm the right of detainees to meet
  and communicate confidentially with counsel. Both the Karnes and Dilley facilities in Texas have
  rooms where detainees can meet privately with counsel, though these spaces appeared to
  Committee members, and have been reported by nongovernment entities, as entirely insufficient
  for the number of detained individuals and the scope of legal issues to be addressed by families in
  detention. Moreover, those rooms appeared to lack the tools critical for representing detained
  families in expedited proceedings—from small, portable printers and scanners to access to phones
  and internet for attorney teams building factual records and legal arguments for families in
  expedited proceedings. Similarly, both the Karnes and Dilley facilities include spaces designated
  as law libraries. However, both were empty during Committee site visits and, as described below,
  were ill-equipped to be of much use for the families detained at each facility.
  During Committee site visits to the FRCs, committee members were struck, above all, by two
  observations. First was the glaring absence of an understanding – in written policies, in practice,
  and among facility leadership and staff selected to give guided tours – of the essential role of
  attorneys in ensuring a fair and just process for detainees. Second was the inconsistent, widely
  varying, and constantly shifting policies regarding detainee access to counsel, which individually
  might be merely a headache, but collectively paralyze the ability of legal organizations to provide
  effective representation to detainees. This is critical not just for detainees who seek a fair
  opportunity for their claims to be heard, but also relieves pressure on and benefits the DHS and the
  Department of Justice because counsel who understand both the procedure and substance of the
  law governing detainees’ claims make the process more fair and efficient.
  Time and again, when we asked about access to counsel and whether detainees had the right to
  attorneys during particular processes or decisions, we were told “If the women think they need an
  attorney, all they have to do is ask for one.” This is unreasonable to the point of being unjust.
  Detainees who do not get to make decisions as simple as where their child sleeps 99 are
  nevertheless expected to intuit that a decision such as whether to accept an ankle monitor as a
  condition of release could benefit from the advice of counsel and then ask their jailer to wait while
  they make a call or schedule an appointment to seek legal counsel. Rather than putting the burden
  on women – many of whom have no real understanding of their rights – to affirmatively ask for an



  99
    For example, at the Berks facility, mothers are prohibited from sharing a room with any of their children age 12 or
  older. See Berks Resident Handbook 9-10.

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  attorney, facility personnel should consistently communicate that families have this right and
  should encourage them to exercise it whenever decisions affecting their rights are being made.
  Moreover, we never once heard children referred to as decision-makers within their cases even
  though they are subject to the immigration detention and adjudication process; and not
  surprisingly, none of the materials designed to inform detainees of their rights – from posters in
  laundry rooms to materials in law libraries – were designed for children or adolescents, further
  diminishing the likelihood that they would know how to ask for help from an attorney. By contrast,
  unaccompanied children placed in the custody of the Office of Refugee Resettlement (ORR)
  receive “Know Your Rights” presentations tailored to the children’s ages and stages of
  development, so that even fairly young children can understand that there are adults who are
  willing to meet to talk about their needs and wishes in a private matter. The children detained at
  ICE family residential centers have no less of a need than children in ORR custody to understand
  the circumstances of their detention, their right to seek protection in the United States and to
  request release from detention, and their right to speak with an attorney in confidence. Just like
  their parents, children in family detention face removal (deportation) to circumstances that may
  threaten their safety and well-being. And they may be eligible to apply for asylum, T- and U- non-
  immigrant status, special immigrant juvenile status or other forms of protection, in addition to any
  claims for relief made by their parents. They have no less need for opportunities to speak with an
  attorney to determine whether they have claims for relief from removal that are separate or
  different from their parents.
  One deeply troubling result of this misconception of the necessary role of counsel is that there is
  simply no effective mechanism in place to direct every detainee to an attorney. At one facility,
  detainees receive a “Know Your Rights” presentation in which newly-arrived mothers and children
  are presented with information about immigration procedures and at least some of the complex
  forms of relief from removal for which they may be eligible (subjects many law students struggle
  to master in an entire semester). 100 Yet this occurs in a meeting in which the presenters cannot
  provide legal advice and where presentations must be approved in advance by ICE. 101 Detainees
  are then asked if they wish to speak with an attorney, without necessarily understanding what an
  attorney is, the confidential nature of attorney-client conversations, and the difference between
  government officials responsible for detaining them and deporting them, and independent


  100
      To the best of the Committee’s understanding, their presentations address the subject of asylum; but it is not clear
  whether they also address other immigration benefits such as T and U non-immigrant status, VAWA relief, or special
  immigrant juvenile status for children abused, neglected, or abandoned by a parent.
  101
      U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT, FAMILY RESIDENTIAL STANDARDS 6.3, LEGAL RIGHTS GROUP
  PRESENTATIONS, https://www.ice.gov/doclib/dro/family-residential/pdf/rs-legal-rights-presentations.pdf, requires
  attorneys or legal organizations who wish to make group presentations to provide a syllabus or outline of the
  presentation to ICE, which may accept or reject the presentation and which “is under no obligation to seek a
  replacement provider” if the presentation is not approved. By contrast, children detained as unaccompanied minors in
  facilities run by the Office of Refugee Resettlement also receive a “Know Your Rights” presentation. In recent years,
  led by organizations such as South Texas Pro Bono Asylum Representation Project (ProBAR) in Harlingen, Texas,
  those presentations have evolved into “charlas” in which skilled members of attorney teams help children understand
  the most important information at that moment in time, the beginning of their period in custody – the right to an
  attorney, the confidentiality that attaches to attorney-client conversations, the difference between government and non-
  government actors – in language and with visuals developed for children who have experienced trauma and separation
  and which are built on well-established pedagogical principles.


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  attorneys who may be able to assist them in securing release from detention and possibly relief
  from removal. The names of those parents who affirmatively request to meet with an attorney at a
  later time are eventually forwarded to the legal services organizations that have mobilized to
  provide counsel to these families – but that information-sharing may not take place until after a
  parent has had her first and most critical interview by immigration authorities, the “credible fear”
  or “reasonable fear” interview, which determines whether an individual may pursue a claim for
  relief or will be removed. 102 At Berks, there are a handful of private attorneys and a few NGOs
  who have stepped forward to try and identify and meet with detained families and either represent
  or find representation for them; however, they are under-resourced and are unable to meet the high
  demand. Furthermore, evidence suggests that periods of detention at Berks are far longer than the
  average on other facilities 103 (our persistent requests for data on the average length of stay for
  families at Berks and how those statistics are calculated were repeatedly denied) which may result
  in a larger number of issues for attorney teams to address with clients.
  The remote location of current FRCs further hampers access to counsel and due process. All of the
  FRCs in use at the writing of these recommendations are over an hour’s drive one-way from major,
  metropolitan areas. This significantly hampers access to attorney teams, interpreters, physical and
  mental health providers and other experts who could help to ensure fair and just process. In order
  to visit the two Texas-based facilities, Committee members traveled nearly two hours (one way)
  from San Antonio by van to the Dilley detention facility before returning to San Antonio and then
  embarking on another trip (this time approximately 90 minutes each way) to the Karnes detention
  facility. Attorneys in San Antonio, the nearest metropolitan area, must make similar journeys in
  order to meet with clients, as must pro bono attorneys who periodically fly in from other parts of
  the country to provide representation to detained families.
  Although United States Citizenship and Immigration Services (USCIS) officers have been detailed
  to the two Texas facilities to provide on-site credible fear and reasonable fear interviews, there are
  no on-site immigration courts, and detainees who appear before immigration judges during their
  stay do so via videoconference – a procedure whose limitations and impact on due process have



  102
      Previous reports indicate that representation by counsel during expedited immigration proceedings has a significant
  impact on an individual’s likelihood of success in the preliminary interview (which determines whether the individual
  may proceed with her claim for protection). See American Immigration Council, Immigration Policy Center, Removal
  without Recourse: The Growth of Summary Deportations from the United States (May 2014),
  https://www.americanimmigrationcouncil.org/research/removal-without-recourse-growth-summary-deportations-
  united-states. Attorneys working at Karnes and Dilley report similar success in reversing negative determinations
  made while detainees appeared pro se (without counsel). that when they are able to work with detainees whose initial
  claims were denied in a credible fear or reasonable fear interview in which the detainees appeared pro se (without
  counsel). In other words, when women and children have the benefit of an attorney who understands which parts of
  their stories are relevant to the decisions the government is making, they are more successful than when they need to
  figure this all out on their own. Facilitating representation prior to the credible fear interview would likely alleviate the
  need for a significant number of appeals and therefore conserve a significant amount of government resources
  (including the staff who must review and adjudicate the appeal, as well as the additional expense of detaining families
  while they successfully appeal an erroneous, initial decision.)
  103
      See, e.g., Human Rights First, Long-Term Detention of Mothers and Children in Pennsylvania (2016),
  http://www.humanrightsfirst.org/sites/default/files/HRF-Long-Term-Detention-Brief.pdf (indicating periods of
  detention “upwards of six months” for most families at the time of a July 2016 visit).


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  been detailed in prior reports. 104 Notably, at the time of our visit to Dilley and Karnes, detainees
  scheduled for hearings before immigration judges (which take place after on-site interviews to
  screen for a “credible fear” of return or a “reasonable fear” of return) appeared by video-
  conference before immigration judges located in other cities. For hearings, the detainee appears in
  a “courtroom” at the facility – but the Immigration Judge and the attorney representing the
  government and pursuing the case against the detainee, were located together in another
  immigration courtroom in another city. The Berks facility is located over an hour from
  Philadelphia and from its immigration court, legal services providers, and community of pro bono
  attorneys.
  Recommendation 3-1: DHS should develop, implement and train staff to operate on the
  principle that it is best – for detainees and for the efficiency of the system as a whole – for
  detainees to consult with an attorney before making any significant decisions about their
  case, the conditions of custody, or the conditions of release from custody. Staff should
  consistently inform detainees of their right to speak with counsel and provide access to
  counsel whenever detainees invoke that right. Rather than waiting for detainees to
  affirmatively request an opportunity to speak with an attorney, detainees should be offered
  affirmatively the opportunity to consult with an attorney (in person, over the phone or by
  video conferencing) before making any decisions about their case, conditions of custody, or
  conditions of release. ICE staff and USCIS asylum officers should be directed not simply to
  ask detainees whether they want an attorney or whether they think they need one, when
  detainees might not know how an attorney could help, and may not be aware that an
  attorney will maintain confidentiality, or that the attorney may provide free services. DHS
  and USCIS should also inform detainees of their right to representation, and what that
  representation entails, and that counsel (independent from the government) are on-site and
  available to meet with them prior to any government interviews.
  Recommendation 3-2: Before any detainee appears for a credible fear interview, reasonable
  fear interview or bond hearing, DHS should confirm that the detainee has received a “Know
  Your Rights” or “Legal Orientation Presentation” and has had an opportunity to meet with
  an attorney. If the detainee has not secured counsel she should be provided an opportunity to
  do so unless she affirmatively states a preference to proceed without counsel. In all cases in
  which the desire for counsel has been expressed, DHS should take all possible steps to ensure
  that the individual has an attorney without undo delay, before proceeding with /any decisions
  that could result in removal.
  Recommendation 3-3: Legal services organizations and other attorney groups (authorized in
  advance by DHS or DOJ) who provide pro bono counseling and representation to detainees
  should be given a daily census of all detainees with information that protects individuals’
  privacy but allows attorneys to prioritize cases for pro bono consultation. The census should
  include the age and gender of the adult family member, date of arrival, country of origin, the
  ages and number of children detained with the parent, primary (or preferred) language and,
  importantly, the date(s) of credible or reasonable fear interviews or any other scheduled


  104
     See, e.g., Legal Assistance Foundation of Chicago and Chicago Appleseed Fund for Justice, Videoconferencing in
  Removal Proceedings: A Case Study of the Chicago Immigration Court (Aug. 2, 2005),
  http://chicagoappleseed.org/wp-content/uploads/2012/08/videoconfreport_080205.pdf.

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  hearing for any member of the family—and a numerical indicator that will allow DHS to
  notify the detainee if the attorney or legal services organization wishes to schedule a meeting.
  DHS can establish procedures to limit the number of attorney groups and legal services
  organizations who receive this information, protect confidential information, and require the
  legal services organizations and attorney groups to prevent further disclosure.
  Recommendation 3-4: Detention facilities should not be located more than 30 minutes from
  major metropolitan areas with immigration courts to increase access to counsel (NGO
  counsel, pro bono counsel, paid counsel) and should be designed to ensure in-person
  appearances before immigration judges, USCIS officials and other government officials,
  which will result in more just and efficient adjudication of cases. 105
  Recommendation 3-5: DHS should ensure that children who wish to speak with an attorney,
  or whose parents wish for them to speak with an attorney, know about their right to access
  counsel and have the ability to meet with counsel. This would require DHS to contract with
  legal services providers with experience representing and working with children to create
  and provide developmentally appropriate “Know Your Rights” presentations; and to
  provide time and child-appropriate space for attorneys to meet privately with children.
  Recommendation 3-6: In order to ensure that families—parents and children—have a fair
  opportunity to present claims for relief as they transition into communities, enroll children in
  school, seek help for medical and mental health concerns and obtain other services, ICE’s
  Office of Chief Counsel (responsible for representing the government in removal
  proceedings) should not:
      a) oppose requests for continuances submitted by counsel for families previously
         detained in FRCs, given the challenges of preparing their legal case;
      b) seek in absentia removal orders the first time a family previously detained in an FRC
         fails to appear at immigration court, but instead asks that the court reschedule/reset
         and send notice to the last known address; and
      c) oppose motions to reopen filed by post-release families, whether represented or pro se,
         when they do appear in court after a prior in absentia removal order.

          B. Meeting and Communicating with Counsel
  On site visits to Karnes and Dilley, Committee members were informed by ICE and facility staff
  that detainees could meet with counsel whenever they wished to. Yet on those same visits, mothers
  identified a number of hurdles that delayed or prevented their ability to meet with counsel,
  including not knowing or not understanding that non-government attorneys were available to meet
  with them at no cost; not being able to access child care during meetings; and not knowing whether
  or when they could meet with counsel. Some of those concerns were echoed during the public
  comment period of the Committee’s March meeting in San Antonio. Reports published by credible




  105
      Committee members have been told both by immigration judges and asylum officers that they prefer to adjudicate
  cases in which individual is represented.


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  non-governmental organizations detail similar, and sometimes more wide-ranging concerns with
  the ability of detained families to meet with attorney organizations. 106
  The logistical obstacles to meeting with counsel are unnecessary and easily overcome. These
  obstacles, imposed by ICE policy or practice, include but are not limited to: requiring attorneys to
  identify, in advance of meetings, prospective clients with whom they wish to meet (without, as
  noted in the prior section, knowing which new detainees have yet to meet with counsel); requiring
  attorneys to identify, in advance of meetings, current clients with whom they wish to meet without
  knowing whether clients’ circumstances have changed such that they might prioritize visits
  differently; insufficient space for attorneys to meet privately with clients; the inability of attorneys
  to complete the essential tasks of lawyering due to constantly-shifting policies regarding
  technology, entry/exit, and even things as simple as access to printers, phones, food and
  bathrooms; and insufficient efforts to provide adequate and appropriate child care so that mothers
  can share details about past, traumatic experiences without worrying about where their children are
  or what they might witness or overhear.
  The spaces allotted for attorney-client meetings are far from optimal and may even be prejudicial
  to ensuring effective communication and collaboration between attorneys and detainees. At Dilley,
  parents who wish to meet privately with an attorney cannot see the area in which their children are
  cared for (on our site visit Committee members observed rows of children sitting in a small room
  and staring silently at a TV while a facility worker sat along a back wall). At Karnes, children
  whose parents are meeting with counsel but who wish to be in the same area appear to wait in a
  large, open and sterile area.
  At Berks, detainees are able to meet with a law student or paralegal who forwards requests for
  legal assistance to the Pennsylvania Immigration Resource Center (PIRC) and the local
  immigration bar. PIRC attorneys and other counsel meet with clients in a small office on the first
  floor of the facility. The office has a window to a waiting area where children can be observed by
  the client, but the area is not equipped with anything to divert a child’s attention from his or her
  mother’s meeting with the attorney (e.g., no toys, television, or reading materials). There is a
  telephone in the office, but there do not appear to be any legal materials available in this area, nor a
  printer for producing any legal documents.
  Tasked by the Secretary of Homeland Security to advise the department on “existing resources and
  tools” that affect access to counsel, the recommendations that follow address these concerns. They
  should apply equally to attorneys considering whether to represent detainees in any type of matter;
  to attorneys retained by detainees (for a fee or on a pro bono basis) to represent them in
  immigration or other proceedings in the U.S. or abroad (including but not limited to custody cases,
  other family law cases involving their children, tort actions, or civil rights claims); and to any
  support staff authorized by such an attorney to carry out the attorney’s work – including, but not
  limited to, BIA-accredited representatives, paralegals, law students, interpreters, subject matter,


  106
      See, e.g., American Bar Association Commission on Immigration, Family Immigration Detention: Why the Past
  Cannot be Prologue (July 31, 2015),
  https://www.americanbar.org/content/dam/aba/publications/commission_on_immigration/FINAL%20ABA%20Family
  %20Detention%20Report%208-19-15.authcheckdam.pdf. See also U.S. Commission on Civil Rights, With Liberty
  and Justice for All: The State of Civil Rights at Immigration Detention Facilities (Sept. 2015),
  http://www.usccr.gov/pubs/Statutory_Enforcement_Report2015.pdf.

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  medical or mental health experts, and administrative support staff of the attorney or law firm. We
  refer to these individuals in the collective, as “attorney teams.”
  Finally, but no less importantly, when we refer to detainees and their right to meet with counsel,
  we are referring to all adult family members detained in the facility; any child whose parent or
  legal guardian wishes for the child to meet independently with an attorney; and any child of any
  age who expresses a wish to meet with an attorney.
                 Meeting with Counsel
  Recommendation 3-7: Detention facilities should allow attorney teams (attorneys and
  supporting professionals including law students, paralegals, interpreters and experts)
  maximum access and flexibility in meeting and speaking with detained persons and advising
  or representing them in proceedings that take place while the person is detained.
  Recommendation 3-8: Visitation policies at each facility – including but not limited to visiting
  hours, technology permitted in counsel visitation rooms, and child care provided during
  attorney-client meetings – should remain consistent. Frequent changes undermine counseling
  and representation and may deny notice to attorneys and their support staff and to the
  detainees and their families for timely attorney-client meetings to take place. Signs and
  posters to this effect, in different languages, should be posted in housing units, cafeterias,
  recreational areas, and law libraries.
  Recommendation 3-9: FRC handbooks, manuals and policies should be amended to clearly
  state that detainees – including the children of parents detained at the facility – have the
  right to meet with an attorney at any time the attorney is available within facility visiting
  hours, and to contact their attorney by telephone at any time; detainees should not be
  precluded from meeting with or calling an attorney because they failed to make an advance
  request. 107
  Recommendation 3-10: Legal services organizations should not be required to identify
  particular detainees with whom they desire to meet before arriving at the facility, in order to
  provide free legal consultations and/or legal representation. Specifically, they should be able
  to establish “drop in” hours or meet with prospective or retained clients on an as-needed
  basis and detainees should be able to request a same-day meeting with a member of an
  attorney team and should be informed and encouraged to seek legal advice as available.
  Recommendation 3-11: ICE should use available technology (such as pagers) to allow
  detainees who wish to meet with an attorney to sign up and then continue with their daily
  activities until an attorney is available.
  This would not obligate attorney organizations to meet with everyone who makes such a request;
  attorney teams will exercise their discretion to prioritize appointments. But there is no need for
  detainees to have to wait for hours in a room and miss other activities (including meals); with a



  107
     The Berks Resident Handbook says only “You have the right to pursue legal assistance at no cost to the U.S.
  government.” The Resident “Rights and Responsibilities” section doesn’t say anything else about counsel, and the
  section on visitation don’t mention attorneys. Berks Resident Handbook 6–7.

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  pager or other similar technology they could be notified immediately when an attorney is available
  to meet with them.
  Recommendation 3-12: Detainees should be able to prioritize meetings with counsel over
  nearly all other “activities” while in custody. Detainees should never be discouraged from
  meeting with counsel or members of the legal team (including experts) because they might
  miss a planned activity, meal or (for children) even school, or because the meetings increase
  demands on child care providers within the facility.
               Care of Children During Attorney-Client Meetings
  Recommendation 3-13: ICE should design spaces for counsel to meet with parents from
  which parents can see their children in an open, shared play space (rather than closed-off or
  separate rooms where children have only enough space to watch TV) so that they can focus
  on communicating with their attorneys knowing exactly where their children are.
  Recommendation 3-14: Child care hours should be extended to match hours when parents
  can meet with attorney teams, for parents who wish to use child care during this time. ICE
  should provide sufficient day care space and staffing to allow all parents who wish to meet
  with counsel outside the presence of their children to do so.
               Location of Attorney-Client Meetings
  Recommendation 3-15: ICE should immediately re-design or re-organize space within each
  FRC to increase and ensure sufficient private, sound-proof spaces for detainees to meet with
  attorney teams, both in small groups and individually. Detainees need to meet with counsel
  prior to and in preparation for each proceeding or interview at which the detainee is
  scheduled to appear related to the detainee’s immigration case or any other proceeding in
  which the detainee is involved. Reorganization of space should be undertaken in consultation
  with attorney teams and considering data including the number of detainees in the facility,
  the average length of stay, the number of interviews or proceedings per detainee (each of
  which requires different consultation with counsel). Committee members requested much of
  this data but were denied the information.

               Ensuring Attorney Teams Can Function in their Role as Counsel
  Recommendation 3-16: Facilities should establish clear, consistent policies permitting
  attorney teams to bring food and drink into the facility and/or (if they choose) to leave the
  facility for meals and return later in the day. Attorneys and detainees should be able to eat
  and drink during meetings, and to use the bathrooms as needed during meetings, without
  having to terminate meetings.
  Recommendation 3-17: Attorney teams should be permitted to bring and easily access cell
  phones, laptops, printers, scanners and wireless internet connections in designated spaces
  while meeting with detainees. This technology should be available in the same space in which
  attorneys are meeting with detainees.
  Recommendation 3-18: ICE should develop a simple form by which detainees in any facility
  can request copies of any document from their file including documents the individuals had


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  with them at the time of apprehension,108 unless the record requires a Health Insurance
  Portability and Accountability Act (HIPAA)-compliant release, and which permits release of
  the document to both the detainee and the detainee’s attorney team. This form should be
  consistent across facilities and be translated consistent with the recommendations in Part 5.
  Recommendation 3-19: ICE should make available a HIPAA-compliant release form that
  detainees could sign while in the facility and should implement procedures that ensure that
  information covered by HIPAA is released by the FRC to the person designated by the
  detainee (including members of their legal team) within one business day after receipt of a
  the HIPAA-complaint release, unless the individual indicates a more immediate need for the
  information (such as a hearing). Providing counsel access to medical, dental, and mental
  health records is part of a trauma-informed approach. The information can both strengthen
  the legal cases and also provide background essential to counsel’s ability to offer trauma-
  informed representation to the trauma victim. 109
          C. Counsel’s Role in Decisions Critical to Detainees’ Safety and Right to Due Process
  Notwithstanding policies that anticipate meetings between detainees and counsel and that
  recognize the role of counsel in protecting detainees’ rights, 110 attorneys serving detainees report
  systematic and fundamental breaches in access to counsel with respect to the movement of
  detainees from one facility to another, and with respect to their removal (deportation) during the
  pendency of proceedings. 111 Those same standards acknowledge the right of detainees to be
  represented by, or even accompanied by counsel as early as their first interview; yet it appears that
  many if not most of those interviews take place before detainees are advised of their rights or have
  the opportunity to meet with counsel. In 2015, attorneys representing detainees in Karnes and
  Dilley filed a complaint with the Department’s Office for Civil Rights and Liberties alleging that
  detainees were denied access to counsel during meetings that determined the conditions of
  release. 112 In some cases, free legal services providers received notice of hearings within hours of
  the actual hearing, precluding both in-person meetings with clients and anything that might be




  108
      U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT, FAMILY RESIDENTIAL STANDARD 2.3, FUNDS AND PERSONAL
  PROPERTY, https://www.ice.gov/doclib/dro/family-residential/pdf/rs_funds_and_personal_property.pdf (requiring that
  funds, valuables, baggage, and personal inventory be inventoried, receipted, stored, and safeguarded).
  109
      See KRISZTINA SZABO ET AL., ADVOCATE’S AND ATTORNEY’S TOOL FOR DEVELOPING A SURVIVORS STORY:
  TRAUMA INFORMED APPROACH (2013), http://niwaplibrary.wcl.american.edu/pubs/tool-trauma-informed-
  approach/http://library.niwap.org/wp-content/uploads/2015/pdf/TRAUM-Qref-
  AdvocatesToolDevelopingSurvivorStory.pdf; MARY ANN DUTTON ET AL., TRAUMA INFORMED STRUCTURED
  INTERVIEW QUESTIONNAIRE (2013), http://library.niwap.org/wp-content/uploads/2015/SIQI.edited.di-tb-6.15.15.pdf.
  110
      U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT, FAMILY RESIDENTIAL STANDARD 6.2, LAW LIBRARIES AND
  LEGAL MATERIAL 1, https://www.ice.gov/doclib/dro/family-residential/pdf/rs_law_libraries_and_legal_material.pdf.
  111
      See, e.g., AILA CLINIC, AIC, Human Rights First and RAICES, Letter to Director León Rodriguez and Director
  Sarah Saldaña 10-14 (Dec. 24, 2015) [hereinafter AILA et al. letter] (documenting specific cases in which ICE
  deported families with pending requests for reconsideration of negative credible fear determinations and transferred
  families with counsel from a facility in Texas to a facility in Berks without representation).
  112
      Complaint Regarding Coercion and Violations of Right to Counsel at the South Texas Family Residential Center in
  Dilley, Texas (Sept. 30, 2015), http://www.aila.org/File/DownloadEmbeddedFile/65906.


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  considered adequate preparation time. 113 This undermines due process and is inconsistent with the
  stated intent of ICE policy to provide access to counsel.

  Recommendation 3-20: DHS policy and facility design should allow attorneys to be present
  with detainees during interviews with asylum officers or any other immigration officials and
  any disciplinary hearing or action regarding the detainee or the detainee’s child.
  Recommendation 3-21: ICE should never move a detainee from one ICE detention facility to
  another without providing notice to the detainee and her counsel, and without providing an
  opportunity for the detainee’s counsel to respond to proposed relocation.
  Recommendation 3-22: Detainees presented with a release alternative or conditions of release
  should be informed that they can consult with an attorney while making decisions, and given
  phone access to attorneys during this process. A detainee’s decision to consult with an
  attorney should not delay her release more than the time such consultation takes.
  Recommendation 3-23: ICE should never deport a detainee while the detainee’s case is in
  progress – in particular, but not limited to, if a detainee has filed a request for
  reconsideration of a claim, or has any pending petition for review before a federal court, or
  any pending VAWA, T or U visa case. If a detainee has a pending civil rights complaint, the
  office investigating that complaint should have a full opportunity to interview the detainee
  and, if it so chooses, to delay deportation.
           D. Counsel’s Role in Decisions to Separate Children from Parents
  Detainees who met Committee members expressed tremendous confusion and uncertainty about
  their future; fear of return to their countries; anxiety over the health and well-being of their
  children; and in some cases, fear of separation from their children. These concerns are not
  unfounded. In the professional experience of multiple Committee members, in recent years
  children held in detention at Berks and at least one of the Texas FRCs have been separated from
  mothers, designated as unaccompanied children, and transferred to ORR facilities in other states.
  Without transparent processes and an opportunity for counsel to advocate for families prior to
  separation in DHS custody, there is a risk that separation will violate the parent’s constitutional
  right to the care and custody of her child or result in separations that are contrary to the child’s best
  interests. The Department has previously declared its interest in protecting the constitutional rights
  of children and parents facing separation as a result of immigration proceedings with its Parental
  Interests Directive, issued by the Department in 2013, to ensure the participation of detained
  parents’ in child welfare proceedings involving their children. 114

  Recommendation 3-24: ICE should never separate a parent from a child without providing
  notice to the parent, the child, and the parent’s and the child’s counsel (absent extreme
  emergencies), and an opportunity for the parent, child, the parent’s counsel and the child’s

  113
      See, e.g., AILA et al. letter, supra note 111, at 2 (noting that at Dilley, pro bono attorneys receive court dockets in
  the late afternoon for hearings the next morning, while at Karnes pro bono attorneys do not receive the immigration
  court docket at all).
  114
      U.S. Immigration and Customs Enforcement, Facilitating Parental Interests in the Course of Civil Immigration 1, 2
  (Directive 11064.1Aug. 23, 2013), https://www.ice.gov/doclib/detention-
  reform/pdf/parental_interest_directive_signed.pdf.

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  counsel to appear before and make arguments to the ICE official making the decision. If the
  basis for the separation is a concern about the detained parent’s failure to care for, or
  maltreatment of, the child, the matter should be referred to local child welfare authorities for
  investigation before the parent and child are separated (absent an imminent threat to the
  child’s safety or well-being, which should result in the child’s separation from the parent but
  remaining within the facility). Referral to the local child welfare authorities and a review of
  the decision to separate and reunification if appropriate pending further investigation should
  occur within the time required under state law for reports and investigations of child abuse
  or neglect. This will help ensure that the right afforded all parents to the care and custody of
  their child, regardless of immigration status, are protected. 115
  Recommendation 3-25: Threats of or actual separation of a parent and child should never be
  used as punishment or retaliation for exercising rights, nor as a means of discouraging the
  exercise of rights.
  Recommendation 3-26: If ICE intends to separate a parent and child because of concerns
  regarding the legal relationship between the parent and child, and renders the child an
  unaccompanied minor pursuant to 6 U.S.C. § 1279(g), ICE should provide meaningful notice
  (at least 48 hours) to the parent, child and parent’s and child’s counsel and an opportunity
  for the parent, child, the parent’s counsel and the child’s counsel to appear before and make
  arguments to the ICE official making the decision, prior to transferring the child to the
  Office of Refugee Resettlement (ORR) custody. 116
  Recommendation 3-27: In exceptional cases in which DHS separates a parent and child,
  renders the child unaccompanied, and transfers the child to the custody of the Office of
  Refugee Resettlement, the agency should submit a concurrent referral for the appointment of
  an independent Child Advocate pursuant to the Trafficking Victims Protection
  Reauthorization Act (TVPRA).
           E. Meaningful Access to a Law Library
  ICE Residential Standards and implementing policies at each facility establish detainees’ right to
  access legal materials to “facilitate the preparation of documents.” 117 Yet the Texas facilities
  visited by Committee members failed to reflect either the needs or (suspected) demographics of the
  population detained in each facility – libraries presumed a high degree of literacy, of computer
  literacy, experience with computerized databases, and fluency in written English. Moreover, at
  both Karnes and Dilley, law libraries were located in areas inaccessible to attorneys and legal
  teams, precluding any collaboration between attorney teams and detainees to make better use of
  these libraries and their equipment.


  115
      Under the U.S. Constitution immigrant parents have the same rights to care, custody, and control over their children
  without regard to their documented or undocumented status or their detention or deportation. See, e.g., In re Interest of
  Angelica L., 277 Neb. 984, 1007, 1009-1010 (2009) (there is an “[o]verriding presumption that the relationship
  between parent and child is constitutionally protected and that the best interests of a child are served by reuniting the
  child with his or her parent. This presumption is overcome only when the parent has been proven unfit”).
  116
      Pursuant to federal law, ICE has 72 hours to transfer unaccompanied minors to the Office of Refugee Resettlement
  (ORR). 8 U.S.C. § 1232(b)(3).
  117
      FAMILY RESIDENTIAL STANDARD: LAW LIBRARIES AND LEGAL MATERIAL, supra note 110, at 1.

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  Two of the three facilities visited by Committee members – Karnes and Dilley – had areas
  designated as “law libraries.” At Karnes, the law library consisted of two rooms adjacent to the
  main library. They contained tables, and chairs, computers, and some printed information. We
  were advised that detainees are able to get onto computers (in the law library and main library) to
  access email accounts and news sites. To the best of Committee members’ recollection there were
  no hard copy books in the Karnes “law library” except for a binder with “Know Your Rights”
  information authored by the American Bar Association and reproduced in several languages.
  Committee members were told by facility staff that detainees could use an electronic law library
  (specifically LexisNexis); that service is available only in English. The law library at Dilley
  included printed materials in a central room, with a computer room to each side. The Dilley library
  also included copies of the American Bar Association’s “Know Your Rights” document – notably,
  there was no copy available in Spanish, although copies were available in other languages.
  Recommendation 3-28: Detainees should be informed of the law library and the legal
  resources available for assistance in their asylum applications during the intake process and
  throughout their time in detention. Posters or other easily-observed notices informing
  residence of the law library should be posted in common areas throughout the facility,
  including near monitors showing the Know Your Rights video. Such notices should include
  the following:
     a) that a law library is available;
     b) the hours of the law library;
     c) that no permission is needed to access the law library;
     d) that the law library has the legal materials listed below;
     e) the procedure for requesting materials not available in the law library;
     f) that the law library has the equipment (e.g., computers) listed below;
     g) that materials reviewed or prepared by detainees will not be read by facility staff; and
     h) that the detainee may be accompanied by counsel in the law library.

  Recommendation 3-29: FRC law libraries should be open 7 days per week, from 8 am to 8
  pm. Detainees’ use of the law library should not be restricted by time (i.e., length of usage),
  unless crowded conditions require restricting access. Detainees’ use of the law library should
  not be restricted or denied due to any violation of facility rules, by adult residents or
  children, nor by medical condition, unless required by a compelling medical concern.
  Detainees facing a legal deadline should have priority in accessing the law library.
  Supervision of detainees using the law library should not include reading any of their
  materials.
  Recommendation 3-30: All FRC law libraries should be supplied with materials necessary
  for effective education, research and advocacy by detainees, including:
     a) pamphlets or similarly portable hard-copy publications providing basic legal
        information about the asylum process, and other related forms of relief, such as
        withholding and protection under the Convention against Torture under United
        States law in Spanish and other languages used by facility detainees;
     b) all of the materials listed in Attachment A to the Karnes City Residential Policy and
        Procedure Manual, Part 6: Justice; and


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     c) contact information for pro bono asylum/immigration services in the locality or
         region where the detainee indicates she will reside after release.
  Lost or damaged legal materials should be replaced as soon as practicable.
  Recommendation 3-31: All FRC law libraries should include the following equipment:
      a) access to electronic legal research products (e.g., Westlaw or LexisNexis);
      b) computers
      c) printers;
      d) copier(s);
      e) scanner(s);
      f) writing utensils (pens, pencils); and
      g) paper.
  This equipment should not be restricted to legal research and work product, but should be
  allowed to be used to prepare or copy grievances, letters regarding facility conditions, or any
  matter relating to immigration, asylum and other forms of relief, release or the care and
  custody of children. Upon request, detainees should be provided with a means of saving legal
  research and/or work product in a convenient electronic format (e.g., thumb drive or flash
  drive).
  Recommendation 3-32: Detainees should be allowed to email documents, including scanned
  and original documents. Indigent detainees should be provided with free envelopes and
  stamps for mail relating to legal matters, including correspondence with counsel (or in
  search of counsel), and any court.
  Recommendation 3-33: ICE should designate a staff member or members to regularly to
  inspect each FRC law library equipment and legal materials. Legal materials should be
  regularly updated; staff should check to determine whether updates are available no less
  than annually.
  Recommendation 3-34: FRC law libraries should be available to pro bono counsel, to
  facilitate provision of legal services to detainees without requiring unnecessary repeat visits.
  The use of an FRC law library should be sufficient justification for her a detainee to request
  and receive monitored, short-term care for her children.
  Recommendation 3-35: FRC libraries should prominently display and provide, in English
  and Spanish, copies of the USCIS-produced brochure on VAWA, T and U visa and SIJS
  immigration relief. 118 Detainees who are illiterate or whose primary language is one other
  than a language in which the brochures are translated should be able to receive information
  about these forms of crime victims related immigration relief though interpretation into their
  primary language.




  118
     U.S. Citizenship and Immigration Services, Immigrant Options for Victims of Crimes, Information for Law
  Enforcement, Healthcare Providers, and Others (Feb. 2010),
  https://www.uscis.gov/sites/default/files/USCIS/Humanitarian/Battered%20Spouse,%20Children%20&%20Parents/Im
  migration%20Options%20for%20Victims%20of%20Crimes.pdf.

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  Recommendation 3-36: ICE and the FRCs should accept published or unpublished legal
  materials from outside persons or organizations for inclusion in each FRC law library and/or
  distribution to detainees. Any such materials should identify on the cover: (1) the identity of
  the author; (2) a statement that ICE did not prepare and is not responsible for the content of
  the publication; and (3) the date of submission to the facility. The facility should forward the
  material to ICE for review and approval. If approval is declined, the author or person/entity
  responsible for its submission should be informed of the reason(s) for its being declined.
             F. Access to Information Specific to Crime and Trauma Victims
  Many parents and children detained in FRCs may qualify for other forms of crime-victim based
  immigration relief. 119
  Specifically, VAWA relief, T non-immigrant status (“T visas”), U non-immigrant status (“U
  visas”) and special immigrant juvenile status (SIJS) are immigration benefits for which detainees
  and/or their children may be eligible to apply. Despite the high rates of past violence and traumatic
  experiences among detainees at FRCs, it is not clear the extent to which detained families receive
  information about the primary forms of immigration relief available to crime victims in the U.S.
  To the extent any of this information is provided it might be included in Legal Orientation
  Program presentations and it may be explained as an option by attorneys or attorney teams who
  provide legal representation for detainees at the FRCs. Access to information about immigration
  benefits for crime victims will help detainees to determine whether to pursue these benefits after
  establishing their credible or reasonable fear. Existing literature produced or distributed by the




  119
        The primary forms of crime-victim based immigration relief that FRC detainees may qualify for are:
        • VAWA immigration relief (self-petitioning, VAWA cancellation of removal, VAWA suspension of
             deportation) for immigrant spouses and children who have suffered battering or extreme cruelty perpetrated
             by their U.S. citizen or lawful permanent resident spouse, parent or step-parent. It is not uncommon for
             immigrant spouses and children of U.S. citizen and lawful permanent resident abusers to end up outside of the
             U.S. often for reasons related to the abuse.
        • U non-immigrant status (“U visas”) for immigrant victims of certain crimes perpetrated in the United States.
             The vast majority of U visa cases filed in the United States are filed by victims of domestic violence, sexual
             assault and human trafficking. Any detained parent or child who suffered abuse, trafficking or sexual assault
             in the United States would qualify for a U visa upon certification from a law enforcement agency. This
             includes victimization occurring in and outside of DHS custody.
        • T non-immigrant status (“T visas”) for victims of human trafficking. Human traffickers have networks that
             operate inside the U.S. and abroad and prey on both adults and children. Detained mothers and children could
             include human trafficking victims eligible to file for T visas. Law enforcement officials may also request that
             the ICE Law Enforcement Parole Branch grant continued presence for victims of human trafficking who are
             potential witnesses in trafficking investigations or prosecutions. Continued presence provides temporary
             immigration status and work authorization for one year (with the possibility of one-year renewals). for T
             visas and/or continued presence.
        • Special Immigrant Juvenile Status (SIJS) for immigrant children who have been abused, abandoned or
             neglected either in the U.S. or abroad by one of their parents. Children in family detention may have suffered
             abuse, sexual assault, neglect or abandonment perpetrated by their father. In these cases, the child would
             independently qualify for SIJS immigration relief in addition to qualifying to be included in their parent’s
             petition for an immigration benefit.


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  federal government should help ensure that this information is readily available to detainees and
  their families, while in custody and upon their release. 120
  ICE must ensure that the FRCs, as well as the organizations running the legal orientation programs
  at each FRC, are providing information to detainees on VAWA, T and U visa, special immigrant
  juvenile visas, and other forms of immigration relief in addition to information about asylum,
  withholding, and CAT protection. The best way for detainees to learn about and understand their
  rights and options is through participating in information sessions and, most importantly, leaving
  FRCs with hard copies of brochures and/or pamphlets detailing their rights and immigration
  options in a language they understand well.
  Recommendation 3-37: FRCs should organize and offer informational group sessions that
  explicitly provide information about domestic violence, sexual assault, and human trafficking
  and should provide information about VAWA self-petitioning, VAWA cancellation of
  removal, U visa and T visa immigration relief, and SIJS immigration relief. Ensuring
  delivery of this service should be among the responsibilities of the Trauma Informed Care
  Coordinator working at each FRC.
  Recommendation 3-38: FRCs should provide each detained family with a copy of the
  following USCIS brochures, which should be distributed at legal orientation programs, by
  Trauma Informed Care Coordinators, and again to each detainee upon release from
  detention:
      a) “Immigration Options for Victims of Crimes” at intake and upon release. The
         brochure should be provided in the detainee’s primary language.
      b) Pamphlet for K-1, K-3, IR-1/CR-1, and F2A Immigrant Visa Applicants under the
         International Marriage Broker Regulation Act (IMBRA). This pamphlet is available
         in various languages on the State Department website. 121 The IMBRA pamphlet
         should be readily available at all FRCs and distributed to detainees.

  120
      ICE’s Performance Based National Detention Standards 2011 require use of the ICE custody classification
  worksheet that screens for special vulnerabilities that include victims of sexual abuse, violent crime, human
  trafficking, persecution, or torture. U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT, 2011 OPERATIONS MANUAL ICE
  PERFORMANCE-BASED NATIONAL DETENTION STANDARDS (2012), https://www.ice.gov/doclib/detention-
  standards/2011/pbnds2011.pdf [hereinafter PBNDS 2011], at Appendix 2.2A, 78. Many of these factors could be a
  basis for immigration relief under the VAWA, U or T visa programs. Additionally, USCIS has developed a pamphlet
  entitled “Immigration Options for Victims of Crimes” that provides an overview of VAWA, T and U visa immigration
  relief for immigrant crime victims. U.S. CITIZENSHIP AND IMMIGRATION SERVICES, RESOURCES FOR VICTIMS OF
  HUMAN & OTHER CRIMES, https://www.uscis.gov/tools/humanitarian-benefits-based-resources/resources-victims-
  human-trafficking-other-crimes (for resources available in English, Spanish, Russian, Chinese). USCIS has also
  developed an informational fact sheet for child welfare workers that could be used to inform detainees and their
  children about SIJS. USCIS, Special Immigrant Juvenile Status: Information for Child Welfare Workers available at
  http://niwaplibrary.wcl.american.edu/pubs/uscis-sijs-info-for-childwelfareworkers/. Finally, the U.S. Department of
  State has developed a brochure entitled “Information on the Legal Rights Available to Immigrant Victims of Domestic
  Violence in the United States and Facts About Immigrating on a Marriage Based Visa” that provides information on
  domestic violence, hotlines, and human trafficking. U.S. DEP’T OF STATE – BUREAU OF CONSULAR AFFAIRS, RIGHTS
  AND PROTECTIONS FOR FOREIGN-CITIZEN FIANCÉ(E)S AND SPOUSES OF U.S. CITIZENS AND SPOUSES OF LAWFUL
  PERMANENT RESIDENTS, https://travel.state.gov/content/visas/en/general/IMBRA.html (available in: Arabic, Chinese,
  Spanish, English, Farsi/Dari, French, German, Hindi, Japanese, Korean, Polish, Portuguese, Romanian, Russian,
  Tagalog, Thai, Ukrainian, Uzbek, Vietnamese).
  121
      Id.

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     c) “Special Immigrant Juvenile Status: Information for Child Welfare Workers” should
        be translated into Spanish and should be provided at intake and upon release to all
        FRC detainees.




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  4.    EDUCATION SERVICES AND PROGRAMS

  The ACFRC was appointed to develop recommendations to strengthen the education services and
  programs provided to families detained in Family Residential Centers (FRCs). It is our opinion
  that, to fulfill our mandate, education services and programs should span infant and toddler child
  care, pre-kindergarten for children age 4, the conventional K-12 grades for all children ages 5-18,
  as well as parent education to support parents under tremendous stress related to their immigration
  journey, detention experience, and transition to new lives in U.S. communities.
  The practice of detaining migrating families has presented FRCs with an unfamiliar challenge of
  providing an education for children apprehended with their parents. Under federal law, all children
  in the U.S. are entitled to a free basic public elementary and secondary education regardless of
  race, color, national origin, citizenship, immigration status, or the immigration status of their
  parents or guardians. 122
  Because FRCs detain women and children who are new arrivals to the U.S., many of whom are
  likely to a remain and become members of our communities, and because FRCs house children
  ranging from newborns to age 18 (as specified by the Homeland Security Act of 2002 and
  Trafficking Victims Protection Reauthorization Act of 2008), 123 the span of education services and
  programs is necessarily broad. While detained for an uncertain period of time, parents need child
  care for their young children in order for them to attend to their immigration cases, to meet with
  attorneys, to receive health and mental health care, to cope in the detention environment, and to
  prepare their children to enter kindergarten ready to learn in U.S. schools. Likewise, school age
  children living in FRCs have the right and responsibility to attend school daily. The Flores
  settlement also specifies that education be provided to children in immigration custody. 124
  Access to education is a basic human right. It helps to stabilize immigrants, reduce poverty,
  develop knowledge useful in daily life, and normalize the otherwise very unsettling circumstances
  of living in FRCs and adjusting to a new country. Education is key to the promise of a better life
  for detained families when they are released into U.S. communities.
  The FRCs are required to provide “comprehensive educational services and programs to children
  eligible for formal education as defined by applicable state laws and regulations.” 125 The Family
  Residential Standards for education consist of very basic guidelines for the pre-kindergarten and
  the K-12 programs, but omit even basic guidelines about infant and toddler child care and parent
  education. Similarly, there is scant information about the education services and programs in each
  of the three FRC resident handbooks. The handbooks simply document that each FRC operates an
  on-site pre-kindergarten program and K-12 school Monday through Friday throughout the year,
  and that attendance is mandatory for children age 5 and older. Upon enrollment, students are


  122
     U.S. DEP’T OF JUSTICE & U.S. DEP’T OF EDUCATION, FACT SHEET: INFORMATION ON THE RIGHTS OF ALL CHILDREN
  TO ENROLL IN SCHOOL (May 2014), www.justice.gov/sites/default/files/crt/legacy/2014/05/08/plylerfact.pdf.
  123
      Homeland Security Act of 2002, Pub. L. No. 107-296, 116 Stat. 2135 (2002); William Wilberforce Trafficking
  Victims Protection Reauthorization Act of 2008, Pub. L. No. 110-457, 122 Stat 5044 (2008).
  124
      Stipulated Settlement Agreement, Flores v. Reno, No. 2:85-cv-04544 (C.D. Cal. Jan. 17, 1997),
  http://www.clearinghouse.net/chDocs/public/IM-CA-0002-0005.pdf.
  125
      U.S. IMMIGRATION & CUSTOMS ENFORCEMENT, FAMILY RESIDENTIAL STANDARD 5.2, EDUCATION POLICY 4 (Dec.
  21, 2007), http://www.ice.gov/doclib/dro/family-residential/pdf/rs_educational_policy.pdf [hereinafter FAMILY
  RESIDENTIAL STANDARD: EDUCATION POLICY].

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  assessed for grade level knowledge and skill and evaluated for special needs. The academic
  program includes state-specific, standards-based instruction in language arts, math, science, social
  studies, and physical education.
  Beyond that, the standards and resident handbooks offer virtually no specific information about
  curriculum, instruction, classroom management, social-emotional learning, addressing childhood
  trauma in the classroom, or preparing students to transition to new schools in their post-release
  communities. Without more specific standards, ICE cannot hold itself or its contractors
  accountable for the content, quality, and consistency of its education services and programs,
  including addressing the recommendations made by the ACFRC.
  Recommendation 4-1: ICE should review and revise its FRC standards for education to add
  needed detail about the expected content and quality of the education services and programs
  and to align with the Committee’s education recommendations. To inform new education
  standards that specify best practices, ICE should also elicit input from a panel of education
  advisors with expertise in the following fields: child care; pre-kindergarten education; K-12
  curriculum, instruction, and assessment; newcomer students and English language learners;
  interrupted schooling, dropout prevention, parent engagement, adult learners (including
  parents), and trauma-informed classroom practices.
  On-site visits to the FRCs provided some additional information about how schools and
  classrooms were organized and how education contractors designed and delivered the infant-
  toddler, pre-kindergarten, and K-12 programs. Information from ICE staff, education contractors,
  and parents at these site visits corroborated that, in general, young children had not participated in
  out-of-home child care or pre-kindergarten programs in their home countries and that many K-12
  students were far behind grade level academically due to interruptions in their formal schooling,
  and entered FRCs speaking one or more languages but with no or limited English language skills.
  Despite written and verbal requests from the ACFRC to ICE for more detailed information about
  its education services and programs, little additional information was provided, and it remains
  unclear to the ACFRC how well the existing services and programs are working. While ICE
  provided some additional helpful information, we also received incomplete information on a
  number of key education issues and, in certain instances, information that conflicted with our site
  visit observations and FRC standards.
  In the absence of better information, including an examination of curricula, systematic
  observations of classroom practices and school operations, and interviews with contract monitors,
  educators, parents, and students, the ACFRC consulted with, in addition to sources provided by
  ICE, other credible sources from education research and practice to develop the recommendations.
  In doing so, we focused mostly on best education practices for immigrant and English learner
  students, students with interruptions in their formal education, and students who experienced
  childhood trauma.
  While in ICE custody, children should have a caring school experience, an engaging curriculum,
  and high quality instruction, and parents should receive compassionate and practical support to
  help their children succeed in school while their families are detained. This part is a set of very
  specific recommendations to better align FRC education services and programs with key best
  education practices.


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             A. Early Childhood Education
  While detained, parents of young children may need child care options in order to manage family
  life in FRCs, to attend personal appointments, and to address their immigration case. High quality
  care includes qualified teachers, culturally sensitive and responsive caregiving, stimulating
  cognitive and language development, and programming in safe and healthy spaces. Yet the Family
  Residential Standards for education do not specify if FRCs are expected to offer child care or
  include guidelines about the content or quality of infant and toddler care in the existing programs
  at Dilley and Karnes. In fact, the ACFRC has been informed by advocacy organizations and some
  detained mothers during site visits that parents are expected to supervise their children at all times.
  This is interpreted as not allowing a mother to ask another mother to watch her child while she, for
  example, takes a nap, conducts an errand, or needs a break. Children age 13 or older are allowed to
  walk through FRCs unaccompanied by their parent but children under age 13 must be supervised
  by a parent or in school.
  The Family Residential Standards for education are clearer about offering a pre-kindergarten
  program. As stated, the pre-kindergarten program “shall provide comprehensive child development
  services such as educational, health, nutritional, and social services to eligible four-year-old
  children and their families.” 126 Eligibility criteria and program characteristics are not defined. The
  resident handbooks suggest that pre-kindergarten is a half-day program.
                   Access to Child Care
  Recommendation 4-2: Infant and toddler child care should be:
         a) provided at all FRCs (currently, Berks does not offer an official structured child care
            program); and
         b) available to parents for any reason, and not restricted to times when parents are
            engaged in legal or medical-related business.

  Recommendation 4-3: FRC child care programs should be accessible and expanded
  programmatically to be age appropriate for children under the age of 13 when not in school,
  and available upon request from parents, regardless of whether they are attending to legal-
  or medical-related business. Currently, child care programs are only for infants and
  toddlers. FRCs do not permit children to be separated from their parents until age 13, yet
  there are no supervised care options for these children.
                   Child Care and Pre-Kindergarten Programming
  Recommendation 4-4: Pre-kindergarten teachers and infant and toddler caregivers should:
         a) create learning environments and provide age- and developmentally-appropriate art,
            music, play, and literature activities to engage young children who may be unfamiliar
            with out-of-home care or a formal education program;
         b) routinely incorporate parents in play and learning activities when parents want to
            participate; and



  126
        FAMILY RESIDENTIAL STANDARD: EDUCATION POLICY, supra note 125, at 2.

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        c) encourage parents to participate in programming as much as they want in order to
           help their child, especially at the onset, adjust to separating from them while in child
           care or prekindergarten.

  Recommendation 4-5: The FRC pre-kindergarten and child care programs should follow the
  best practices guidelines for media use (e.g., watching television, using a tablet or computer)
  by young children set by the American Academy of Pediatrics and endorsed by the Mayo
  Clinic. 127 The guidelines discourage media use by children younger than age 2 and limiting
  older children’s screen time to no more than two hours daily. However, this should not
  infringe on a parent’s right to make independent choices regarding media use for their
  children when in their care.
  Recommendation 4-6: Pre-kindergarten teachers and infant and toddler caregivers should
  update parents informally about their children’s activities and skills during daily drop off
  and pick up times. Formal progress reports should be issued weekly, like at Dilley, and not
  every six weeks, which is the current practice at Karnes, resulting in the likelihood of
  families with shorter detention stays not receiving formal reports. Progress reports should be
  reviewed with parents in a language they understand well (ideally in their primary
  language).
  Recommendation 4-7: Pre-kindergarten teachers and infant and toddler caregivers should
  understand:
        a) the value of acknowledging and reinforcing cultural and family strengths;
        b) the way stress, trauma, and coping affect infant and toddler adjustment to the
           detention environment;
        c) the way stress, trauma, and coping affect parenting in the detention environment; and
        d) that parents’ cultural values or lack of formal education do not invalidate good
           parenting skills, but that they may need additional information to orient them to U.S.
           parenting norms.

  Recommendation 4-8: Pre-kindergarten teachers and infant and toddler caregivers should
  have the training and skills to encourage learning and good behavior. Practices that grant or
  deny young children food or playtime as rewards or punishments should be prohibited.
                 Program Quality
  Recommendation 4-9: Pre-kindergarten teachers and infant and toddler caregivers should
  be bilingual in Spanish or another language frequently spoken at the FRCs and should be
  credentialed in early childhood education.
  Recommendation 4-10: Pre-kindergarten teachers and infant and toddler caregivers should
  be monitored by:



  127
      Media and Children, AM. ACAD. OF PEDIATRICS, https://www.aap.org/en-us/advocacy-and-policy/aap-health-
  initiatives/Pages/Media-and-Children.aspx; Screen Time and Children – How to Guide Your Child, MAYO CLINIC
  (Aug. 6, 2016), http://www.mayoclinic.org/healthy-lifestyle/childrens-health/in-depth/screen-time/art-20047952.

                                                          57
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        a) a contractor representative with pre-kindergarten content expertise, using multiple
           monitoring techniques: unscheduled weekly walkthroughs, scheduled quarterly
           observations, and mid-year and end-year performance reviews with feedback and
           professional development support for corrective action; and
        b) a qualified independent, impartial oversight authority annually for contract
           compliance and for quality, and all monitoring reports should be submitted directly
           to ICE and available to the public.

                 Pre-Kindergarten Preparation and School Readiness
  Recommendation 4-11: Since learning one language does not impair the ability to learn a
  second language in the long run, pre-kindergarten teachers should partner with parents to
  promote dual language learning. For example, pre-kindergarten teachers should encourage
  retention of children’s primary language at the same time children are learning English.
  Recommendation 4-12: Pre-kindergarten teachers should encourage young children to use
  trial-and-error speech in both their primary language and in English.
  Recommendation 4-13: Pre-kindergarten teachers should continue to base their curriculum
  on their respective state’s early childhood education standards and guidelines, and should
  teach: 128
        a) pre-literacy skills through interactive storybook reading;
        b) mathematical knowledge and skills through exposure to number words, names of
           shapes and sizes, and comparison of quantities;
        c) science literacy through interaction with the natural world. (For example, water and
           earth; hot and cold; motion and gravity; liquids and solids; living and inanimate
           objects; and day and night);
        d) cultural and self-expression through music, art, movement, and play in activities;
        e) learning readiness skills: waiting, sitting, attending to others and materials, changing
           responses based on prompts, following individual instructions, and following group
           instructions; and
        f) young children how to draw pictures of themselves and write their names.

  Recommendation 4-14: Pre-kindergarten teachers should allow young children to participate
  in activities silently or as quiet observers since apprehension is normal for those
  inexperienced with out-of-home care or early education programs and for those who
  experienced trauma or are adjusting to disorienting circumstances.
  Recommendation 4-15: Pre-kindergarten teachers should label bulletin boards, toys, and
  educational materials with visual icons and in English, Spanish, and other languages
  frequently spoken at FRCs.
  Recommendation 4-16: Pre-kindergarten teachers should assess young children using a
  validated kindergarten readiness indicators checklist that minimally assesses: expressive and


  128
    CAL. DEP’T OF EDUC., FAMILY PARTNERSHIPS AND CULTURE: BEST PRACTICES FOR PLANNING CURRICULUM FOR
  YOUNG CHILDREN (2016), http://www.cde.ca.gov/sp/cd/re/documents/familypartnerships.pdf.

                                                   58
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  receptive language, approaches to learning and cognition, phonological awareness and print
  knowledge, mathematics, social-emotional learning, physical development, and self-care. An
  example of a best practices readiness checklist is developed by the National Center for
  Learning Disabilities. 129
  Recommendation 4-17: Pre-kindergarten teachers should prepare an early learning passport
  for each child transitioning from FRCs to kindergarten in U.S. schools. This best practice is a
  folder that contains information about a young child’s skills and development, including
  assessment results and work samples to share with prospective teachers. 130

                 Early Childhood Development
  Recommendation 4-18: Pre-kindergarten and infant and toddler child-care activities should
  foster young children reaching normative developmental milestones at certain ages
  regarding how they play, learn, speak, behave, and move. The FRCs should use the best
  practices checklist of the Centers for Disease Control and Prevention on developmental
  milestones from birth through age 5 and the best practices formative assessment of
  developmental milestones, the Desired Results Developmental Profile: A Developmental
  Continuum from Early Infancy to Kindergarten Entry, produced by the California
  Department of Education. 131
  Recommendation 4-19: Young children with special education or special health needs should
  be included in all infant and toddler child-care and pre-kindergarten activities to the extent
  possible.
  Recommendation 4-20: Young children should have safe, structured, and age-appropriate
  opportunities to play daily.
          B. K-12 School Schedule
  The general education guidelines in the Family Residential Standards specify that K-12
  “educational services are provided . . . Monday through Friday, excluding holidays, and are
  modeled after a year-round program.” 132 The standards and resident handbooks require that
  students receive at least one hour of instruction in each of the five core subjects. Yet, the standards
  also say that school attendance is recorded twice daily for morning and afternoon sessions,
  suggesting half-day attendance. 133 Perhaps the FRCs have split school days only when enrollment
  exceeds the FRC standard of one teacher to 20 students or the respective state’s student-to-teacher
  ratio. However, during ACFRC site visits at each of the FRCs we did not observe classroom



  129
      NAT’L CENTER FOR LEARNING DISABILITIES, INC. & THE AM. FEDERATION OF TEACHERS, TRANSITIONING TO
  KINDERGARTEN: SCHOOL READINESS (2006), http://www.aft.org/sites/default/files/t2k_schoolreadiness.pdf.
  130
      Id.
  131
      Developmental Milestones, CENTERS FOR DISEASE CONTROL AND PREVENTION (Mar. 15, 2016),
  http://www.cdc.gov/ncbddd/childdevelopment/positiveparenting/toddlers.html; California Department of Education,
  Desired Results Developmental Profile: A Developmental Continuum from Early Infancy to Kindergarten Entry
  (2015), http://www.cde.ca.gov/sp/cd/ci/documents/drdp2015infanttoddler.pdf.
  132
      FAMILY RESIDENTIAL STANDARDS: EDUCATION POLICY, supra note 125, at 2.
  133
      Id. at 4.

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  instruction at any of them, and heard from ICE education contractors, ICE staff, and parents that
  the school schedule has not routinely operated on either full-day and year-round schedules.
  Recommendation 4-21: FRC schools should operate on a year-round, full-day schedule. If
  limitations to expansion from a half-day schedule are due to classroom capacity or the
  number of teachers, then the library or other buildings should be utilized and additional
  staff hired.
              C. K-12 Curriculum and Instruction
  Curriculum (i.e., the content of the courses offered) and instruction (i.e., the ways the content is
  taught) are at the core of the FRC K-12 education program. Our understanding is that under the
  supervision of a contracted school administrator, a contracted teacher develops the curriculum in
  the form of a weekly lesson plan for a particular grade using state-specific, standards-based
  curriculum (Dilley and Karnes use Texas state standards and Berks uses Pennsylvania state
  standards). The Family Residential Standards for education states that “best practices” 134 curricula
  are used, but there is no corroborating information. In addition, the standards fail to provide any
  information about expectations for and guidance about effective instructional practices. Without
  evidence of the content of what students are taught, we recommend a number of best practice
  curricula to draw upon for developing the FRC curriculum that have engaging content for English
  language learners and students who are academically behind grade level. Similarly, without
  standards and observation of instructional practices, there is no way to know what teaching
  routinely looks like across grades and FRCs and, therefore, we recommend FRC schools adopt the
  effective instructional practices and approaches listed below.
  Our recommendations also depart from ICE’s existing standards in one critical way: we
  recommend, given the current context of relatively short stays of most students, especially at
  Dilley and Karnes where stays are currently short in comparison to Berks, that the education
  services and programs focus foremost on English language development instead of academic
  content. The current guidelines state: “While education services will focus primarily on the
  development of academic competencies, the secondary focus shall be on English Language
  Training.” 135 This is misguided for students attending schools for several days or a few weeks. (It
  is much more appropriate for students with longer detention stays, which seems to be more
  common at Berks.) We proposed a number of recommendations for integrating academic content
  through curriculum and instruction while primarily focusing on developing critical language skills
  for students who are detained for less than one month.
                    Qualified Staff
  Recommendation 4-22: FRC schools should continue to only hire credentialed teachers who
  are bilingual in English and Spanish or another language frequently spoken at the FRCs or
  who are credentialed in English as a Second Language (ESL), and staffing at each facility
  should include at least one credentialed special education teacher.




  134
        Id. at 1.
  135
        Id. at 2.

                                                   60
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                 Curriculum
  Recommendation 4-23: FRC schools should continue to provide a self-paced curriculum
  adapted to student skill and knowledge levels.
  Recommendation 4-24: For the first month in detention, FRC schools should provide
  students with grade-level proficiency in the core content areas (e.g., language arts, math,
  science, social studies) and English language learning and literacy development curriculum
  that integrates content-based teaching.
  Recommendation 4-25: After students have been in detention for one month, FRC schools
  should provide students with grade-level proficiency in the core content areas (i.e., language
  arts, math, science, social studies) a standards-based curriculum that fully integrates English
  language learning and preparation to transition at grade level to U.S. schools in post-release
  communities.
  Recommendation 4-26: For students with below grade-level proficiency in the core content
  areas (e.g., language arts, math, science, social studies), or with histories of interrupted
  schooling in their country of origin, FRC schools should use an English language learning
  and literacy development curriculum that integrates content-based teaching.
  Recommendation 4-27: Teachers should develop and use a curriculum that: 136
        a) integrates the content and instructional approaches in best practice curricula such as
           Do the Math, Math Upgrade, Math Pathways and Pitfalls, Language Central for
           Math, ST Math, MasterPieces, Step Up to Writing, WriteToLearn, and WRiTE
           BRAiN BOOKS, Fast ForWord, and Reading Apprenticeship;
        b) emphasizes 21st century learning skills:
              i.  critical thinking (e.g., analyzing, classifying, explaining);
             ii. creative thinking (e.g., brainstorming, designing, imagining, questioning);
            iii. communicating (e.g., analyzing the situation, evaluating messages, following
                  conventions, listening actively); and
            iv.   collaborating (e.g., goal setting, delegating, managing time, resolving conflict);
        c) focuses on the components of reading (i.e., phonemic awareness, phonics, fluency,
           vocabulary, and text comprehension) and increasingly unifies instruction in English
           language and the core content areas;

  136
     BETHANN BERLINER, IMAGINE THE POSSIBILITIES: SOURCEBOOK FOR EDUCATORS COMMITTED TO THE
  EDUCATIONAL SUCCESS OF STUDENTS EXPERIENCING HOMELESSNESS (2001),
  http://files.eric.ed.gov/fulltext/ED463335.pdf; [hereinafter IMAGINE THE POSSIBILITIES]; CENTER FOR APPLIED
  LINGUISTICS, PROCEEDINGS OF THE FIRST NATIONAL CONFERENCE FOR EDUCATORS OF NEWCOMER STUDENTS
  (Beverly A. Boyson et al., eds., 2002), http://crede.berkeley.edu/pdf/newcomer.pdf [hereinafter NEWCOMER STUDENTS
  PROCEEDINGS]; These Innovative Programs Can Help Build Student Confidence in Their Writing Skills, LANGUAGE
  MAGAZINE (May 2015), http://languagemagazine.com/?page_id=124450; A Selection of Products Designed to Help
  English Learners Master the Nuances of the New Math Standards, Language Magazine (Aug. 2016),
  http://languagemagazine.com/?page_id=123802; ; RUTH SCHOENBACH ET AL., READING FOR UNDERSTANDING: A
  GUIDE TO IMPROVING READING IN MIDDLE AND HIGH SCHOOL CLASSROOM (1999); DEBORAH J. SHORT & BEVERLY A.
  BOYSON, HELPING NEWCOMER STUDENTS SUCCEED IN SECONDARY SCHOOLS AND BEYOND (2012),
  http://www.cal.org/content/download/2222/28779/file/Helping%20Newcomer%20Students%20-%20Report.pdf
  [hereinafter HELPING NEWCOMER STUDENTS].

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        d) explores in-depth real-world issues (e.g., communities, migration, ecosystems, climate,
           use of energy) thematically across the core content areas;
        e) integrates learning readiness skills for transitioning to U.S. schools in post-release
           communities. For example:
              i.   developing an identity as a student (e.g., knowing strengths, interests, and
                   learning styles);
             ii.   understanding classroom routines (e.g., daily attendance, completion of
                   homework and assignments);
            iii.   engaging in learning (e.g., participating, asking questions, learning from
                   mistakes, taking academic risks, persevering); and
            iv.    basic school study skills (currently, Dilley is the only FRC that reports
                   integrating learning readiness skills across the curriculum); and
        f) Incorporates student interests, strengths, cultures, and self-expression.

  Recommendation 4-28: FRC curriculum should be offered as “mini-lessons” so that students
  can experience completion and mastery of parts of lessons if their detention stay is short in
  duration. This can include experiential learning such as field trips outside of FRCs or
  project-based activities that can be completed in short time frames such as composing music
  in GarageBand, building small robots, conducting science experiments, and gardening.
  Recommendation 4-29: FRC schools should include safe, structured, and age-appropriate
  opportunities to play daily. This includes offering inclusive team games, developing basic
  sports skills, teaching fitness principles, and modeling fair play.
                Instruction
  Recommendation 4-30: Teachers should consistently use instructional practices that
  education experts widely agree hold promise or have high-levels of effectiveness such as: 137
        a) using mastery learning instructional techniques so all students can achieve the same
           level of learning, including advanced organizers, guided practice, modeling,
           nonlinguistic representations such as symbols and physical models to convey
           information, teaching to learning objectives, and providing feedback and corrective
           strategies to students;
        b) providing ample wait time for students to respond to instructions or questions to
           ensure adequate time to process new content and information in a new language;
        c) modeling effective learning to read instructional techniques: previewing text,
           visualizing the story, asking questions, predicting what will happen, inferring from
           cues, making connections to other texts or the real world, summarizing, and
           discussing what was liked or disliked in the text;
        d) incorporating extensive oral language development in literacy instruction;
        e) encouraging students to explore the meaning of their ideas by practicing language
           skills. For example, instruction should use open-ended questions, asking students to



  137
    Imagine the Possibilities, supra note 136; NEWCOMER STUDENTS PROCEEDINGS, supra note 136; MARZANO ET AL,
  HELPING NEWCOMER STUDENTS, supra note 136.

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           elaborate on their ideas using additional descriptors and more complex language to
           summarize or explain what they understood; and
        f) directly teaching math vocabulary and using drawings, diagrams, graphs and other
           visual aids to help English language learner students develop math concepts and
           understanding.

  Recommendation 4-31: Teachers should focus their instruction on growth, not ability. For
  example, teachers should communicate high expectations for learning and performing and a
  belief in the ability of students to grow and improve, routinely providing students with
  opportunities to relearn content, revise work, and re-take tests.
  Recommendation 4-32: Teachers should explicitly teach students study skills across the
  curriculum.
                 English Language Instruction
  Recommendation 4-33: Teachers should use instructional approaches that are aligned with
  the Common Core State Standards and have a record of success with English language
  learners with limited and/or interrupted formal education. The Sheltered Instruction
  Observation Protocol (SIOP) Model is a set of best instructional practices for designing and
  delivering lessons for English language learners. Currently, Dilley is the only FRC that
  reports using SIOP. 138
  Recommendation 4-34: Teachers should use a wide variety of instructional strategies to
  develop language and literacy in both a student’s primary language and in English.
  Examples of best practices include: 139
        a) instruction that incorporates English language and literacy development (e.g.,
           listening, speaking, reading, and writing) across the core content areas (e.g., language
           arts, math, science, social studies);


  138
      JANE ECHEVARRIA, MARY ELLEN VOGT, & DEBORAH J. SHORT, MAKING CONTENT COMPREHENSIBLE FOR ENGLISH
  LEARNERS: THE SIOP MODEL (2016).
  139
      U.S. DEP’T OF EDUC., NCEE 2014-4012, TEACHING ACADEMIC CONTENT AND LITERACY TO ENGLISH LEARNERS IN
  ELEMENTARY AND MIDDLE SCHOOL (Apr. 2014),
  http://ies.ed.gov/ncee/wwc/Docs/practiceguide/english_learners_pg_040114.pdf; Andrea DeCapua & Heather
  Marshall, Reaching ELLs at Risk: Instruction for Students with Limited or Interrupted Formal Education, 55
  PREVENTING SCHOOL FAILURE: ALTERNATIVE EDUCATION FOR CHILDREN AND YOUTH, no. 1 (2011) at 35–41;
  INDIANA DEPARTMENT OF EDUCATION, OFFICE OF ENGLISH LANGUAGE LEARNING & MIGRANT EDUCATION.
  EFFECTIVE PROGRAMS FOR ENGLISH LANGUAGE LEARNERS (ELL) WITH INTERRUPTED FORMAL EDUCATION.
  http://www.brycs.org/documents/upload/ELLswithInterruptedFormalEducation.pdf;
  Kristina Robertson & Lydia Breiseth, How to Support Refugee Students in the ELL Classroom, COLORINCOLORADO
  (2015), http://www.colorincolorado.org/article/how-support-refugee-students-ell-classroom; Kristina Robertson &
  Susan Lafond, How to Support ELL Students with Interrupted Formal Education (SIFE), COLORINCOLORADO (2008).
  http://www.colorincolorado.org/article/how-support-ell-students-interrupted-formal-education-sifes; Jeff Whittingham
  et al., Use of Audiobooks in a School Library and Positive Effects of Struggling Readers’ Participation in a Library
  Sponsored Audiobook Club. 16 School Library Research (Dec. 19, 2012),
  http://www.ala.org/aasl/sites/ala.org.aasl/files/content/aaslpubsandjournals/slr/vol16/SLR_Use_of_AudiobooksV16.pd
  f.


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        b) for students without basic literacy skills, literacy instruction that focuses on the
           fundamentals such as the alphabet, vowel and letter sounds, phonemic awareness,
           phonics, and syllables. Using wordless picture books can also promote vocabulary,
           speaking, and writing;
        c) for students with basic literacy skills, literacy instruction that incorporates chanting
           vocabulary words, guided reading groups, choral reading, interactive read-alouds,
           echo reading, and silent, independent reading;
        d) instruction that incorporates academic English such as vocabulary, word parts,
           grammar, punctuation, syntax, discipline-specific terminology, and rhetorical
           conventions; 140
        e) instruction that incorporates sheltered English-language instruction techniques such
           as the use of gestures; graphics, maps, and other visuals; collaborative learning
           activities, demonstrations, and other interactive instructional tools such as the
           SMARTBoard, videos, and manipulatives;
        f) instruction that routinely uses online dictionary features that in addition to definitions
           include images, audio pronunciation, and related words. An example is the Merriam-
           Webster Visual Dictionary; and
        g) instruction that integrates the use of English-language audiobooks as an assisted
           reading strategy for introducing new vocabulary and concepts and giving students
           access to content and literature above their reading fluency levels.

  Recommendation 4-35: Since learning in one language does not impair the ability to learn a
  second language in the long run, teachers should partner with parents to promote dual
  language learning by encouraging retention of the primary language at the same time K-12
  students are learning English.
           D. Assessing and Communicating K-12 Student Progress
  The Family Residential Standards for education have clear guidelines about assigning students to a
  specific grade based upon student age and educational assessment outcomes.
  These standards are more vague about the nature of ongoing student evaluation and the reporting
  schedule for communicating about student progress. They state that “Student progress reports are
  distributed to all students on a regular and consistent schedule, and facility policy encourages the
  scheduling of parent-teacher conferencing to discuss student achievement.” 141 The standards
  further specify that academic progress be measured every 90 days using the same testing
  instrument, regardless of a student’s length of detention stay. This does not represent best practices
  in the field, especially for students with interruptions in their formal education. Students should
  receive regular feedback during the learning process to improve student outcomes. Feedback
  should be individualized, relevant, timely, specific, address advancement toward learning goals,
  and directly involve the student. Across the FRCs, school practices reportedly vary in how and
  how often they assess student performance.



  140
      These language skills are needed for students at all grade levels to understand classroom lessons, books, tests,
  assignments, and school policies.
  141
      FAMILY RESIDENTIAL STANDARDS: EDUCATION POLICY, supra note 125, at 4.

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               Grade-Level Placements
  Recommendation 4-36: FRC schools should continue to make grade-level placements based
  on a student’s age to align with U.S. schools practices.
  Recommendation 4-37: Given the special circumstances and often short duration of
  attending school in FRCs, students should be assessed for grade level readiness and shortfalls
  for age-based placements should be identified and addressed to prepare students to
  transition to U.S. schools in post-release communities.
  Recommendation 4-38: FRC schools should continue to include documentation about grade
  placements in student education records that are shared with students and parents upon
  release, to facilitate enrollment and the transition to U.S. schools in post-release
  communities.
               Feedback to Students and Parents about Progress
  Recommendation 4-39: Teachers should routinely use multiple informal teacher-made
  assessments to measure student English language skills and content knowledge such as
  journal writing, oral presentations, and writing tasks in the primary language.
  Recommendation 4-40: Teachers should supplement the currently used quarterly assessment
  that tracks academic progress from baseline results with a weekly report-card-in-progress
  that is completed with student participation and shared with parents since most students
  have shorter stays in detention. Currently, Dilley is the only FRC that reports providing
  weekly progress reports.
  Recommendation 4-41: Teachers should routinely use a basic rubric to measure achievement
  of learning targets to enable students and parents to easily understand and monitor progress.
  A recommended rubric is: exceeding a target, meeting a target, approaching a target, and
  not yet approaching a target. The rubric should use icons to help supplement the text that
  describes the performance levels.
  Recommendation 4-42: Formal parent-teacher conferences to discuss student adjustment to
  school, classroom behavior, and achievement should be scheduled at the end of the first week
  of enrollment with guidance about how to support student progress. Thereafter, formal
  conferences should be scheduled monthly and continue to be available upon request from a
  parent, a student, or a teacher.
         E. Special Education Services
  The Family Residential Standards for education state that all incoming students will be assessed
  for special needs. Students determined to have a disability under the Individuals with Disabilities
  Education Act (IDEA), the federal law that requires schools to serve the educational needs of
  students with disabilities, and who are eligible for special education services, will receive an
  Individualized Education Plan (IEP), the plan for a student’s special education services, and
  appropriate services at FRC schools or from the local education agency. The standards include
  additional guidelines about furnishings and equipment, on-site and off-site availability of services,
  and assessments and records, among other issues related to complying with the requirements of
  IDEA. The ACFRC has little corroborating information about how special education actually

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  works in FRCs, and received information that students at Karnes and Berks may not have access to
  a qualified IEP team. (Karnes reported to the ACFRC that it has never organized an IEP team and
  Berks reported that its IEP team only includes a special education teacher.) Given the limited
  English proficiency of most students enrolled in FRC schools, and the trauma of their immigration
  journey and detention experience, determining eligibility for special education is especially
  complex and providing appropriate education services is critical.
                 Eligibility
  Recommendation 4-43: In accordance with federal law (IDEA): 142

      a) FRC schools should not exclude children on the basis of a diagnosed long term or
         temporary disability or unexplained academic, behavioral, or health challenges at
         school.
      b) Parents should be informed of their child’s right to be referred to and assessed for
         special education and, if eligibility for special education is determined, to receive
         services.
      c) Special education assessment results should be reviewed with parents in a language
         they understand well (ideally their primary language).

  Recommendation 4-44: Students with obvious signs of cognitive or physical disabilities such
  as known brain damage, impaired hearing or vision, impaired mobility or dexterity, polio,
  cerebral palsy, cleft palate, malnutrition, or traumatic stress should be immediately assessed
  for special education needs and, if eligibility for special education is determined, FRC schools
  should provide services from a credentialed special education teacher.
  Recommendation 4-45: Students should be assessed by FRC medical and mental health staff
  or, upon parental request, by medical or mental health staff outside of FRCs, for Section 504
  accommodations. 143 These plans fall under Section 504 of the Rehabilitation Act of 1973,
  which prohibits discrimination against public school students with disabilities and specify
  accommodations to ensure that students can participate in the general education program.
  Additionally, FRCs should have a process for teachers and school administrators to refer
  students to medical and mental health staff for screenings based on behaviors observed in
  school.
  Recommendation 4-46: Students should be assessed for a disability if a parent requests it or
  if health or education professionals suspect a need for special education services.
  Recommendation 4-47: With respect to special education and trauma, FRC schools should
  ensure that qualified special education professionals who are also familiar with the cultural
  background and trauma experiences of the FRC student population oversee the
  determination if a student qualifies for special education services and is eligible for an IEP or

  142
      10 Basic Steps in Special Education, CTR. FOR PARENT INFO. AND RES. (Apr. 2014),
  http://www.parentcenterhub.org/repository/steps/; U.S. DEP’T OF EDUC., OFFICE OF SPECIAL EDUC. PROGRAMS,
  300.366, DETERMINATION OF ELIGIBILITY. (Oct. 4, 2006),
  http://idea.ed.gov/explore/view/p/%2Croot%2Cregs%2C300%2CD%2C300%252E306%2C.
  143
      Protecting Students with Disabilities: Frequently Asked Questions about Section 504 and the Education of Children
  with Disabilities, U.S. DEP’T OF EDUC. (Oct. 16, 2015), http://www2.ed.gov/about/offices/list/ocr/504faq.html.

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  504 accommodation. Special consideration should be given to the needs of students who
  present trauma symptoms that may impede learning and functioning in school, including
  symptoms that may mask or amplify other disabilities.
  Recommendation 4-48: With respect to special education and limited English proficiency,
  assessing for special education needs is especially complex when students are English
  language learners and may also exhibit trauma symptoms. A best practice for determining if
  a student is struggling in the classroom due to language barriers or disabilities is to
  document if their academic progress advances at the same rate as other English language
  learners with similar linguistic, cultural, educational, and immigration experiences. Students
  who progress much more slowly should be assessed for unidentified special needs. 144

                 Provision of Services
  Recommendation 4-49: In accordance with IDEA: 145

        a) The IEP team should be composed of a parent, a student, at least one general
           education teacher, at least one special education teacher, a district staff member who
           can supervise special education services, an educator who can interpret evaluation
           results such as a school psychologist, a parent advocate, and a translator if needed.
           Currently, Dilley is the only FRC that reports having this kind of IEP structure.
        b) IEP accommodations, modifications, and supports should be developed with parents
           and the contents explained to them in their primary language or in a language in
           which they are proficient as defined by federal law.
        c) A skilled interpreter should be present at all IEP meetings to explain the process and
           to ensure parental consent to special education services.
        d) Parents of children classified with a disability should be allowed to examine all
           education records and participate (e.g., provide input, make requests, refuse
           provisions, and be informed in their primary language) in all meetings regarding the
           identification, evaluation, and educational placement of their child.
        e) Parents with children classified with a disability and provided with an IEP or a 504
           accommodation should receive a thorough explanation of the plan(s) and their
           purpose in a language they understand well, ideally their primary language, and
           should receive written and electronic copies of the plans for continuity of services in
           schools in post-release communities.

           F. K-12 Student Orientation to Transition to U.S. Schools
  The Family Residential Standards for education do not reference or provide guidelines about
  student orientation to transition to U.S. schools in post-release communities. The ACFRC did not
  receive any requested information about how students and their parents are informed about
  enrollment, school requirements and norms, or managing the cultural and logistical challenges that


  144
      Kristina Robertson, How to Address Special Education Needs in the ELL Classroom, COLORÍN COLORADO
  http://www.colorincolorado.org/article/how-address-special-education-needs-ell-classroom.
  145
      Topic: Individualized Education Program (IEP), Team Meetings, and Changes to the IEP, U.S. DEP’T OF EDUC.,.
  OFFICE OF SPECIAL EDUC. PROGRAMS (Oct. 4, 2006),
  http://idea.ed.gov/explore/view/p/%2Croot%2Cdynamic%2CTopicalBrief%2C9%2C.

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  many new immigrant students face. Because school attendance is compulsory under law and
  beneficial to families and students as they rebuild their lives in a new country, and because
  attending school also encourages families to appear in court for their immigration cases, the
  ACFRC recommends that facilitating the transition to schools in post-release communities is
  critical. Further, the U.S. Department of Education recognizes that immigrant families need
  detailed information and support to transition to the K-12 school system, and has made efforts to
  encourage enrollment and attendance, to prevent discrimination, and to address the learning needs
  of newcomers. 146
  Recommendation 4-50: FRC schools should orient K-12 students about:
        a) conventional school routines and expectations such as sitting still for periods of time,
           riding a school bus, attendance and report cards, raising a hand to speak, co-
           educational classes, using a locker, changing clothes for gym classes, school discipline,
           following a schedule and rotating classes and teachers, working independently or in a
           group, participating in activities, and completing in-class and homework
           assignments; 147 and
        b) immigrant discrimination and bullying in the form of taunts and slurs, threats,
           aggression, cyber bullying, social exclusion, dating violence, sexual assault, stalking,
           and human trafficking that may occur in U.S. schools. Acculturation about peer and
           cultural norms related to hygiene, dress, personal space, gestures, mannerisms,
           expressions, and how to make friends may ease the transition, reduce victimization,
           and increase student safety. 148

  Recommendation 4-51: FRC schools should inform students ages 16+ that they may not be
  able to accrue the required high school credits to graduate by the time they reach the
  maximum age of enrollment in U.S. schools (which varies by jurisdiction from age 19-21),
  but that this fact does not negate their right to a free education until they age out. Related,
  secondary students who are over-age for their grade level should be informed about
  alternative education options including alternative high school completion certificates,
  alternative schools, community college programs, and job training programs.
  Recommendation 4-52: FRC schools should provide each exiting student with a backpack
  containing school supplies, a checklist detailing the steps for enrolling in U.S. schools, and
  information on troubleshooting enrollment challenges; how to get additional help with school
  issues or abuse, threats, bullying, or other discrimination in school; and how to file a
  complaint.




  146
      Resource Guide: Supporting Undocumented Youth, U.S. DEP’T OF EDUC. (Oct. 20, 2015),
  http://www2.ed.gov/about/overview/focus/supporting-undocumented-youth.pdf; Newcomer Toolkit, U.S. DEP’T OF
  EDUC. (June 2016), http://www2.ed.gov/about/offices/list/oela/new-comer-toolkit/ncomertoolkit.pdf.
  147
      Welcoming and Orienting Newcomer Students to U.S. Schools, BRIDGING REFUGEE YOUTH & CHILDREN’S
  SERVICES (2008), http://www.brycs.org/documents/upload/brycs_spotspring2008-2.pdf.
  148
      Back to School: Challenges and Strengths of Refugee Students, BRIDGING REFUGEE YOUTH & CHILDREN’S
  SERVICES (2003), http://www.brycs.org/documents/upload/brycs_spotsept.pdf.

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           G. Trauma-Informed Education Practices
  The Family Residential Standards for education offer no explicit guidelines about the culture and
  climate of FRC schools. This omission is particularly concerning given the stress students
  experience from immigrating, living in custody, and worrying about an uncertain future. While
  there are guidelines about twice-annual teacher training requirements on related topics such as
  cultural sensitivity, child development theory, and mental health issues, they are silent about
  developing the knowledge and skills to routinely integrate trauma-informed practices in the
  classroom. It is imperative that classroom practices use a trauma-informed approach to establish a
  culture and climate that is welcoming and safe, and to develop curriculum, deliver instruction, and
  manage the classroom in ways the show caring and minimize trauma responses.
                 Social-Emotional Learning
  Recommendation 4-53: FRC schools should require explicit instruction in social-emotional
  skills. Best practice social-emotional learning curricula focus on five general research-based
  competencies endorsed by the Collaborative for Academic, Social and Emotional Learning
  (CASEL): self-awareness, self-management, social awareness, relationship skills, and
  responsible decision-making.149 Curricula recommended by CASEL are listed in the guides
  Effective Social and Emotional Learning Programs: Preschool and Elementary School
  Edition and Effective Social and Emotional Learning Programs: Middle and High School
  Edition.150
  Recommendation 4-54: Teachers should: 151
        a) develop core content curriculum, deliver instruction, and manage classrooms in ways
           that incorporate the development of social-emotional skills. (For example, they should
           model and expect from students effective listening, conflict resolution, problem
           solving, personal reflection and responsibility, and ethical decision-making.);
        b) encourage positive social skills and self-image development by both respecting the
           various cultural attributes and backgrounds of their students and providing exposure
           to U.S. cultural norms; and
        c) provide a space and routine for students to manage their emotions in age-appropriate
           ways in the classroom using, for example, a cool-down corner for younger students or
           writing in a journal or talking into a recorder for audio journaling for older students.

                 Classroom Management Practices
  Recommendation 4-55: Teachers and students should jointly establish and maintain
  classroom behavior expectations, rules, and routines that reinforce caring and safety.


  149
       Roger P. Weissberg &Jason Cascarino, Academic Learning + Social-Emotional Learning = National Priority, PHI
  DELTA KAPPAN, Oct. 2013, at 8-13.
  150
      2013 CASEL Guide: Effective Social and Emotional Learning Programs: Preschool and Elementary School Edition,
  COLLABORATIVE FOR ACAD., SOC. AND EMOTIONAL LEARNING (2012), http://www.casel.org/preschool-and-
  elementary-edition-casel-guide; 2013 CASEL Guide: Effective Social and Emotional Learning Programs: Middle and
  High School Edition, COLLABORATIVE FOR ACAD., SOC. AND EMOTIONAL LEARNING (2012),
  http://www.casel.org/middle-and-high-school-edition-casel-guide.
  151
       Newcomer Toolkit, supra note 146.

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  Recommendation 4-56: FRC classroom behavior management practices should never:
      a) punish or penalize students for behaviors that are associated with experiencing
         trauma such as falling asleep during class, having difficulty concentrating on an
         assignment, or being reluctant to participate in an activity;
      b) use exclusionary sanctions that remove students from the classroom or reduce
         instructional time, including detention or suspension, unless under exigent
         circumstances;
      c) use punishment-based strategies, including reprimands, ultimatums, loss of privileges,
         or office referrals, absent positive behavior support strategies; or
      d) reward or punish students with food or play for learning or behavior.

  Recommendation 4-57: FRC schools should adopt best practice classroom behavior
  management strategies including: 152

      a) Positive Behavioral Interventions and Supports (PBIS). Instead of being reactive to
         misbehaviors, including disengagement, PBIS introduces, models, reinforces, and
         rewards positive social behaviors and creates a more positive school climate.
      b) Restorative justice approaches to behavior disruptions with the goals of repairing
         harm and restoring relationships between those impacted. This includes teachers
         collaborating with parents and mental health professionals to design and carry out
         agreed upon consequences.

                Trauma-Informed Practices
  Recommendation 4-58: Teachers should take into account:
      a) the impact of childhood trauma on learning, development, and behavior. For
         example, teachers need to understand how trauma can impair concentration and
         memory; cause intrusive thoughts, frustration, aggression, perfectionism, or
         withdrawal; and dysregulate executive functioning such as goal setting, organizing, or
         anticipating consequences; and
      b) student expressions of trauma and dysregulation in classrooms, and that coping
         behaviors should not be viewed as misconduct and addressed with punishment but
         rather they should elicit trauma-informed supportive responses.

  Recommendation 4-59: Teachers should maintain a classroom culture and climate that
  ensures students have: physical, social, and emotional safety at school; and academic safety
  to encourage students taking educational risks and learning from mistakes.
  Recommendation 4-60: FRC schools should have protocols for educators and mental health
  practitioners to routinely collaborate and to provide integrated trauma-informed


  152
      Trevor Fronius, et al., Restorative Justice in U.S. Schools: A Research Review, WESTED, Feb. 2016,
  http://jprc.wested.org/wp-content/uploads/2016/02/RJ_Literature-Review_20160217.pdf; Rob H. Horner, George
  Sugai, & Timothy Lewis, Is School-Wide Positive Behavior Support an Evidence-Based Practice (April 2015),
  https://www.pbis.org/research; HANDBOOK OF POSITIVE BEHAVIOR SUPPORT (Wayne Sailor, Glen Dunlap, George
  Sugai & Rob Horner eds., Issues in Clinical Psychology 2008).

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  interventions for students exhibiting trauma symptoms in the classroom such as
  inattentiveness, agitation, hypervigilance, persistent anxiety or depression, preoccupation,
  helplessness, detachment, or suicidal thoughts.
  Recommendation 4-61: FRC school schedules should be routinized and predictable, and
  changes should be clearly communicated to students in advance, including changes in
  teachers, routines, or the student composition of the class.
  Recommendation 4-62: Students should have small daily jobs that directly communicate that
  they are valued and belong in the school community. Examples include tending to indoor
  plants, a garden, or pets; setting up activities; or helping younger students or peers with their
  school work.
             H. Educator Professional Development
  U.S. teachers are not trained to work with newcomer students 153 or in schools that serve students
  detained with their parents while transitioning to an uncertain future in post-release communities
  or in their home countries. Given the unique circumstances of FRCs, FRC teachers need to be
  equipped with the knowledge, skills, and personal dispositions to work under significantly
  different circumstances than a tradition school setting.
  The Family Residential Standards for education offer guidance about educator development
  requirements. They specify, for example, that teaching staff require a minimum of twice annual
  trainings on several key education topics and that they have a staff development plan, overseen by
  a school administrator, which aligns with the respective state requirements. 154 Documentation
  provided by ICE further indicates that at some of the FRCs there are other professional
  development opportunities, such as the weekly professional learning community meetings held at
  Dilley and regularly scheduled administrator-led monthly trainings at Dilley and Berks. However,
  the Committee has no additional information about the content and quality of professional
  development. Specifically, there is no indication that there is in-depth training on cultural
  competence, especially about indigenous cultures; on using trauma-informed curriculum,
  instruction, and management practices in classrooms; or on Prison Rape Elimination Act (PREA)
  compliance with employee training requirements.
                   Instruction
  Recommendation 4-63: Teachers and school administrators should be trained and supported
  to use the curriculum, instructional strategies, and classroom management techniques
  recommended above.
  Recommendation 4-64: Secondary teachers should receive specialized training for teaching
  adolescent students since these students are just developing proficiency in academic English
  without the foundation of academic literacy and grade-level schooling in their primary
  language, and students need targeted preparation to transition to U.S. schools in post-release
  communities.



  153
        Newcomer Toolkit, supra note 146.
  154
        FAMILY RESIDENTIAL STANDARDS, EDUCATION POLICY, supra note 125, at 5.

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                Performance Evaluation
  Recommendation 4-65: ICE should ensure that a qualified independent, impartial oversight
  authority formally monitors the performance of FRC-contracted teachers and school
  administrators annually, and that all monitoring reports are submitted directly to ICE and
  available to the public. Given the high mobility and the low grade-level proficiency of
  students in FRC schools, teachers should not be evaluated primarily on student achievement
  outcomes but through a combination of measures such as multiple classroom observations,
  curriculum and lesson plan reviews, student work, teacher self-reflections, and student and
  parent surveys that assess instructional effectiveness in context. These evaluations should
  identify teachers in need of improvement and provide feedback and corrective support to
  teachers to help them improve their practice. Ineffective teachers and administrators should
  be terminated.
  Recommendation 4-66: Teachers should be monitored by the contracted school
  administrators using multiple techniques: weekly unscheduled walkthroughs, quarterly
  scheduled classroom observations, and mid-year and end-year performance reviews with
  feedback and professional development support for corrective action. 155 Ineffective teachers
  should be terminated.
                Trauma
  Recommendation 4-67: Teachers and school administrators should receive in-depth, ongoing
  training about the effects of childhood trauma on learning, development, and behavior,
  which can be provided by the National Center for Trauma-Informed Care. 156 The reported
  level of training on trauma that educators are offered is inconsistent across the FRCs.
  Currently, Dilley reports annual trainings plus monthly teacher-led professional development
  sessions; Karnes reports an initial training upon employment; and Berks reports no specific
  training on trauma, only training to identify and report suspected physical and sexual abuse.
  Recommendation 4-68: Teachers and school administrators should be trained and
  accountable to: 157
        a) identify behaviors that may indicate current or past traumas that impact student
           success and safety; and
        b) routinely use evidence based trauma-informed school practices that are documented
           in The National Child Traumatic Stress Network’s Child Trauma Toolkit for
           Educators and the Massachusetts Advocates for Children and Harvard Law School’s
           Helping Traumatized Children Learn.



  155
      Currently, Dilley is the only FRC that reports this kind of teacher performance monitoring process.
  156
      http://www.smahsa.gov/nctic.
  157
      Helping Traumatized Children to Learn: Supportive School Environments for Children Traumatized by Family
  Violence, MASS. ADVOCATES FOR CHILDREN (2009). https://traumasensitiveschools.org/wp-
  content/uploads/2013/06/Helping-Traumatized-Children-Learn.pdf; Child Trauma Toolkit for Educators, NAT’L
  CHILD TRAUMATIC STRESS NETWORK SCH. COMM. (Oct. 2008),
  http://www.nctsn.org/sites/default/files/assets/pdfs/Child_Trauma_Toolkit_Final.pdf.

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  Recommendation 4-69: Teachers and school administrators should be trained to routinely
  collaborate with mental health practitioners to provide complementary trauma-informed
  interventions for students.
  Recommendation 4-70: Teachers and school administrators should be trained to understand
  the basics of the U.S. immigration system and the rights of families to request protection, a
  hearing, and due process. They should also be trained to never provide students and their
  families with legal advice or to comment about their prospects for release.
              Prevention and Reporting
  Recommendation 4-71: Teachers and school administrators are required under the ICE
  PREA standards to complete training in all topics for PREA employee training. They should
  understand the standards and develop skills to prevent, detect, and report sexual and
  physical abuse, including human trafficking.
  Recommendation 4-72: Teachers and school administrators should be trained to prevent,
  detect, and report bullying.
  Recommendation 4-73: Teachers and school administrators should know about appropriate
  referral resources for parents and students who show signs of stress, distress, or trauma.
         I. K-12 School Performance
  The Committee received only limited information, and therefore has an incomplete understanding
  of FRC school performance (e.g., administration and operation, characteristics of the education
  services and programs, student achievement and growth, school environment and resources). FRCs
  schools should be monitored for compliance with both ICE standards and effective implementation
  of the recommended best education practices herein.
  Recommendation 4-74: ICE should ensure that a qualified independent, impartial oversight
  authority monitors the performance of school contractors twice annually for compliance with
  ICE education standards and contract obligations, and that all monitoring reports are
  submitted directly to ICE and available to the public. These performance audits should
  include information from classroom observations, curriculum and lesson plan reviews,
  administrative and financial document reviews, and interviews with students, parents,
  teachers, and school administrators and should hold contractors accountable to address
  infractions.
  Recommendation 4-75: ICE should ensure that a qualified independent, impartial oversight
  authority monitors the overall quality of the FRC K-12 education program twice annually
  for consistency with education best practices for English learners, students behind grade
  level, students who experience trauma, and students with interrupted formal schooling, and
  that all monitoring reports are submitted directly to ICE and available to the public. These
  evaluations should include information from classroom observations, curriculum and lesson
  plan reviews, administrative and financial document reviews, and interviews with students,
  parents, teachers, and school administrators and should hold contractors and their teachers
  and school administrators accountable for corrective actions.


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           J. Education Records
  While the Family Residential Standards for education specify the documentation that should be
  included in each student’s education record, the Committee received supplementary information
  from the FRCs that suggest the contents of the files vary and that the transfer of records to families
  upon release from detention is inconsistent. Ensuring families exit with these records may facilitate
  enrollment, placement, and services for students transitioning to schools in post-release
  communities.
  Recommendation 4-76: Education records should be standardized across FRCs. Currently
  there is variation. Minimally, records should include: grade placement; assessment results;
  progress reports and report cards; special education referrals, assessments, and IEP and 504
  accommodation plans; earned credits; student work; and parent-teacher conference notes.
  Recommendation 4-77: A hard copy and access to an electronic copy of each student’s
  education records should be available to each family upon release from FRCs. This currently
  varies across FRCs. 158
  Recommendation 4-78: Education records should be available to families and receiving
  schools through an electronic record system to ensure expedited and secure access to
  information for enrollment, grade placement, and continuity of special education services
  and other education programming. If, as planned, according to ICE staff during the ACFRC
  site visits, ICE develops and implements a web-based portal for the transmission of FRC
  detainees’ medical records, it should also be used to transmit education records. For
  example, the education and health records of migrant students enrolled in U.S. schools are
  managed through a web-based platform to enable the national exchange of information for
  highly-mobile students through the Migrant Student Information Exchange (MSIX) by the
  U.S. Department of Education. 159
  Recommendation 4-79: Education records should provide a detailed accounting of the credits
  each student earns while in detention, and these credits should be equivalent to those earned
  in U.S. schools and transferable to schools in post-release communities.
           K. Parent Education
  The Family Residential Standards for education do not address parent education. However,
  additional information provided by ICE documented that detained parents have access to some
  formal and informal educational opportunities, including English language classes and other
  scheduled self-care activities. This was corroborated through interviews with parents during
  Committee site visits, but the content and quality of parent education appear to be inconsistent.
  Providing parents with information about their children’s education and the transition to new




  158
      Berks reports that hard copies are routinely provided to parents; Dilley reports that they are provided upon request;
  and Karnes reports that it does not provide hard copies to exiting families.
  159
      Migrant Student Records Exchange Initiative, U.S. DEP’T OF EDUC. (Aug. 26, 2014),
  http://www2.ed.gov/admins/lead/account/recordstransfer.html.


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  schools, and family support and self-care strategies, can ease both the stress of living in custody
  and the move to post-release communities.
                 Information about K-12 Schooling
  Recommendation 4-80: Parents should be informed in a language they understand well
  (ideally their primary language) about: 160

        a) the curriculum, instructional strategies, and classroom management techniques,
           expectations, and requirements of their children’s education program;
        b) their right to a free, public education notwithstanding their child’s country of origin,
           child’s best or first language, or child’s disability, and their concurrent responsibility
           to send their school-age children to school daily and on time, to make sure they
           complete homework assignments, and to monitor their school performance;
        c) their right to have a written translation or an interpreter translate school paper work
           and communications. Their children should not serve as translators about education
           issues; and
        d) the contents of their child’s education records.

  Recommendation 4-81: Parents should be notified immediately of any student behavior
  issues or disciplinary measures, including exclusion from activities or assignment of extra
  work. Disciplinary measures should be determined with input and approval from parents.
                 Orientation to Transition Children to U.S. Schools
  Recommendation 4-82: Parents should receive information in a language they understand
  well (ideally their primary language), about:
        a) the U.S. school system, in particular: the preschool, kindergarten, middle school, and
           high school curricula and grade-level expectations; and services for English language
           learners and newcomer students, before- and after-school care, special education, and
           free-reduced price school meal programs;
        b) the U.S. school calendar, compulsory school attendance laws, consequences of
           violating these laws, where to go for help when children are not attending school, and
           daily school attendance requirements;
        c) U.S. school operations and procedures. For example, enrollment, transportation,
           absences, grades and report cards, parent-teacher conferences, interpreters for
           meetings, fees for events and activities, school events, and school rules and discipline;
        d) the option of enrolling their children in a newcomer school or program if one is
           available in their post-release communities. Newcomer programs are specialized
           academic environments that serve newly arrived, immigrant English language
           learners for a limited period of time and focus on: acquisition of English language
           skills, limited instruction in the core academic areas, cultural adjustment to the U.S.
           school system, and development of literacy in the primary language; and



  160
     INT’L RESCUE COMM., EDUCATIONAL HANDBOOK FOR REFUGEE PARENTS (2006),
  http://www.brycs.org/documents/upload/Educational-Handbook-English.pdf.

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         e) the importance of completing a high school degree to increase postsecondary
            education and employment options and high school transitions such as dropping out,
            earning alternative diplomas, job training, vocational certificate programs, and
            college.

                   Parenting Support
  Recommendation 4-83: Parents should receive evidence-based, culturally sensitive
  information about U.S. parenting norms in a language that they understand well (ideally
  their primary language). An example is the Nurturing Skills for Families curriculum offered
  at Dilley, which is recognized by the Child Welfare League of America and the Substance
  Abuse and Mental Health Services Administration. 161
  Recommendation 4-84: Parents should be informed in a language that they understand well
  (ideally their primary language) about the therapeutic supports available at FRCs to
  alleviate trauma symptoms caused by their immigration and detention experiences such as
  the struggle to manage their families or protect their children from the uncertainty of their
  situation and FRC rules and regulations that may conflict with family or cultural traditions
  and preferences.
  Recommendation 4-85: Parents should have access to self-care and stress reduction activities
  that focus on maintaining good nutrition, simple exercise routines (e.g., walking, stretching),
  and therapeutic mindfulness breathing exercises.
                   English Language Instruction
  Recommendation 4-86: ICE should provide daily scheduled English language classes taught
  by credentialed English as a Second Language (ESL) adult education teachers to learn basic
  conversational English. Language instruction should focus on speaking practice,
  pronunciation improvement, and vocabulary expansion.
  Recommendation 4-87: Parents should have structured opportunities to practice English
  language skills during hands-on activities such as playing with children, preparing food, or
  making crafts.
                   Newcomer Education
  Recommendation 4-88: ICE should provide parents with information about key newcomer
  issues (e.g., learning English, receiving an education, finding housing, searching for a job,
  securing child care, using public transportation, banking and managing personal finances,
  and accessing legal and health, mental health, and dental services) to ease the transition to
  post-release communities.




  161
        NURTURING PARENTING (n.d.), http://www.nurturingparenting.com/.

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  5.    LANGUAGE ACCESS

  The families detained at ICE’s Family Residential Centers (FRCs) have been through tremendous
  stress and danger. Immigration processing and detention both add more anxiety and trauma. All
  the detainees need information about the situation they find themselves in and about what lies
  ahead; many also have significant medical and mental health needs. Effective communication is
  vital for fair treatment, and the stakes of their communication could hardly be higher: their ability
  to understand and convey information can affect their liberty and immigration status, their ability
  to care for and make decisions about their child or children, and their own and their children’s
  health and safety.
  But meaningful and timely access to both legal proceedings and services through effective
  communication is challenging. Very few of the adult detainees of ICE’s three FRCs are
  comfortable communicating using either written or spoken English. Most of them speak Spanish –
  but some do not. We understand that the non-Spanish speakers usually speak one of many
  indigenous Central American languages, or Portuguese. There are at least a few detainees, not
  from Latin America, who speak other languages, including various Chinese dialects and (we have
  heard) Urdu; no doubt there are others as well. Thus DHS faces significant language barriers in
  providing safe and humane detention and immigration processing for this population. Crucially,
  Spanish language services can meet an important part of this need, but by no means all of it.
  Executive Order 13166, Improving Access to Services for Persons with Limited English
  Proficiency, requires that people whose English proficiency is limited nonetheless receive
  “meaningful access” to federal programs, benefits, and services. Throughout DHS, the obligation
  to provide language access for LEP (limited English proficient) individuals is particularly urgent,
  because of the very high prevalence of limited English proficiency and the very high stakes of
  communication. Language access to DHS programs, benefits, and services is thus a vital matter of
  equality, fairness, and safety.
  DHS’s overarching Language Access policy statement 162 covers the key needs:
          It is the policy of DHS to provide meaningful access for individuals with limited
          English proficiency to operations, services, activities, and programs that support
          each Homeland Security mission area by providing quality language assistance
          services in a timely manner. DHS Components, therefore, should incorporate
          language access considerations into their routine strategic and business planning,
          identify and translate crucial documents into the most frequently encountered
          languages, provide interpretive services where appropriate, and educate personnel
          about language access responsibilities and how to utilize available language access
          resources.




  162
     U.S. DEP’T OF HOMELAND SEC., MESSAGE FROM THE SECRETARY
  https://www.dhs.gov/sites/default/files/publications/crcl-language-access-plan-s1-message-english.pdf, (Feb. 2012).


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  As DHS’s 2012 Language Access Plan 163 explains, under applicable guidance from the
  Department of Justice,
          [A] four-factor analysis . . . assists in assessing meaningful access. These factors are
          the:
          1) Number or proportion of LEP individuals encountered or likely to be encountered;
          2) Frequency of contact with LEP individuals;
          3) Nature and importance of the program, activity or service provided; and
          4) Resources available and costs to provide the meaningful access.
  In ICE family detention, the first three factors each weigh heavily in favor of comprehensive
  language access services: nearly all of the detainees have limited English proficiency; the contact
  is full-time during their stay in the facilities; and as already mentioned, the programs, activities,
  and services provided are essential to their safety, health, and fair treatment as would-be
  immigrants. In addition, relevant to the fourth factor, the fact that FRC population is large and the
  need is concentrated creates substantial economies of scale, ameliorating the costs needed to
  provide adequate language services.
  ICE’s Language Access Plan 164 confirms the agency’s commitment to providing language access
  services throughout the course of detention:
          [T]he [ICE] standards . . . require that language services be offered in all detention
          facilities. . . . The standards also require that language services be offered throughout
          the detention process (e.g., during admission/intake, medical, classification,
          grievance system, discipline, legal rights group presentations, telephone access,
          transfer, and visitation).
  Finally, ICE’s Family Residential Standard 2.8 (Staff-Resident Communication), states, generally:
  “Where required, residents have regular access to translation services and/or are provided
  information in a language that they understand.” 165 This requirement is then repeated many times,
  with respect to particular programs, including, for example, Legal Rights Group Presentations and
  Sexual Abuse and Assault Prevention and Intervention, among others. 166
  Thus DHS policy on language access, including for families in detention, is quite robust. However,
  that policy is neither appropriately implemented nor appropriately communicated to families
  detained in ICE’s FRCs. This Part offers recommendations for improvement. From the moment
  LEP families arrive in DHS’s custody, they are in need of language access services. Most

  163
      U.S. DEP’T OF HOMELAND SEC., LANGUAGE ACCESS PLAN 3 (Feb. 28, 2012),
  https://www.dhs.gov/sites/default/files/publications/crcl-dhs-language-access-plan.pdf [hereinafter DHS Language
  Access Plan].
  164
      U.S. IMMIGRATION & CUSTOMS ENFORCEMENT, LANGUAGE ACCESS PLAN 10 (June 14, 2015),
  https://www.dhs.gov/sites/default/files/publications/final-ice-lep-plan.pdf [hereinafter ICE Language Access Plan].
  165
      U.S. IMMIGRATION & CUSTOMS ENFORCEMENT, ICE/DRO RESIDENTIAL STANDARD 2.8 STAFF-RESIDENT
  COMMUNICATION 1 (Dec. 21, 2007), www.ice.gov/doclib/dro/family-
  residential/pdf/rs_staff_resident_communications.pdf.
  166
      U.S. IMMIGRATION & CUSTOMS ENFORCEMENT, ICE/DRO RESIDENTIAL STANDARD 2.7 SEXUAL ABUSE AND
  ASSAULT PREVENTION AND INTERVENTION 1 (Dec. 21, 2007), www.ice.gov/doclib/dro/family-
  residential/pdf/rs_sexual_assault_prevention-intervention.pdf; U.S. IMMIGRATION & CUSTOMS ENFORCEMENT,
  ICE/DRO RESIDENTIAL STANDARD 6.3 LEGAL RIGHTS GROUP PRESENTATIONS 1 (Dec. 21, 2007),
  www.ice.gov/doclib/dro/family-residential/pdf/rs-legal-rights-presentations.pdf.

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  typically, the first DHS component such families encounter is Customs and Border Protection
  (CBP), whose interactions with families are beyond the scope of this Committee. At some point,
  however, some (unknown to us) portion of families are transferred into ICE custody and the
  decision is made to detain them in family detention. That’s where our recommendations will begin.
  Our recommendations are all framed by the family detention setting – but in our view they actually
  apply equally to non-family detention; implementation in all immigration detention facilities would
  improve ICE’s language access considerably.
          A. Non-Spanish Speakers: Overarching Recommendation
  In this Part, we explore the language-related needs of ICE FRC detainees who have limited
  English proficiency. Most are Spanish speakers; their needs are very significant and are addressed
  below. However, the Spanish-language issues are dwarfed by the needs of detainees who speak
  various Central American indigenous languages. For the latter group, it seems clear that DHS
  systematically fails to provide appropriate language access. That failure threatens both their health
  and safety while they are in DHS custody, and their fair immigration adjudication.
  DHS Secretary Jeh Johnson announced in 2014 that DHS should avoid detaining members of
  various groups particularly vulnerable to harm in detention:
          Absent extraordinary circumstances or the requirement of mandatory detention, field
          office directors should not expend detention resources on aliens who are known to
          be suffering from serious physical or mental illness, who are disabled, elderly,
          pregnant, or nursing, who demonstrate that they are primary caretakers of children or
          an infirm person, or whose detention is otherwise not in the public interest. 167
  Individuals who speak only (or nearly only) a language that ICE is unable to accommodate are as
  vulnerable to harm from detention as persons who are disabled, elderly, or pregnant. Moreover,
  they cannot receive fair immigration processes. The changes needed to provide effective language
  access are identified below. But it is our view that providing indigenous language interpretation is
  almost certainly too challenging for ICE to manage. There are too many languages, each spoken by
  only a few people at any given time. Competent interpreters are few and far between, and
  telephonic interpretation, even when available, largely fails to provide effective communication.
  The time for processing detainees who are in expedited removal proceedings is too short to find
  necessary language services. Effective communication for detainees who speak indigenous
  languages is extremely difficult and in many instances impossible. Accordingly, we make one
  overarching recommendation on the subject of language access: that individuals who speak rare
  languages that pose these kinds of language access difficulties should be kept out of detention, to
  avoid the threats to their health and safety there and to reduce government costs related to
  identifying and providing interpretation for indigenous individuals, including the cost of their often
  prolonged detention while these services are located. And they should be placed into ordinary
  rather than expedited proceedings, to expand the time available to arrange language services. In the
  rare case where it is impossible or inappropriate to avoid expedited removal proceedings and/or


  167
     U.S. Dep’t of Homeland Sec., Policies for the Apprehension, Detention, and Removal of Undocumented
  Immigrants (Nov. 20, 2014),
  https://www.dhs.gov/sites/default/files/publications/14_1120_memo_prosecutorial_discretion.pdf.


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  detention, DHS should continue to strive to ensure appropriate interpretation and appoint each
  such person a lawyer, who can in turn facilitate fair processes and language access. 168
  Recommendation 5-1: When DHS encounters an individual who speaks a rare language that
  poses severe language access difficulties – such as a Central American indigenous language –
  such a person should not be detained, but should rather be released with a Notice to Appear,
  on their own recognizance or with the support of a case management support program. In
  the rare event that this approach is inappropriate or impossible, such persons should be
  provided with appointed counsel who can facilitate both effective language access and fair
  immigration proceedings.
          B. Disability Access
  We note that language access is a particularly acute need for detainees with communications-
  related disabilities – who may be sight-impaired, hearing-impaired, or speech-impaired. The
  Rehabilitation Act of 1973, 29 U.S.C. § 794, forbids discrimination against such individuals, and
  the Rehabilitation Act’s DHS regulation requires all its components to “take appropriate steps to
  ensure effective communication with applicants, participants, personnel of other Federal entities,
  and members of the public” including by “furnish[ing] appropriate auxiliary aids where necessary
  to afford an individual with a disability an equal opportunity to participate in, and enjoy the
  benefits of, a program or activity conducted by the Department.” The regulation notes that, “In
  determining what type of auxiliary aid is necessary, the Department shall give primary
  consideration to the requests of the individual with a disability.” 169 A DHS Management Directive
  elaborates further that the “effective communication” obligations apply to “persons who are deaf
  or hard of hearing or are blind or have low vision,” and also require “modifying practices and
  materials to ensure effective communication with persons with intellectual or developmental
  disabilities.” 170
  The Committee requested that ICE provide us all “communication policies/SOPs [Standard
  Operating Procedures]/strategies to ensure effective communication for people with
  communications disabilities,” and were told they were being provided. But the only relevant
  documents provided concerned telephone usage and FRC policies on “Sexual Abuse/Assault
  Prevention and Intervention Programs.” Similarly, ICE’s response to our question “What auxiliary
  aids and services are available (hearing aids, TTY, videophone, captel, etc.)?” was that the
  facilities have a TTY – a telephonic communications (TTY stands for TeleTYpewriter) device for
  people who are deaf and literate – and that “after medical prescription-hearing aid[s]” are
  available.
  We conclude that there are no general policies, standard operating procedures, or strategies in
  place to ensure compliance with the above legal requirements and other best practices for the


  168
      In their inability to communicate and navigate the immigration system, people who speak rare languages are similar
  to those with mental disabilities, for whom the government is under court order to provide counsel. See Franco-
  Gonzales v. Holder, No. 2:10-cv-02211-DMG, 2013 WL 3674492 (C.D. Cal. Apr. 23, 2013), settlement approved sub
  nom. Gonzalez v. Holder, No. 2:10-cv-02211-DMG, 2015 WL 11116905 (C.D. Cal. Sept. 25, 2015).
  169
      6 C.F.R. § 15.60 (2004).
  170
      U.S. Dep’t of Homeland Sec., Directive No. 065-01, Nondiscrimination for Individuals with Disabilities in DHS-
  Conducted Programs and Activities (Non-Employment) § V.A.1.c (Sept. 25, 2013),
  https://www.dhs.gov/sites/default/files/publications/dhs-management-directive-disability-access_0.pdf.

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  confinement of persons with communications disabilities. This absence of policies and procedures
  are devastating if a detainee with a communication-related disability enters FRC custody. There is
  no system in place to ensure appropriate orientation, to facilitate effective communication during
  immigration processing, or to provide appropriate medical and mental health care. For each of the
  sections of this report that follow this one, both policy and practice would have to be altered to
  accommodate the communications needs of any detainee who was deaf or hard-of-hearing, blind
  or low-vision, speech-impaired, or whose communications abilities are undermined by an
  intellectual or developmental disability. The communications difficulties would be further
  augmented when, as is highly likely, the affected detainees have limited written English (and
  perhaps limited written Spanish) proficiency – particularly because there are many different sign
  languages used by deaf Central and South Americans. For each such detainee, the required
  auxiliary aids and services would have to be specially assessed and would be both urgent and
  extremely challenging – perhaps even impossible – to provide in a timely way.
  The presence of a TTY machine is far from sufficient to provide effective communication. Even
  considering only the issue of telephonic communication, a TTY cannot work at all for a deaf
  detainee who cannot type in English or Spanish. And even for detainees who are literate, a TTY
  requires access to a relay service for it to be useful to reach anyone who doesn’t him or herself
  have a TTY. 171 For someone whose written language is Spanish, that needs to be a Spanish relay
  service. Both Texas and Pennsylvania have both Spanish and English relay services – TTY users
  simply dial 711. But, unless staff are trained in how to use the TTY and how to access the relay
  service, they will not know it exists, and the TTY will be ineffective.
  For non-telephonic communication for deaf detainees, live and/or video sign-language
  interpretation would often be needed, and would likely require multiple interpreters (e.g., English
  to Spanish to the appropriate sign language). For blind detainees, a variety of accommodations are
  necessary for safe detention and effective communication. For detainees with intellectual or
  developmental disabilities, the complex written and oral materials given to detainees are far too
  sophisticated for effective communication, and are compounded by their likely limited English
  proficiency.
  ICE informed us that there has been just one FRC detainee with a communications disability, a
  sight-impaired detainee in June 2016. Detention of any such persons in the future is unlikely to
  comply with the applicable legal or humanitarian imperatives. Such persons will require
  substantial resources and assistance to facilitate fair immigration processing. Accordingly, and
  consistent with the Secretary’s 2014 reference to persons with serious disabilities, we make the
  following overarching recommendation:
  Recommendation 5-2: Immediately upon taking custody of a potential detainee, ICE should
  assess each such person to determine if his or her ability to communicate is impaired by a
  disability – because he or she is deaf or hard-of-hearing, low-vision, speech-impaired, or has
  a developmental or intellectual disability. Absent extraordinary circumstances, such persons
  should not be detained, but should be released to the community with a Notice to Appear and
  if feasible, enrolled in a family case management-based program or other support program.
  If ICE declines to adopt this recommendation, it is urgent that policy and practice be

  171
      The relay service allows the deaf individual using the TTY to type her message; the relay operator then reads what
  is typed out loud to a person using a regular phone on the other side of the conversation; that other person responds
  verbally and the relay operator types what is said to be read by the deaf individual using the TTY.

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  modified and individualized for every type of communication for any detainee with a
  communications disability, and that adequate monitoring and oversight policies be put into
  place to ensure that such individualized plans are followed.
          C. Identification
  The first step to providing language services is identification. ICE’s process for identifying
  language needs for FRC detainees saw significant improvements after ICE promulgated its
  language access plan in the summer of 2015. 172 The current procedure is described in an undated
  ICE memo titled New Protocol for Identifying Indigenous Language Speakers at Family
  Centers, 173 apparently issued sometime after August 2015. The memo explains, correctly, that
  “one-word responses are insufficient to assess understanding” of a given language and therefore
  directs staff to “engage residents in conversation to elicit responses that convey meaningful
  understanding.” The process begins with a script, in Spanish; ICE staff are instructed to use the
  script to “address all Mexican, Central and South American individuals to determine the resident’s
  primary language.” The script includes several questions that call for discursive answers; 174 staff
  are instructed to gauge each detainee’s comfort level in Spanish based on her answers.
  Even if the staff administering the script believe, based on the answers, that the detainee is
  proficient in Spanish, they are instructed to next “ask a control question to determine if the resident
  feels more comfortable speaking a language other than Spanish.” This is:
          “You seem to understand Spanish. Is there another language you speak more often
          with your family or children when in your home country?”
  If the detainee responds “no,” Spanish is recorded as her primary language. If the answer is “yes,”
  then the detainee is asked “Are you more comfortable speaking this language?”
  If the detainee’s answers to the script questions indicate that she is not comfortable in Spanish, or
  if the answer to this second control question is yes, the next step is an “Indigenous Language
  Slideshow.” These slides include written text (using the standard English/Spanish alphabet) and
  audio that ask, in a series of languages: “We need to identify your native language. Please raise
  your right hand if this is the language you speak at home with your family.” Included in the slides
  are nearly a dozen indigenous languages from Central America (Quechua, Mam, Q’anjob’al,
  K’iche, Q’eqchi, Achi, Awakateco, Chuj, Popti, Ixil, Mixteco) and two African languages
  (Amharic, prevalent in Ethiopia, and Tigrinya, prevalent in Eritrea). 175




  172
      ICE Language Access Plan, supra note 164, at 1. The Language Access Plan has a date of June 14, 2015 on the first
  page, but the Director’s signature, on the second page, is dated August 7, 2015.
  173
      See Decl. of Jon Gurule, Exh. 5, Flores v. Holder, No. 2:85-cv-04544 (C.D. Cal. June 3, 2016),
  www.clearinghouse.net/chDocs/public/IM-CA-0002-0030.pdf. We note that this document was not provided to us by
  ICE, though it is clearly encompassed by our request for information and it was described to us during one of the
  Committee meetings.
  174
      In Spanish: 1. Where do you normally shop for clothing and food in your home country? 2. Describe the area where
  you and your family live in your home country. 3. Tell me about the school or education your children had in your
  home country. Id., Exh. 6.
  175
      Id. Exh. 8.


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  The policy provides that “when an indigenous speaker has been identified the language must be
  documented in EADM [ENFORCE Alien Detention Module] and the detainee file and
  communicated to FRC staff. Intake staff will seek interpretive assistance from one of several
  language lines available.” 176 ICE staff are further directed to a non-public intranet page: “For more
  information on available language lines please visit
  https://insight.ice.dhs.gov/ero/custody/Pages/jfnnu.aspx.” 177 ICE briefed us on this protocol in
  March 2016, and told us that “[a]ffirmation of full compliance is pending, as the program
  continues its ‘rollout’ phase.” 178
  Thus ICE policymaking has been attentive to the need to identify the language needs of detainees.
  However, it is not clear to us that ICE has in place the tools or procedures needed to succeed in
  these efforts:
  First, the language identification slideshow does not cover all the languages used by FRC
  detainees. When we requested a list of languages spoken by detainees, the answer ICE provided
  was “Languages vary, but currently residents throughout the FRCs speak Spanish, English,
  Portuguese, Mam, Kiche, and Q’anjab’ol, Akateko, and different Chinese dialects.” The slideshow
  does not include Akateko (which is a different language from Awakateco 179), Portuguese, or
  Chinese. It also omits other languages that may also be appropriate to include; a recent NGO
  complaint to DHS about indigenous language services at the FRCs listed four other languages not
  covered by the slideshow – Maya, Garifuna, Kaqchikel, and Lenca – as notable needs. 180 Without
  fuller information about what languages are spoken by detainees, we cannot advise ICE – and ICE
  cannot itself determine – what is needed.
  Second, we are unable to evaluate how well the processes that exist are working, even for the
  languages that are covered. We note that in a recent court filing by the Flores plaintiffs, the Policy
  Director for the NGO RAICES (Refugee and Immigrant Center for Education and Legal Services)
  explained that her colleagues were able to review the situations of 250 families, “primarily from
  Guatemala, who speak variations of Akateco, Kanjobal [Q’anjab’ol], Quiche, Kekchi, Mam,




  176
      Id. Exh. 5.
  177
      We were also shown a DHS resource, the I-Speak booklet, which is designed to facilitate LEP persons’
  identification of their language, if they are literate, by listing languages in the applicable characters, and allowing them
  to point to those they can understand. But this resource cannot help someone who is illiterate, and it was not explained
  to us how the I-Speak booklet is used. Because the I-Speak booklet is not referenced in the memo just described or in
  the process flowchart that accompanies that memo, we infer that it is not used, in practice.
  178
      U.S. Immigration & Customs Enforcement, Advisory Comm. on Family Residential Centers Read Aheads 7 (Mar.
  16, 2016), https://www.ice.gov/sites/default/files/documents/Document/2016/acfrcBriefingMaterialsMar2016.pdf; see
  also U.S. Immigration & Customs Enforcement, Advisory Comm. on Family Residential Centers Summary of Meeting
  (Mar. 16, 2016), https://www.ice.gov/sites/default/files/documents/Document/2016/ACFRC-201603.pdf.
  179
      Compare Akatek Language, Wikipedia (last modified Sept. 18, 2015),
  https://en.wikipedia.org/wiki/Akatek_language, with Awakatek Language, Wikipedia (last modified Jan. 13, 2016),
  https://en.wikipedia.org/wiki/Awakatek_language.
  180
      Compl. submitted by Karen S. Lucas, et al., CARA Family Detention Pro Bono Project, to Megan Mack, Office for
  Civil Rights & Civil Liberties, U.S. Dep’t of Homeland Sec., and John Roth, Office of Inspector Gen., U.S. Dep’t of
  Homeland Sec., AILA Doc. No. 15121011 (Dec. 10, 2015), http://www.aila.org/File/DownloadEmbeddedFile/66618
  [hereinafter CARA Complaint].


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  Maya, Popti, Achi, Garifuna, Kaqchikel, Chuj, Ixil, Lenca, and other Mayan languages.” She
  explained:
            Based on our review, several trends emerged, including: (1) inadequate screening of
            language ability by CBP and ICE both at the border and in the family detention
            facilities; (2) DHS’s failure to provide written materials concerning Flores rights or
            asylum in indigenous languages; and (3) DHS’s failure to provide indigenous
            language interpreters to enable government officials, detention center staff and
            service providers to convey critical information. 181
  This leads to a third point: ICE does not adequately track either non-Spanish languages needed for
  interpretation/translation, or how well its language access processes are working. We were unable
  to obtain from ICE any of the following:
        •   a comprehensive list of languages detainees speak or read;
        •   the number of language-line interpretation requests;
        •   the number of hours of language-line usage; or
        •   languages for which interpretation services were used for medical care.

  ICE also informed us that it does not track either the proportion of adult detainees not fluent in
  Spanish or the proportion of adult detainees not literate in Spanish. Without keeping better records
  than we have evidence of, ICE simply cannot provide adequate language access to non-Spanish
  speakers.
  Recommendation 5-3: ICE should ensure that each adult detainee can effectively
  communicate to DHS, ICE, and FRC staff what language she and her children speak (these
  may differ). This information should be tracked individually for both the adult and children,
  by ICE and by FRC staff, and the appropriate language used whenever necessary for
  meaningful access to ICE programs, activities, and services. The current audio slideshow is a
  good step towards the goal of language identification. But it should be augmented with other
  languages that detainees have used since the FRCs opened, including, e.g., Akateko and other
  indigenous languages, Portuguese, various Chinese dialects, and Urdu. ICE policy and
  procedure should cover the possibility that a detainee may not confirm any language covered
  by the slideshow. In that event, ICE should undertake additional individualized steps to
  identify the language need. All detainees without exception – children – and adults – should
  have a primary language noted in their file, and on their ID.
  Recommendation 5-4: ICE should track the languages spoken by FRC detainees, and their
  needs for interpretation and translation services, so that statistical information on the
  frequency of language needs is readily available to ICE and throughout DHS. This will
  facilitate planning and service provision.
  In addition, the language access needs of detainees vary with their literacy level. A 50-page
  handbook or even a single page form constitutes ineffective communication if she is illiterate. We


  181
    Plaintiff’s Exhibits in Support of Motion to Enforce Settlement and for Appointment of Special Master [Part 6:
  Exhibits 48-69] Exh. 67 (Decl. of Amy Fischer), ¶ 6, Flores v. Johnson, No. 2:85-cv-04544 (C.D. Cal. May 19, 2016),
  www.clearinghouse.net/chDocs/public/IM-CA-0002-0024.pdf.

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  have no precise information on the literacy level of the FRC’s adult detainees, regardless of their
  language, because ICE does not track that information. But we do know from many sources that
  the rate of illiteracy is high, which affects the steps ICE should take to provide effective
  communication: translations of complex English documents are not sufficient.
  Recommendation 5-5: For each document provided with FRC detainees, ICE should create
  versions that are as accessible as possible, using simple language, flowcharts, graphics, and
  similar non-text strategies that assist in comprehension and understanding for a variety of
  potential obstacles including literacy level, education level, intellectual capacity and
  disabilities of any kind.
  Recommendation 5-6: ICE should assess and track the literacy of each adult FRC detainee,
  in each language she speaks, noting low literacy in detainees’ files. Whenever ICE
  communicates in writing with a detainee whose literacy is low, it should use documents that
  are both (a) in a language the detainee understands and (b) adapted to be more accessible, in
  light of her literacy level. In addition, oral communication of rules, procedures, and
  expectations is particularly important for detainees with low literacy and should be
  conducted, using simple and direct phrasing, in a language detainees understand or using a
  qualified interpreter.
           D. Orientation
  Once a detainee’s language needs are ascertained, those needs should be met. The first situation in
  which good language access is needed is orientation; that’s when detainees are given an
  explanation of rules, services, and what is going to happen to them. FRC orientation includes both
  a spoken presentation in Spanish and the provision of the resident handbook already mentioned.
  The handbooks are very lengthy, facility-specific documents (Berks: 38 pages; Karnes: 45 pages;
  Dilley: 79 pages). ICE rules dictate that they must be available in English and Spanish, but do not
  require availability in any other language, unless that language is more prevalent than Spanish. 182
  Facility policies are a bit more ambiguous, 183 but in fact, the handbooks have not been translated
  into any other languages.
  Yet if more than a few detainees who are literate in other languages are housed in an FRC – the
  absence of statistical information mentioned above means we cannot know if this is the case – ICE
  should translate the resident handbooks into additional languages. An NGO that has had
  substantial interaction with detainees suggests that written translations are appropriate in Akateco,
  Kanjobal, Kiche, Kekchi, Mam, Maya, Popti, Achi, Garifuna, Kaqchikel, Chuj, Ixil, and Lenca. 184
  In our view, translated written materials should be prepared for any language that is the primary
  language for 0.5% of detainees, or for 50 detainees per year, whichever is lower. (ICE reported in
  May 2016 to the Flores district court that nearly 19,000 persons had been detained over the prior


  182
      See U.S. Immigration & Customs Enforcement, Detention and Removal Operations Performance Monitoring Tool,
  Monthly Compliance Review Report (requiring availability of “[o]rientation material in English, Spanish or most
  prevalent second language. All orientations are conducted in person” and “[r]esident handbook . . . [a]vailable in both
  English and Spanish and/or second most prevalent language.”).
  183
      See, e.g., Dilley Policy 14-101, Resident Grievance Procedures 2 (Aug. 17, 2015) (“Each resident shall be
  provided, upon admittance, a copy of the resident handbook which provides notice of the following in English,
  Spanish, and other languages most widely spoken among the residents.”).
  184
      CARA Complaint, supra note 180, at 9.

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  seven months; an average of about 2,700/month. On that admissions rate, 0.5% is 13 in an average
  month.)
  Again, given what are likely low adult literacy rates among all detainees, regardless of their
  language, it is vital to make available simplified summaries of the voluminous orientation
  materials. In addition, oral communication, in a language each detainee understands, of all rights,
  rules, and requirements during orientation is particularly important. All three facility policies
  provide for such oral communication. At Dilley, for example, the policy requiring that detainees
  receive a copy of the resident handbook also explains about it that “Interpretation or translation
  services will be provided to residents who are not proficient in English.” 185 All three handbooks
  state that residents “have the right to be informed of the rules, procedures and schedules
  concerning the operation of the facility where you are detained” and “have the responsibility to
  know them and abide by them.” 186 However, only the Karnes handbook tells detainees themselves
  that they are entitled to language assistance in order to understand orientation. It states (in the
  section on grievances):
          If a resident cannot read or does not understand the language of the handbook, the
          Facility Administrator arranges for the orientation materials to be read to the
          resident, provide the material using audio or video tapes in a language the resident
          does understand, or provide a translator or interpreter within a reasonable amount of
          time. 187
  We are not, however, aware that any such video or audio tapes have ever been used. And it seems
  highly likely that the necessary interpretive services – though they may be available, via telephonic
  language lines – are not consistently used at the FRCs.
  We cannot be absolutely certain of this last conclusion because, as already explained, ICE declined
  to tell us the number of language-line interpretation requests or the number of hours of language-
  line usage. And (as we discuss in Section M, below), ICE does not currently conduct any
  systematic self-monitoring or language access assessment. But we do have some important
  evidence: the NGO report cited above, which was based on review of 250 files, and an ICE
  compliance review.
  The NGO report alleges that FRC staff systematically fail to communicate with non-Spanish
  speakers in their languages. It claims that the following is typical:
          When Elana and her two-year-old son first arrived at the Dilley detention center
          after being detained on August 26, 2015, she informed officials that she spoke
          Mam, an indigenous Mayan language spoken by half a million Guatemalans, and
          that her religion was Mam. But during the three weeks that she and her two-year-
          old son spent in detention, neither ICE nor Corrections Corporations of America
          (CCA) (the private prison contractor operating the Dilley detention center) staff




  185
      Dilley Policy 14-101, supra note 183, at 2.
  186
      Berks Resident Handbook 6 (undated); Dilley Resident Handbook 11 (2016); Karnes Resident Handbook 2 (2015).
  187
      Karnes Resident Handbook, supra note 186, at 24.


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          communicated with her in Mam. ICE never found a Mam interpreter for Elana or
          gave her any documents written in Mam.” 188
  Since August 2015, a company called Danya International has conducted monthly compliance
  reviews of all three facilities, to evaluate their compliance with ICE’s Family Residential
  Standards. The reviews include evaluation of facility compliance with Family Residential Standard
  2.8, which requires language access services. (It states, in part: “Where required, detainees have
  regular access to translation services and/or are provided information in a language that they
  understand.”) Notwithstanding their relevance to our task, ICE unfortunately declined to make
  these documents available to us. However, out of the dozen-plus reviews conducted for each
  facility, ICE chose one review per facility to provide to the Flores District Court. 189 The one
  review of Dilley ICE chose to include in its court filing describes both a documentation problem
  and an underuse of interpretation. It noted, earlier this year, that “Review of both the log and the
  list of the detainee’s primary and second language (dated 1/04/16) does not show consistent use or
  consistent documentation of use of the language line.” And it recommended that officials “Ensure
  that staff assigned to intake are aware of when to use and document the use of the language line.
  For those detainees where the primary and secondary language is not English or Spanish and the
  language line is not used, develop and implement a process [to] document why.” 190
  In short, we are unable to assess how prevalent language line use is, and, correspondingly, the
  extent of underuse, because ICE declined to provide the necessary information. But we think it
  likely that FRC detainees who do not speak English or Spanish are not receiving interpretive
  services during orientation.
  Even if telephonic interpretation were provided consistently when appropriate, the extensive
  discussion that is necessary to substitute for such lengthy documents as the resident handbooks
  undermine the efficacy of such interpretation. During one of our facility visits, staff explained to us
  that an Urdu-speaking ICE staff member temporarily assigned to one of the Texas facilities was
  able to greatly ease the detention experience of one detainee family who were otherwise dependent
  on language line interpretation. As this explanation suggests, language lines are helpful, but live
  interpretation – or, even better, bilingual staff – are far more effective. Presumably it is for this
  reason that Dilley has contracted with a Mam speaker. Video or audio tapes – if ICE were sure that
  they were in the right language – would likewise be better than an extensive interpreted session.
  Recommendation 5-7: After tracking the languages spoken and the language access needs for
  several months, ICE should ensure that the FRC resident handbooks are translated into any
  additional languages that are used by the lower of 0.5% or more detainees, or 50 detainees in
  the course of a year. ICE should ensure that video or audio taped summaries of the
  handbooks are available for any detainees who are not highly literate in any language for
  which a translation is available, and should offer an opportunity to listen to or watch such a
  recording to all detainees.




  188
      CARA Complaint, supra note 180, at 5.
  189
      See Decl. of Jon Gurule, supra note 6, Exh. 1-3 (Danya International Reports of Compliance Inspections of BFRC
  (Berks) (Nov. 10, 2015), KCRC (Karnes), (Sept. 10, 2015), and STFRC (Dilley), (Jan. 27, 2016)).
  190
      Decl. of Jon Gurule, supra note 6, Exh. 3, at 4.

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          E. General Provision of Language Access Services
  For all three facilities, once orientation is complete, neither facility policy documents nor the
  resident handbooks include any general statement describing language access policy/rights. There
  is no policy that repeats the general command of ICE Family Residential Standard 2.8 (“Where
  required, residents have regular access to translation services and/or are provided information in a
  language that they understand.”). And the availability of language services is not communicated –
  at least not in writing – to detainees. Each of the resident handbooks includes a section “Resident
  Rights and Responsibilities,” for example, but those sections do not inform detainees of their right
  to language assistance that provides meaningful access to programs, benefits, and services. Policies
  and the handbook occasionally mention language services – but for only a very few of the many
  situations where such services are needed for LEP detainees’ equal access. Indeed, the explicit
  reference in a few circumstances to interpretation services might easily be read by detainees to
  suggest that such services are not more broadly available, even when needed in order to
  communicate effectively with FRC staff, ICE, USCIS, FRC health care, child care, food service,
  mental health, teachers and others at the FRC.
  This failure to communicate the language access services is in violation of the direction of the
  Attorney General to all federal agencies to “Notify the public, through mechanisms that will reach
  the LEP communities you serve, of your LEP policies, plans, and procedures, and LEP access-
  related developments.” 191 In addition, orderly management of the facilities and fair and equal
  treatment of the detainees depends on their understanding of what is going on. All three of the
  handbooks explain that it constitutes misconduct for a resident to fail to “follow[] specific rules
  and/or orders which have been designated for the clean, safe, orderly operation of the facility
  which residents have been told in advance through posting or have been given verbally by an
  employee of the facility or person who has charge of the resident at the time.” 192 Yet, the
  handbooks –– which, remember, constitute the material that is supposed to be presented during
  orientation to each non-Spanish speaking detainee via interpretation – do not inform detainees how
  they are supposed to respond to a command or an instruction in a language they do not speak, if
  they do not understand it.
  ICE has not shared with the ACFRC the information we would need to thoroughly understand
  general language assistance practices and when current efforts are falling short. We do know,
  however, that problems exist. The NGO report already cited alleges a systemic failure to provide
  interpretive services and documents in indigenous languages. And ICE itself has disclosed some
  problems to the Flores court: in the one standards compliance report the government recently
  chose to file in the Flores court about Berks, the evaluation noted problems with compliance with
  Family Residential Standard 2.8:
          “Observation: The following forms signed by residents were not provided in
          Spanish or other native languages: Food Service Agreement to Work; Maintenance



  191
      Memorandum from the Attorney General to Heads of Federal Agencies, General Counsels, and Civil Rights Heads,
  re. Federal Government's Renewed Commitment to Language Access Obligations under Executive Order 13166, at 2
  (Feb. 17, 2011), https://www.lep.gov/13166/AG_021711_EO_13166_Memo_to_Agencies_with_Supplement.pdf.
  192
      Berks Resident Handbook, supra note 186, at 26; Dilley Resident Handbook, supra note 186, at 58; Karnes
  Resident Handbook, supra note186, at 13.

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            Agreement to Work; Housekeeping Agreement to Work; Consent for Treatment;
            Right to Know; and Grievance Procedure. (Observed 9/15/15)
            “Recommendation: Translate forms into Spanish or any other native languages or
            document that language line was used to translate form prior to resident signing.
            “Follow-up: Resolved-The facility has translated into Spanish forms to be signed by
            residents for the following: Food Service Agreement to Work; Maintenance
            Agreement to Work; Housekeeping Agreement to Work; Consent for Treatment;
            Right to Know; Parental Notification Form and Grievance Procedures; New
            Admission Orientation Acknowledgement Form; and Voluntary Work Program
            Agreement Form. There is a box on each form for the signature of the interpreter
            used attesting to the information translated. (Observed 10/26/15)” 193
  It seems likely that the system in place to ensure effective communication with non-Spanish FRC
  detainees in their general lives is not succeeding.
  For both Spanish speakers and non-Spanish speakers, we have also heard reports of children being
  asked to interpret for their mothers or for other adults. ICE policy forbids this practice absent
  exigent circumstances. 194 It is bad practice for many reasons: 195
        •   Omissions: Particularly when information is sensitive – which in this setting is frequent –
            parents may omit important information, or soften the details, because they do not want the
            child to know sensitive aspects of their lives or because they do not want to traumatize or
            re-traumatize the child.
        •   Trauma: If a parent does not omit sensitive information, that information can be
            traumatizing to the child.
        •   Editing: Children may alter language to fit their own view of what is appropriate,
            convenient, or proper to say, or to spare parents from suffering embarrassment or because
            they are just not able intellectually or emotionally to convey the accurate information.
        •   Role reversal: It can interfere with parental discipline for the child to be called upon to
            provide help and support to the parent.
        •   Mistakes: Children are likely to make mistakes, even if they say (and believe) they
            understand and are interpreting correctly.
        •   Guilt: It is easy for children to feel they are the cause of suffering because they conveyed
            something painful or to fear that a bad outcome results from their inadequacy as an
            interpreter.
        •   Confidentiality: Even when cautioned, children do not understand issues of confidentiality
            and may inadvertently reveal sensitive material learned during interpreting.




  193
      Decl. of Jon Gurule, supra note 66, Exh. 1, at 4.
  194
      ICE Language Access Plan, supra note 164, at 9.
  195
      The list in text is largely adapted from M.J. Gilbert, The Case Against Using Family, Friends, and Minors as
  Interpreters in Health and Mental Health Care Settings, in PROCESS OF INQUIRY – COMMUNICATING IN A
  MULTICULTURAL ENVIRONMENT (Nat’l Ctr. for Cultural Competence, Geo. Univ. Ctr. for Child and Human Dev.
  2005), http://www.nccccurricula.info/communication/D15.html.

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  Recommendation 5-8: For all detainees, ICE should facilitate effective communication and
  meaningful access to programs, benefits, and services by using clear, simple language
  whenever possible.
  Recommendation 5-9: ICE should ensure that facility policy, resident handbooks, and oral
  orientation (whether live or recorded) clearly communicate the overarching policy that
  detainees have a right to language assistance that provides meaningful access to programs,
  benefits, and services, and that this right includes interpretive services, if necessary, for all
  important conversations with ICE and contractor staff.
  Recommendation 5-10: ICE should ensure that all routinely used documents are translated
  into all languages read by the lower of 0.5% or more detainees, or 50 detainees in the course
  of a year. Documents should also be adapted into a summary bullet point or into graphics
  when possible, to facilitate understanding by detainees with low literacy. Every document
  should be tested with detainees to ensure understanding and effective communication before
  being finally adopted.
  Recommendation 5-11: ICE should provide qualified interpretation whenever necessary to
  provide meaningful access to programs, benefits, and services. This right includes
  interpretive services, if necessary, for conversations involving DHS or contractor staff.
  Interpretation can be provided using telephonic or video interpretation, 196 but in addition,
  ICE should investigate the option of local interpretive service providers who specialize in
  regional dialects and indigenous languages.
  Recommendation 5-12: Having identified what non-Spanish languages are frequently
  needed, ICE should explore various ways to provide live interpretation or bilingual staff, by,
  e.g., hiring contractors and bringing in detailees.
  Recommendation 5-13: ICE should record each time a detainee receives qualified
  interpretation services, whether by language line or in-person interpreter, and should
  conduct frequent checks of detainees’ language needs against language line and interpreter
  usage, systematically auditing when detainees who do not speak Spanish are receiving
  communication in a language they understand and when they are not, and then
  implementing resources, training, and other supervision to improve language access as the
  audit reveals various needs. The audits should pay particular attention to orientation,
  medical and mental health care, case processing, and release conditions.
  Recommendation 5-14: ICE should track and report monthly statistics relating to
  interpretive services, including how many times interpreters – telephonic or in-person – are
  used, for how many detainees, and the languages and situations involved. The statistics




  196
     For discussion of video interpretation, see 45 C.F.R. § 92.201(f) (2016),
  https://www.federalregister.gov/documents/2016/05/18/2016-11458/nondiscrimination-in-health-programs-and-
  activities.


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  should include how often per week in detention interpretive services are provided to non-
  Spanish speakers. 197
  Recommendation 5-15: Children should not be used as interpreters. With proper planning
  and staffing, the exigent circumstances that are the prerequisite to such use under ICE policy
  can be entirely avoided.
          F. Access to Fair Immigration Procedures: Law Library
  ICE does not provide counsel to FRC detainees, but rather supports their access to legal services
  less directly – via provision of a law library and facilitation of communication with potential and
  actual counsel. Part 3.E of this Report covers the law library more generally, including its
  appropriate content. It is vital for the libraries to include legal materials in Spanish and other
  languages detainees read, when those are available. Even if this is done, however, many books and
  other materials in the law library are, necessarily, in English, so this particular language access
  issue is applicable to all the Spanish-speaking detainees, as well as those who speak neither
  Spanish nor English.
  The Supreme Court case law from the analogous situation in prison demonstrates that it is
  constitutionally insufficient for a detaining authority to provide non-English-speaking detainees
  with law books unusable by them. In Lewis v. Casey, the Court wrote: “Of course, we leave it to
  prison officials to determine how best to ensure that inmates with language problems have a
  reasonably adequate opportunity to file nonfrivolous legal claims challenging their convictions or
  conditions of confinement. But it is that capability, rather than the capability of turning pages in a
  law library, that is the touchstone.” 198 Facility policies recognize this point. Karnes’s policy, for
  example, states:
          Unrepresented illiterate, non-English speaking or disabled detainees who wish to
          pursue a legal claim related to their immigration proceedings or detention, and who
          indicate difficulty with the legal materials must be provided assistance beyond
          access to a set of English-language law books. To the extent practicable and
          consistent with the good order and security of the facility, all efforts will be made to
          assist all illiterate, limited-English proficient and disabled persons in using the law
          library.” 199
  The Karnes policy then sets out “[p]rocedures to meet this obligation:”
          “1. Helping the resident obtain assistance in using the law library and drafting legal
          documents from residents with appropriate language and reading-writing abilities;
          and
          “2. Assisting in contacting pro legal-assistance organizations from the ICE approval

  197
      The kind of report the Committee has in mind in the last sentence of the recommendation might read, e.g.:
           Number of non-Spanish speakers in detention, January 2017: 72.
           Interpretive services provided:     1 per week: 10
                                               2 per week: 22
                                               3 per week: 40.
  198
      Lewis v. Casey, 518 U.S. 343, 356–57 (1996).
  199
      Karnes Policy 6.1.1, Law Library and Legal Materials 6.


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          list.
          “3. Where required, residents have regular access to translation services and/or are
          provided information in a language they understand.
          “If such methods prove unsuccessful in providing a particular non-English-speaking
          or illiterate resident with sufficient assistance, the facility shall notify JFRMU, ICE
          Field Office, and ICE Chief Counsel. The standard complies with federal laws and
          with DHS regulations regarding residents with special needs.” 200
  Both Dilley and Berks policies similarly cover what the Karnes’ policy labels items 1 and 2 – but
  both omit the Karnes’ policy’s item 3. That is, at Dilley and Berks, the policy completely omits
  translation or interpretation. 201
  Moreover, neither the Dilley nor the Berks resident handbook mentions anything about even this
  limited language assistance policy in connection to the law library – so detainees are given no
  information about what help is available to them. And even at Karnes, where the policy mentions
  translation, the resident handbook does not. It simply states:
          By submitting a Resident Request Form, you may be permitted to obtain assistance
          from other residents in researching and preparing legal documents, except when
          such assistance may pose a security risk. Such assistance is voluntary; no resident
          will be allowed to charge a fee or accept anything of value for assistance. Illiterate,
          unrepresented and non-English speaking residents will be provided with access to
          more than English-language law books, assistance in using the Law Library, and
          contacting Pro Bono legal assistance organizations, upon request. ICE will not pay
          compensation to a resident for researching or preparing legal documents on behalf
          of another resident.
  Moreover, the Karnes Resident Handbook actually states – inappropriately – “Printing of
  documents can only be done in the English language; therefore you will have your printed
  documents checked by the Library staff before you depart the law library.” This renders detainees
  unable to print any certain legitimate legal documents, including, for example, the Flores pro-se
  handbooks, explanations of parental rights, and many other important and helpful tools and
  resources, as well as witness declarations and USCIS explanatory material. (See the USCIS
  Language Access Plan 202 for a description of ongoing USCIS efforts to provide many different
  documents in high-use languages, including Spanish.)
  More generally, it is apparent from descriptions in all three handbooks, and from the Dilley and
  Berks policies, that interpretation and translation services for law library access are not routinely –
  and perhaps not ever – offered. This is not only a language access failure under Executive Order
  13166; it may also constitute an inappropriate denial of access to the courts. As the Supreme Court
  explained in the passage from Lewis v. Casey cited above, what is important is that the detainees
  have an adequate opportunity to make their claims (here immigration rather than prison-related


  200
      Id.
  201
      Berks Policy 15.010, Law Library and Legal Material 2 (Dec. 1, 2013); Dilley Policy 14-105, Law Libraries and
  Legal Materials 5 (Jan. 15, 2016).
  202
      U.S. DEP’T OF HOMELAND SEC., U.S. CITIZENSHIP & IMMIGRATION SERVS., LANGUAGE ACCESS PLAN (June 3,
  2016), https://www.uscis.gov/sites/default/files/USCIS/Outreach/LanguageAccessPlan06042016.pdf.

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  claims), both with the agency and with the courts. The help of other detainees is unlikely to meet
  the need – FRC detainees, who are responsible for caring for their children, do not have the time
  available to develop the expertise to become “jailhouse lawyers.” And access to legal assistance
  organizations may or may not be sufficient to provide the constitutionally required opportunity.
  Where it is not, translation and/or interpretation may be needed.
  Recommendation 5-16: As much as possible of the FRC law library material should be in
  Spanish and other languages detainees read, in addition to English.
  Recommendation 5-17: ICE should provide language access services for detainees who use
  the law library, including translation and interpretive services. Bilingual paralegal services
  may prove necessary to meet language access needs. Facility policy and the resident
  handbooks should state clearly that language access services are available if needed for
  access to the law library, and that these include necessary translation and interpretive
  services. Signs conveying this information should also be placed in FRC law libraries and
  housing units.
  Recommendation 5-18: Printing in the law library may be limited to appropriate legal
  documents and supporting materials, but non-English documents should not be categorically
  excluded. ICE should ensure that the Karnes Resident Handbook so reflects, and if the same
  rule is imposed at another FRC, it should be changed.
           G. Access to Fair Immigration Procedures: Asylum Processes
  FRC detainees participate in five different kinds of immigration proceedings/interviews. (1) They
  may meet with lawyers to discuss their cases. (2) They receive orientation about the immigration
  process. (3) They meet with USCIS asylum officers for “credible fear” or “reasonable fear”
  interviews. 203 (4) They have conversations about their cases with ICE personnel, including
  deportation officers and ICE lawyers. (5) They appear before immigration judges in immigration
  court, an adjudicatory body organizationally located within the Department of Justice’s Executive
  Office for Immigration Review (EOIR). The detainees’ language access needs in each of these
  settings are similar – but the practical, statutory, and regulatory settings are different.
                  Conversation with Potential or Retained Immigration Lawyers
  Because the government is not on either side of detainees’ conversations with lawyers about their
  cases, DHS incurs no language access obligations.
                  Asylum Orientations
  According to government filings in the Flores litigation, within the first few days of an
  individual’s stay at an FRC, “DHS conducts an orientation for the individual during which DHS
  explains the credible fear or reasonable fear process, and provides the individual with the
  Executive Office for Immigration Review’s list of free legal service providers who may be

  203
     Most people claiming a fear for their safety if they are returned to their home country are screened to determine if
  they have a credible fear of torture or persecution. But individuals facing reinstatement of a prior removal order
  receive, instead, what is called a “reasonable fear” interview and determination. For our purposes, this difference is
  unimportant.


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  available to provide legal assistance if the individuals wish to utilize them.” 204 We do not precisely
  understand what this declaration is referring to – perhaps it is a video orientation that we observed
  in part. In addition, several non-profit advocacy organizations contract with the Department of
  Justice to do “Legal Orientation Presentations.” It is unclear whether ALL individuals receive such
  a presentation before a credible fear or reasonable fear interview. However, where they do and
  where the presentation is part of a federal program – certainly if these programs are what the
  government is referring to in the quotation above – we believe that they are covered by DHS’s
  language access obligations, and that DHS accordingly has the obligation to provide translation
  and interpretive services.
  We have already addressed the lack of adequate language accommodations made at orientation and
  in the Handbook generally. We understand that the orientations just described are offered in
  Spanish. We have not been told of any special efforts made to provide additional language access.
  Obviously interpretive services are needed for all non-Spanish speakers. But we have no reason to
  think such services are being provided by the government.
                  Asylum Officer Interviews
  USCIS conducts thousands of screenings of FRC detainees, generally 3-5 days after asylum
  orientation. These are extensive interviews: asylum officers conduct only two to three each day. 205
  They are a crucial part of immigration processing. Applicable credible fear interview regulations
  require provision of interpretive services, stating “If the alien is unable to proceed effectively in
  English, and if the asylum officer is unable to proceed competently in a language chosen by the
  alien, the asylum officer shall arrange for the assistance of an interpreter in conducting the
  interview.” 206 The regulation also states that “The interpreter must be at least 18 years of
  age. . . .” 207 It is our understanding that the interviews are sometimes conducted in Spanish, by
  USCIS asylum officers who are competent in that language. Often, however, telephonic
  interpretation is used. When this occurs, many have observed problematic results. 208 We discuss,
  below, the ways in which telephonic interpretation can fail to achieve effective communication.
  For FRC detainees who speak indigenous languages, we understand that sometimes telephonic
  interpretation is used, and other times, USCIS decides to forego the credible/reasonable fear
  interview, 209 proceeding directly to immigration court. This may actually prolong detention, if an



  204
      Decl. of John L. Lafferty at 2, Flores v. Lynch, No. 2:85-cv-04544 (C.D. Cal. June 3, 2016),
  www.clearinghouse.net/chDocs/public/IM-CA-0002-0030.pdf.
  205
      See id.
  206
      8 C.F.R. § 208.30(d)(5) (2016); see also 8 C.F.R. § 235.3(b)(2)(i) (on initial inspection by examining officer for
  individuals placed in expedited removal, “[i]nterpretative assistance shall be used if necessary to communicate with
  the alien”).
  207
      8 C.F.R. § 208.30(d)(5).
  208
      See, e.g., John Washington, The U.S. is Locking Up Immigrant Children in Private Prisons Under Inhumane
  Conditions, IN THESE TIMES (July 6, 2015), http://inthesetimes.com/article/18140/lockingup-immigrant-kids
  (describing a telephonically interpreted credible fear interview in which the interpreter and interviewee had difficulty
  hearing each other and the interpreter several times misinterpreted the testimony).
  209
      See AM. BAR ASS’N, COMM’N ON IMMIGRATION, FAMILY IMMIGRATION DETENTION: WHY THE PAST CANNOT BE
  PROLOGUE 38 (2015),
  http://www.americanbar.org/content/dam/aba/administrative/immigration/FamilyDetentionReport2015.authcheckdam.


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  immigration judge is reluctant to release the detainee during the pendency of her proceedings
  without the reassurance of a credible fear finding. 210
                  Conversations with ICE Personnel, Including Deportation Officers and Lawyers
  If the Asylum Officer finds credible (or reasonable) fear, the matter is next referred to an
  immigration judge. For persons not facing reinstatement of removal, typically, the family is
  released from detention at this point. If the Asylum Officer does not find credible (or reasonable)
  fear, the individual may request review by an immigration judge. Either way, individuals are likely
  to have conversations with ICE personnel, conceivably including lawyers. Some of these
  conversations deal with release conditions (see Part 5.K, below). Other conversations may involve
  other aspects of the person’s life or immigration case. All such encounters require effective
  communication. Unless ICE personnel are competent in the detainee’s language or a qualified
  interpreter is provided, the result is LEP persons’ discriminatory exclusion from full access to the
  arrangements that could be discussed.
                  Appearances Before an Immigration Judge.
  Some immigration court hearings occur via video at the FRCs; others take place after FRC
  detainees are released from detention. Either way, Executive Office for Immigration Review
  (EOIR) policy is to provide interpreters at government expense in immigration court. 211 EOIR is
  part of the Department of Justice, not DHS, and therefore its activities are beyond our scope. We
  note, however, that many observers have criticized the resulting interpretative services as
  inadequate. The problem is amplified for FRC detainees because they appear in court by video. As
  the American Bar Association recently summarized:
           This [language-related] procedural unfairness continues throughout the proceedings
           in the immigration courts, even after the women pass their credible or reasonable

  pdf (“For those women who speak indigenous languages, immigration authorities frequently skip the credible fear
  interview altogether, moving directly to the merits determination.”) [hereinafter ABA Report].
  210
      See id. (“But without a positive credible fear determination, judges are hesitant to grant release pending conclusion
  of the proceedings, thereby further prolonging detention.”); see also LUTHERAN IMMIGRATION AND REFUGEE SERV. &
  THE WOMEN’S REFUGEE COMM’N, LOCKING UP FAMILY VALUES, AGAIN: A REPORT ON THE RENEWED PRACTICE 10–
  11, 15, 19 (2014), http://lirs.org/wp-
  content/uploads/2014/11/LIRSWRC_LockingUpFamilyValuesAgain_Report_141114.pdf (noting that, while
  Immigration Judges may release individuals who pass a credible fear interview, there are “deep flaws” in the initial
  screening of individuals for eligibility for a credible fear interview).
  211
      See EXEC. OFFICE FOR IMMIGRATION REVIEW, U.S. DEP’T OF JUSTICE, IMMIGRATION COURT PRACTICE MANUAL §
  4.11 66 (2016) (“Interpreters are provided at government expense to individuals whose command of the English
  language is inadequate to fully understand and participate in removal. In general, the Immigration Court endeavors to
  accommodate the language needs of all respondents and witnesses. The Immigration Court will arrange for an
  interpreter both during the individual calendar hearing and, if necessary, the master calendar hearing.”),
  https://www.justice.gov/sites/default/files/pages/attachments/2016/02/04/practice_manual_-_02-08-2016_update.pdf;
  (“Interpreters are provided at government expense to individuals whose command of the English language is
  inadequate to fully understand and participate in removal. In general, the Immigration Court endeavors to
  accommodate the language needs of all respondents and witnesses. The Immigration Court will arrange for an
  interpreter both during the individual calendar hearing and, if necessary, the master calendar hearing.”). See also
  8 C.F.R. § 1003.22 (“Any person acting as an interpreter in a hearing shall swear or affirm to interpret and translate
  accurately, unless the interpreter is an employee of the United States Government, in which event no such oath or
  affirmation shall be required.”).


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             fear interviews, because the families must attend their hearings virtually through
             video-conferencing. As a result, the interpreter is often not in the same location as
             either the asylum-seeker or the judge, significantly impeding the ability of the
             interpreter to understand the detainee and increasing the probability of inaccurate
             communication that affects procedural due process rights. 212
  At each of these five stages, both Spanish and non-Spanish speakers face endemic problems,
  which overlap but are not the same:
  For Spanish speakers, there seem to be occasional deprivations of needed interpretive
  services altogether – but more often, the problem is that telephonic and video interpretation
  is not very effective. Consider two accounts of communications problems. The first account
  was filed by the Flores plaintiffs; it is a declaration by one Spanish-speaking resident who
  explained that when it was time for her release:
             I did not want to leave with grillete [an ankle monitor]. I had asked my daughter in
             Minnesota to help pay my bond.
             The officer spoke very fast and I could not understand what he was saying.
             I understood that those who passed through the bridge would not have grillete. . . . I
             signed the docs because the officer said it was “only to prove that you were here
             detained in this center.”
             They told me that they didn’t know much about the grillete after we leave because
             they said it depends on the state. . . .
             I did not understand that I was signing a document agreeing to leave with grillete. 213
  A second published account last year described a similarly ineffective credible fear interview of a
  Spanish speaker, this one marred by the problems inherent in telephonic interpretation:
             For Carolina’s CFI, the AO used a phone-in interpretation service. . . . At first,
             Carolina had trouble hearing the interpreter. Then the interpreter has trouble hearing
             Carolina. In the playroom, heard through the thin trailer wall, a child started crying.
             Throughout the interview, the interpreter repeatedly misunderstood Carolina. I tried
             to correct the translation, but the AO officer wouldn’t let me speak. The AO missed
             the most important thread of Carolina’s story – that of being intimidated by the rival
             gangs, the fear she most often described to me. 214
  Generally, telephonic and video interpretation suffers from numerous flaws that tend to make
  important legal processes less fair and accurate:




  212
        See ABA Report, supra note 209, at 38; see also LAURA ABEL, BRENNAN CENTER FOR JUSTICE, LANGUAGE ACCESS
  IN IMMIGRATION COURTS 8-9 (2011),
  http://www.brennancenter.org/sites/default/files/legacy/Justice/LangAccess/Language_Access_in_Immigration_Court
  s.pdf (describing problems with remote interpreting technologies).
  213
      Plaintiff’s Exhibits in Support of Motion to Enforce Settlement and for Appointment of Special Master Part 1:
  Exhibits 1-13 [hereinafter Flores Plaintiff’s Exhibits Part 1], Exh. O, Attach. to Exh. 13 (Ankle Monitor Coercion
  Affidavit), Flores v. Johnson, No. 2:85-cv-04544 (C.D. Cal. May 19, 2016),
  www.clearinghouse.net/chDocs/public/IM-CA-0002-0020.pdf.
  214
      Washington, supra note 208.

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     •   Technological limitations mar telephonic interpretation and lead to the loss of important
         information.
             - Telephonic interpreters can have trouble hearing the speaker, and being heard. The
                result is frequent miscommunication. In fact, many telephonic interpretation
                services allow interpreters to use cell phones; the result is often lots of background
                noise or added difficulty hearing.
             - Telephonic interpretation often uses a speaker phone that allows only one person to
                talk at a time. That means interpreters can’t interrupt to clarify or seek clarification.
             - Telephonic interpreters are frequently cut off. When the parties reconnect, they may
                or may not get the same interpreter. The result is at best delay and at worst starting
                all over.
             - Decision makers often express frustration and/or impatience with the long wait
                times, difficulty hearing, and other challenges of telephonic interpretation. This can
                affect their temperament, or lead the speaker to believe the decision maker is hostile
                to her.

     •   Compared to in-person interpreters, telephonic interpreters are less likely to facilitate trust
         and solve communication problems.
            - Telephonic interpreters lack the opportunity to introduce themselves to the client,
                test for language “match,” and establish rapport.
            - Speakers who believe that the interpreter can’t hear them for technological reasons
                are likely to abbreviate their story, cut to the chase, and omit details that are
                extremely important to the accurate adjudication.
            - Detainees – adults and children – are less likely to disclose traumatic information
                over the phone. Families in detention may have many reasons to distrust
                government officials or anyone associated with the government. In general, people
                are less likely to trust someone they cannot see. And detainees may believe that the
                interpreter is not the only person on the telephone line. When there is lack of trust,
                the speaker is particularly likely to be nervous about disclosing traumatic
                information, and may abbreviate or omit details. This may undermine the factual
                accuracy of the proceeding.
            - Live interpreters can read body language and visual clues, especially those specific
                to a given culture or dialect; this can both help with interpretation and allow an
                interpreter to understand when the speaker does not understand something.A live
                interpreter but not a telephonic one can see if a speaker looks confused, even if the
                speaker is too scared to ask for clarification.
            - It is difficult if not impossible for detainees to be confident that telephonic
                interpreters will not compromise the safety of a detained individual. Without face-
                to-face contact it is equally difficult for the detainee to develop a sense of trust or
                assess the reliability and trustworthiness of an interpreter. Conflict situations like
                the ones many families have fled mean that individuals on different sides of a
                conflict may arrive in the U.S. Detained individuals may therefore fear that their
                interpreter will share information about them with a person or state actor from
                whom they have fled.

     •   Visual cues can be vital to effective communication.

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              - Live interpreters are easily able to signal, without interrupting, that they need a
                  break in the communication to catch up the interpretation. Telephonic interpreters
                  cannot do this. When there’s a telephonic interpreter, the speaker’s narrative is apt
                  to get too long and the interpreter may therefore lose details or summarize or
                  paraphrase.
              - An interpreter who is not in the room, observing the speaker’s gestures, has
                  difficulty conveying the gravity of a violent act or the seriousness of an injury. The
                  speaker may point to a part of the body, for example, but if the interpreter cannot
                  see, the interpretation is inadequate.
  These problems are difficult or even impossible to avoid when using telephonic interpretation. But
  the size and high concentration of Spanish speakers mean that the FRCs can avoid telephonic
  interpreters; economies of scale minimize the cost of using staff who speak Spanish and in-person
  interpreters.
  Recommendation 5-19: DHS should avoid use of telephonic Spanish interpreters, developing
  and implementing policies and practices to instead provide in-person Spanish interpretive
  services, except in unusual or exigent circumstances, at each and every stage of the
  immigration proceedings, including, e.g., legal orientation; asylum officer interviews; and
  conversations with ICE personnel about matters such as procedures and release conditions.
  EOIR should do the same for appearances in immigration court.
  Recommendation 5-20: DHS should undertake systematic efforts to improve the quality of
  language line interpretation.
     a) For each use of telephonic interpretation, DHS should ask DHS staff, facility staff,
        court staff, interpreters (when appropriate) and the assisted detainee to rate the
        effectiveness of interpretation and describe any problems; when a rating is low, DHS
        staff should review the circumstances and take corrective steps.
     b) DHS should track the ratings/problems and address them. For example, if cell phone
        usage by interpreters emerges as an issue, the contract terms should be quickly
        modified to bar cell phone usage.

  Language access problems affecting immigration proceedings are yet more severe for non-Spanish
  speakers. Interpretive services seem to be offered only a fraction of the time that they are needed,
  and are often ineffective when offered. Indigenous language interpretation can fail for a number of
  reasons: technical, dialect related, and because sometimes (when the DHS speaker does not speak
  Spanish, and the interpreter does not speak English) because it’s a cumbersome two-step process
  that may resemble a game of telephone – English to Spanish, Spanish to dialect. All of these
  combined in an example described in one NGO letter to the Directors of ICE and USCIS:
         “Eliana,” a Guatemalan Mam-speaking mother, and her four children, ages four,
         five, nine, and thirteen, were detained at Dilley for more than a month. An asylum
         officer interviewed Eliana on November 18, 2015. But the transcript of the
         interview revealed clear communication difficulties because Eliana could not
         understand the particular dialect spoken by the Mam interpreter, who in turn spoke
         to a telephonic Spanish interpreter, who then communicated with the asylum
         officer. On multiple occasions, Eliana asked for a different interpreter and stated
         she did not understand the language being used, but the asylum officer responded

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           that this was “proably [sic] as good as it gets” and forged ahead with the interview.
           At two points of the interview, the interpreter service was disconnected, first for
           twenty minutes and then for five minutes. . . . 215
  Another account described a similar situation before an immigration judge:
           I also sat in on a tele-hearing in which an indigenous Mam speaker from Guatemala
           appeared before a flat screen television to appeal an AO’s decision that she did not
           have credible fear of persecution. In Miami, the judge held court in front of a
           camera and a screen of her own. She had a Spanish interpreter in the courtroom and
           a Mam interpreter on a telephone loudspeaker. The questions to the client went
           from Judge (in Miami) to Spanish Interpreter (Miami) to Mam interpreter
           (undisclosed location) to client (Dilley) back to Mam Interpreter (undisclosed
           location) to Spanish interpreter (Miami) back to judge (Miami). That is: English to
           Spanish to Mam to Mam to Spanish to English, in three locations. Not surprisingly,
           it was a total bungle . . . . 216
  It also seems likely that often, non-Spanish speakers are simply processed without being able to
  understand or communicate effectively. For example, in a declaration filed in the Flores court by
  the plaintiffs, one former Dilley resident explained that she was released without an interview with
  an asylum officer because she speaks Kiche rather than Spanish. But notwithstanding the difficulty
  she had understanding Spanish – which was known to DHS and was significant enough to preempt
  her interview with an asylum officer – she describes signing papers she didn’t entirely understand,
  in Spanish, related to her ankle monitor. 217
  All in all, it seems clear that indigenous language speakers are not receiving equal access to
  immigration benefits – and that their cases are probably not receiving fair processing.
  Recommendation 5-21: DHS should provide interpretive services to indigenous-language
  speakers at each and every stage of the immigration proceedings, including, e.g., legal
  orientation; asylum interviews; and conversations with ICE personnel about matters such as
  procedures and release conditions. EOIR should do the same for appearances in immigration
  court. For non-Spanish speakers, each and every encounter that can impact the detainee’s
  liberty or safety should be interpreted.
  Recommendation 5-22: DHS should systematically monitor and improve the quality and
  availability of language access for indigenous-language speakers, ensuring that interpretive
  services are offered and that they are effective. For each use of interpretation services:
        a) DHS should ask DHS staff, facility staff, court staff, interpreters (when appropriate)
           and the assisted detainee to rate the effectiveness of interpretation and describe any
           problems and when a rating is low, DHS staff should review the circumstances and
           take corrective steps;
        b) DHS should track the ratings/problems and address them; and


  215
      Flores Plaintiff’s Exhibits Part 1, supra note 213, Exh. Q, Attach. to Exh. 13, at 9 (Dec. 24, 2015 Letter to León
  Rodríguez & Sarah Saldaña).
  216
      Washington, supra note 208.
  217
      Flores Plaintiff’s Exhibits Part 1, supra note 213, Exh. K, Attach. to Exh. 13 (Decl. of former Dilley resident).

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        c) DHS should make every effort to avoid “two step” telephonic interpretation, e.g.,
           from English to Spanish to a third language.

            H. Grievances and Requests
  All detainees, regardless of their language proficiency, need to be able to make requests and report
  misconduct or other problems. Presenting requests or grievances presents serious difficulties for
  any FRC resident who is either illiterate or does not speak Spanish.
                 Grievances
  We received blank grievance forms for all three FRCs. A requirement that officials accept the
  forms when filled out in a non-English language is neither part of the relevant policies nor
  mentioned in the resident handbooks, and we have been unable to verify if that this occurs in
  practice. Still, forms for all three FRCs use both English and Spanish, so we infer that written
  responses to the form’s questions in Spanish are accepted and processed at all three facilities.
  We are less optimistic about access to the grievance system for non-Spanish speakers. In this area,
  existing policy is not the problem. Grievance policy documents for all three facilities provide for
  language assistance:
        •   Karnes: “Mothers and children are informed about the facility’s informal and formal
            grievance system in a language or manner they understand.” 218 “For mothers and children
            with limited proficiency with English, every effort will be made to find a staff member who
            speaks the primary language as the mother and child, to help them complete the written
            grievance form.” 219
        •   Dilley: “Written policy and procedures as established herein provide for a resident
            grievance system that: . . . Ensures information, advice, and directions are provided to
            residents in a language they can understand, or that interpretation/translation services are
            utilized.” 220
        •   Berks: “The Program Director shall ensure that procedures accommodate the need for
            special assistance to residents who are disabled, illiterate, or limited in English in preparing
            and pursuing a grievance.” 221

  However, detainees are not provided adequate notice of the availability of these language services;
  rather they are simply told to ask for help. At Karnes, detainees are notified by the resident
  handbook that they can request help from “staff members, other residents or outside sources such
  as members or legal representatives”; 222 at both Berks and Dilley, the resident handbooks list the
  possibility of requesting help from “other residents, family members, legal representatives or
  staff.” 223 Thus there is no particularized notice to detainees that they can get language assistance
  for grievances.



  218
      Karnes Policy 6.1.3, Grievance Procedure 1.
  219
      Id. at 3.
  220
      Dilley Policy 14-101, Resident Grievance Procedures 2 (Aug. 17, 2015).
  221
      Berks Policy 11.010, Resident Grievance Process 3 (Jan. 26, 2015).
  222
      Karnes Resident Handbook, supra note 186, at 35.
  223
      Berks Resident Handbook, supra note 186, at 21; Dilley Resident Handbook, supra note 186, at 51.

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                Non-grievance Requests
  We have no information on the rate of grievance-filing at the FRCs, but our experience suggests
  that it is likely extremely low. Detainees’ relatively short stays at Karnes and Dilley, and the
  grievance process’s formality at all three facilities, make the process described in the policies quite
  cumbersome for them. Therefore, non-grievance requests and other written and verbal methods of
  bringing needs or problems to the attention of authorities are more practically important for
  resident welfare and safety than grievances are.
  As with the grievance forms, we have been provided non-grievance request forms in both Spanish
  and English, and we infer (though there is no policy so stating) that they are accepted when filled
  out in Spanish. 224 However, we did not receive such a form for Dilley, so have not confirmed that
  that facility’s form includes Spanish. In addition, the various Resident Handbooks reference
  several additional documents which we were not provided, so we do not know if they are available
  or accepted in Spanish. These include a “Program Request” form (Berks); “Talton telephone
  resolution form” (Karnes); and “14-100G Lost / Damaged / Stolen Personal Property Claim”
  (Dilley).
  Unlike with respect to grievances, where the language assistance policy is clear – though, as
  described above, not communicated clearly to detainees – for non-grievance requests, there are no
  applicable facility policy discussions. In addition, only in the Karnes Resident Handbook is
  language access mentioned, stating:
          A resident may obtain assistance from another resident, counselor, or other facility
          staff in preparing a request form. The Facility Administrator will ensure that the
          standard operating procedures cover residents with special requirements, including
          those who are disabled, illiterate, or know little or no English. KCRC staff is
          encouraged to use the Language Line available to them for translation services. 225
  For both Dilley and Berks, the resident handbooks do not mention language assistance, but do
  inform residence that they “may obtain assistance from another resident or staff member in
  preparing” the form. 226
  Given the high importance of these request forms, language access assistance should be readily
  available – and detainees should be explicitly informed about that availability.
  Recommendation 5-23: ICE should ensure that all grievance and request forms, including
  specialized request forms (e.g., Program Request, Talton telephone resolution form, 14-100G
  Lost/Damaged/Stolen Personal Property Claim) are provided to detainees routinely in both
  Spanish and English. In addition, written translations for other languages that tracking
  reveals are prevalent in any significant numbers should be conducted and made readily
  available, using the same cutoff for translation as described in Recommendation 5-7.
  Recommendation 5-24: ICE should ensure that facility policy and the resident handbooks
  state expressly that both grievances and request forms filed in Spanish or any other written

  224
      We have reviewed forms from both Berks and Karnes headed “General Request.” The Resident Handbooks in all
  three facilities refer to a “Resident Request Form” which we assume is this same document.
  225
      Karnes Resident Handbook, supra note 186, at 24.
  226
      Berks Resident Handbook, supra note 186, at 8–9; Dilley Resident Handbook, supra note 186, at 10, 15, 18.

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  language will be accepted and processed. ICE should ensure there is a process in place for
  response to such non-English written requests/grievances, including for any needed language
  assistance in communicating that response with the resident who submitted the request.
  Recommendation 5-25: ICE should ensure that resident handbooks expressly state that
  interpretation services are available if needed for grievances and requests and that there is a
  zero tolerance policy for retaliation by ICE or facility staff; this also should be part of the
  oral orientation provided non-Spanish speakers, and should be printed on the grievance and
  request forms. For any oral communication conducted with a detainee in connection with the
  grievance or request, interpretation services should be offered without waiting for a request
  by a detainee.
  Recommendation 5-26: ICE should conduct audits of requests and grievances made by non-
  Spanish speakers, to ensure that (a) such requests are actually being made at approximately
  the same rate as Spanish speakers (because under-use of the system likely indicates a failure
  of language access); (b) language assistance is being used when useful for such requests.
         I. Medical and Mental Health Care
  Particularly in light of the traumatic experiences many of the FRC’s detainees have lived through,
  their medical and mental health care may be far from routine – so effective communication is an
  urgent need.
  ICE’s Family Residential Standard 4.3 (Medical Care), 227 covers language issues, requiring that:
     •   “Newly admitted residents will be informed how to access health services, in a language
         they can understand.”
     •   “Where required, residents have regular access to translation services and/or are provided
         information in a language that they understand.”
     •   “If language difficulties prevent the health care staff from sufficiently communicating with
         the resident to complete the intake screening, the staff shall obtain interpreter assistance.”
     •   “Such assistance may be provided by another staff or by a professional service, such as a
         telephone interpreter service.”
     •   “Only in emergency situations may a resident be used for interpreter assistance, and then
         only if the interpreter is proficient and reliable, and only with the consent of the resident
         being screened.”
     •   “If the procedure [for requesting health care services] is a written request slip, they shall be
         provided in English and the most common languages spoken by the resident population of
         that facility. If necessary, residents, especially those illiterate or non-English speaking,
         shall be provided assistance to complete a request slip.”
     •   “Informed consent standards of the jurisdiction shall be observed, and consent forms shall
         either be in a language understood by the resident, or interpreter assistance shall be
         provided and documented on the form.”



  227
      U.S. IMMIGRATION & CUSTOMS ENFORCEMENT, ICE/DRO RESIDENTIAL STANDARD 4.3 MEDICAL CARE (Dec. 21,
  2007), www.ice.gov/doclib/dro/family-residential/pdf/rs_medical_care.pdf.


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  The resident handbooks do not include any reference to detainees’ right to language access
  services relating to medical or mental health care. However, we received intake medical screening
  forms for both adults and children, each of which included a question to elicit the patient’s
  language. 228 The ACFRC has not received any documentation of any particular process used to
  ascertain the language spoken by any resident, when there is any difficulty. Presumably, medical
  and mental health staff rely on the process already described, in Section C (Orientation).
  In addition, the intake screening forms include several relevant checkboxes, presumably indicating
  goals, if not universal achievement of those goals. For the adults, these are:
           Resident given medical orientation and health information handouts in Residents
          language.
           Resident was given written orientation materials and/or translations in Residents own
          language.
           If a literacy problem exists, screener assisted the Resident with understanding education
          handouts.
           Resident verbalized understanding of any teaching or instruction and was asked if he or
          she had any additional questions.

  As these check boxes indicate, there seem to be various handouts used for medical and mental
  health care. Karnes, at least, distributes a health information handout as part of its resident
  handbook, including (we assume) a translated version in the Spanish version of the handbook. We
  do not understand that any of the materials, or sick call slips (where they are used) have been
  translated into any non-Spanish languages.
  For most of the detainees, providing effective medical and mental health care requires Spanish
  language services – by translation of documents (which may be occurring already) and by Spanish-
  language conversation or interpretation of oral communications.
  However, it is worth noting that interpretation can obstruct development of an appropriate
  therapeutic relationship for providers – particularly for mental health providers. So ideally, both
  medical and mental health treatment professionals would speak good Spanish, and therefore have
  no need for interpretation. We do not know the language skills of ICE Health Service Corps
  (IHSC) and contracted medical and mental health staff at the FRCs, but in a recent court filing, the
  Flores plaintiffs filed evidence that, at least at Berks in August 2015, there were no Spanish-
  speaking mental health staff. The plaintiffs’ witness, a social worker who toured the facility and
  spoke with its mental health staff, observed:
          During the tour, I was most struck by our discussion with the mental health staff.
          They explained to us that there were no Spanish-speaking mental health staff at
          Berks, that all services were provided through a phone interpreter, and that they had
          no problem with this arrangement. As a long time practitioner in the field of mental
          health, I found this arrangement concerning as the inability to communicate with


  228
      The adult form is labeled “GEO,” which is odd, since the Geo Group does not provide the medical care even at
  Karnes, where it operates the facility more generally. See HS-168 Intake Screening (rev. Jan. 2014).


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          clients effectively has a deleterious impact on a clinician’s ability to build rapport
          and trust with a client. These are the bedrocks of the therapeutic relationship. 229
  We have no more up-to-date information, or any information on this issue for Dilley and Karnes.
  If providers are not adequately fluent in Spanish – and for patients who speak neither English nor
  Spanish – telephonic, video, or live interpretation is needed. 230 As with non-medical interpretation,
  we are, unfortunately, unable to evaluate whether interpreter services are being used appropriately.
  ICE’s Language Access Plan states: “Using the electronic Health Record (eHR), IHSC has the
  capability to track interpretation services provided to LEP individuals by searching the Registry for
  the languages utilized.” We requested this information for each of the FRCs, including: a.
  languages utilized; b. situations covered; and c. whether the interpretation was live or via
  telephone. But ICE declined to answer those questions, deeming them – incorrectly, we think –
  outside the committee’s scope.
  Recommendation 5-27: ICE should notify all detainees – using resident handbooks and signs
  posted in medical clinics for those who read Spanish or English, and orally in a language that
  others understand – that they have a right to language-related services needed to
  meaningfully access medical and mental health care.
  Recommendation 5-28: ICE should attempt to meet most FRC detainees’ need for Spanish-
  language medical and mental health services by adjusting its staffing decisions to prioritize
  Spanish-language skills among medical and mental health staff.
  Recommendation 5-29: ICE should audit the medical and mental health encounters of
  detainees who speak indigenous languages, to see how their language access needs are being
  met. Whenever the audits reveal a problem, ICE should promptly develop particular policy,
  resource, or training solutions.
          J. Discipline
  The FRC disciplinary process is to be used only “as a last resort.” 231 But if a detainee’s alleged
  misconduct is made the subject of formal discipline, a multi-step process ensues. First, there is an
  investigation. Next comes a hearing either before a Management Review Committee or – for more
  serious offenses or on referral by the Management Review committee – before an Executive
  Review Panel. Then the facility administrator reviews the findings of the Executive Review Panel.
  Finally, there are avenues of appeal.




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      Plaintiff’s Exhibits in Support of Motion to Enforce Settlement and for Appointment of Special Master Part 6:
  Exhibits 48-69, Exh. 62 (Decl. of Jessica Gorelick), ¶ 7, Flores v. Johnson, No. 2:85-cv-04544 (C.D. Cal. May 19,
  2016), www.clearinghouse.net/chDocs/public/IM-CA-0002-0024.pdf.
  230
      Cf. 45 C.F.R. § 92.201, https://www.federalregister.gov/documents/2016/05/18/2016-11458/nondiscrimination-in-
  health-programs-and-activities.
  231
      Karnes Resident Handbook, supra note 186, at 10.


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  ICE’s Family Residential Standard 3.1 (Discipline and Behavior Management) 232 provides that
  “The Facility Administrator (FA) or designee shall, upon the resident’s request, assign a staff
  representative to help prepare a defense. This help will be automatically provided for illiterate
  residents, residents with limited English-language skills, and residents without means of collecting
  and presenting essential evidence.” It also states more generally that “Where required, residents
  have regular access to translation services and/or are provided information in a language that they
  understand.”
  However, the FRCs’ practice is apparently inconsistent with these requirements. All three resident
  handbooks tell detainees that they have a right to have an interpreter present during hearings before
  the Management Review Committee and the Executive Review Panel. 233 This is useful, but
  insufficient and non-compliant with the ICE standard. First, no mention is made of the right to
  interpretive and translation services prior to the hearing, although that is clearly required by
  Standard 3.1. Second, there is no notice given of the right to a staff representative, to assist
  detainees to prepare a defense, again, clearly required by Standard 3.1.
  Recommendation 5-30: ICE should ensure that FRC policy and practice is to provide limited
  English proficient detainees needed translation and interpretation services not only during
  disciplinary hearings but during investigations as well. Detainees should be notified of their
  entitlement to such services in the resident handbook and by other orientation methods.
  Recommendation 5-31: ICE should ensure that FRC policy and practice is to automatically
  assign LEP detainees facing disciplinary charges a staff representative to help prepare a
  defense. If the staff representative needs interpretation services to talk to the resident, these
  should be provided.
  Recommendation 5-32: ICE should conduct audits of disciplinary proceedings and
  investigations involving non-Spanish speakers, to ensure that language assistance is being
  used.
          K. Release
  ICE declined to share with us any information about resident release conditions or processes,
  including language access services. Many NGOs have complained that detainees who are released
  do not receive effective communication of their release conditions or options, including, for non-
  Spanish speakers, instructions in a language they understand about when and where to appear in
  court. 234 Released individuals are often confused about their simultaneous obligations to report to
  both ICE and the court. This is a problem that can be solved going forward by better language
  access practices. But some detainees who were already released without effective communication
  about their court appearance requirements were then ordered removed in absentia. They need a
  backward-looking remedy.



  232
      U.S. IMMIGRATION & CUSTOMS ENFORCEMENT, ICE/DRO RESIDENTIAL STANDARD 3.1 DISCIPLINE AND BEHAVIOR
  MANAGEMENT (Dec. 21, 2007), www.ice.gov/doclib/dro/family-
  residential/pdf/rs_discipline_and_behavior_management.pdf.
  233
      Berks Resident Handbook, supra note 186, at 24; Dilley Resident Handbook, supra note 186, at 55–56; Karnes
  Resident Handbook, supra note 186, at 12.
  234
      See, e.g., CARA Complaint, supra note 180, at 7.

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  Recommendation 5-33: DHS should ensure that all detainees are given clear instructions in a
  language they understand well (ideally their primary language) – written as well as oral –
  about their release obligations and options. To facilitate understanding, the materials should
  include easy-to-follow visual indications that explain the simultaneous obligations to report
  to both ICE and the court. Release materials should also include information (telephone
  numbers, websites, and the like) in a language a detained individual understands well to
  assist with language access for immigration encounters and proceedings after the resident
  arrives to her post-release community, as well as information about services to assist victims
  of sexual abuse, assault and human trafficking.
  Recommendation 5-34: DHS should audit the language services used for limited English
  proficient individuals – including, particularly, non-Spanish speakers – in communicating
  with them about their release to ensure that detainees are receiving communication in a
  language they understand well, and should implement resources, training, and other
  supervision to improve language access as the audit reveals various needs.
  Recommendation 5-35: DHS should review the files of indigenous language and other non-
  Spanish speakers who have been issued in absentia removal orders. If no language access
  services were provided to ensure that the conditions of release were communicated to the
  former detainee in a language she could understand, DHS should reopen the immigration
  proceeding, without waiting for a request.
             L. Training
  The DHS Language Access Plan explains that there are three components to language access:
             (1) providing the necessary language assistance services; (2) training staff on
             policies and procedures; and (3) providing notice of language assistance services. 235
  Our recommendations above cover the first and third of these components. We are, unfortunately,
  less able to offer feedback with respect to training, because ICE has declined to share with us the
  necessary information. In particular, ICE was unwilling to share its training documentation and
  materials with us. We were informed, merely: “ICE Staff are provided with language access
  training during orientation and refresher training annually,” and “Headquarters IHSC is
  formalizing training, specific to healthcare services and is on track to be released by the end of
  FY16.” ICE further took the unfortunate – and in our view incorrect – position that the language
  access training provided to volunteers and contractors – the latter of whom have nearly constant
  contact with FRC detainees – was outside the scope of the Committee’s work.
  Accordingly, we do not know if contractors, in particular, receive any training at all on language
  access obligations, and we are unable to assess the quality of any ICE or IHSC training that is
  provided. We are therefore unable to offer little more than general recommendations:
  Recommendation 5-36: DHS should ensure that ICE staff, IHSC staff, contractors and
  volunteers receive high quality training on language access requirements and procedures,
  with an emphasis on application of the policies to particular situations where they are likely



  235
        DHS Language Access Plan, supra note 163, at 3.

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  to arise, and on how to communicate effectively with detainees who do not speak English,
  and with detainees who speak neither English nor Spanish.
  Recommendation 5-37: DHS should share with this Committee or (if the Committee is no
  longer in operation) with stakeholder groups the orientation and refresher language training
  provided ICE staff, the IHSC training currently in development, and any training provided
  FRC contractors, in order to obtain feedback.
            M. Quality Monitoring and Improvement
  ICE has already undertaken to develop systematic assessment and quality improvement tools. The
  ICE Language Access Plan, which was finalized a year ago, includes three relevant provisions:
        •   “During initial processing, ICE, through ERO, identifies the LEP individuals in custody for
            whom language services are not readily available, as well as the points of interaction
            requiring language services. As of March 2015, the following Mayan dialects are
            represented within the ICE family residential facilities: Quiche (K’iche), Mam, Achi, Ixil,
            Awakatek, Jakaltek (Popti), and Qanjobal (K’anjob’al). Efforts are currently underway to
            improve the language services provided in ICE residential facilities including identifying
            vendors through ICE’s existing Language Services Blanket Purchase Agreement that can
            provide interpretation services to indigenous speakers.” 236
        •   “ERO [Enforcement and Removal Operations] will develop an LEP assessment tool to
            assess language access procedures as well as the effectiveness of LEP interventions for the
            detainee.” 237
        •   “ODCR [Office of Diversity and Civil Rights] will facilitate the establishment of a plan for
            monitoring the quality and effectiveness of current language service programs and
            activities within ICE. The plan will include assessing the effectiveness of the use of tools
            such as “Tips on Working with Interpreters” and training as needed based on the results of
            the monitoring.” 238

  Unfortunately, in the year since ICE’s Language Access plan was finalized, it seems little progress
  has been made. We asked questions about each of these items and received no information about
  any improvements. Rather, ICE informed us that the assessment tool “is not yet developed,” that
  the quality monitoring plan is “not yet finalized.” In response to the question “what is the status of
  the efforts to improve the [telephonic] language services?” ICE stated only that “ICE has access to
  language lines with a wide range of languages available.”
  As we have emphasized throughout this Part, ICE is unlikely to be able to improve language
  access services if it does not systematically self-monitor its needs, successes, and challenges.
  Recommendation 5-38: ICE should complete and solicit public comment on its LEP
  assessment tool and language access quality monitoring plan. These should include criteria
  for prevalence of a language in a given population that justifies translation of orientation and



  236
      ICE Language Access Plan, supra note 164, at 10.
  237
      Id. at 15.
  238
      Id. at 16.

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  other documents. The quality monitoring plan should include systematic solicitation of
  anonymous feedback from detainees.




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  6.    MEDICAL, MENTAL HEALTH AND TRAUMA-INFORMED CARE

  In the past three years, thousands of women and children apprehended on the southwestern border
  fled from violence in their native countries of Honduras, Guatemala, and El Salvador, seeking
  humanitarian protection in the U.S. Despite efforts to deter immigration from these countries,
  unaccompanied children and families (mainly mothers and children) continue to brave the
  treacherous journey to a safer location. Many have endured domestic violence, sexual assault, rape,
  and threats to their lives. 239 Women interviewed by the United Nations High Commissioner on
  Refugees reported being victims of extortion and further sexual and physical assaults on the
  journey. 240 It is within this context that families arrive at the Family Residential Centers (FRCs),
  traumatized and coping with the separation from family members and friends. Newly arrived
  families at the FRCs are in need of health, mental health, and victim services provided by
  professional staff trained in trauma-informed care.
  The families residing in the FRCs are in civil immigration detention. They are not being held as a
  result of criminal arrests or convictions and in fact the current policy is that anyone with a criminal
  background may not be detained in an FRC. They should not be treated as criminals, particularly
  when it comes to access to critical health, mental health, and victim services. The U.S. government
  has an obligation to provide them trauma-informed medical, mental health, and victim services.
  These services should never be withheld to correct behavior or as punishment to any person
  detained by the U.S. government.
  Detention in and of itself has been found to be traumatizing and have significant mental and
  physical health consequences. 241 The indefinite nature of immigration detention may trigger a
  profound sense of powerlessness and loss of control, contributing to additional severe and chronic
  emotional distress for asylum seekers. 242 Detaining families undermines family relationships in
  very damaging ways – for example, adult detainees’ ability to parent is compromised because they
  lose authority in the eyes of their children (and in reality); parents are unable to protect their
  children from guards or outside authorities; children blame their parents for being locked up; the
  stress, fear and powerlessness has a direct effect on children’s behavior and simultaneously
  undermines parents’ ability to address that behavior. 243 Children are especially impacted;


  239
      UNITED NATIONS HIGH COMM’R FOR REFUGEES, WOMEN ON THE RUN: FIRST-HAND ACCOUNTS OF REFUGEES
  FLEEING EL SALVADOR, GUATEMALA, HONDURAS, AND MEXICO (October 2015),
  http://www.unhcr.org/5630f24c6.html [hereinafter UNHCR, WOMEN ON THE RUN]; Krista M. Perreira & India
  Ornelas, Painful Passages: Traumatic Experiences and Post-Traumatic Stress Among Iimmigrant Latino Adolescents
  and their Primary Caregivers, 47 INT’LMIGRATION REV. 28, 43 (Dec. 2013).
  240
      UNHCR, WOMEN ON THE RUN, supra note 239.
  241
      See, e.g., Guy J. Coffey, et al., The Meaning and Mental Health Consequences of Long-Term Immigration
  Detention for People Seeking Asylum, 70 SOC. SCI. & MED. 2070 (2010); see also U.S.
  COMM’N ON INT’L RELIGIOUS FREEDOM, REPORT ON ASYLUM SEEKERS IN EXPEDITED REMOVAL (2005).
  242
      CTR. FOR VICTIMS OF TORTURE, TORTURED & DETAINED: SURVIVOR STORIES OF IMMIGRATION DETENTION (2015),
  http://www.cvt.org/sites/cvt.org/files/Report_TorturedAndDetained_Nov2013.pdf.
  243
      LUTHERAN IMMIGRATION & REFUGEE SERV. (LIRS) & WOMEN’S REFUGEE COMM’N (WRC), LOCKING UP
   FAMILY VALUES: THE DETENTION OF IMMIGRANT FAMILIES (2007), http://lirs.org/wp-
  content/uploads/2012/05/RPTLOCKINGUPFAMILYVALUES2007.pdf; LUTHERAN IMMIGRATION & REFUGEE SERV.
  & WOMEN’S REFUGEE COMM’N, LOCKING UP FAMILY VALUES AGAIN (2014),
  https://www.womensrefugeecommission.org/resources/document/1085-locking-up-family-values-again.


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  international research has found that the unique vulnerabilities of children place them especially at
  risk of health and development issues even if the detention is for short periods. 244 It is crucial that
  the environment of the FRCs be normalized in order to continue to maintain the normal parent-
  child relationship and to avoid destabilization of the family.
  The fact that mothers and their children have suffered trauma in their home countries and often
  have suffered additional abuse, sexual assault, and victimization on their journey amplifies and
  exacerbates the negative impact of FRC detention. For the overwhelming majority, the persecution
  suffered by the child or adolescent has taken the form of violence – either through physical
  violence the child or adolescent suffered themselves or through exposure to violence against close
  family members and friends. 245 Even more significantly, a substantial body of psychological and
  physiological research shows that childhood or adolescent exposure to trauma and/or violence
  negatively impacts cognitive, social, and biological development. 246 Moreover, neurobiological
  studies show that the impact of trauma on children’s brain development is not just measured by
  diagnoses of post-traumatic stress disorder (PTSD) or other psychiatric diagnoses; in fact, research
  indicates that the physical development of the human brain is negatively impacted when a child or
  adolescent faces maltreatment or violence, particularly when such trauma is long-term or
  continuing. 247 The endogenous chemicals that stimulate the emotional centers of the brain and the
  "fight or flight" response have a counter effect on the frontal lobes, reducing activity in those
  lobes, which are the most important brain areas regarding executive functions. 248 In essence, child
  trauma victims' brain development and abilities will be developmentally behind children or
  adolescents of the same age without such a history of trauma, and these difficulties will have long-
  lasting impacts. All of these difficulties are amplified for children in FRCs by the continuing
  traumatic impact of detention.
  Thus, since the majority of the detainees are children, special consideration of the best interests of
  children should be taken in all aspects of care for this vulnerable group. 249 Studies have shown
  negative physical and emotional symptoms among detained children 250 and experts have


  244
      INT’L DETENTION COAL., CAPTURED CHILDHOOD 1, 50 (2012), http://idcoalition.org/wp-
  content/uploads/2012/03/Captured-Childhood-FINAL-June-2012.pdf.
  245
      See Krista M. Perreira, Painful Passage: Traumatic Experiences and Post-Traumatic Stress Among Immigrant
  Latino Adolescents and Their Primary Caregivers, 47 INT’L MIGRATION REV. 976 (2013); see also UNHCR, WOMEN
  ON THE RUN, supra note 239; NAT’L CHILD TRAUMATIC STRESS NETWORK, UNACCOMPANIED MIGRANT CHILDREN
  (2014), http://www.nctsn.org/sites/default/files/assets/pdfs/um_children.pdf.
  246
      See, e.g., J. Cobb. Scott, et al., A Quantitative Meta-Analysis of Neurocognitive Functioning in Posttraumatic Stress
  Disorder, 141 PSYCH. BULL. 105, 113 (2015).
  247
      See, e.g., Vidanka Vasilevski & Alan Tucker, Wide-Ranging Cognitive Deficits in Adolescents Following Early Life
  Maltreatment, 30 NEUROPSYCHOLOGY 239, 241(2016).
  248
      See, e.g., John Best et al., Executive Functions After Age 5: Changes and Correlates, 29 DEVELOPMENTAL REV.
  180, 187-8 (2009).
  249
      SUBCOMM. ON BEST INTERESTS OF THE INTERAGENCY WORKING GRP. ON UNACCOMPANIED & SEPARATED
  CHILDREN, FRAMEWORK FOR CONSIDERING THE BEST INTERESTS OF UNACCOMPANIED CHILDREN 1, 5-6 (2016) (“The
  Framework developed by the Interagency Working Group seeks to ensure consideration of the best interests of
  unaccompanied immigrant children . . . This Framework envisions consideration of the best interests of the child from
  the moment the child is identified by federal officials as unaccompanied until there is a durable solution.”
  250
      Ann Lorek et al., The Mental and Physical Health Difficulties of Children Held Within a British Immigration
  Detention Center: A Pilot Study, 33 CHILD ABUSE & NEGLECT 573, (2009); Rachel Kronick, Cécile Rousseau, & Janet
  Cleveland, Asylum-seeking Children's Experiences of Detention in Canada: A Qualitative Study, 85 AM. J.


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  concluded that even brief detention can cause psychological trauma and induce long-term mental
  health risks for children. 251 Given the potential to re-traumatize children under the custody of the
  FRCs, specialized precautions should be taken.
  Medical and mental health care delivered at the FRCs must comply with applicable state and
  federal regulations and with ICE Family Residential Standards. In addition, the FRCs must adhere
  to applicable sections of ICE’s most recent version of Performance Based National Detention
  Standards (PBNDS 2011) where these standards provide a higher level of care for the detainees.
  All contractors that the ICE Health Service Corps enlists must adhere to the above standards. For
  the recommendations outlined in this Part, the Committee reviewed both sets of standards, as well
  as the best practices in the fields of medicine, mental health, victim services, and trauma-informed
  care. Where data and reports on the actual provision and staffing of the services were not provided
  for ACFRC review, recommendations are based on best practices in the field. Each
  recommendation reflects the most appropriate standard, and when the Family Residential
  Standards and/or the PBNDS 2011standards are not aligned with best practices or nationally
  recognized professional standards, they should be rewritten. (In addition, as ICE revises its
  standards over time, it should always be the case that the FRCs follow whatever standard imposes
  the highest level of care for detainees.)
  Recommendation 6-1: ICE should update the Family Residential Standards to include all of
  the additional protections, medical treatment, and opportunities for assistance included in
  the PBNDS 2011, without shrinking any existing Family Residential Standard requirements.
  In the many areas in which both the PBNDS 2011 and the Family Residential Standards are
  inadequate and not aligned with current best practices in the medical, mental health, and
  trauma fields, ICE should update both sets of standards to include these best practices.
          A. Medical Assessment and Care
  Medical screenings for certain medical conditions are fundamental in any basic medical service
  system. The selection of medical screenings/tests should be directly related to age group, country
  of origin and infectious disease exposure. All detainees transferred to ICE custody who were
  previously in held by Customs and Border Protection (CBP) will have arrived at the FRC with
  medical records transferred to ICE from CBP. Both adults and children may have received some
  medical screening while in CBP custody. FRCs will need to include the medical or mental health
  information received from CBP in the medical and mental health records created for the detainee at
  the FRC. FRC medical and mental health staff will also need to review those medical records as
  part of their assessment and screening of detainees’ health care needs in the same manner as they
  should review any medical records the detainee brought from their home country. All medical
  records sent from CBP and copies of the medical records the detainee brought from their home
  country should be included as part of the detainees’ full FRC medical/mental health record.
  Detainees should be provided full and complete copies of their records upon release and medical
  records should also be accessible to detainees and any medical providers or legal representatives


  ORTHOPSYCHIATRY 287, 291 (2015); Sarah Mares & Jon Jureidini, Psychiatric Assessment of Children and Families
  in Immigration Detention--Clinical, Administrative and Ethical Issues, 28 AUSTL. & N.Z. J. OF PUB. HEALTH 520
  (2004).
  251
      SOC’Y FOR CMTY. RESEARCH AND ACTION, Policy Statement on the Incarceration of Undocumented Migrant
  Families, 57 AM. J. COMMUNITY PSYCHOL. 255 (2016).

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  with proper HIPAA release forms that detainees are to be provided full access to post-during their
  stay in detention and post release.
                Essential Health Care Screenings
  There are several important sources that list what health care screenings should be offered to
  detainees. The U.S. Department of Health and Human Services (HHS) has published a chart of the
  health screenings that are recommended for women. 252 The Centers for Disease Control and
  Prevention (CDC) has published sexually transmitted disease (STD) and HIV screening
  recommendations. 253 The general detention standards PBNDS 2011 require that “preventative
  services specific to women shall be offered for routine age appropriate screenings, to include
  breast examinations, pap smear, STD testing and mammograms.” 254
  The current Family Residential Standard on Sexual Abuse and Assault Prevention and Intervention
  states, “Provision is made for testing for sexually transmitted diseases (e.g., HIV, gonorrhea,
  hepatitis, and other diseases and counseling, as appropriate).” 255 This could, unfortunately, be
  interpreted to allow rather than require medical staff to offer STD and HIV testing to sexual assault
  victims; perhaps that is part of the reasons FRC medical staff appear to be authorizing STD testing
  only for detainees who exhibit symptoms.
  Recommendation 6-2: All appropriate health screenings and tests should be offered to
  detainees, free of charge. This includes health screenings and tests recommended by the CDC
  and HHS, as well as the preventative health services required by PBNDS 2011; more detail is
  included in subsequent recommendations. To facilitate access to all of the health screenings
  listed below, ICE and the FRCs should either provide the screenings and tests or contract
  with nearby federally qualified health centers and/or organizations that provide mobile
  health screenings. Consent laws of the state in which the FRC is located should govern
  patient consent, including parental consent for testing children and adolescents.
  Recommendation 6-3: All FRC detainees should receive medically indicated health
  screenings and tests including any tests or screenings indicated by a thorough medical
  history or other information provided by the detainee verbally or through documentation:
        a) All women should be offered: breast examinations, mammograms, pelvic
           examinations, pap smears, blood pressure tests, cholesterol tests, and diabetes
           screenings.
        b) Women age fifty or older, should receive bone mineral density tests and colorectal
           cancer screening.

  252
      U.S. DEP’T OF HEALTH AND HUMAN SERVICES, OFFICE OF WOMEN’S HEALTH, Screening Tests for Women (2013),
  http://www.womenshealth.gov/publications/our-publications/screening-tests-for-women.pdf.
  253
      CENTERS FOR DISEASE CONTROL AND PREVENTION, STD & HIV Screening Recommendations (2016),
  http://www.cdc.gov/std/prevention/screeningreccs.htm.
  254
      U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT, 2011 ICE PERFORMANCE-BASED NATIONAL DETENTION
  STANDARDS (2012), https://www.ice.gov/doclib/detention-standards/2011/pbnds2011.pdf [hereinafter PBNDS 2011],
  at 306.
  255
      U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT, FAMILY RESIDENTIAL STANDARD 2.7, SEXUAL ABUSE AND
  ASSAULT PREVENTION AND INTERVENTION 7, https://www.ice.gov/doclib/dro/family-
  residential/pdf/rs_sexual_assault_prevention-intervention.pdf.


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        c) Adults and adolescents over age 13 should be offered STD testing, including for
           Chlamydia, Gonorrhea, Syphilis, Hepatitis B, Hepatitis C, Human Papillomavirus
           (HPV), Trichomonas, 256 and HIV.
        d) Medical screening tests should be administered to each adult and child detainee based
           on the infectious diseases endemic in their country of origin or in countries through
           which they may have travelled en route to the U.S. The World Health Organization
           (WHO) 257 provides up-to-date information on relevant infectious diseases that are
           endemic internationally.

  Recommendation 6-4: FRC medical providers should continue to offer pregnancy tests to
  every female of child-bearing age who is newly detained at an FRC. In addition, all requests
  for a pregnancy test during the period of detention should be promptly granted. Vaccines
  related to pregnancy should be offered pursuant to CDC guidelines and all states recognize
  adolescents right to consent for sexuality care including laws governing age of consent of
  adolescents for pregnancy and STD testing. Additional screening for pregnant women,
  including for anemia, gestational diabetes, Rh incompatibility, urinary tract infection, and
  cystic fibrosis should be provided. 258 Pregnant women should always be offered lead
  protection or alternatives to x-ray screenings. ICE should comply with its recent Memo on
  the Identification of Pregnant Detainees, 259 and with guidelines laid out in the PBNDS 20011
  for women's health, including with respect to access to abortion, and should consider release.
  If detention continues ICE should ensure timely referral for appropriate pre-natal and
  medical care, reporting of detention to ICE Headquarters and continued review of the need
  to detain.
  Recommendation 6-5: Every potentially sexually active detainee (male or female), including
  any detainee who requests testing, and any detainee who may have been sexually assaulted
  either during detention or prior to detention – whether or not the assault took place in the
  U.S. – should be offered tests for sexually transmitted diseases (STDs), including HIV.
  Testing should be offered whether or not the detainee has a history of symptoms, pursuant to
  guidelines of the CDC for sexually assaulted women in order to identify, prevent, and treat
  STDs. 260




  256
      CENTERS FOR DISEASE CONTROL AND PREVENTION, Screening Recommendations and Considerations Referenced in
  the Treatment Guidelines and Original Sources, http://www.cdc.gov/std/tg2015/screening-recommendations.htm.
  (testing for Trichomonas is needed for detainees because of the nature of the detention setting and because of the high
  numbers of detainees who have experience and fled sexual assault in their home countries or have suffered sexual
  assault in route to the U.S.).
  257
      Common Infectious Diseases Worldwide, INFOPLEASE, http://www.infoplease.com/ipa/A0903696.html.
  258
      See How is Cystic Fibrosis Diagnosed?, NAT’L INSTITUTES OF HEALTH, NAT’L HEART, LUNG, AND BLOOD
  INSTITUTE, https://www.nhlbi.nih.gov/health/health-topics/topics/cf/diagnosis.
  259
      Thomas Homan, U.S. Immigration & Customs Enforcement, Memo: Identification and Monitoring of Pregnant
  Detainees (Aug. 15, 2016),
  https://www.ice.gov/sites/default/files/documents/Document/2016/11032.2_IdentificationMonitoringPregnantDetainee
  s.pdf.
  260
      CENTERS FOR DISEASE CONTROL AND PREVENTION, Sexual Assault and Abuse and STDs,
  http://www.cdc.gov/std/tg2015/sexual-assault.htm.

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  Recommendation 6-6: ICE should amend the Family Residential Standards to conform with
  Recommendations 6-1 through 6-4 and to meet the CDC’s guidelines for testing of sexual
  assault victims.
  Recommendation 6-7: All FRCs should offer all medical screenings and tests using a trauma-
  informed approach that recognizes that some exams, like pap smears, can re-traumatize
  victims of sexual assault. Medical screenings/tests should be conducted as a multi-part
  process. An educational video should be developed in English, Spanish, and other primary
  languages spoken by detainees that describes the testing and screening offered, and explains
  that there is no cost, how the testing is useful to adult detainees and their children, and the
  screening and testing process. The video should additionally explain that detainees will be
  informed of test results in a timely manner and provided with copies of the test results to
  take with them when they are released from detention. Finally, the video should inform
  detainees that they may choose not to have certain tests (e.g., pap smears) or can ask medical
  personnel to stop at any point during the screening/testing if they wish. For detainees who do
  not understand a language used in the video, qualified interpretive services should be
  provided.
  Recommendation 6-8: ICE should update the Family Residential Standards to include the
  following PBNDS 2011’s requirements relating to followup to sexual assault: 261
     a) “Prophylactic treatment, emergency contraception and follow-up examinations for
         sexually transmitted diseases shall be offered to all victims, as appropriate.”
     b) “Following a physical examination, a mental-health professional shall evaluate the
         need for crisis intervention counseling and long-term follow-up.”
  The detainee has the right to refuse treatment, counseling, and follow-up if she is competent,
  unless failure to receive such services poses an imminent danger to the detainee or others.
                Medical Screenings for Children
  The Family Residential Standards require every child in the FRCs to have a health assessment and
  physical exam done in the first 24 hours at the FRC. 262 Staff at both Dilley and Karnes indicated
  during the ACFRC visits that children are given a physical exam by a nurse, tested for tuberculosis
  (using a PPD test) and screened by measuring blood pressure, weight, and vital signs. For children
  without existing immunization records, and for children behind on their immunizations according
  to the records they brought from their home country, immunizations should be provided to protect
  the child and the general population according to the age-appropriate recommendations of the
  Centers for Disease Control and Prevention. 263
  Recommendation 6-9: In order to provide appropriate health care to each child detainee, a
  standardized screening and physical examination should be conducted to assess the child’s
  physical health based on medical standards. This examination should include a history taken
  from the child's parent, including any chronic illnesses or medications taken by the child; a
  review of any medical records or medicine the detainee has brought from his or her home


  261
      PBNDS 2011, supra note 254, at 160.
  262
      FAMILY RESIDENTIAL STANDARDS: MEDICAL CARE, supra note 307, at 2.
  263
      http://www.cdc.gov/vaccines/schedules/hcp/imz/child-adolescent.html

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  country, and a review of any medical records created for the detainee by Customs and
  Border Protection (CBP). The FRC pediatrician should review the child’s immunization
  records if the family brought copies with them from their home country; children without
  existing immunization records, and children behind on their immunizations according to
  their records, should receive age-appropriate immunizations recommended by the Centers
  for Disease Control and Prevention.
  Recommendation 6-10: All child detainees should be tested for tuberculosis. PPD should
  generally be used for children younger than 5 years old and IGRA (Interferon-Gamma
  Release Assays) for children 5 years and older. However, IGRA is preferred for children
  under 5 years old who have a history of BCG vaccine (as well as those with inconsistent
  follow-up), which covers the majority of children in family detention. 264
                Children’s Health Care
  Preventative care and health promotion are hallmarks of health care for children. The American
  Academy of Pediatrics’ Bright Futures Guidelines 265 provide the recognized standard for
  preventive care for children. The Family Residential Standard on Medical Care 266 closely follows
  the Bright Futures Guidelines. However, on the issue of the immediate needs of sick children, the
  only references in the standard is in the section about sick call. 267 This section provides no specific
  direction with respect to sick children, and the general procedure it outlines is problematic,
  because it offers no time frame for either triage or treatment. The PBNDS 2011 text is slightly
  better, stating that detainees can “freely request health care services,” and requiring triage within
  24 hours, and that medical personnel be contacted immediately for urgent situations.
  Parents and children should not have to wait 24 hours for treatment and should not have to wait for
  their health care needs to become urgent to receive quicker attention and treatment.
  Recommendation 6-11: Medical services by a licensed professional should be available 24
  hours per day, 7 days per week.
  Recommendation 6-12: The Family Residential Standards should be updated to include the
  provisions for Sick Call and Emergency Medical Services and First Aid from the PBNDS
  2011, modified to require response within two hours by a licensed medical professional to
  requests by parents for treatment of sick children. This two-hour triage response is in
  addition to the requirements in the PBNDS 2011 to needs for emergency medical services
  and first aid.
                Parents Accompanying Children Needing Hospital Care or Mental Health
                Residential Treatment


  264
       BCG vaccine rates are 88-96% for Guatemala, El Salvador, Honduras, and Mexico. See WORLD HEALTH
  ORGANIZATION, VACCINE-PREVENTABLE DISEASES: MONITORING SYSTEM 2016 GLOBAL SUMMARY,
  http://apps.who.int/immunization_monitoring/globalsummary.
  265
       AM. ACAD. OF PEDIATRICS, BRIGHT FUTURES, Recommendations for Preventive Pediatric Health Care (Jan. 2016),
  https://www.aap.org/en-us/Documents/periodicity_schedule.pdf.
  266
      See FAMILY RESIDENTIAL STANDARDS: MEDICAL CARE, supra note 307, at 2.
  267
       FAMILY RESIDENTIAL STANDARDS: MEDICAL CARE, supra note 307, at 17-18.


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  Current Family Residential Standards do not address the ability of a parent to accompany a child
  when offsite health care or mental health care in a hospital or other facility is needed. The
  American Academy of Pediatrics recommends that parents not only accompany children to the
  hospital but remain with them during their hospital stay as a best practice to improve health
  outcomes and involve families in medical decision making. 268 Family presence during health care
  procedures decreases anxiety for the child and the parents.
  ICE does recognize the fundamental rights of parents to make decisions concerning the care,
  custody, and control of their minor children without regard to the child’s citizenship as provided
  for and limited by applicable law. 269 But the Family Residential Standards do not specify if the
  FRC Non-Medical Emergency Trip Request and Approvals process can be used to allow parents to
  accompany their children for medical treatment that takes place outside the FRC. This process
  could be used for parents to accompany their children to offsite medical or mental health care.
  Whether children are alone or with a parent, the use of shackles or restraints should be avoided for
  both parent and child during medical visits, hospitalizations, and associated transport. Shackles and
  other similar restraints cause additional stress, and interfere with medical treatment and recovery.
  Recommendation 6-13: Parents should be allowed to accompany their child to a hospital or
  to another health facility and remain with the child for medical services that are provided
  outside the FRC.
  Recommendation 6-14: If a child is placed in a mental health treatment facility, parents
  should be given ready access to visit the facility to see their child and meet with the mental
  health providers as needed.
  Recommendation 6-15: Children and their accompanying parents should not be shackled
  during transport to hospitals and other health facilities or during treatment or resulting
  stays.
  Recommendation 6-16: When a detainee’s family member is provided medical or mental
  health care, ICE and the FRCs should provide information and support to the detainee in
  order to communicate what is happening and to avoid further traumatization. The family
  should be immediately reunited upon the patient’s release from medical care.
  Recommendation 6-17: When medical or mental health needs require separation of a
  detainee parent from a child for over 72 hours, ICE should consider the best interests of the
  child and should proceed under the policy developed pursuant to Recommendation 2-18.




  268
      COMM. ON HOSPITAL CARE AND INST. FOR PATIENT AND FAMILY-CENTERED CARE., Patient and Family Centered
  Care and the Pediatrician’s Role, 129 PEDIATRICS 394 (2012),
  http://pediatrics.aappublications.org/content/pediatrics/129/2/394.full.pdf.
  269
      U.S. Immigration and Customs Enforcement, Facilitating Parental Interests in the Course of Civil Immigration 1, 2
  (Directive 11064.1Aug. 23, 2013), https://www.ice.gov/doclib/detention-
  reform/pdf/parental_interest_directive_signed.pdf.


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                 Communicable Screening for the Zika Virus
  The CDC issues guidelines for screening for communicable diseases that are continually updated
  to reflect new and emerging diseases globally. The FRCs seem to be screening for Zika according
  to best practices set out by the CDC guidelines. 270
  Recommendation 6-18: All FRCs should continue to screen for Zika in accordance with best
  practices set out by current CDC guidelines. The FRCs should keep abreast of CDC
  guidelines in terms of screening for communicable diseases applicable to detainees. Any
  pregnant female who tests positive for Zika should be provided with appropriate counseling
  and any related follow-up services.
                 Sexual Assault, Domestic Violence, and Human Trafficking Screenings
  ICE and the FRCs routinely screen women and children for sexual assault and child abuse that
  occurred in detention, but do not routinely screen for victimization that occurred outside of
  detention. Specifically, none of the FRCs are screening for domestic violence, sexual assault, and
  child abuse that occurred prior to detention. Such screening should be part of any medical and
  mental health examinations conducted by FRC staff. HHS and the CDC include screening for
  domestic and sexual violence among the standard recommended best practices and services offered
  to all women in health care settings. 271 HHS has developed a recommended screening tool for
  healthcare providers to use to screen patients for human trafficking. 272 The most commonly used
  questionnaire to screen for sexual assault in health care settings was developed by the CDC and
  can be used for both adults and minors above the age of 13. (Below the age of 13, a minor is
  considered a child and children’s screening processes should be used. 273) The Substance Abuse
  and Mental Health Services Administration (SAMHSA) recommends an approach to screening
  that uses universal precautions that take into account the fact that someone who may have
  experienced violence will need help, support, and a screening process that accounts for and allows
  the trauma victim to understand the purpose of the screening and consent to the screening. When
  conducting screening for trauma the SAMHSA recommended approach uses a two-step process,




  270
      Centers for Disease Control and Prevention, Clinical Guidance for Healthcare Providers Caring for Pregnant
  Women 1 (Aug. 16, 2016), http://www.cdc.gov/zika/hc-providers/pregnant-woman.html.
  271
      CENTERS FOR DISEASE CONTROL AND PREVENTION, NAT’L CTR. FOR INJURY PREVENTION AND CONTROL, INTIMATE
  PARTNER VIOLENCE AND SEXUAL VIOLENCE VICTIMIZATION ASSESSMENT INSTRUMENTS FOR USE IN HEALTHCARE
  SETTINGS (Kathleen C. Basile, Marci F. Hertz, & Sudie E. Back, eds., 2007),
  http://www.cdc.gov/violenceprevention/pdf/ipv/ipvandsvscreening.pdf [hereinafter INTIMATE PARTNER VIOLENCE];
  see also Preventative Care Benefits for Women, HEALTHCARE.GOV, https://www.healthcare.gov/preventive-care-
  women.
  272
      U.S. DEP’T OF HEALTH AND HUMAN SERVICES, RESOURCES: SCREENING TOOL FOR VICTIMS OF HUMAN
  TRAFFICKING,
  http://www.acf.hhs.gov/sites/default/files/orr/screening_questions_to_assess_whether_a_person_is_a_trafficking_victi
  m_0.pdf [hereinafter SCREENING TOOL].
  273
      Jane Leserman, et al., Sexual and Physical Abuse History Questionnaire,
  http://www.karger.com/ProdukteDB/katalogteile/isbn3_8055/_98/_53/suppmat/p41-SPAHQ.pdf.


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  which first identifies patients who have experienced trauma in the past and second focuses on the
  symptoms the patient is experiencing related to the trauma. 274
  The American Academy of Pediatrics suggests to begin screening children over the age of three. 275
  ICE detention facilities should utilize distinct sexual assault screening processes for adults and for
  minors. Even though “[a]dolescents and young adults have the highest rates of sexual assault of
  any age group,” 276 children are much less likely to come forward about incidents of violence. The
  American Academy of Child and Adolescent Psychiatry and American Professional Society on the
  Abuse of Children have published a questionnaire and guidelines that can be used for screening
  practices. 277 The Department of Justice’s Office on Violence Against Women funded Teen Dating
  Violence Technical Assistance Center has issued recommendations for conducting sexual and
  domestic violence screenings for teen victims. 278
  The PBNDS 2011 requires that that “All detainees shall receive medical and mental health
  screenings, interventions and treatments for gender-based abuse and/or violence, including sexual
  assault and domestic violence.” 279 PBNDS 2011 requires that if the initial medical intake screening
  indicates recent sexual assault or violence, then an initial health appraisal shall be completed
  within 24 hours. 280 Additionally, the PBNDS 2011 recognizes that victims have both medical and
  mental health consequences of gender-based violence. 281
  Recommendation 6-19: FRCs should conduct an initial medical intake screening for sexual
  assault, domestic violence, child abuse, human trafficking, and gender-based abuse as part of
  the initial required medical and mental health screenings of all detainees over the age of
  three using a separate form for each detainee, adult and child.282
  Recommendation 6-20: The tools to be used by FRCs for screening should be selected from
  the following list:
        a) For domestic violence and/or sexual assault, ICE should use:




  274
       U.S. DEP’T OF HEALTH AND HUMAN SERVICES, CTR. FOR SUBSTANCE ABUSE TREATMENT, SMA 14-4816, TRAUMA
  INFORMED CARE IN BEHAVIORAL HEALTH SERVICES 92 (2014), http://store.samhsa.gov/shin/content//SMA14-
  4816/SMA14-4816.pdf.
  275
       Nancy Kellogg, et al., The Evaluation of Sexual Abuse in Children, 116 PEDIATRICS 506 (2005),
  http://pediatrics.aappublications.org/content/116/2/506.
  276
       Miriam Kaufman, Care of Adolescent Sexual Assault Victim American Academy of Pediatrics Committee on
  Adolescence, 122 PEDIATRICS 462-470 (2008),
  http://pediatrics.aappublications.org/content/pediatrics/122/2/462.full.pdf.
  277
       Kellogg, et al., supra note 275.
  278
       Mitru Ciarlante, A Development Approach to Working With Teens, (June 2008),
  http://www.breakthecycle.org/sites/default/files/A Development Approach to Working with Teen Victims.pdf.
  279
       PBNDS 2011, supra note 254, at 280.
  280
       Id. at 305.
  281
      Id. at 117. In the context of sexual assault, the PBNDS 2011 states “It is common for victims of sexual assault to
  have feelings of embarrassment, anger, guilt, panic, depression and fear several months or even years after the attack.
  Other common reactions include loss of appetite, nausea or stomach aches, headaches, loss of memory and/or trouble
  concentrating, and changes in sleep patterns.”
  282
       Kellogg, et al., supra note 275.


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              i.  one of the assessment instruments listed by the CDC in Intimate Partner
                  Violence and Sexual Violence Victimization Assessment Instruments for Use in
                  Healthcare Settings;
             ii.  screening tools developed by the National Health Resource Center on Domestic
                  Violence; 283 or
            iii. tools developed by Kaiser Permanente’s Family Violence Prevention
                  Program. 284http://www.cdc.gov/violenceprevention/pdf/ipv/ipvandsvscreening.pdf
        b) For human trafficking, ICE should use the HHS Screening Tool for Victims of Human
           Trafficking. 285
        c) For trauma victims, ICE should use tools developed by the National Technical
           Assistance Center on Trauma Informed Care (NCTIC); these include but are not
           limited to training videos on medical interviews of trauma victims.

  Recommendation 6-21: If the initial medical/mental health intake indicates that a detainee
  has suffered sexual assault, domestic violence, child abuse, human trafficking, or gender-
  based abuse, an initial health/mental health appraisal should be completed within 24 hours
  regardless of when the victimization occurred. That appraisal should comply with the
  following:
        a) All screening and appraisal for sexual assault, domestic violence child abuse, human
           trafficking, and/or gender-based abuse should be conducted in a private, safe
           environment.
        b) Mothers should be screened/appraised separately and without their children present.
           Mother should be offered the opportunity to have their children within their line of
           sight, in a nearby room, or to place the child in childcare – whichever the mother
           prefers.
        c) Information on gender-based violence and abuse obtained during screenings should
           be both noted in a detainee’s medical records and provided to the victim’s current
           and future attorneys in a manner that is HIPAA compliant and provides swift access
           to the screening results.
        d) ICE/FRC staff should not infer, assume, conclude, or note in medical or immigration
           records, that, because a detainee failed to self-identify during screening as a victim of
           violence, abuse, or trauma, the detainee is not a trauma victim.
        e) To ensure that detainee victims are connected with proper continued treatment and
           services, ICE/FRC staff should provide identified victims with information about
           their rights as crime victims, existing services statewide and nationwide, and safety
           planning for post-release.




  283
      https://www.futureswithoutviolence.org/health/national-health-resource-center-on-domestic-violence/National
  Health Resource Center on Domestic Violence, FUTURES WITHOUT VIOLENCE (2016),
  https://www.futureswithoutviolence.org/health/national-health-resource-center-on-domestic-violence.
  284
      Family Violence Prevention, KAISER PERMANENTE,
  https://share.kaiserpermanente.org/category/fvpp/?kp_shortcut_referrer=kp.org/domesticviolence.
  285
      SCREENING TOOL, supra note 272.


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                 Prison Rape Elimination Act Implementation
  When sexual assault occurs in detention, the response required by the Family Residential
  Standards 286 is substantially inferior to the response required by the PBNDS 2011. 287 The latter
  aligns more closely with the requirements of the DHS Prison Rape Elimination Act (PREA)
  regulation. In the PBNDS 2011, most sections of the existing Family Residential Standards
  language were updated and strengthened and many new requirements were added. Examples
  include:
        •   Adopting a “zero tolerance policy”
        •   Mandating that sexual assault forensic examination and evidence gathering be conducted
            by external independent and qualified health care personnel
        •   Providing a detailed description of sexual assault, which covers threats, intimidation to
            coerce sexual acts, and sexual harassment
        •   Mandating staff training on vulnerable populations, sexual assault definitions, sexual
            harassment, prohibitions on retaliation, requirements for maintaining privacy of reports and
            victims, and “how to ensure that evidence is not destroyed”
        •   Privacy and disclosure limitations protections
        •   Removing staff suspects from duties that require detainee contact
        •   Requiring disciplinary sanctions for staff, including termination
        •   Encouraging detainees to report sexual assault and abuse observed with guarantee of no
            punishment for reporting, no retaliation, no impact on detainees’ immigration case
        •   Notifying ICE/ERO immediately of any sexual assault/abuse reports
        •   Mandating posting of DHS produced posters on sexual assault awareness and hotline
        •   Maintaining/attempting to maintain a Memorandum of Understanding with community-
            based organizations with expertise serving victims of sexual assault
        •   Mandating that the FRC arrange forensic medical exams
        •   Requiring that victims’ future safety, medical, mental health, and legal needs are addressed

  DHS’s Prison Rape Elimination Act (PREA) rule confirms and strengthens these requirements. 288

  Recommendation 6-22: ICE and the FRCs should come into full compliance with the DHS
  PREA regulation and the PBNDS 2011’s Sexual Abuse and Assault Prevention and
  Intervention Section requirements; the Family Residential Standard is insufficient.
  Recommendation 6-23: FRCs should contract with an entity in the community that provides
  a coordinated community response to sexual violence, such as Sexual Assault Response




  286
      FAMILY RESIDENTIAL STANDARDS: SEXUAL ABUSE AND ASSAULT PREVENTION AND INTERVENTION, supra note
  255.
  287
      PBNDS 2011, supra note 254, at 150-77, 306.
  288
      See 6 C.F.R. Part 115.


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  Teams (SARTs) or Sexual Assault Response and Resource Teams (SARRTs) for forensic
  evidence collection, treatment and support. 289
  Recommendation 6-24: FRCs should transport recent victims of sexual assault to the
  contracted community-based program whether or not the recent sexual assault occurred in
  the FRC. Victims should not be required to have their children accompany them but should
  have that option if they are anxious about separation. If a child remains at the FRC while the
  mother is takes to the program, the child should be left with qualified childcare staff or with
  another parent of the mother's choice. The contracted programs should include victim
  advocate involvement and informed choice and should have standards for victim-centered
  sexual assault evidence collection that meet or exceed the following standards:
        a) U.S. Department of Justice, Office on Violence Against Women, National Protocol for
           Sexual Assault Medical Forensic Examinations: Adults/Adolescents, 290 and all
           updates.
        b) U.S. Department of Justice, Office on Violence Against Women, National Protocol for
           Sexual Assault Medical Forensic Examinations: Pediatric, 291 and all updates.

                 Communication of Medical Screening and Test Results
  How medical screening and test results are communicated to a detainee has important health and
  safety consequences. Some detainees fled their home country due to their own or their child’s rape,
  and others were raped during travel (either abroad or in the U.S.). A detainee may first learn
  through tests administered at the FRC that:
        •   She is pregnant due to the rape;
        •   She has contracted an STD or is HIV positive;
        •   Her daughter is pregnant or has contracted an STD or is HIV positive; or
        •   Her son has contracted an STD or is HIV positive.

  Mechanisms need to be implemented to ensure that information about test results are
  communicated to detainees, both while in detention and post release, in a manner that is
  confidential, safe, and secure, taking account of safety issues that may arise if husbands, mothers,
  fathers, or other family members learn about the pregnancy or STD test results. Delivery of test
  results should occur in a culturally competent way. 292



  289
      See National Sexual Violence Resource Center, Sexual Assault Response Team Development: A Guide for Victim
  Service Providers (2011), http://www.nsvrc.org/sites/default/files/Publications_NSVRC_Guide_SART-
  Development.pdf; End Violence Against Women International, Best Practices: SARRTs,
  http://www.evawintl.org/PAGEID7/Best-Practices/Resources/SARRTs.
  290
      U.S. DEP’T OF JUSTICE, OFFICE ON VIOLENCE AGAINST WOMEN, A NATIONAL PROTOCOL FOR SEXUAL ABUSE
  MEDICAL FORENSIC EXAMINATIONS: ADULTS/ADOLESCENTS (2d ed 2013),
  https://www.ncjrs.gov/pdffiles1/ovw/241903.pdf.
  291
      U.S. DEP’T OF JUSTICE, OFFICE ON VIOLENCE AGAINST WOMEN, A NATIONAL PROTOCOL FOR SEXUAL ABUSE
  MEDICAL FORENSIC EXAMINATIONS: PEDIATRIC (2016) https://www.justice.gov/ovw/file/846856/download.
  292
      See U.S. DEP’T OF HEALTH AND HUMAN SERVICES, OFFICE OF MINORITY HEALTH, WHAT IS CULTURAL
  COMPETENCY, http://www.cdc.gov/nchhstp/socialdeterminants/docs/what_is_cultural_competency.pdf.


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  FRC detainees should receive the same care and concern with respect to the delivery of
  information about results of medical/mental health testing as they would experience if they were
  receiving care from private or public providers in the community. That includes appropriate
  language access practices: for patients who have limited English proficiency, information about
  test result findings is provided in a language the patient understands well (ideally her primary
  language).
  In addition, privacy for adolescents (under 18) is important, particularly with respect to sex-related
  health care in all states adolescents must themselves consent to health care related to sexual
  activity, including the treatment of sexually transmitted infections, prenatal care, and contraceptive
  services. 293
  Recommendation 6-25: The results of medical and mental health screenings and tests should
  be delivered to detainees in a sensitive and HIPAA compliant manner. Specifically:
        a) Results should be delivered to detainees in a confidential location, outside of the
           presence of the detainees’ children, in a language the detainee understands well
           (ideally her primary language), and with the appropriate involvement of mental
           health professionals at the FRC.
        b) Information about pregnancy or test results that are positive for an STD or other
           disease or mental health condition should be delivered in a culturally competent
           manner as defined by the CDC 294 and should involve staff with expertise in trauma-
           informed care. Adolescents under 18 should receive information independent of their
           parent.
        c) Mechanisms should be implemented to ensure that information about test results are
           communicated to former detainees in a manner that is confidential, safe, and secure,
           and in compliance with HIPAA.
        d) In the case of victims of sexual assault and/or abuse perpetrated at the FRCs, victims
           should receive information about test results from the same external independent and
           qualified health care personnel who performed the testing or screening.

                 Dental Health
  Oral health is essential to general health and well-being. The link between general health and
  socio-economic status is well established. Poor oral health is not only associated with poor socio-
  economic status but also with deprivation. In both high and lower income countries, low socio-
  economic status is significantly associated with increased oral cancer risk. The CDC reports that
  more than 40% of children have teeth decay by the time they reach kindergarten. Parents should
  accordingly be taught strategies to prevent teeth decay in young children.




  293
      Aviva L. Katz, Sally A. Webb (Committee on Bioethics), Informed Consent in Decision-Making in Pediatric
  Practice, 138 PEDIATRICS (2016), http://pediatrics.aappublications.org/content/pediatrics/early/2016/07/21/peds.2016-
  1485.full.pdf,
  294
      CENTERS FOR DISEASE CONTROL AND PREVENTION, NCHHSTP Social Determinants of Health (Mar. 21, 2014),
  http://www.cdc.gov/nchhstp/socialdeterminants/definitions.html.


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  Recommendation 6-26: Adult and child FRC detainees should receive appropriate dental
  screening and care:
      a) A dental examination should be conducted of each adult and child as part of the
         FRCs’ general health examination at intake.
      b) For adults, dental care should adhere to the standards promulgated by the CDC 295
         and the American Dental Association. 296
      c) For children, dental care for children should adhere to standards promulgated by the
         American Academy of Pediatric Dentistry. 297

                Pharmaceutical Management
  Health care organizations have policies and procedures that determine how pharmaceuticals are
  managed. This includes a formulary, prescription practices, storage, and controlled substances.
  FRC pharmaceutical management is currently subject to the applicable Family Residential
  Standards, 298 which are much less specific and much less well-crafted than the PBNDS 2011. 299
  The PBNDS 2011 contains requirements regarding medications to be used for treatment of specific
  diseases and various national guidelines. For example, the PBNDS 2011 requires that TB must be
  treated medically following the guidelines set by the American Thoracic Society and the CDC and
  all medications currently approved for treatment of HIV/AIDS by the Food and Drug
  Administration must be available to detainees. 300
  Recommendation 6-27: Policies and procedures for pharmaceutical management should
  comply with national accreditation, such as JCHAO or NCQA, state laws, and licensure
  standards. The Family Residential Standards should be updated to include each of the
  requirements in the PBNDS 2011; to cover pharmaceutical management and medication
  requirements imposed by national accreditation surveyors such as JCHAO or NCQA; and to
  ensure continuing compliance with relevant State standards.
                Care of Pregnant Women
  In a memorandum to ICE Field Officers issued in August 2016, ICE explicitly states that if a
  pregnant detainee is not subject to mandatory detention or is eligible for parole following a
  positive credible fear interview, she will be released unless the Field Office Director determines
  that there are extraordinary circumstances. 301 The ACFRC agrees that pregnant women should not
  be detained in the FRCs. This policy is consistent with the information provided by ICE.



  295
      CENTERS FOR DISEASE CONTROL AND PREVENTION, Oral Health (Oct. 8, 2015)
  http://www.cdc.gov/oralhealth/basics/index.html.
  296
      AM. DENTAL ASS’N (ADA), Dental Standards, http://www.ada.org/en/science-research/dental-standards/.
  297
      AM. ACAD. OF PEDIATRIC DENTISTRY, 2015-2016 Definitions, Oral Health Policies, and Clinical Practice
  Guidelines, http://www.aapd.org/policies/.
  298
      See FAMILY RESIDENTIAL STANDARDS: MEDICAL CARE, supra note 307, at 10-11.
  299
      See PBNDS 2011, supra note 254, at 279, 281, 283, 284, 287-88, 295-96.
  300
      Id. at 283-85.
  301
      U.S. Immigration and Customs Enforcement Memorandum from Thomas Homan, Identification and Monitoring of
  Pregnant Detainees (Aug. 15, 2016),


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  Of course while a woman is in detention, she may become pregnant or find out that she is
  pregnant. In that case, she needs immediate counseling and access to the full range of reproductive
  health care options.
  Recommendation 6-28: Barring extraordinary circumstances, no pregnant woman or her
  children should be detained in an FRC.
  Recommendation 6-29: A detainee who is pregnant should be informed in a balanced
  manner by medical staff of all options – including raising the child herself, placing the child
  up for adoption, and terminating the pregnancy -- and the relevant risks of each option. 302
  Discussion of options should proceed with cultural awareness and sensitivity. An unwanted
  pregnancy always requires responsive and expeditious care. Pregnancy termination is
  generally to be performed as safely and as early in pregnancy as possible. ICE and FRC staff
  should be required to swiftly facilitate access to whatever option each woman chooses,
  including emergency contraception if medically appropriate and other pregnancy
  termination methods. Termination of pregnancy should not depend on whether or not the
  specific procedure is available on site. Each woman will decide what option to choose
  depending on her unique circumstances and preferences; this decision is to be made without
  undue interference by outside bodies, including governmental bodies.
                Emergency Medical Services and Procedures
  Every health care organization should have and comply with standards for providing emergency
  medical services. According to the Family Residential Standards, FRC staff should be “trained at
  least annually to respond to medical emergencies.” 303 The ACFRC was unable to verify during the
  FRC site visits that this standard was met. In other respects, the Family Residential Standards are
  significantly less detailed than the PBNDS 2011. 304
  Recommendation 6-30: ICE should amend the Family Residential Standards to include the
  PBNDS 2011 provisions relating to emergency medical services, and additional provisions
  required for national accreditation surveys. FRC medical emergency policies, procedures,
  services, and training should comply with national accreditation organization requirements,
  state laws, and licensure standards.
  Recommendation 6-31: In the case of the deteriorating physical or mental health of a
  detainee, FRCs should consider the possibility of release into the care of a hospital to
  stabilize the patient, followed by release to the community. Other possible options could be
  intensive out-patient care and utilization of stable housing services, depending on the needs
  of the detainee. In the event of hospitalization, when discharged the resident should be




  https://www.ice.gov/sites/default/files/documents/Document/2016/11032.2_IdentificationMonitoringPregnantDetainee
  s.pdf.
  302
      Am. College of Obstetricians and Gynecologists, College Statement of Policy: Abortion Policy (No. 2014),
  https://www.acog.org/-/media/Statements-of-Policy/Public/sop069.pdf?dmc=1&ts=20160921T1319339411.
  303
      See FAMILY RESIDENTIAL STANDARDS: MEDICAL CARE, supra note 307, at 15-19.
  304
      PBNDS 2011, supra note 254, at 278, 282, 286, 294-295, 306.


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  discharged to the community and provided with the same services, referrals, and legal rights
  information received had the individual been discharged directly from the FRC.
  See Part 6.B.2 for additional recommendations regarding deteriorating mental health conditions.

                Accreditation and Compliance with Joint Commission on the Accreditation of
                Health Care Organizations (JCAHO) Standards
  In order to provide the “safest, highest quality, best value health care across all settings,” 305 health
  organizations adopt certain health care standards; in most instances a health care organization will
  request that a national health care accreditation organization conduct an accreditation review as a
  strategy to assure the general public of its health care standards. There are multiple facets to a
  review or survey conducted by such an organization. These include but are not limited to patient
  rights and education, infection control strategies, medication management, prevention of medical
  errors, emergency preparedness, quality improvement and assurance strategies, and verification of
  the qualifications and competence of professional staff.
  Among the Joint Commission on the Accreditation of Health Care Organizations (JCAHO)
  Standards are the Ambulatory Care Standards and Behavioral Health Standards. The Family
  Residential Standards require compliance with JCAHO standards, including standards of hygiene,
  for environmental health conditions. 306 The Family Residential Standards also state that at FRCs
  “The health care program and the medical facilities shall be under the direction of a health services
  administrator (HSA) and shall be accredited and maintain compliance with the standards of the
  Joint Commission on the Accreditation of Health Care Organizations (JCAHO).” 307 Finally the
  Family Residential Standards state that, “All health care staff shall have valid professional licenses
  and/or certifications. DIHS shall be consulted to determine the appropriate credentials
  requirements for health care providers. Medical personnel credentialing and verification shall
  comply with the standards established by JCAHO.” 308
  Another national health care accreditation standard is the National Committee for Quality
  Assurance (NCQA), which could be an option for the FRC’s. Although best practices in the
  medical field and compliance with JCAHO require conducting accreditation surveys and require
  that such surveys be conducted on a regular basis, the Committee was unable to obtain information
  from ICE about the extent to which such surveys are being conducted at FRCs.
  As explained above, FRCs are required to follow PBNDS 2011 where the PBNDS 2011 provides
  more detailed guidance than the Family Residential Standards. The PBNDS 2011 requires that
  “All health care staff must be verifiably licensed, certified, credentialed, and/or registered in
  compliance with application state and federal requirements. Copies of documents must be



  305
      Joint Commission, Vision Statement, http://www.jointcommission.org/mobile/about_us.aspx.
  306
      U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT, FAMILY RESIDENTIAL STANDARDS 1.2, ENVIRONMENTAL
  HEALTH AND SAFETY 18, https://www.ice.gov/doclib/dro/family-
  residential/pdf/rs_environmental_health_and_safety.pdf.
  307
      See FAMILY RESIDENTIAL STANDARDS: MEDICAL CARE, supra note 307, at 5.
  308
      Id. at 11.


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  maintained on site and readily available for review.” 309 With regard to administration of the FRCs’
  medical departments, PBNDS 2011 requires that the Health Services Administrator for every FRC
  do the following: convene quarterly meetings with medical staff to account for the effectiveness of
  the health care program and recommend corrective actions, as necessary. The minutes of each
  meeting are to be recorded and kept on file. 310 The HSA is also required to implement a system of
  internal review and quality assurance and to implement an intra-organizational, external peer
  review program for all independently licensed medical professionals at least annually. 311 Thus, all
  FRCs are required to maintain information on medical and mental health staff credentials and
  licensing and keep records from its effectiveness and peer quality reviews. The ACFRC requested
  that ICE provide information about credentialing of medical/mental health professionals at
  facilities and compliance with JCAHO standards, but ICE declined to do so.
  Recommendation 6-32: Each FRCs should comply with health care accreditation standards
  issued either by JCHAO or NCQA. All professional staff should comply with credentialing
  standards of national and state accreditation and professional licensure bodies. This includes
  the requirement that accreditation surveys be conducted on a regular basis. 312 Maintenance
  of national accreditation standards should be part of any ICE contract or sub-contract
  relating to medical or mental health care.
  Recommendation 6-33: The Family Residential Standards should be amended to include the
  PBNDS 2011 requirement 313 that copies of documents verifying the licenses, certifications,
  credentials and/or registrations of medical and mental health personnel be maintained on
  site and readily available for review, and that personnel with restricted licenses may not
  provide health care at FRCs.
         B. Mental Health Assessment and Care
                Mental Health Screening
  The ICE medical evaluation forms include historical questions about past mental health conditions,
  history of trauma, and limited behaviors such as suicidal ideation. 314 But the FRC population has
  very limited health and mental health literacy, with little understanding or awareness of prior
  mental health conditions. Coupled with the lack of access to mental health services in their home
  countries and significant mental health stigma that interferes with self-identification or diagnosis,
  the result can be under-identification. Given similar stigmas in the U.S., accurate mental health
  screenings can be conducted using systematic, valid, and reliable screening tools that ask
  respondents about key symptoms that can then be scored to evaluate risk for possible psychiatric
  disorders. This approach has been used in emerging integrated behavioral health programs within
  primary care, where patients are asked to rate key symptoms described in these tools. Scoring these
  algorithms lead to assessment of risk for various diagnoses, and then further evaluation and

  309
      PBNDS 2011, supra note 254, at 288.
  310
      PBNDS 2011 supra note 254, at 301.
  311
      Id. at 301-302.
  312
      See generally JOINT COMMISSION, 2017 COMPREHENSIVE ACCREDITATION MANUALS. A JCHAO accreditation is in
  effect for up to three years.
  313
      PBNDS 2011, supra note 254, at 288.
  314
      Form IHSC-794, in PBNDS 2011, supra note 254, at 290.


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  treatment can be targeted efficiently and effectively. This screening approach integrated within
  primary care has also been used for children and has strong evidence of efficiency and beneficial
  outcomes for both populations, including improving access and reducing stigma for Latinos. 315
  In addition, Family Residential Standards require the FRCs to use the ICE Health Service Core
  Pediatric Intake Form (IHSC–795 J). 316 While this form provides some basic information on an
  immigrant child’s health and development, it does not include sufficient information, particularly
  with regard to the child’s development and mental health status. The American Academy of
  Pediatrics recommends conducting a mental health evaluation using a validated screening
  instrument, specific screening for trauma, and a developmental screen with an age-appropriate
  screening instrument for all immigrant children. 317
  Recommendation 6-34: All adult detainees should undergo systematic mental health
  screening using evidence-based tools immediately upon intake during their health screening
  and evaluation. The following tools should be used:
        a) Patient Health Questionnaire-9 item (PHQ-9, which screens for depression and
           suicidality) 318;
        b) General Anxiety Disorder 7-item (GAD-7, which screens for clinical anxiety);
        c) Mood Disorders Questionnaire (MDQ), which screens for bipolar disorder); 319
        d) CAGE-AID, which screens for both alcohol and substance abuse); 320 and
        e) Abbreviated Post-Traumatic Stress Check List (PCL), which screens for post-
           traumatic stress disorders. 321

  Recommendation 6-35: All child detainees should undergo systematic mental health
  screening using evidence-based tools immediately upon admission during their health
  screening and evaluation. Tools to be used should include:
        a) Pediatric Symptoms Checklist (PSC-35), for children ages 6 to 17;
        b) Survey of Wellbeing of Young Children (SWYC) for children 5 years old or younger;
           and



  315
      Jürgen Unutzer, et al., Collaborative Care Management of Late-Life Depression in the Primary Care Setting: A
  Randomized Controlled Trial, 288 J. AM. MED. ASS’N. 2863 (2002); Barry Sarvet, et al., Improving Access to Mental
  Health Care for Children: The Massachusetts Child Psychiatry Access Project, 126 PEDIATRICS 1191 (2010); Jeanne
  Miranda, et al., State of the Science on Psychosocial Interventions for Ethnic Minorities, 1 ANNUAL. REV. CLINICAL
  PSYCHOL. 113 (2005).
  316
       See FAMILY RESIDENTIAL STANDARDS: MEDICAL CARE, supra note 307, at 22.
  317
       AMERICAN ACADEMY OF PEDIATRICS, IMMIGRANT HEALTH TOOLKIT 4-5, https://www.aap.org/en-
  us/Documents/cocp_toolkit_full.pdf.
  318
       Kurt Kroenke, Robert Spitzer, & Janet Williams, The PHQ-9: Validity of a Brief Depression Severity Measure,
  16(9) J. GEN. INTERNAL MED. 606 (2001)
  319
       Christopher Miller, et al., Sensitivity and Specificity of the Mood Disorders Questionnaire for Detecting Bipolar
  Disorder, 81 J. AFFECTIVE DISORDER 167 (2004).
  320
       Richard Brown & L.A. Ronds, Conjoint Screening Questionnaires for Alcohol and Other Drug Abuse Criterion
  Validity in a Primary Care Practice, 94(3) WIS. MED. J. 135 (1995).
  321
       Kroenke, supra note 318; A.J. Lang & M.B. Stein, An Abbreviated PTSD Checklist for Use as a Screening
  Instrument in Primary Care, 43 BEHAVIOUR RES.& THERAPY 585 (2005).


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        c) CAGE-AID as a substance abuse screen for all youth 12 to 17 years of age.

  Recommendation 6-36: The FRCs should fully implement the guidelines for mental health
  screening embedded within the health screenings section in PBNDS 2011, as well as those
  listed above. 322 Validated Spanish versions should be used for Spanish speakers, and the tools
  should be administered orally for detainees who lack reading literacy. For those detainees
  whose primary language is neither English nor Spanish, all the screening tools should be
  translated into languages regularly used by FRC detainees (using the cutoff described in
  Recommendation 5-7), or communicated by oral interpretation by a qualified interpreter.
  The record should reflect in what language and how the tool was administered. The
  administration of mental health screening tools should be conducted by credentialed health
  care providers who are trained in culturally and developmentally appropriate interaction
  around their administration with detainees.
                 Mental Health Referrals and Response
  In the above-cited integrated and collaborative mental health care screening models, cut-off scores
  from screening tools are used to identify individuals in need of more in-depth mental health
  assessment. These assessments are typically conducted by a master’s level mental health
  professional, in consultation with a psychiatrist. 323 However, there should be capability for rapid
  response to individuals who demonstrate agitation or signs of psychosis, or who screen for
  suicidality. In the mental health clinical context, such evaluations lead to a comprehensive
  treatment and care plan that outlines needed interventions and professional responsibilities.
  Mechanisms for urgent and emergent mental health responses that are accessible at any time are
  critical when working with a population that is especially vulnerable to mental health related
  emergencies. Additionally, cultural competence in the delivery of all mental health services is key
  given the special origins and contextual circumstances of FRC families. 324
  This is an area in which the requirements currently contained in the Family Residential Standards
  and the PBNDS 2011 are inadequate; both are missing requirements that conform with best
  practices in the field.
  Recommendation 6-37: When a detainee’s mental health screening results indicate positive
  total scores or sub-scores or positive items on the historical screen within health forms, or a
  history of psychiatric symptoms or conditions, the detainee should be referred by the
  primary care provider conducting the screening for a comprehensive evaluation by qualified
  mental health professionals. These qualified health professionals may work either at the
  FRCs or at a community-based programs.
  Recommendation 6-38: Psychiatric evaluation of FRC detainees should at least conform to
  the outline in PBNDS 2011, 325 plus include a full psychiatric review of systems,
  developmental history, and collateral history (from the parent present for children), any
  prior treatment history, a full mental status examination, and a DSM-5 diagnostic

  322
      PBNDS 2011, supra note 254, at 292.
  323
      Unutzer, et al. supra note 315.
  324
      Andrés J. Pumariega, et al., Practice Parameter for Cultural Competence in Child and Adolescent Psychiatric
  Practice, 52(10) J. AM. ACAD. CHILD ADOLESCENT PSYCHIATRY 1101 (2013).
  325
      PBNDS 2011, supra note 254, at 292.

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  assessment. If the FRC does not have on staff a qualified mental health professional with
  expertise in using these instruments, the FRC should have a contract with a qualified mental
  health professional in the community who can conduct the evaluations described here. In
  particular:
         a) A detainee identified through the screening process should be seen by a qualified
            mental health professional within 24 hours of screening and within 72 hours of
            admission into the FRC.
         b) Referrals for mental health evaluation involving suicidality or psychotic symptoms
            should occur within 4 hours of identification.
         c) Detainees identified with mental health needs should all have a comprehensive
            treatment plan developed to meet their unique needs, with collaboration between the
            mental health professional, primary care physician, and psychiatrist outlining
            treatment modalities during detention and recommended treatment modalities and
            services upon release. The treatment plan should be a permanent part of the
            detainee’s health record and updated every 4 weeks if the detainee has a longer stay
            (for outpatient level care) and every week if the detainee is referred to more intensive
            services (such as inpatient care).

  Recommendation 6-39: Given the special origins and contextual circumstances of detained
  families, the comprehensive mental health evaluation and treatment plan needs to
  incorporate and address multiple cultural elements of cultural competence as outlined in the
  American Academy of Child and Adolescent Psychiatry, Practice Parameter for Cultural
  Competence in Child and Adolescent Psychiatric Care, for both adults and children. This
  should include linguistic support, cultural context of symptoms, impact of immigration
  trauma history, treatment selection, and parental involvement for children. 326
  Recommendation 6-40: FRCs should have on-site crisis response capabilities by masters (or
  higher) level therapists, including on-call response 24/7, possibly including after-hours tele-
  video accessibility. Detainees or detention staff should be able to access this resource 24/7
  without need for a prior mental health diagnosis or mental health treatment plan. This will
  facilitate the decision to call outside mental health crisis services.
  Recommendation 6-41: If the FRC cannot provide the appropriate level of mental health
  care, detainees should be transferred to receive that care in community.
         a) The Level of Care Utilization System (LOCUS, for adults) or Child and Adolescent
            Level of Care Intensity Instrument (CASII, for children 6 years of age and over)
            should be used to determine the appropriate level of care.
         b) If a detainee is determined to need an inpatient or residential level of care, he or she
            should be sent to inpatient services first for comprehensive evaluation and
            stabilization, then transferred to a residential mental health facility.
         c) If clinicians at the mental health facility believe that remaining in the FRC or
            returning to the FRC post-discharge would be deleterious to the detainee’s health,
            then ICE should release the detainee to a post-release community with the following:


  326
        Pumariega, supra note 324.

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             i.  safe and reliable transport to the post-release community;
            ii.  stable housing once the detainee arrives; and
           iii.  clear arrangements and appointments to receive the recommended level of
                 care in the post-release community (using the LOCUS or CASII to determine
                 level of care), arranged by ICE case management. ICE should collaborate with
                 any outside clinical facility in making these arrangements.
          Any minor released for mental health reasons should be accompanied by his/ her
          parent to a post-release community.

  Recommendation 6-42: ICE and FRC staff should receive crisis intervention training about
  on-site prevention and management of mental health crisis and agitation, and about
  formation of a behavioral rapid response team, including training on mental health
  restraints and medications for acute management. 327
  Recommendation 6-43: ICE should amend the Family Residential Standards on use of
  restraints to incorporate the provisions of the PBNDS 2011. 328 The FRCs should immediately
  follow the PBNDS 2011 both as to procedures and the substantive decision with respect to
  restraints.
  Recommendation 6-44: ICE should amend the Family Residential Standards to specify
  policies governing external mental health crisis services for detainees. Provisions should
  cover: communication with crisis mental health services and first responders (including,
  particularly local/state police); safe method for transport; appropriate interpretation
  services; procedures for communication of results and recommendations from crisis
  evaluations back to on-site mental health providers, and communication with an inpatient
  facility if a detainee is hospitalized. The standard should also require formal review of
  sentinel events (e.g., suicide attempts, episodes of agitation/ aggression, and psychotic
  episodes), including debriefing with all involved staff, root causes analysis, and practices
  improvement based on the review. FRCs should be required to develop specific procedures
  and training to implement the policy, including developing contacts in advance with external
  providers.
  Recommendation 6-45: ICE should treat detainees with mental health needs, including
  suicidality, in a non-punitive, therapeutic manner. Use of isolation cells or other isolated
  housing should be avoided for anyone exhibiting suicidality or symptoms of mental illness;
  any such use should be only in response to a threat to the physical safety of the detainee or
  others, if no other less restrictive option is appropriate, and for the shortest time practicable;
  and only if authorized by a mental health professional. 329 Use of isolation cells and
  segregation should particularly be avoided if such use would separate parents from their


  327
      COLLABORATIVE INSTITUTIONAL TRAINING INITIATIVE (CITI), https://www.citiprogram.org/.
  328
      See PBNDS 2011, supra note 254, at 297, 208-224. FAMILY RESIDENTIAL STANDARDS: MEDICAL CARE, supra note
  307, at 4, and FAMILY RESIDENTIAL STANDARDS 2.10: USE OF PHYSICAL FORCE AND RESTRAINTS 1-14,
  https://www.ice.gov/doclib/dro/family-residential/pdf/rs_use_of_force.pdf, are less robust.
  329
      See, e.g., CRISIS PREVENTION INST., JOINT COMMISSION STANDARDS ON RESTRAINT AND SECLUSION/ NONVIOLENT
  CRISIS INTERVENTION TRAINING PROGRAM (2010),
  https://www.crisisprevention.com/CPI/media/Media/Resources/alignments/Joint-Commission-Restraint-Seclusion-
  Alignment-2011.pdf.

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  children. In lieu of isolation cells, FRCs should practice a policy of heightened observance of
  at-risk detainees. In cases of suicidality or aggressive behavior, FRCs should institute special
  observations and therapeutic interventions, or, if the circumstances require, admit the
  detainee to a mental health facility.
                 Psychiatric Management and Pharmacotherapy
  In the above-cited integrated and collaborative care mental health care models, pharmacological
  treatment responsibilities are shared between the primary care physician (PCP) and psychiatrist
  using a stepped care model. Most patients with uncomplicated mental health problems managed by
  the PCP and the master’s level mental health professional (MHP) with available indirect
  psychiatric consultation; middle complexity patients are managed with some intermittent
  involvement of a psychiatrist with primary management by the PCP and MHP; and patients with
  more complex conditions are managed primarily by the psychiatrist and MHP with PCP input and
  involvement. Psychiatric formularies are often complex and can include a significant number of
  pharmacological agents, many at significant costs. However, there are well established
  pharmacotherapy treatment algorithms that take into account both clinical needs and cost-
  effectiveness. One of the most established national standards is the Texas Medication Algorithm
  Project (TMAP), sponsored by the Texas Department of Mental Health in conjunction with
  academic institutions in the state, 330 which provides both an evidence-based guide as well as
  readily available consultation for the FRCs. The TMAP standards are applicable nationally and the
  Texas Department of Mental Health routinely provides consultations to programs in any state on
  the TMAP and could provide such consultations to FRCs, without regard to the state in which the
  FRC is located. Given the ethnicity of the families detained in FRCs (with strong indigenous
  origin), ethno-pharmacotherapy considerations around dosing also requires special attention. 331
  Recommendation 6-46: All available formularies of psychiatric medications should follow the
  Texas Medication Algorithm Project (TMAP). 332 This nationally accepted professional
  standard should set the minimum requirements for the FRCs. Should state licensing laws or
  best practices of professional affiliations require compliance with standards of care that are
  higher than those contained in the TMAP, then FRC staff operating in the state should meet
  the higher standard. FRC medical providers, in collaboration with the psychiatric/
  behavioral health providers and the ICE Medical Director, should develop and reliably
  implement a collaborative care algorithm using a stepped care model. Such algorithm should
  at minimum include the following levels of care:
        a) Entry-level pharmacological treatment for depression or anxiety should be performed
           by primary care providers (PCPs), in collaboration with the on-site mental health
           professional serving the detainee.
        b) Management of detainees with moderate complexity mental health problems
           (including PTSD) should be managed jointly by the PCP and the consulting
           psychiatrist, in collaboration with the on-site mental health professional serving the
           detainee.


  330
      A. John Rush, William V. Rago, M. Lynn Crismon, et al., Medication Treatment for the Severely and Persistently
  Mentally Ill: the Texas Medication Algorithm Project, 60 J. CLINICAL PSYCHIATRY 284 (1999).
  331
      ETHNICITY AND PSYCHOPHARMACOLOGY (Pedro Ruiz, ed. 2000).
  332
      Rush et al., supra note 330.

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        c) Management of highly complex patients, including those with severe depression or
           anxiety, bipolar disorder, psychosis, and autism spectrum, should be overseen by a
           consulting psychiatrist, with PCP input, in collaboration with the on-site mental
           health professional serving the detainee.

  Recommendation 6-47: Criteria for psychiatric evaluation should include psychiatric
  evaluation under integrated behavioral health models, 333 guided by the above -mentioned
  stepped care algorithm and using offsite resources when the patient’s needs for stepped care
  cannot be managed by on-site primary care providers, mental health professionals, or
  psychiatrists at the FRC. Psychiatric evaluation and management can be conducted either
  live or via televideo; the latter should follow the applicable provisions of the Family
  Residential Standard, 334 PBNDS 2011, 335 and practice parameters for telepsychiatry from
  the American Psychiatric Association and the American Academy of Child and Adolescent
  Psychiatry. 336
  Recommendation 6-48: As recommended by the Texas Medication Algorithm Project, the
  FRCs should have “as clinically necessary,” psychiatric medication on formulary in the
  dispensary (including injectables as last resort to manage severe agitation). These should be
  used only for clinically necessary, not detention related, reasons.
  Recommendation 6-49: FRCs should be cautious about ethopsychopharmacology issues
  given the high percent of detained families from indigenous ethnic groups (who are often
  slow metabolizers of psychotropics). The Addendum to the Texas Medication Algorithm
  Project provides specific guidance on this issue. 337

                Credentials of Mental Health Professionals
  During the Committee's visit to the FRCs, we were introduced to individuals who were the
  behavioral health staff for each facility. However, when we asked to see their credentials these
  were not made available. Similarly, the Committee requested specific information about
  credentials, but ICE chose to provide only a general statement about the competency and skills of
  the on-site mental health professionals. Thus, we are unable to comment on the credentials of the
  available mental health professionals at the FRCs, which should be considerable given the
  complex needs of the detained families. The Family Residential Standard on Medical Care is fairly
  specific as to basic credentialing rules and documentation and availability of such credentials, but
  the credentialing process is not addressed, nor are added credentials needed for mental health
  professionals tied to their specific areas of therapeutic skill and competency.




  333
      Unutzer et al., supra note 315.
  334
      See FAMILY RESIDENTIAL STANDARDS: MEDICAL CARE, supra note 307, at 16.
  335
      PBNDS 2011, supra note 254, at 288-289, 292.
  336
      American Academy of Child and Adolescent Psychiatry, Telepsychiatry and Your Child (Apr. 2013),
  http://www.aacap.org/AACAP/Families_and_Youth/Facts_for_Families/FFF-Guide/Telepsychiatry-and-Your-Child-
  108.aspx.
  337
      ETHNICITY AND PSYCHOPHARMACOLOGY, supra note 331.


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  Recommendation 6-50: FRC should develop full credentialing procedures and standards as
  per the Joint Commission for Accreditation of Healthcare Organizations (JCAHO) 338 or the
  National Council for Quality Assurance (NCQA) standards, 339 state licensure
  requirements 340 and best practices. Facilities should comply with both national and state
  standards. If the state in which the FRC is located has higher standards in a given area, then
  the state standards should be followed. Further standards that should be applied include:
        a) Credentialing procedures should include original source verification of credentials
           (i.e., education, licensure for the state in which the FRC is located, added training and
           certificates). 341
        b) A Credentialing Committee for the FRC should review credentials and grant clinical
           privileges.
        c) Credentials should be specific to the scope of practice and procedures/practice for
           each level and type of professional.342
        d) Credentials should address the professional's language competency for clinical
           services, taking account that few detainees are proficient in English.
        e) Credentials should address the professional’s continuing education in cultural
           competence and cultural literacy and training around the populations at the FRCs. 343
        f) FRC therapists should have documented training in basic brief Cognitive Behavioral
           Therapy for depression and anxiety. 344
        g) Credentials of medical and mental health professionals should be on file and posted
           on the ICE website (with appropriate privacy protections for staff) and made
           available for inspection at each FRC by CRCL, Danya, and others. 345

  Recommendation 6-51: ICE should enter contracts for FRC mental health services with
  clinical entities that have established credentialing and quality assurance processes and can
  establish satellite offices within the FRCs. (In Texas, two possible options are the University
  of Texas Health Sciences Center in San Antonio and the Center for Health Care Services
  under Bexar County MHMR in San Antonio; in Pennsylvania, Reading Hospital and
  Medical Center, Lehigh Valley Health System, and Lancaster General Medical Center are
  potential partners.)
                  Psychotherapies
  The mental health needs of the families detained in the FRCs are complex, and can include both
  general psychiatric problems and problems resulting from traumatization by pre-immigration and
  immigration stresses, as well as detention itself. Effective mental health care should include
  evidence-based standard psychotherapy modalities, not only to treat depression and anxiety but


  338
       JOINT COMMISSION, 2017 COMPREHENSIVE ACCREDITATION MANUALS.
  339
       NAT’L COMM. FOR QUALITY ASSURANCE, Accreditation Programs,
  http://www.ncqa.org/Programs/Accreditation.aspx.
  340
       For more detail on state licensure, see Federation of State Medical Boards, https://www.fsmb.org/.
  341
       See FAMILY RESIDENTIAL STANDARDS: MEDICAL CARE, supra note 307, at 3.
  342
      Id.
  343
       Miranda et al. supra note 315.
  344
       Id.
  345
       See FAMILY RESIDENTIAL STANDARDS: MEDICAL CARE, supra note 307, at 5.

                                                            133
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  also to treat acute stress disorder and PTSD. Due to the uncertain length of custody, and often short
  stays in detention , interventions need to be short-term and time limited, but also build a
  foundation for future longer term psychological interventions.
  Recommendation 6-52: ICE should consider a detainee’s fragile health or mental health, and
  trauma experiences and potential re-traumatization caused by detention, as factors favoring
  non-admission to or release from detention. For detainees – adults or children –found to have
  significant mental and physical health conditions, release of the whole family from detention
  is probably the most appropriate outcome.
  Recommendation 6-53: FRCs should provide detainees with care by master’s or doctoral
  level therapists who:
        a) have documented training in Psychological First Aid, Trauma-focused Cognitive
           Behavioral Therapy and other evidence-based modalities for PTSD, Acute Stress
           Disorder (both for adults and children); and treatment of domestic violence, sexual
           violence and child abuse;
        b) are certified through post-professional training; and
        c) are certifiably bilingual with significant experience with Latino patients. 346

  Recommendation 6-54: FRCs should establish a formal connection between the ICE Medical
  Office and the National Child Traumatic Stress Network 347 technical assistance centers to
  provide training resources for local therapists in evidence-based therapies for psychological
  first aid, trauma-focused cognitive behavioral therapy and other evidence-based modalities
  for PTSD (many of these online). A similar relationship should be established with the
  National Center for Trauma Informed Care funded by SAMHSA and SAMHSA experts at
  HHS.
  Recommendation 6-55: FRCs should provide, or contract with outside service providers, the
  above-mentioned psychotherapy to detainees as indicated by their mental health assessments
  and also incorporated into their individualized treatment plans.
                 Support/Therapeutic Groups
  The limited mental health literacy among FRC detainees requires a psychoeducational approach to
  prepare them to recognize possible mental health conditions and to provide information about
  available treatment modalities and resources. There is evidence that psychoeducational groups can
  provide this level of mental health literacy as well as reduce stigma of mental illness, mental health
  problems, and address sensitive topics such as domestic violence, particularly in the Latino
  population. 348 Additionally, groups can provide parents with information on parenting and


  346
      Id.; Josef I. Ruzek, et al., Psychological First Aid, 29 J. MENTAL HEALTH COUNSELING 17 (2007); Esther Deblinger,
  et al., Trauma-Focused Cognitive Behavioral Therapy for Children: Impact of the Trauma Narrative and Treatment
  Length, 28 DEPRESSION AND ANXIETY 67 (2011).
  347
       NAT’L CHILD TRAUMATIC STRESS NETWORK, http://www.nctsn.org/.
  348
       Edil Torres Rivera, Ivelisse Torres Fernandez & Whitney Alexander Hendricks, Psychoeducational and Counseling
  Groups with Latinos/as, in HANDBOOK OF GROUP COUNSELING AND PSYCHOTHERAPY 242-52 (Janice DeLucia-Waack,
  Cynthia Kalodner & Maria Riva eds., 2nd ed. 2014).


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  preventive mental health for their children. 349 Facilities should develop a psychoeducational group
  program to educate detainees about basic mental health concepts, diagnoses, and treatments,
  especially around PTSD.
  Recommendation 6-56: FRCs should create individual and group support opportunities,
  which may include individual counseling as well as support group sessions. FRCs should also
  recognize that trauma victims need access to these programs, but their autonomy to decide
  whether they are ready, able, or interested in participating in such programs needs to be
  respected.
  Recommendation 6-57: FRCs should develop a psychoeducational group program to educate
  detainees about basic mental health concepts, diagnoses, and treatments, especially around
  PTSD and domestic and sexual violence. This can be done in collaboration with the state and
  local chapters of the National Alliance for the Mentally Ill (NAMI), which has considerable
  experience in outreach to and engagement with Latino populations and could provide group
  facilitators from the Latino communities and with organizations with expertise in running
  group sessions for victims of domestic violence and/or sexual assault These should be made
  available to all detained mothers and to interested teenagers who opt to participate in a
  psychoeducational group program. Groups may also be staffed with FRC Trauma Informed
  Care Coordinators with the credentials and experience to run these groups.
  Recommendation 6-58: FRCs should develop longer term cognitive behavioral
  psychotherapeutic groups for trauma, depression, anxiety, and parenting issues for children
  with behavioral difficulties and for families who have longer term stays.
  Recommendation 6-59: FRCs should offer brief cognitive behavioral therapy for individual
  detainees experiencing symptoms related to, e.g., trauma, PTSD, flashbacks, and suicide risk.
  This cognitive behavioral therapy needs to be available at each FRC; it should be provided in
  Spanish (and interpreted into other needed languages) by someone with training,
  qualifications, and experience to provide cognitive behavioral therapy to trauma victims.
  Recommendation 6-60: FRCs should develop a list of practical topics that can be covered
  pre-release to facilitate resilience, follow-up treatment, and services for the short- stay
  detainees. Topics should include stress management, including breathing exercises.
          C. Trauma-Informed Care
  Many of the mothers and children living in FRCs have been victims of or witnesses to domestic
  violence, sexual assault, human trafficking, child abuse, or other violence. Working with detained
  families who have suffered trauma requires that facilities adopt a trauma-informed care approach
  to identify and assist women and children in ICE custody.
  Understanding the context of trauma is critical to developing an environment that reduces re-
  traumatization. The following background on trauma and trauma-informed principles provide


  349
     Kimberly Ehntholt & William Yule, Practitioner Review: Assessment and Treatment of Refugee Children and
  Adolescents Who Have Experienced War-Related Trauma 47 J. CHILD PSYCHOL. & PSYCHIATRY 1197, 1197-210
  (2006).


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  context for our recommendations set forth below; the discussion is primarily based on SAMHSA’s
  Concept of Trauma and Guidance for a Trauma-Informed Approach 350 and from SAMHSA’s TIP
  57. 351
  Trauma is a widespread, harmful, and costly public health problem. It occurs as a result of
  violence, abuse, neglect, loss, disaster, forced displacement, war, and other emotionally harmful
  experiences. Trauma has no boundaries with regard to age, gender, socioeconomic status, race,
  ethnicity, geography or sexual orientation.
  Emerging research has documented the relationships among exposure to traumatic events,
  impaired neurodevelopmental and immune systems responses and subsequent health risk behaviors
  resulting in chronic physical or behavioral health disorders. Furthermore, previous research
  indicates that victimization as a child or adolescent increases the likelihood that victimization will
  reoccur in adulthood. Research has also shown that traumatic experiences – especially those
  traumatic events that occur during childhood – are associated with both behavioral health and
  chronic physical health conditions. Substance use (e.g., smoking, excessive alcohol use, and taking
  drugs), mental health problems (e.g., depression, anxiety, or post-traumatic stress disorder), and
  other risky behaviors (e.g., self-injury and risky sexual encounters) have been linked with
  traumatic experiences. In addition, traumatic experiences can contribute to chronic physical health
  conditions, such as diabetes and cardiovascular diseases.
  We now understand that a framework for addressing trauma – “trauma-informed care” or “trauma-
  informed approach” – is essential. A trauma-informed approach includes an understanding of
  trauma and an awareness of the impact it can have across settings, services, and populations. It
  involves viewing trauma through ecological and cultural lenses and recognizing that context plays
  a significant role in how individuals perceive and process traumatic events, whether acute or
  chronic.
  SAMHSA’s concept of a trauma-informed approach is grounded in a set of four assumptions and
  six key principles.
  The four key assumptions for a trauma-informed approach (sometimes referred to as the four Rs)
  are: (1) realizing the prevalence of trauma; (2) recognizing how trauma affects all individuals
  involved with the program, organization, or system, including its own workforce; (3) responding
  by putting this knowledge into practice; and (4) resisting re-traumatization.
  A trauma-informed approach reflects adherence to six key principles rather than a prescribed set of
  practices or procedures. SAMHSA’s six key principles are: safety; trustworthiness and
  transparency; peer support; collaboration and mutuality; empowerment, voice and choice; and
  cultural, historical and gender issues.



  350
      See generally SAMHSA, SAMHSA CONCEPT OF TRAUMA AND GUIDANCE FOR A TRAUMA-INFORMED APPROACH
  (Oct. 7, 2014), http://store.samhsa.gov/product/SAMHSA-s-Concept-of-Trauma-and-Guidance-for-a-Trauma-
  Informed-Approach/SMA14-4884?WT.mc_id=EB_20141022_SMA14-4884.
  351
      See generally SAMHSA, TIP 57: Trauma-Informed Care in Behavioral Health Sciences (Mar. 2014),
  http://store.samhsa.gov/product/TIP-57-Trauma-Informed-Care-in-Behavioral-Health-Services/SMA14-4816. For
  information, training tools, and examples of best practices in providing trauma informed care, see this Report’s
  Appendix D, Examples of Federal Resources, Tools, and On-Line Trainings on Trauma-Informed Care.

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  A trauma-informed approach is distinct from trauma-specific services or trauma systems. A
  trauma-informed approach is inclusive of trauma-specific interventions, whether assessment,
  treatment or recovery supports, yet it also incorporates key trauma principles into the
  organizational culture. In particular, a trauma-informed approach seeks to resist re-traumatization
  of clients as well as staff. Organizations often inadvertently create stressful or toxic environments
  that interfere with the recovery of clients, the well-being of staff and the fulfillment of the
  organizational mission. Staff who work within a trauma-informed environment are taught to
  recognize how organizational practices may trigger painful memories and re-traumatize clients
  with trauma histories.
  Developing a trauma-informed approach requires change at multiple levels in the FRCs and
  systematic alignment with these principles.
               Implementing a SAMHSA Trauma-Informed Approach
  Internment within an institution with restricted freedom of movement and a regimented schedule in
  itself has been found to be highly stressful for any detainee, and particularly for young children. A
  trauma-informed approach thus requires that FRCs establish, to the maximum extent possible, a
  non-institutionalized environment. This includes predictability and establishment of natural contact
  points between children and parents similar to those existing in communities outside of detention.
  Children can suffer distress when separated from parents even for routine activities such as school,
  and therefore need ready physical access on demand to their parent. A goal of a trauma-informed
  approach at FRCs is to make the environment less penal and institutionalized, with greater internal
  freedom of movement, and normalization of daily activities with flexibility and natural flows in
  their scheduling. Practices with historical roots in prison settings should be eliminated. (See Part
  2.B.1, on normalization more generally.)
  Notwithstanding the critical need for a trauma-informed approach in the FRCs, there are virtually
  no existing trauma-informed policies in the FRC policies. An initial limited trauma-informed
  training is reportedly offered for some FRC staff at some, but not all, of the FRC facilities. This
  training is a start, but more in-depth training and ongoing implementation support is required for
  all staff, coupled with revision of policies and practices at all the FRCs.
  A successful trauma-informed approach recognizes the widespread impact of trauma and creates a
  safe and compassionate environment. Success requires that trauma-informed trainings be
  mandatory, and policies implemented by, all staff in FRCs, not just medical staff and operations.
  To adopt a more trauma-informed approach, each FRC will need to start with an environmental
  scan of their policies, procedures, and practices relative to each of ten SAMHSA-identified
  domains, with the goal of incorporating SAMHSA’s key principles. The ten implementation
  domains are: governance and leadership; policy; physical environment; engagement and
  involvement; cross sector collaboration; screening, assessment, treatment and services; training
  and workforce development; progress monitoring and quality assurance; financing; and evaluation.
  For each, the six key principles apply (to repeat, safety; trustworthiness and transparency; peer




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  support; collaboration and mutuality; empowerment, voice and choice; and cultural, historical and
  gender issues). 352
  Best practices for trauma-informed care include securing contracts with agencies that have
  expertise providing training and technical assistance on trauma-informed care. ICE can collaborate
  with other federal government agencies including SAMHSA, the HHS Family Violence
  Prevention and Services Act (FVPSA) office, and the DOJ Office on Violence Against Women
  (OVW) to identify potential contractors with the appropriate expertise and training capacity to
  assist ICE and the FRCs with trauma-informed environmental scans, implementation of work
  plans, staff training, and technical assistance. SAMHSA has an established contracting process
  with its grantees that SAMHSA may use to facilitate other government agencies contracting with
  SAMHSA grantees. Should ICE and any of its FRCs choose to contract with SAMHSA’s grantees,
  SAMHSA could expedite the process of contracting with its grantees making them available to
  assist ICE and FRCs more rapidly.
  Recommendation 6-61: ICE and the FRCs should holistically implement a trauma-informed
  approach, in coordination with relevant federal agencies and their recommended subject
  matter experts:
        a) ICE and the FRCs should coordinate with the Substance Abuse and Mental Health
           Services Administration (SAMHSA), Department of Justice Office on Violence
           Against Women (OVW), and/or the Department of Health and Human Services
           Family Violence Prevention and Services Program (FVPSP) in as many arenas as
           possible, to take advantage of their deep expertise.
        b) ICE and the FRCs should consult with SAMHSA-recommended experts about
           general policies and procedures, and in particular about sensitive approaches to
           management of agitation, distress, or other adverse behaviors.
        c) All trauma-informed care polices developed by FRCs and ICE should be reviewed
           and approved by experts at SAMHSA and OVW; ICE should secure consensus from
           SAMHSA and OVW that the policies meet trauma-informed standards.
        d) ICE and FRC staff should contract to receive technical assistance on trauma-
           informed care and work with immigrant-crime-victims subject matter experts on
           trauma-informed care recommended and/or funded by SAMHSA, OVW, and/or
           FVPSA.
        e) ICE and FRC staff should contract with FVPSA-recommended subject matter
           experts to receive training and technical assistance on trauma-informed care and care
           for victims of domestic violence, sexual assault, child abuse, and human trafficking.
        f) ICE and FRC staff should contract with SAMHSA-recommended subject matter
           experts, with particular expertise and experience in trauma-informed training, to
           provide ongoing staff training and education on trauma-informed care for all ICE
           and FRC staff who have contact with actual or potential FRC detainees or supervise
           staff who have such contact.


  352
     SAMHSA’S TRAUMA AND JUSTICE STRATEGIC INITIATIVE, SAMHSA’S CONCEPT OF TRAUMA AND GUIDANCE FOR
  A TRAUMA-INFORMED APPROACH (JULY 2014), http://store.samhsa.gov/shin/content/SMA14-4884/SMA14-4884.pdf
  (providing a road map for a trauma-informed environmental scan). Additional resources are available at this Report’s
  Appendix D.

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  Recommendation 6-62: ICE and FRC trauma-informed training should have the objectives
  of increasing staff understanding of trauma, awareness of the impact of trauma on behavior,
  and how to implement trauma-informed responses.
  Recommendation 6-63: ICE should designate Trauma Informed Care Coordinators for each
  FRC. The Coordinators should conduct environmental scans based on SAMHSA guidelines,
  identifying gaps and needs for trauma-informed care, and should develop a plan for the
  facilities to operate in a trauma-informed manner, taking corrective steps that prioritize the
  most readily-accomplished reforms and then moving on to more difficult areas. Coordinators
  should report to and coordinate with a staff member at the national leadership level at the
  ICE Enforcement and Removal Operations. Technical assistance on trauma-informed care
  and trauma-informed environmental scans can be provided by the National Center for
  Trauma Informed Care. 353

  Recommendation 6-64: ICE and the FRCs should use SAMHSA guidelines for recognizing
  the signs and symptoms of trauma in detainees and families. The FRCs should implement
  programs that provide support for women and children who have experienced trauma, while
  avoiding “caretaking” or “rescuing” responses, and should foster an environment that
  encourages self-care by maximizing opportunities for choice and control in their daily lives.
  Recommendation 6-65: The FRCs should provide a culturally appropriate environment that
  is as non-institutional as possible, with special attention to language access, diet, customs and
  traditions, 354 daily routines, ambiance and decor (of housing units and of common areas),
  and adult parenting tasks, so as to minimize culture shock and to create as normal a daily
  structure as possible.
                Trauma-Informed Approach: Elimination of Nighttime Bed Checks
  Hourly bed checks during sleep hours that include turning on lights, using flashlights or making
  any physical contact to confirm that all members of a detained family are present are routine in
  FRCs; these practices are clearly disruptive and intrusive. They are inconsistent with trauma-
  informed care of detainees. It is common for individuals who have been psychologically
  traumatized to have extreme startle reactions, terror, and insomnia as a result of such actions or
  practices. Sleep disruption and deprivation has adverse implications for both general health and
  child development. The rationale for searches in detention is to ensure a “safe living environment”
  and “to prevent escapes.” 355 The actual needs of these non-criminal families could be met with far
  less intrusive measures. As with so many other aspects of FRC operations, the current prison-based
  approach is inappropriate.




  353
      National Center for Trauma-Informed Care and Alternatives to Seclusion and Restraint (NCTIC),
  http://www.samhsa.gov/nctic.
  354
      Andres J. Pumariega et al., Practice Parameter for Cultural Competence in Child and Adolescent Psychiatric
  Practice, 52 J. AM. ACAD. CHILD ADOLESC. PSYCHIATRY 1101 (2013).
  355
      U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT, FAMILY RESIDENTIAL STANDARDS 2.6, SEARCHES OF RESIDENTS,
  https://www.ice.gov/doclib/dro/family-residential/pdf/rs_searches_of_residents.pdf.

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  Recommendation 6-66: All FRCs should immediately discontinue the practice of nightly bed
  checks, which are intrusive, harmful to parents and children, and undermine the provision of
  trauma-informed-care at FRCs.
                Trauma-informed Approach: Supports for Parenting
  Despite being in a detention facility, adults detained in the FRCs must continue parenting their
  children. This serves, in part, to reassure the children that they are in a predictable, nurturing, and
  safe environment, which is essential for every child’s well-being. The FRC environment is an
  unfamiliar and a potentially stressful one for both parents and children. Such an environment may
  further compound the prior stress and trauma experienced by the parents and children before
  entering the United States. The general well-being of families while they are in the FRCs is highly
  dependent on the FRC environment, which should therefore support their parenting using a
  trauma-informed approach.
  The Office of Refugee Resettlement (ORR) within HHS takes custody of unaccompanied children
  who cross the border without legal status. ORR takes responsibility to “[e]nsure that the interests
  of the child are considered in decisions related to the care and custody of unaccompanied
  children.” 356 Children in the FRCs, although not unaccompanied, are still children and are the
  majority of FRC detainees. And the U.S. Court of Appeals for the Ninth Circuit recently ruled that
  they are entitled to the same protections as unaccompanied children. 357 The same underlying
  philosophy of safeguarding children’s interests should pervade all aspects of the care of children in
  the FRCs.
  Recommendation 6-67: FRC Trauma Informed Care Coordinators should coordinate
  trauma-informed care for parents and children detained at the FRCs. The FRCs should
  provide and/or facilitate access to services and programming that support parents’ and
  children’s resilience and prevent re-traumatization, such as educational and information
  sessions, support groups, self-esteem building, and other activities that help parents and
  children heal from trauma and build upon their own strengths and resiliency. The
  Coordinators should track the numbers of detained mothers who participate in such
  programs.
  Recommendation 6-68: FRC Trauma Informed Care Coordinators should regularly offer –
  and should reach out to detainees to invite them to participate in – informational sessions for
  detainees on domestic violence, sexual assault, human trafficking, and child abuse and
  providing an overview of help available to victims in the United States. This should include
  handing out the USCIS brochures discussed in Recommendation 3-35 and 3-38, above.
  Alternatively or additionally, these information sessions could be provided through contract
  with a community-based organization with expertise serving victims of domestic violence and
  sexual assault.




  356
      About Unaccompanied Children’s Services, U.S. DEP’T OF HEALTH AND HUMAN SERVICES, OFFICE OF REFUGEE
  RESETTLEMENT (2015), http://www.acf.hhs.gov/orr/programs/ucs/about.
  357
      Flores v. Lynch, 828 F.3d 898 (9th Cir. 2016).

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  Recommendation 6-69: Each FRC should conduct systemic surveys of detainees to document
  and assess family experiences in FRCs and to identify services that could help minimize re-
  traumatizing parents and children.
  Recommendation 6-70: ICE and the FRCs should transparently communicate to detainees
  their rights and responsibilities with respect to parenting their children while in detention.
  The policies and communications materials should be developed with a trauma-informed
  approach to normalize the parent-child relationship and create the greatest possible
  opportunities for parental responsibility, choice, and control over their children’s lives,
  within the confines of detention.
  Recommendation 6-71: ICE should ensure that the best interests of child detainees are
  considered in all decisions related to their care and custody, and that children are not
  subjected to further trauma by the decisions related to the care and custody of children in
  the FRCs. Children should not be present for their mother’s credible or reasonable fear
  interview, mental health screening, or delivery of the results of mental health screenings or
  tests.
          D. Release Preparation, Case Management, Continued Care and Access to Mental
             Health Professionals
  Immigrant mothers and children who are seeking asylum or who have suffered from domestic
  violence, sexual assault, human trafficking, and violence, and who have trauma histories related to
  these and other events, need support to help them heal both while in detention and in their post-
  release communities. Detention itself is traumatizing and can exacerbate pre-existing trauma. Non-
  punitive and non-restrictive community support and case management programs can offer much-
  need services. So time in custody, if it is absolutely necessary, can be used to screen and identify
  trauma, to inform detainees of services available to them, and to connect them to relevant
  assistance programs in the communities to which they will be released.
  Appropriate community services and support can strengthen the ability of mothers to heal, to care
  for their children and to fully participate in their immigration cases. Immigration case participation
  involves retelling the story of abuse in writing and orally, often to several persons. Retelling their
  stories of persecution, crime victimization, and abuse often leads victims to relive the trauma.
  Programs with experience working with immigrant victims of violence or persecution have needed
  expertise on the full range of legal protections such victims are eligible to receive, and they know
  how to provide assistance to victims in a trauma-informed manner. 358 This type of support will




  358
     See Advocates Tool for Developing a Survivors Story; Trauma Informed Approach, http://library.niwap.org/wp-
  content/uploads/2015/pdf/TRAUM-Qref-AdvocatesToolDevelopingSurvivorStory.pdf; Mary Ann Dutton et al.,
  Trauma Informed Structured Interview Questionnaire (2013), http://library.niwap.org/wp-
  content/uploads/2015/SIQI.edited.di-tb-6.15.15.pdf; National Immigrant Women's Advocacy Project, Training for
  Advocates and Attorneys on Trauma-Informed Work With Immigrant Women,
  https://www.youtube.com/watch?v=05Z95q1bkG4 (Apr. 23, 2014); Krisztina Szabo et al., Advocate’s and Attorney’s
  Tool For Developing A Survivors Story: Trauma Informed Approach (2013), http://library.niwap.org/wp-
  content/uploads/2015/pdf/TRAUM-Qref-AdvocatesToolDevelopingSurvivorStory.pdf.


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  enhance appearance at and participation in immigration case proceedings and will simultaneously
  help victims and their children heal from the effects of trauma.
  A systematic approach to case management has been found to be most effective in improving
  outcomes for other populations with complex needs – particularly an approach that directly
  connects persons to needed services in their communities. 359 The case management program
  currently piloted by ICE is promising, but requires more focus and capacity around mental health
  case management. In addition, a referral system and a directory of service providers in
  communities across the U.S. is necessary to ensure that women and children being released from
  detention have the access to services they need to facilitate their own healing and care for their
  families. Because detained mothers are new arrivals in the U.S. and are unfamiliar with the
  communities to which they are released, it is particularly important to not only provide referrals,
  but also to work to set up appointments with service providers in the communities to which
  detainees will be released.
  Recommendation 6-72: ICE should enroll all released detainees who need support in a
  community-based support program, such as ICE’s Family Case Management Program, and
  should expand the scope of such programs to include health and mental health case referrals.
  Communication between detainees and counselors and mental health providers should be
  privileged, and their participation in counseling and mental health treatment should be
  entirely voluntary.
  Recommendation 6-73: Case management for detainees as they approach release should
  include the services described below – but inability to secure a post-release appointment for a
  detainee should never delay a detainee’s release.
      a) Referral to community-based mental health programs, social services, victim services,
         and community support organizations in their post-release communities. FRC staff
         should consult the SAMHSA mental health locator 360 and National Council for
         Behavioral Health 361 to locate mental health providers in post-release communities.
         FRC staff should also provide detainees with the information about the Federally
         Qualified Health Center (FQHC) in post-release communities, because FQHC staff
         can either provide care or provide information about low-cost mental health services
         available in their communities.
      b) Provision of information and education shortly before release about community
         mental health resources, Federally Qualified Health Centers, victim services
         programs, and social services programs in their post-release community, including
         the rationale for the mental health, victim or social services referral; a description of
         the help and support offered by the programs; program income eligibility; and an
         explanation of the programs’ intake and enrollment procedures.
      c) Referral calls to community mental health and social service agencies, with a goal of
         securing an intake appointment for each detainee within 7 to 14 days after release.


  359
      Steven J. Ziguras et al., A Meta-Analysis of the Effectiveness of Mental Health Case Management Over 20 Years,
  51 PSYCHIATRIC SERVICES 1410 (2000).
  360
      Substance Abuse and Mental Health Services Admin., Behavioral Health Treatment Services Locator,
  https://findtreatment.samhsa.gov/.
  361
      Nat’l Council for Behavioral Health, http://www.thenationalcouncil.org.

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        d) For detainees who have been identified (including who have self-identified) as victims
           of domestic violence, sexual assault, child abuse, human trafficking or other gender-
           based abuse, provision of the names of and appointments with programs in post-
           release communities that have expertise in working with immigrant victims of gender-
           based violence. Staff preparing detainees for release can identify programs with the
           requisite expertise using the directory of program and services available developed
           with funding from the Office on Violence Against Women, U.S. Department of
           Justice. 362
        e) For detainees with medical care needs, the names and contact information and
           appointments made with the Federally Qualified Health Center in post-release
           communities.

  Recommendation 6-74: All referral information should be provided to each detainee in a
  language that detainee understands well (ideally her primary language).
           E. Medical, Dental, and Mental Health Records
  Under HIPAA, individuals have a right to confidentiality of protected health information (PHI)
  and access to inspect and obtain a copy of their medical records. Under the Family Residential
  Standards, detainees are to be provided a request form to receive copies of their medical records. 363
  The PBNDS 2011 requires that facilities are to provide detainees with limited English proficiency
  and detainees who are hearing impaired with interpretation and translation services to complete the
  written request and that “Detainees released or removed from detention shall receive a discharge
  treatment plan to ensure continuity of care, full copy of their medical record, medication, and
  referrals to community-based providers as medically appropriate.” 364
  It is essential that there be clear and easily accessible procedures in place for detainees and former
  detainees to be able to obtain their medical, dental and mental health records. This is useful for
  continuity of care and other purposes. The Family Residential Standards indicate that form I-813
  can be used to request medical records. 365 But this form inappropriately requires the requester to
  specify why health records are being requested. 366 Whatever the reason – health, immigration case
  related, victim or social services, or anything else, detainees are entitled to their medical, dental,
  and mental health records. The PBNDS 2011 standards on provision of medical records to
  detainees have much stronger requirements for records provision than those required by the Family
  Residential Standards. The PBNDS 2011’s approach eliminates the questions that the FRC
  requires asking about why the detainee is requesting medical records. 367
  Recommendation 6-75: Medical, dental, and mental health records should be kept in secured
  and locked locations that ensure confidentiality and privacy protection, consistent with

  362
      Nat’l Immigrant Women’s Advocacy Project, Directory of Services Providers, http://www.niwap.org/directory/.
  363
      See FAMILY RESIDENTIAL STANDARDS: MEDICAL CARE, supra note 307, at 25.
  364
      PBNDS 2011 at, supra note 254, at 301.
  365
      See FAMILY RESIDENTIAL STANDARDS: MEDICAL CARE, supra note 307, at 24.
  366
      U.S. Dep’t of Justice, Immigration and Naturalization Serv., INS Health Care Program Authorization for Disclosure
  of Information (Jan. 17, 1990),
  https://www.prisonlegalnews.org/media/publications/usdoj_ins_health_care_program_authorization_for_disclosure_of
  _info_form_i_813.pdf.
  367
      PBNDS 2011 at, supra note 254, at 278, 299–300.

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  HIPAA as well as all local or state confidentiality regulations. The latter may require added
  privacy protections for psychotherapy notes and for addiction history and treatment records.
  Recommendation 6-76: Policies and procedures should be developed and established
  specifying the clearance for accessing medical, dental, and mental health records by
  appropriate health and mental health professionals who are directly involved in a detainee's
  care. As per HIPAA, any access to records by any professional should be tracked either on
  paper or electronically. Specifically:
     a) Policies and procedures should be established specifying which non-health care staff
        have access to any medical, dental or mental health information, specific reasons for
        such access, and the level of detail for such sharing or access. The policies should
        balance maintaining confidentiality versus clinical or emergent need to know for
        effective care.
     b) Any non-health care staff accessing records, including interpreters and other support
        staff, should sign an appropriate confidentiality protection oath per HIPAA.
     c) Policies and procedures should be established that prevent any individual who has
        any personal or outside relationship with a detainee from access to their health
        records unless the detainee gives signed informed consent.

  Recommendation 6-77: On request when in detention and automatically upon release from
  detention, detainees should be provided with a full copy, not a summary, of medical, dental
  and mental health records for themselves and their children, both in an accessible electronic
  format such as a CD or flash drive, and in hard copy. This includes documents relating to
  both initial screening, immunization, and health care they received while in detention
  (including lab tests and any radiograph readings). To facilitate requests for records:
     a) ICE should develop, translate into the languages spoken in the FRCs (using the cutoff
        described in Recommendation 5-7), and make easily accessible in hardcopy at all
        FRCs and on its website a uniform form to be used by former detainees seeking copies
        of their medical, dental and mental health records. This request form should be
        HIPAA-compliant and should not include questions about the purpose, need or
        reason for the request for medical, dental and mental health records. If the form is
        unavailable in a needed language, interpreter services should be offered to provide
        language access.
     b) Within one business day of receiving a HIPAA-compliant request to release detainee
        medical, dental, and mental health records, ICE should provide a copy of such
        records – whether to a detainee still in custody, a former detainee, or any individual
        or agency the detainee or former detainee designates in the request, including health
        care and mental health care professionals, schools, attorneys and others.




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  7.   INSPECTIONS, COMPLAINTS, AND OVERSIGHT

  DHS compliance with this Report’s recommendations will require very substantial changes in
  policy and practice, which will need to be managed and monitored. DHS already has in place two
  mechanisms that can help: contracted inspections (currently performed by Danya International),
  and inspections by the DHS Office for Civil Rights and Civil Liberties (CRCL), which already
  plays an important role in monitoring ICE detention centers including the FRCs. Danya’s
  inspections largely address processes rather than outcomes, and are tied tightly to the Family
  Residential Standards. CRCL’s approach is more outcome-focused and utilizes the professional
  knowledge and skill of a range of contracted experts – physicians, psychologists, penologists, and
  other professionals. CRCL’s inspections are not done at routine intervals and are not required; they
  are currently conducted in response to formal complaints, or on CRCL’s initiative. Both are useful
  methodologies, which we recommend be continued and used to monitor FRC conditions generally
  and compliance with the ACFRC’s recommendations in particular. However the methodological
  limitations of the Danya inspections, and the intermittent and discretionary nature of the CRCL
  inspections render them insufficient without further attention.
  More generally, problems that arise at the FRCs may require sustained attention at the leadership
  level to solve. Whether related to the Committee’s recommendation or not, detainees and their
  attorneys need to be able to easily bring problems to the attention of ICE and, through ICE, to
  DHS. Detainees need to be able raise concerns about their treatment – for example to inform ICE
  and DHS officials if adults or children are not receiving timely needed health care or mental health
  care, or are not receiving food that meets their dietary needs and restrictions. One goal is to have a
  mechanism that fosters quick responses and provides solutions to problems as they arise. More
  generally, the same mechanism can improve the information that ICE and DHS have about the
  internal workings of each FRC and can be harnessed to facilitate not only individual but systemic
  interventions. The idea is to build a system by which on-the-ground knowledge is communicated
  to leadership, analyzed, and routinely and transparently used for continuous quality improvement.
  Recommendation 7-1: DHS should immediately identify each ACFRC recommendation it
  intends to adopt and then monitor the extent to which the FRCs and ICE implement those
  recommendations.
  Recommendation 7-2: DHS should require that ICE’s contracted inspections (currently
  performed by Danya International) incorporate the recommendations contained in this
  Report, along with the PBNDS 2011 and the Family Residential Standards, and are routinely
  provided to ICE and DHS leadership, to CRCL, and to the public.
  Recommendation 7-3:
       a) CRCL should conduct investigations two times a year at each FRC for the first two
          years following the issuance of this Report. In these investigations CRCL should
          investigate and report on the extent to which the FRCs and ICE are implementing the
          ACFRC recommendations DHS has adopted.
       b) Each year thereafter CRCL should conduct an annual inspection of each FRC.
       c) CRCL inspection teams should minimally be composed of physicians with expertise
          on Joint Commission on the Accreditation of Health Care Organizations (JCAHO)
          inspections and compliance, and expertise on medical care for women, children and

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        adolescents; psychiatrists with specialized expertise on immigrant and detained
        populations; trauma-informed-care experts; educators with expertise on students
        with interrupted educations and immigrants; and experts in non-correctional
        congregate care.
     d) CRCL inspections should pay particular attention to areas in which the Family
        Residential Standards and PBNDS 2011 differ, to ensure that FRCs are aware of and
        complying with the higher standard.
     e) Inspections should include not only detention conditions but the processes and
        outcomes relating to decisions to detain and release, and the conditions and service
        referrals related to release.
     f) DHS should ensure that CRCL has full access to the FRCs and to ICE and FRC files,
        including complaint records, and is able to speak confidentially with FRC staff, ICE
        officers, and detainees.
     g) CRCL should provide ICE leadership investigation memos (by its experts) following
        its inspections at FRCs within 60 days of its inspections, and with a final CRCL
        recommendation memo within 90 days of its inspections.

  Recommendation 7-4: Upon receipt of a CRCL recommendation memo:
     a) Within 30 days, ICE should inform CRCL and the DHS Secretary whether it concurs
        with each CRCL recommendation. In that response ICE should provide an
        explanation for any non-concurrence.
     b) Any ICE non-concurrence should be reported to the DHS Secretary; the Secretary
        should promptly determine whether to direct ICE to reconsider or reverse its non-
        concurrence.
     c) Any non-concurrences that remain should be reported to the chair and ranking
        minority member of all congressional committees with relevant oversight
        responsibilities (including budgetary jurisdiction), and included in CRCL’s public
        (and web-posted) quarterly reports to Congress.
     d) For each CRCL recommendation with which it concurs, ICE should provide CRCL
        within 60 days with an implementation plan, and then should report every 60 days
        until completion on implementation progress.
     e) Every quarter, CRCL should inform the DHS Secretary of any outstanding
        implementation issues.

  Recommendation 7-5: ICE should create an ombudsperson office to receive complaints and
  reports from detainees and their attorneys, or other knowledgeable entities, about problems
  arising for detainees at FRCs and to ensure that complaints and reports are appropriately
  investigated and responded to. The ombudsperson office should be located within the ICE
  Director’s Office, and should address all the subjects covered in this report, including but
  not limited to decisions to detain and release, alternatives to detention, detention conditions,
  VAWA compliance, conditions of release, community supervision, and prosecutorial
  discretion. All complaints and reports and resulting actions or declinations to act should be
  reported weekly to a senior official within the DHS Secretary’s Office. At least annually, ICE
  should analyze complaints and reports more systematically, considering any need for
  systemic responses, and should report the results of that analysis to DHS.


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  Recommendation 7-6: DHS and ICE leadership should routinely review and analyze
  information – from contracted inspections, CRCL inspections, ombudsperson office
  complaints, NGO reports, and any other credible sources – about problems and areas of
  needed improvement relating to policies on family detention in general (e.g., decisions to
  detain and decisions to release) as well as detainee treatment at FRCs, and should direct
  immediate corrective action when appropriate.




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  APPENDIX A: MEMBERS OF THE DHS ADVISORY COMMITTEE ON FAMILY
  RESIDENTIAL CENTERS



  Dr. William Arroyo, Regional Medical Director/Medical Director, Children’s System of Care, Los
  Angeles County Department of Mental Health (LACDMH)
  Howard Berman, Senior Advisor/Attorney, Covington & Burling LLP
  BethAnn Berliner, Senior Researcher and Project Director, WestEd
  Michelle Brané, Director, Migrant Rights and Justice, Women’s Refugee Commission (WRC)
  Judith Dolins, Chief Implementation Officer, American Academy of Pediatrics
  Anadora Moss, President, The Moss Group, Inc.
  Karen Musalo, Professor, U.C. Hastings College of the Law, and Director, Center for Gender &
  Refugee Studies
  Jennifer Nagda, Policy Director, Young Center for Immigrant Children’s Rights at the University
  of Chicago
  Leslye Orloff, Adjunct Professor and Director, National Immigrant Women’s Advocacy Project
  (NIWAP), American University, Washington College of Law
  Sonia Parras-Konrad, Co-Director, ASISTA
  Dr. Andres Pumariega, Professor and Chair, Department of Psychiatry, Cooper University Hospital
  and Health System, Cooper Medical School of Rowan University
  Margo Schlanger, Henry M. Butzel Professor of Law, University of Michigan Law School
  Dr. Dora Schriro, Commissioner, Connecticut Department of Emergency Services and Public
  Protection
  Kurt Schwarz, Partner, Jackson Walker LLP




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  APPENDIX B: ADVISORY COMMITTEE ON FAMILY RESIDENTIAL CENTERS
     (ACFRC) COMMITTEE TASKING

  Posted at https://www.ice.gov/acfrc (click on “Committee Tasking”)
  Develop recommendations for best practices at family residential centers that will build on ICE’s
  existing efforts in the areas of educational services, language services, intake and out-processing
  procedures, medical staffing, expansion of available resources and specialized care, and access to
  legal counsel.
  Detail mechanisms to achieve recommended efficiencies in the following focus areas:
     1. Educational Services
             1. Providing educational services to a juvenile population that will be in custody
                for a short period of time.
             2. Providing individualized educational services to a transient juvenile population
                with little to no English language capabilities and from a variety of socio-
                economic and educational levels.
             3. Phasing full delivery of services over a 15 – 20 day period with an expectation
                that the juvenile will be released and enrolled in a public school located in the
                United States pending resolution of their immigration proceedings.
     2. Language Services
             1. Providing accurate and timely language services.
     3. Detention Management
             1. Evaluating intake and out-processing procedures to improve overall
                management, to include screening, communication of resources available, and
                alternatives to detention.
     4. Medical Treatment
             1. Expanding existing resources and specialized care to enhance medical
                treatment of family units.
             2. Providing mental health services/trauma-informed services to a multi-lingual
                population whose average length of stay may not lend itself to full delivery of
                treatment.
             3. Recruiting, placing, and retaining qualified health care providers.
                            1. Recruitment through a contract for services, the U.S. Public
                               Health Service Corps, and Title V/Title 38 general schedule
                               personnel.
     5. Access to Counsel
             1. Evaluating existing resources and tools.




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  APPENDIX C: A BRIEF HISTORY OF INS/ICE FAMILY RESIDENTIAL FACILITIES

                                                                                Net       Total
                                                                                change    bed
                                                                                in beds   capacity
                INS
   March        INS contracts with Berks County (Co.) Pennsylvania for 84                 84
   2001         beds, government’s first FRC. Berks Co. operates the Berks
                Co. FRC (Berks), using it to detain both mothers and fathers
                with minor children.
                ICE
   Nov. 2002    Congress passes the Homeland Security Act creating DHS.
                ICE assumes INS’s contract for the Berks FRC.
   May 2006     ICE contracts with Williamson Co., Texas for 512 beds, and    + ~300      384
                opens the T. Don Hutto Residential Center (Hutto), previously
                a medium security, adult male prison; the county subcontracts
                management of Hutto, named after a CCA co-founder, to
                CCA. ICE co-locates adult women and moms with children at
                Hutto. About 300 beds are for the FRC.
   March        ICE establishes the Juvenile and Family Residential
   2007         Management Unit (JFRMU) wi/the Office of Detention and
                Removal Operations (DRO); now, Enforcement and Removal
                Operations (ERO).
   Dec. 2007    ICE promulgates Family Residential Standards
   Sept. 2007   ICE contracts with the Nakamoto Group (Nakamoto) to
                provide on-site monitoring of the FRCs.
   Sept. 2009   ICE removes all families from Hutto; as many as possible are    - ~300    84
                released and the rest are transferred to Berks.
   Feb. 2013    Berks is relocated to a larger building on the county campus;   + 12      96
                ICE increases its capacity to 96 beds.
   June 2014    ICE opens and operates Artesia FRC (Artesia), capacity 672      + 672     768
                beds. Artesia, previously a federal law enforcement training
                barrack, is located on government property in the southeast
                corner of NM. ICE uses Artesia to detain only mothers with
                children.
   August       ICE repurposes its detention facility for adult males, capacity + 532     1300
   2014         532 beds, in Karnes, Texas (Karnes) to detain families. ICE
                contracts with GEO for its operation, and uses it to detain only
                mothers with children.

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   Dec. 2014    Karnes Co. approves a 626-bed expansion of Karnes.              (+626)   1598
                Construction is completed in 2015. Karnes’s current operating
                capacity is 830 beds.                                           +298

   Dec. 2014    ICE closes Artesia.                                             - 672    926
   Dec. 2014    ICE opens the South Texas FRC (Dilley), capacity 2400 beds,     +2400    3326
                in Dilley Texas. ICE assigns moms and their children only.
   Sept. 2015   Berks’s 3rd floor is finished, creating capacity for an         (+92)    3326
                additional 92 beds; ICE has not yet activated the additional
                beds.
   May 2015     ICE contracts with Danya International (Danya) to provide
                on-site monitoring at the FRCs.




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  APPENDIX D: EXAMPLES OF FEDERAL RESOURCES, TOOLS, AND ON-LINE
  TRAININGS ON TRAUMA-INFORMED CARE

  TRAINING RESOURCES
  TIP 57: Trauma-Informed Care in Behavioral Health Services
  DHHS, Substance Abuse and Mental Health Services Administration
  http://store.samhsa.gov/product/TIP-57-Trauma-Informed-Care-in-Behavioral-Health-
  Services/SMA14-4816
  TIP 57 is a guide to assist behavioral health professionals in understanding the impact and
  consequences for those who experience trauma. It discusses patient assessment, treatment planning
  strategies that support recovery, and building a trauma-informed care workforce. The guide can be
  useful to any system that is looking to be more responsive to the trauma-related needs of the
  population served and to implement a trauma-informed workforce and organizational change
  strategy. This Treatment Improvement Protocol (TIP) is divided into three parts:
         Part 1: A Practical Guide for the Provision of Behavioral Health Services
         Part 2: An Implementation Guide for Behavioral Health Program Administrators
         Part 3: A Review of the Literature

  Trauma-Informed Care for Women Veterans Experiencing Homelessness
  DOL, Women’s Bureau
  https://www.dol.gov/wb/trauma/
  Trauma-Informed Care for Women Veterans Experiencing Homelessness: A Guide for Service
  Providers, also known as the “Trauma Guide,” was created to address the psychological and
  mental health needs of women veterans. The guide is also a compilation of best practices aimed at
  improving effectiveness in engaging female veterans. Written for service providers, the guide
  offers observational knowledge and concrete guidelines for modifying practices with the goal of
  increasing re-entry outcomes. The Guide Includes:
     •   User's Guide
         A handbook offering information on the experiences and needs of female veterans, what it
         means to provide trauma-informed care, and resources for staff training and education.
     •   Organizational Self-Assessment for Providers Serving Female Veterans
         A manual of best practices that can be integrated into daily programming for homeless
         female veterans.
     •   Resource Lists
         Compilations of provider-targeted materials, videos, and websites on a variety of topics,
         including: female veterans, homelessness and trauma, cultural competence, trauma-
         informed services, participant involvement, and self-care.




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  A Checklist for Integrating a Trauma-Informed Approach into Teen Pregnancy Prevention
  Programs
  DHHS, Office of Adolescent Health
  http://www.hhs.gov/ash/oah/oah-
  initiatives/teen_pregnancy/training/Assests/traumainformed-checklist.pdf
  While a teen pregnancy prevention (TPP) program generally focuses on providing sexual health
  education, ensuring access to youth friendly health care services, and engaging youth, families, and
  communities, a trauma-informed approach (TIA) is a way of addressing vital information about
  sexuality and well-being that takes into consideration adverse life experiences and their potential
  influence on sexual decision-making. A trauma-informed approach to sexual health is critical to
  promoting lifelong sexual health and well-being for anyone who has had adverse childhood and/or
  adult experiences. Principles of a trauma-informed approach can be integrated into any TPP
  program.


  Trauma-Informed Victim Interviewing
  DOJ, Office for Victims of Crime
  https://www.ovcttac.gov/taskforceguide/eguide/5-building-strong-cases/53-victim-interview-
  preparation/trauma-informed-victim-interviewing/
  Part of the Human Trafficking Task Force eGuide, developed in partnership by the U.S.
  Department of Justice’s Office for Victims of Crime (OVC) and Bureau of Justice Assistance
  (BJA), this chapter provides helpful tips to building rapport in with victims in a culturally
  responsive and trauma-informed manner to engage more effectively.


  Think Trauma: A Training for Staff in Juvenile Justice Residential Settings
  DOJ, National Institute for Corrections
  http://nicic.gov/library/027731
  This training provides an overview for juvenile justice staff of how to work towards creating a
  trauma-informed juvenile justice residential setting. Creating a trauma-informed setting is a
  process that requires not only knowledge acquisition and behavioral modification, but also cultural
  and organizational paradigm shifts, and ultimately policy and procedural change at every level of
  the facility. “Think Trauma” is a PowerPoint-based training curriculum including four modules
  that can be implemented back-to-back in a single all-day training or in four consecutive training
  sessions over the course of several weeks or even months. Each module takes approximately one
  to two hours, depending on the size of the trainee group, and whether you elect to implement all of
  training materials and activities. It contains six case studies of representative youth who’ve been
  involved with the juvenile justice system.” The complete curriculum is available (but you must
  create an account on the Learning Center in order to join the community.) The following resources
  are provided: the workshop package--Facilitator's Guide, Participant Handbook, Supplemental
  Materials, and multi-part Slide Deck; supplemental resources--Implementer's Guide, case vignettes
  and puzzles, and activity materials; and a discussion forum on which implementation questions
  will be answered.



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  Treating the Hidden Wounds: Trauma Treatment and Mental Health Recovery for Victims of
  Human Trafficking
  DHHS, Office of the Assistant Secretary for Planning and Evaluation
  https://aspe.hhs.gov/basic-report/treating-hidden-wounds-trauma-treatment-and-mental-
  health-recovery-victims-human-trafficking
  This issue brief addresses the trauma experienced by most trafficking victims, its impact on health
  and well-being, some of the challenges to meeting trauma-related needs of trafficking victims, and
  promising approaches to treatment and recovery. While this issue brief touches on trauma across
  human trafficking populations, it has a special emphasis on trauma resulting from sex trafficking
  of women and girls. It includes core issues related to trauma and culture, as well as strategies for
  engagement and core components for trauma-specific and trauma-informed services.


  Developing a Trauma-Informed Child Welfare System
  DHHS, Administration on Children, Children’s Bureau
  https://www.childwelfare.gov/pubs/issue-briefs/trauma-informed/
  This issue brief discusses the steps that may be necessary to create a child welfare system that is
  more sensitive and responsive to trauma. Every child welfare system is different, and each State or
  county child welfare system will need to conduct its own systematic process of assessment and
  planning, in collaboration with key partners, to determine the best approach. After providing a
  brief overview of trauma and its effects, this issue brief discusses some of the primary areas of
  consideration in that process, including workforce development, screening and assessment, data
  systems, evidence-based and evidence-informed treatments, and funding.


  Immigration and Child Welfare
  DHHS, Administration on Children, Children’s Bureau
  https://www.childwelfare.gov/pubPDFs/immigration.pdf
  This issue brief provides information, practical tools, resources and tips for working with
  immigrant children and families using culturally competent and trauma-informed practices.


  Trauma-Informed Practice
  DHHS, Administration on Children, Children’s Bureau
  https://www.childwelfare.gov/topics/responding/trauma/
  To provide trauma-informed care to children, youth, and families involved with child welfare,
  professionals must understand the impact of trauma on child development and learn how to
  effectively minimize its effects without causing additional trauma. This section provides
  information on building trauma-informed systems, assessing and treating trauma, addressing
  secondary trauma in caseworkers, and trauma training. It also offers trauma resources for
  caseworkers, caregivers, and families.




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  FEDERALLY-FUNDED TRAINING, TECHNICAL ASSISTANCE, AND RESOURCE CENTERS
  SAMHSA’s National Center for Trauma-Informed Care
  http://www.samhsa.gov/nctic
  Targeted Technical Assistance, Coaching, and Training
  NCTIC provides technical assistance to advance the implementation science for trauma-informed
  approaches through in-person organizational technical assistance, virtual learning networks,
  technical assistance materials, and links to other resources supported by the federal government.
  NCTIC provides technical assistance and training to a range of service systems:
     •   Community-based behavioral health agencies
     •   Institutions
     •   Criminal and juvenile justice settings
     •   Homeless and HIV service providers
     •   Domestic violence organizations
     •   State and federal agencies

  SAMHSA’s GAINS Center
  http://www.samhsa.gov/gains-center
  Training
  The GAINS Center focuses on expanding access to services for people with mental and/or
  substance use disorders who come into contact with the justice system. As part of its training
  program, the GAINS Center provides trauma-informed response training for professionals.

  ASISTA Immigration Assistance
  http://www.asistahelp.org
  Advanced Technical Assistance and Training
  Provides national leadership, advocacy, training, and technical support to enhance access to safety
  and justice for crime survivors seeking secure immigration status.

  American University - National Immigrant Women’s Advocacy Project (NIWAP)
  http://www.wcl.american.edu/niwap/
  Improving Access to Services and Legal Options for Immigrant Survivors
  Through this project, the National Immigrant Women’s Advocacy Project (NIWAP) at the
  American University Washington College of Law will provide in-person trainings, webinars,
  online learning modules, a family law community of practice, and technical assistance and training
  to OVW grantees, subgrantees, grant partners and potential grantees on legal options for immigrant
  victims of domestic violence, sexual assault, stalking and dating violence. Topics to be covered
  include: immigration, family and public benefits laws, language access and access to victim
  services.




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  Domestic Violence Resource Network (DVRN)
  http://www.acf.hhs.gov/fysb/programs/family-violence-prevention-services/programs/centers
  Network of Resource Centers
  The Domestic Violence Resource Network (DVRN) is funded by the U.S. Department of Health
  and Human Services to inform and strengthen domestic violence intervention and prevention
  efforts at the individual, community, and societal levels. The DVRN works collaboratively to
  promote practices and strategies to improve our nation’s response to domestic violence and make
  safety and justice not just a priority, but also a reality. DVRN member organizations ensure that
  victims of domestic violence, advocates, community‐based programs, educators, legal assistance
  providers, law enforcement and court personnel, health care providers, policy makers, and
  government leaders at the local, state, tribal and federal levels have access to up‐to-date
  information on best practices, policies, research and victim resources.
  The DVRN includes two national resource centers, four special issue resource centers, three
  culturally-specific resource centers, the National Domestic Violence Hotline, and the National
  LGBTQ DV Capacity Building Learning Center. A few of these are listed:
     •   National Latin@ Network for Healthy Families and Communities
         www.nationallatinonetwork.org
         Training and Resource Development
         The National Latin Network for Healthy Families and Communities, a project of Casa de
         Esperanza, is the national institute on domestic violence focusing on Latin@ communities.
         Working both domestically and internationally, we address four primary issues: increasing
         access to resources for Latin@s experiencing domestic violence; providing training and
         tools for professionals and community advocates; conducting culturally relevant research;
         and advocating for public policy based on the lived realities of Latin@s.
     •   National Center on Domestic Violence, Trauma & Mental Health
         http://www.nationalcenterdvtraumamh.org/
         Training and Consultation
         The Center provides training, support, and consultation to advocates, mental health and
         substance abuse providers, legal professionals, and policymakers as they work to improve
         agency and systems-level responses to survivors and their children. Our work is survivor
         defined and rooted in principles of social justice.
     •   National Health Resource Center on Domestic Violence
         http://www.futureswithoutviolence.org/health
         Training and Resource Development
         The HRC offers personalized, expert technical assistance, an online toolkit for health care
         providers and DV advocates to prepare a clinical practice to address domestic and sexual
         violence, a free E-Bulletin and webinar series. The HRC also holds the biennial National
         Conference on Health and Domestic Violence—a scientific meeting at which health,
         medical and domestic violence experts and leaders explore the latest health research and
         programmatic responses to domestic violence.



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  Training and Technical Assistance Centers funded by DHHS, Administration on Children
  and Families, Office of Refugee Resettlement
  http://www.acf.hhs.gov/orr/resource/technical-assistance-providers-1
  Training and Technical Assistance
  In order to assist ORR-funded agencies in providing the highest quality in services, ORR has
  funded a number of grants to organizations with technical assistance expertise in a particular area
  related to community integration, linguistic and cultural competence, addressing the needs of
  survivors of torture, etc.




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  APPENDIX E: ACRONYMS USED IN THE REPORT


  ACFRC             Advisory Committee on Family Residential Centers
  ACLU              American Civil Liberties Union
  AO                Asylum Officer
  ATD               Alternatives to Detention
  BCG               Bacillus Calmette–Guérin
  BFRC              Berks Family Residential Center
  BOP               Federal Bureau of Prisons
  CARA              Catholic Legal Immigration Network; American Immigration Council;
                    Refugee and Immigrant Center for Education and Legal Services; American
                    Immigration Lawyers Association
  CASEL             Collaborative for Academic, Social and Emotional Learning
  CBP               Customs and Border Protection
  CCA               Corrections Corporations of America
  CDC               Centers for Disease Control
  CFI               Credible Fear Interview
  CGRS              Center for Gender & Refugee Studies
  CRCL              DHS Office for Civil Rights and Civil Liberties
  COOP              Continuity of Operations
  DHS               U.S. Department of Homeland Security
  DHHS              U.S. Department of Health and Human Services y
  DOL               Department of Labor
  DRO               Detention and Removal Operations
  EADM              ENFORCE Alien Detention Module
  EOIR              Executive Office for Immigration Review
  ERO               Enforcement and Removal Operations
  ERP               Executive Review Panel
  ESL               English as a Second Language
  FCMP              Family Case Management Program
  FRC               Family Residential Center
  FRS               Family Residential Standards
  FQHC              Federally Qualified Health Center
  FVPSA             Family Violence Prevention and Services Act
  GAO               Government Accountability Office
  HHS               U.S. Department of Health and Human Services
  HIPAA             Health Insurance Portability and Accountability Act
  HOH               Head of Household
  HPV               Human Papillomavirus
  HSA               Health Services Administrator
  IACHR             Inter-American Commission on Human Rights
  ICE               U.S. Immigration and Customs Enforcement
  IDEA              Individuals with Disabilities Education Act
  IEP               Individualized Education Plan
  IGRA              Interferon-Gamma Release Assays

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  IHSC              ICE Health Service Corps
  IIRIRA            Illegal Immigration Reform and Immigrant Responsibility Act
  INA               Immigration and Nationality Act
  INS               Immigration and Naturalization Service
  ISAP              Intensive Supervision Appearance Program
  JCAHO             Joint Commission on the Accreditation of Health Care Organizations
  JFRMU             Juvenile and Family Residential Management Unit
  LEP               Limited English Proficient
  MDQ               Mood Disorders Questionnaire
  MHP               Mental Health Professional
  MISX              Migrant Student Information Exchange
  MOU               Memorandums of Understanding
  MRC               Management Review Committee
  NAMI              National Alliance for the Mentally Ill
  NCTIC             National Technical Assistance Center on Trauma Informed Care
  NGO               Non-Governmental Organization
  NIWAP             National Immigrant Women’s Advocacy Project
  NTA               Notice to Appear
  NCQA              National Committee for Quality Assurance
  OIG               Office of the Inspector General
  ORR               Office of Refugee Resettlement
  OVW               Office on Violence Against Women
  PIRC              Pennsylvania Immigration Resource Center
  PBIS              Positive Behavioral Interventions and Supports
  PBNDS             Performance Based National Detention Standards
  PCL               Abbreviated Post-Traumatic Stress Check List
  PCP               Primary Care Physician
  PHI               Protected Health Information
  PHQ-9             Patient Health Questionnaire-9
  PREA              Prison Rape Elimination Act
  SAMHSA            Substance Abuse and Mental Health Services Administration
  SARTs             Sexual Assault Response Teams
  SARRTs            Sexual Assault Response and Resource Teams
  SIJS              Special Immigrant Juvenile Status
  SIOP              Sheltered Instruction Observation Protocol
  SME               Subject Matter Expert
  SOP               Standard Operating Procedure
  STD               Sexually Transmitted Disease
  TMAP              Texas Medication Algorithm Project
  TICC              Trauma Informed Care Coordinator
  UNHCR             United Nations High Commission for Refugees
  USCIRF            United States Commission on International Religious Freedom
  USCIS             U.S. Citizenship and Immigration Services
  VAWA              Violence Against Women Act
  WHO               World Health Organization
  WRC               Women’s Refugee Commission

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